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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK


     CITY OF ALMATY, KAZAKHSTAN
     AND BTA BANK JSC,
                                                       15 Civ. 5345 (AJN) (KHP)
                            Crossclaim Plaintiffs,


                      -against-                        DECLARATION OF MATTHEW
                                                       GEORGE JENKINS
     MUKHTAR ABLYAZOV, VIKTOR
     KHRAPUNOV, ILYAS KHRAPUNOV,
     AND TRIADOU SPV S.A.,


                         Crossclaim Defendants.




         I, Matthew George Jenkins, declare as follows:


          1.     I am a solicitor and partner in the firm of Hughmans located at 32 Farringdon Street,

   London, United Kingdom.        My firm has represented Ilyas Khrapunov ("Mr. Khrapunov") in


  connection with the proceedings JSC BTA Bank has brought against Mr Khrapunov in the United

  Kingdom. I submit this declaration in support of Mr. Khrapunov's response to the Letter Motion

  of April 19, 2017 filed by JSC BTA Bank and the City of Almaty (together, "BTA/Almaty")


  requesting an order that the deposition of Mr Khrapunov take place at an agreed location other

  than Switzerland.


  Mr. Khrapunov Was Added to INTERPOL'S List of Wanted Persons in 2014 and Since
  Being Added to the List. He Has Not Left Switzerland


         2.     Mr. Khrapunov is a Kazakh national and is a resident of Switzerland. He lives in

  Geneva with his wife and two young children.


         3.     The Kazakh government authorities, based on allegations made by the City of

  Almaty, allege that Mr. Khrapunov has been involved in illegal criminal activity.          At their

  instigation, an INTERPOL Red Notice was issued in April 2014. An extract from this Red Notice
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   is   displayed     online   at:   https://www.interpol.int/notice/search/wanted/2014-26980,     (See


   INTERPOL Red Notice, attached hereto as Exhibit 1).


          4.        This is not the full version of the INTERPOL Red Notice that would have been


   distributed to law enforcement authorities, as is stated on the page: "This extract of the Red Notice


  has been approved for public dissemination."


          5.        In the extract published online, it is stated that Mr. Khrapunov is "WANTED BY


  THE JUDICIAL AUTHORITIES OF KAZAKHSTAN FOR PROSECUTION / TO SERVE A


  SENTENCE". Also, under the heading "Charges" it is stated: "The creation and guidance of an


  organised criminal group or criminal association (criminal organisation), and participation in a


  criminal association; Legalization of monetary funds or other property obtained illegally".


         6.         The fact of the issued and maintained an INTERPOL Red Notice demonstrates that


  the Kazakh authorities are actively interested in securing Mr. Khrapunov's extradition.          It is


  apparent from the gravity of the alleged crimes as to why this is the case.


         7.      Mr. Khrapunov has advised me that he has not left Switzerland since the


 INTERPOL Red Notice was issued. He has not done so because of the effect of the INTERPOL


 Red Notice and the risk to his liberty were he to leave Switzerland.                                      f

 The Effects of Being Subject to an INTERPOL Red Notice


         8.      Should Mr. Khrapunov leave Switzerland, he must expect to be stopped at the Swiss


 border or a foreign airport upon arrival to identify himself. Although the existence of the Schengen


 Area, an area created by the Schengen Agreement which allows citizens to cross internal borders


 without being subjected to border checks, has eliminated border control between some European


 countries, the UK is outside of the Schengen Area.




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            9.     Essentially, a Red Notice status is a request for any country to identify or locate an

   individual with a view to their provisional arrest and extradition in accordance with the country's

   national laws. An individual who is subject to an INTERPOL Red Notice is subject to arrest in


   any member country. The UK and Spain are INTERPOL member countries.


            10.    There is no formal extradition treaty between the UK and Kazakhstan. However,

   that is not a bar to the extradition of a person from the UK to Kazakhstan. For instance, extradition

   could be effected by the governments entering into an ad hoc special extradition arrangement


   (provided for under the Extradition Act of 2003).


            11.   In this regard, it is highly relevant that co-operation between the UK and


  Kazakhstan in respect of criminal matters is ever growing. On April 4, 2016, a new treaty came


  into force, "Treaty between the United Kingdom of Great Britain and Northern Ireland and the

  Republic of Kazakhstan on Mutual Legal Assistance in Criminal Matters." The Home Office's


  Explanatory Memorandum (command paper no. 9179) states: "[t]his Treaty is a clear commitment

  by both parties to mutual-cooperation in the cross-border fight against crime and will strengthen

  bilateral relations more generally."


          12.     It is in this context that the prospect of an agreement being reached between the UK


  and Kazakh authorities to facilitate the extradition of Mr. Khrapunov can be readily anticipated.



  There is a High Likelihood that Kazakhstan Could Generate a "Surrogate" Extradition
  Request


         13.      The Kazakh authorities have worked closely with other former Soviet countries


  which have standing extradition processes with the United Kingdom and Spain to generate


  "surrogate" extradition requests.




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          14.    Both the Russian Federation and Ukraine are designated as "category 2" territories


   for the purposes of the UK's Extradition Act 2003, and as such, any requests for Mr. Khrapunov's


  provisional arrest or extradition from either of these countries would follow a more stream-lined


  procedure than were the request to come directly from Kazakhstan.      Were an extradition request


  (or provisional arrest request) for Mr. Khrapunov to be received by the UK from Russia or Ukraine


  it would be certified and executed in the normal way.


          15.    Therefore, the absence of an extradition treaty in place between Kazakhstan and the


  UK is clearly not an impediment to the possible detention and attempted extradition of Mr.


  Khrapunov.


  Ukrainian Criminal Proceedings


         16.     Indeed, November 20 1 6 Mr. Khrapunov discovered that there are unfounded extant


  criminal proceedings against him in the Ukraine and that these were commenced as far back as


  October 2015. The Ukrainian criminal proceedings are in relation to unsupported allegations that


  Mr. Khrapunov illegally intervened in the work of computers owned and used by the attorneys of


  Ilyashev & Partners Law Firm, the firm that represents JSC BTA Bank. This first came to his


  attention when a journalist provided him with a copy of a bundle of documents (the "Ukraine


 Documents Bundle"), a copy of which is attached hereto as Exhibit 2.


         17.    The Ukraine Document Bundle also includes English language versions of the


 various stamped, sealed and signed original documents. It is not apparent if the English language


 versions are official translations from the official bodies who authored the original documents. I


 believe that they faithfully translate the meaning and words of the original documents into English.


         18.    I describe the documents in the Ukraine Documents Bundle by reference to the


 contents of those English language versions:




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        (a)    A document entitled "RESOLUTION on putting the accused on the wanted list

               dated 17.03. 16. It is a document from a police major at the "the National Police of

               Ukraine; Head Administration of the National Police; in the city of Kyiv;

               Investigation Department.      This letter refers to a criminal case against Mr

               Khrapunov opened on 29.10.15 in connection with the alleged conspiracy by Mr

               Khrapunov from late summer - early autumn 2013 to interfere in the computer

               systems of the Bank's Ukrainian lawyers, Ilyashev & Partners, executed on

               13.11.13, contrary to various provisions of the Ukrainian Criminal Code.      It says

               that a 'notice of suspicion' was approved on 17.03.16. By this document it resolved

               to put Mr Khrapunov on the wanted list.        This document expressly identifies

               Ilyashev & Partners as: "representing] interests ofJSC "BTA Bank" (Republic of

               Kazakhstan)".



        (b)    A document entitled "RULING" which, on its face, is a record of the ruling of a

               Ukrainian investigating judge dated 22.03.16 upon an application by the Ukrainian

              police authorities for permission to detain Mr Khrapunov to bring him to Court on

              the basis of the Hacking Allegations. The document sets out that an investigating

              judge in Kiev ruled in a closed court session that it is necessary to permit detention

              of Mr Khrapunov to bring him to Court.          It also states that on 17.03.16, Mr

              Khrapunov was put on the wanted list (as per the resolution in the preceding

              document).



       (c)    A document entitled "RULING" which, on its face, is a record of the ruling of the

              same Ukrainian investigating judge dated 19.08.16 upon an application by the

              Ukrainian police authorities for permission to detain Mr Khrapunov in custody on

              the basis of the Hacking Allegations. The document sets out that the investigating

              judge ruled that Mr Khrapunov be detained in custody as a preventative measure.

              This document states that Mr Khrapunov was put on the international wanted list

              by way of a letter from the Ukrainian bureau of Interpol on 10.05.16.



       (d)    A letter dated 15.09.16 to Mr Herasymiv of Ilyashev & Partners (the Bank's

              Ukrainian lawyers), in which the police authority set out details of the listing on


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                   Interpol's wanted list of persons connected with allegations of fraud against the

                   Bank.    This letter states that it is in response to his "attorney's request" -

                  presumably this is a reference to a formal legal request Mr Herasymiv made on

                  08.09.16. I note that the top left hand side of the letter reads: "Your ref. no.: No

                  number ofSeptember 08, 2016". In this letter, it states that according to the records

                  of the Interpol General Secretariat that Mr Khrapunov is searched for at the instance

                  of both the Ukrainian and Kazakh bureaux of Interpol.



          19.     Given that Mr. Khrapunov's attendance of a deposition is a pre-planned scheduled


   event the existence of which is known to the Kazakh authorities, they will have plenty of time to


   set the necessary procedures in place, including organizing surrogate extradition requests.


  Furthermore, as explained above, due to the INTERPOL Red Notice, it is very likely that upon


  entering the UK the relevant UK authorities would communicate the fact of Mr. Khrapunov's


  presence in the UK back to the Kazakh and Ukrainian authorities.


         20.      In light of all of the foregoing, there is every reason to believe that the Kazakh


  and/or Ukrainian authorities would take advantage of the occasion of a scheduled visit by Mr.


  Khrapunov to England for an appearance at a deposition in this case to seek his detention and


  extradition. Indeed, this is exactly what they seem to have done in relation to a hearing scheduled


  for 26 May 2016 at which they expected Mr. Khrapunov to attend Court in London.


  Misleading of the Court bv the Bank in relation to the Ukrainian criminal proceedings


         21.      On 26 May 20 1 6 Mr. Khrapunov was due to attend Court in London but he instead


  applied for permission to give evidence by video link from Switzerland. The Judge refused the


  application on the basis of submissions from the Bank that there was no reason to suspect the


  Ukrainian authorities were likely to seek Mr. Khrapunov's extradition. On 26 November 2016 the


  Court of Appeal initially refused Mr. Khrapunov's application for permission to appeal against


 that decision.


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             22.     However, on 26 April 2017 the Court of Appeal set aside its initial order, on the


      grounds that both the Court of Appeal and Mr. Justice Philips had been misled by the Bank: in


      direct contradiction to the submissions it made to the Court, the Bank knew at all material times


      that there were outstanding criminal proceedings against Mr. Khrapunov in Ukraine and that the


      Ukrainian authorities had placed Mr. Khrapunov on the INTERPOL wanted list on 10 May 2016,


      1 6 days before he was due to attend Court in London to give evidence (see Court of Appeal ' s order


      attached hereto as Exhibit 3).


      Mr. Khrapunov's View that He is Safe From Extradition in Switzerland is Justified


             23.     Both Switzerland and France have seen through Kazakhstan's efforts to extradite


      by generating surrogate extradition requests made by Russia and Ukraine.1 Furthermore, the Swiss

      authorities have twice previously rejected requests to extradite Mr. Khrapunov's father, Viktor


  Khrapunov, to Kazakhstan. (See certified translated copy of a letter dated June 19, 2014 from the

  Swiss Federal Office of Justice, attached hereto as Exhibit 4). The basis for this refusal to grant


  extradition was Article 2 of the Swiss Federal Act on International Mutual Assistance in Criminal

  Matters, which provides:


            A request for cooperation in criminal matters shall not be granted if there are reasons to
            believe that the foreign proceedings



  i
      France refused to extradite to Russia after finding that the individual whose extradition was
 sought was an opponent of the political regime of Kazakhstan and further finding that the
 evidence showed Kazakhstan sought to pressure the Russian authorities to initiate criminal
 prosecution against the individual and to request his extradition to Russia. The French opinion
 cites Article 3(§ 2) of the European Convention on Extradition, which states that extradition shall
 not be granted "if the requested Party has substantial grounds for believing that a request for
 extradition for an ordinary criminal offence has been made for the purpose of prosecuting or
 punishing a person on account of his race, religion, nationality or political opinion, or that that
 person's position may be prejudiced for any of these reasons". The opinion goes on to find that
 the individual's extradition to Russia was sought for a political purpose. (See December 9, 2016
 Decision of The French Conseil D'Etat (Counsel of State) and Administrative Justice, attached
 hereto as Exhibit 5).


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                   a.     do not meet the procedural requirements of the European Convention for
                          the Protection of Human Rights and Fundamental Freedoms of 4
                          November 1950, or the International Covenant on Civil and Political
                          Rights of 16 December 1966;
                   b.     are being conducted so as to prosecute or punish a person on account of
                          his political opinions, his belonging to a certain social group, his race,
                          religion, or nationality;
                   c.     could result in aggravating the situation of the defendant for any of the
                          reasons mentioned under letter b; or
                   d.     have other serious defects.


   In the circumstances of the failed attempts to extradite his father, one can see why it would be


   unlikely that the Kazakh authorities would spend time and money seeking to have Mr. Khrapunov


   extradited from Switzerland, and indeed, why Mr. Khrapunov would feel a high degree of


   assurance that any such attempt would be unsuccessful.


          24.     The Swiss refusal to extradite to Kazakhstan, directly or indirectly, is a product of


  Swiss law, procedure and policy.




  I declare under penalty of perjury under the laws of the United States of America that the foregoing


  is true and correct.




  Executed on May 2, 2017
                                                                    r




                                                          Matthew George Jenkins




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                                                         KHRAPUNOV, ILYAS (ILIYAS)
                                                         WANTED BY THE JUDICIAL AUTHORITIES OF KAZAKHSTAN FOR PROSECUTION / TO SERVE A SENTENCE

                                                    IDENTITY PARTICULARS


                                                              Present family name:       KHRAPUNOV
                                                                          Forename:      ILYAS (ILIYAS)
                                                                                 Sex:    Male
                                                                        Date of birth:   15/01/1984 (33 years old)
                                                                       Place of birth:   TARAZ CITY, ZHAMBYL REGION, Kazakhstan
                                                                   Language spoken:      Kazakh, Russian, English, French
                                                                         Nationality:    Kazakhstan




                                                    CHARGES          Published as provided by requesting entity



                                                                            Charges:         The creation and guidance of an organised criminal group or criminal association (criminal
                                                                                             organisation), and participation in a criminal association; Legalization of monetary funds or
                                                                                             other property obtained illegally


                                                    PHOTOS




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            Copy for information purposes sent to:
3

            Geneva Public Prosecutor
            Route de Chancy 6b
            1211 Geneva 3


        Mr. Viktor Khrapunov
        Chemin du Petit-Saconnex 28b
        1209 Geneva




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5
        SL. OFJ, Bundesrain 20, 3003, Berne, Switzerland

        Mr. Viktor Khrapunov
        Chemin du Petit-Saconnex 28b
        1209 Geneva




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    Schweizerische Eidgenosssenschaft                                         Federal Department of Justice DF JP
    Confédération Suisse                                                      Federal office of justice OFJ
    Confederazione Svizzera                                                   Extraditions Unit
    Confederziun svizra

    SL. OFJ, Bundesrain 20, 3003, Berne, Switzerland
    Sent by certified mail
    General Prosecutor Office of the
    Republic of Kazakhstan
    14 Orynbor street
    Astana 010000



    Your reference: 2-013610-14-14131
    Our reference: B 229’674 /SL

    Berne, June 19, 2014

    Kazakhstan’s extradition request against Viktor KHRAPUNOV, born on November 24, 1948

    Dear Sir, Dear Madam:

    We refer to your extradition request of March 17, 2014 made by the Embassy of Kazakhstan by diplomatic
    memorandum no. 31-31-70 of April 1, 2014 and reply to you as follows:

    The Swiss Federal Office of Justice, the authority with jurisdiction for extradition matters, would like to point out
    that since there is no extradition treaty between Switzerland and Kazakhstan, Swiss domestic law governs this
    matter.

    In the case in point, Mr. Khrapunov cannot be extradited to Kazakhstan as a result of the criteria set forth in Swiss
    domestic law, in particular, Article 2 of the Federal Act on Mutual Assistance in Criminal Matters (EIMP; RS 351.
    11).

    However, we inform that the authorities of Kazakhstan may file a delegation request for the criminal prosecution of
    Mr. Khrapunov with our Office in addition to the criminal file, the relevant evidence and the applicable criminal
    provisions as well as the translation into the French language of the all the documentation.




    1
        Web link: http://www.admin.ch/opc/fr/classified-compilation/19810037/index.html

                                                           Laura Nolfo
                                                           Bundesrain 20, 3003 Berne, Switzerland
                                                           Telephone: +41 58 462 43 26. Fax: +41 58 462 53 80
                                                           irh@bi.admin.ch
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2
        We remind you that as a result of a mutual assistance request sent to Switzerland by the Public Prosecutor of
        Kazakhstan, the Public Prosecutor of the Canton of Geneva has opened a proceeding for money-laundering against
        Mr. Khrapunov.

        Mr. Khrapunov will receive a copy of this letter.

        Sincerely,

        [signature]

        Laura Nolfo




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THE FRENCH CONSEIL D’ETAT (COUNCIL OF STATE) AND
ADMINISTRATIVE JUSTICE

December 9, 2016

CE, December 9, 2016, Mr. O…

N° 394399, 400239

> Read the press release


The Conseil d’Etat, in a final decision (Litigation Section) on the report of the 2nd Chamber of the
Litigation Section
Session of December 9, 2016 - Reading of December 9, 2016
Considering the following procedures:
1° Under ref. N°394399, Mr. M…O… filed a summary application, a supplementary brief, a reply brief
and three new briefs on November 4, 2015, February 4, May 10, July 5, July 7 and October 21, 2016,
requesting that the Conseil d’Etat annul a September 17, 2015 decree granting his extradition to the
Russian authorities, on the grounds of ultra vires.
2° Under ref. N°400239, Mr. O… filed an application, a supplementary brief and a new brief on May
30, July 7 and October 21, 2016, requesting that the Conseil d'Etat:
1°) annul the Prime Minister's implied refusal to withdraw the decree of September 17, 2015, granting
his extradition to the Russian authorities on the grounds of ultra vires;
2°) order the State to pay the sum of 5,000 euros pursuant to Article L. 761-1 of the French Code of
Administrative Justice.
Given the other supporting documents provided;
Considering:
- The Constitution, in particular its Preamble;
- The European Convention for the Protection of Human Rights and Fundamental Freedoms;
- The European Convention on Extradition of December 13, 1957;
- The Convention against Torture and Other Cruel, Inhuman or Degrading Treatment or Punishment of
December 10, 1984;
- The Criminal Code;
- The Code of Criminal Procedure;
- The Code of Administrative Justice;
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After hearing in open session:
- A report by Mr. Clément Malverti, “auditeur” for the Conseil d’Etat,
- Conclusions by Ms. Béatrice Bourgeois-Machureau, public rapporteur;
and counsel for Mr. O… from the Waquet, Farge, Hazan, law firm who spoke before and after the
conclusions.
1. Whereas, by decree of September 17, 2015, the Prime Minister granted to the Russian authorities
the extradition of Mr. M…O…, a Kazakh national, on the basis of an order dated October 7, 2010 by a
judge of the Tver District Court demanding his detention in connection with an investigation for acts of
fraud and breach of trust on a large scale in an organized group, laundering on a large scale in an
organized group, with prior agreement, attempted abuse of power by a person in a management
position in a trading company with serious consequences and large-scale subtraction by fraud and
breach of trust, falsification of official documents with intention to grant a right or release from an
obligation in order to conceal another crime; that the applications filed by Mr. O... request the
annulment on the grounds of ultra vires of such decree and implicit refusal to withdraw it; whereas it is
necessary to combine those two applications in order to render a single decision;
2. Whereas, by virtue of a fundamental principle recognized by the laws of the Republic, the State
shall refuse the extradition of a foreigner when it is requested for a political purpose; whereas,
according to Article 3 (§2) of the European Convention on Extradition, extradition shall not be granted
“if the requested Party has substantial grounds for believing that a request for extradition for an
ordinary criminal offence has been made for the purpose of prosecuting or punishing a person on
account of his race, religion, nationality or political opinion, or that that person's position may be
prejudiced for any of these reasons”;
3. Whereas it appears from the documents brought before this Court that Mr. O… is an opponent of
the political regime in Kazakhstan and that he has been recognized as a political refugee by the British
authorities to protect him against the risks he would incur in his homeland; that the evidence brought
forth shows that the Kazakh authorities, who had previously pressured the Ukrainian authorities to
request the extradition of Mr. O…, sought to pressure Russia to initiate criminal prosecution against
Mr. O… and pressure the Russian authorities to request the applicant's extradition to Russia; that it is
also clear from the evidence brought forth that the extradition procedure was monitored by the Kazakh
authorities and was the subject of repeated exchanges between the Russian and Kazakh authorities
during the investigation; whereas all circumstances in this case show clearly that Mr. O…'s extradition
to Russia was sought for a political purpose; therefore, such extradition could not be lawfully granted;
whereas, without need to examine further the other pleas in the applications, Mr. O… is justified in
seeking the annulment, on the grounds of ultra vires, of the decree of September 17, 2015 by which
the Prime Minister granted his extradition to the Russian authorities and of the Prime Minister’s implied
refusal to withdraw it.
4. Whereas there is cause, in the circumstances of the present case, to order the State to pay the sum
of 3,000 euros to Mr. O… under the provisions of Article L. 761-1 of the Code of Administrative
Justice;
THE COURT RENDERS THE FOLLOWING DECISION:
Article 1: The decree of September 17, 2015 granting the extradition of Mr. M…O…to the Russian
authorities and the implied refusal to withdraw it are annulled.
Article 2: The State shall pay Mr. O… a sum of 3,000 euros under Article L. 761-1 of the Code of
Administrative Justice.
Article 3: This decision shall be notified to Mr. M…O…and to the French Minister of Justice.


http://www.conseil-etat.fr/Decisions-Avis-Publications/Decisions/Selection-des-decisions-faisant-l-objet-d-une-communication-
particuliere/CE-9-decembre-2016-M.-O
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                                           MATTHEW L. SCHWARTZ
                                           Tel.: (212) 303-3646
                                           E-mail: mlschwartz@bsfllp.com
                                                                         April 19, 2017	
  BY ECF AND HAND DELIVERY
  Honorable Katherine H. Parker
  United States Magistrate Judge
  Southern District of New York
  Daniel Patrick Moynihan Courthouse
  500 Pearl Street
  New York, New York 10007
               Re:           City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
                             Case No. 15 Civ. 5345 (AJN) (KHP)
  Dear Judge Parker:
          We represent the City of Almaty, Kazakhstan and BTA Bank (the “Kazakh Entities”) and
  write regarding the noticed deposition of defendant Ilyas Khrapunov. Khrapunov refuses to be
  deposed in any other location than Switzerland – a forum that Judge Nathan has already found is
  not suitable for U.S. discovery – based on nothing other than an unsubstantiated fear of being
  arrested if he travels. The Kazakh Entities respectfully request an order requiring Ilyas
  Khrapunov to sit for a deposition at a mutually-agreeable location pursuant to the Federal Rules.1
                                                             Relevant Background
          On March 20, 2017, the Kazakh Entities served a deposition notice on Ilyas Khrapunov,
  through his counsel. See Exh. 1. All parties agree that it was Khrapunov who secured funding for
  the New York real estate investments at issue in this case: the Kazakh Entities allege that he
  conspired to invest money stolen by his father-in-law (defendant Mukhtar Ablyazov) and his
  father (defendant Viktor Khrapunov), while defendants claim that Khrapunov acquired funding
  from his sister’s father-in-law, Gennady Petelin. Judge Nathan preliminarily found that the funds
  were traceable to Ablyazov. See ECF No. 175, at 6. Nonetheless, because the defendants
  continue to hide behind the Petelins, further evidence on this point is critical, and Khrapunov is
  obviously uniquely positioned to testify about whom he got the money from.
          Recent disclosures highlight the need for Khrapunov’s sworn testimony. Counsel for
  defendant Triadou SPV S.A. has disclosed that some or all of Khrapunov’s e-mail accounts were
  intentionally destroyed in August or September of 2014 – four months after he was named as a
  defendant in a RICO action brought by the City of Almaty in California (filed on May 13, 2014).
  See ECF No. 219, ¶ 114. With his documents destroyed, there is an even greater need for
  Khrapunov’s testimony as to his communications and financing of the investments at issue here.2
               Considering the importance of Khrapunov’s testimony, the Kazakh Entities offered to
  																																																								
               1
                  In accordance with Your Honor’s Individual Practices, the parties met and conferred on
  April 13, 2017 at 10:00 a.m. and could not reach a resolution on this issue.
               2
                   Judge Nathan preliminarily found that the threat of that lawsuit in California precipitated
  the allegedly fraudulent transactions by Khrapunov in New York, see ECF No. 175, at 21, and the
  subsequent destruction of his documents raises extremely serious issues of possible spoliation.
  	
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  conduct his deposition at a location in Europe, such as Spain or England, that would require only
  limited travel while ensuring a full deposition under the Federal Rules. But Khrapunov refuses to
  travel even within Europe to give testimony, claiming through counsel that he fears he will be
  arrested if he leaves Switzerland because he is the subject of an INTERPOL Red Notice. Instead,
  he demands to be deposed in Switzerland by a Swiss commissioner under the Hague Convention.
                                               Argument
           Khrapunov’s purported fear of arrest is neither credible nor a justification for evading a
  deposition under the Federal Rules. His demand to testify only under the limited Swiss Hague
  process is a transparent ploy to avoid giving full and admissible testimony. Khrapunov should be
  ordered to be deposed pursuant to the Federal Rules at a mutually-agreeable location, as Judge
  Nathan has already recognized that Switzerland is not an acceptable location because of the
  restrictions imposed on testimony under Swiss law. Moreover, Khrapunov’s claimed basis for
  refusing to travel is factually baseless, and even if it were not, fear of arrest is not a legitimate
  excuse for avoiding a full deposition. To the contrary, courts routinely order parties to be
  deposed in locations that expose them to a legitimate fear of arrest.
         As an initial matter, Khrapunov’s proclaimed fear of travel is unsupported by any
  evidence. As Judge Nathan has already found, Khrapunov was added to INTERPOL’s list of
  wanted persons at some time in 2012. See ECF No. 175, at 6. Since then, Khrapunov has
  remained at liberty, traveling both within Switzerland and internationally, including travel to the
  United States, the United Kingdom, Belgium, Greece, and various locations in Africa.
          He has remained at liberty because an INTERPOL Red Notice is not an arrest warrant
  and does not compel anyone to be arrested. It is a notification that a person is wanted by a third
  country and that this country is seeking international police cooperation. See “Red Notices,”
  INTERPOL, available at http://bit.ly/2o45fCb, last visited April 18, 2017 (“When INTERPOL
  publishes a Red Notice this is simply to inform all member countries that the person is wanted
  based on an arrest warrant or equivalent judicial decision issued by a country or an international
  tribunal. INTERPOL does not issue arrest warrants.”). Khrapunov has remained at liberty despite
  traveling between Switzerland, Greece, the United States, and other INTERPOL member states.
  He has not offered any evidence establishing that traveling within Europe for a deposition would
  place him at a greater risk of arrest than he currently faces, although that is his burden to carry.
  See Restis v. Am. Coal. Against Nuclear Iran, Inc., No. 13 CIV. 5032 ER KNF, 2014 WL
  1870368, at *3 (S.D.N.Y. Apr. 25, 2014) (statements by counsel of party’s fear of arrest are not
  evidence of inability to travel).
          Yet even if Khrapunov’s purported fear of arrest were credible, it would still not be
  justification for avoiding a deposition. “It is well settled under federal law that a party may not
  avoid a deposition to evade an outstanding warrant.” Erichsen v. Cty. of Orange, No. CV 14-
  2357 JAK (SS), 2016 WL 6921610, at *5 (C.D. Cal. Mar. 31, 2016). Neither is a party’s fear of
  arrest good cause to justify alternate testimonial arrangements. See In re Emanuel, 406 B.R. 634,
  637 (Bankr. S.D.N.Y. 2009) (fear of arrest a “neither good nor compelling” reason for ordering
  alternate means of testimony); see also Collazos v. United States, 368 F.3d 190, 204 (2d Cir.
  2004) (refusal to appear for deposition based on fear of arrest supported an adverse inference).
          Khrapunov’s real fear is of having to give admissible testimony. Khrapunov insists
  (through counsel) that he will testify only in Switzerland pursuant to the Hague Convention, but
  as courts – including this one, in this case – have recognized, the Swiss Hague procedures
  	
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  present serious evidentiary issues. Depositions taken in Switzerland are conducted not by the
  parties but by a Swiss commissioner who provides only an abbreviated summary of the
  testimony. See, e.g., Triple Crown Am., Inc. v. Biosynth AG, No. CIV.A. 96-7476, 1998 WL
  227886, at *4 (E.D. Pa. Apr. 30, 1998) (deposition in Switzerland “would be conducted in
  German by a judicial officer who would issue a report from handwritten notes, that the
  proceedings could not be transcribed by a party and that the ability of any Swiss attorney
  engaged by a party to pose questions to a deponent is not assured.”). Indeed, as noted, Judge
  Nathan already ordered Triadou’s corporate representative to appear at a mutually-agreeable
  location over its objection, rather than in Switzerland, for precisely this reason. ECF No. 284.
          In Schindler Elevator Corp. v. Otis Elevator Co. – a case relied on by Judge Nathan
  already here (ECF No 284, at 4) – the court denied a party’s request to be deposed in
  Switzerland, finding that the Swiss Hague procedure “would not comport with the general
  procedures and practices of a deposition recognized by the Federal Rules” and that “[t]he
  differences between the procedures applicable to a Convention deposition and those applicable to
  a general ‘question-and-answer’ deposition under the Federal Rules raise legitimate concerns
  about the sufficiency of a Hague deposition and the specter of prejudice.” 657 F. Supp. 2d 525,
  531 (D.N.J. 2009). In short, Khrapunov’s demand to be deposed under Swiss Hague procedures
  is merely an attempt to avoid probing questioning and to muddy the evidentiary record.
          Khrapunov’s unwillingness to be deposed under the Federal Rules is particularly
  suspicious in light of his previous refusals to provide sworn testimony. In litigation in the U.K.
  between BTA Bank and Ablyazov and Khrapunov, Khrapunov was found to be aiding
  Ablyazov’s efforts to circumvent asset freezing orders, and ordered to provide testimony
  disclosing his assets. See Exh. 2 ¶¶ 10–12. Khrapunov declined to give testimony, and instead,
  invoked his privilege against self-incrimination. Id. It appears that Khrapunov is now resorting to
  the notoriously unreliable Hague process in hopes that he might save himself from having to
  invoke the privilege again – and the negative inference that would bring. See Brinks Inc. v. City
  of New York, 717 F.2d 700, 710 (2d Cir.1983).
          Finally, Khrapunov cannot hide from discovery behind a purported fear of arrest while
  demanding discovery from the Kazakh Entities. If Khrapunov is truly remaining in Switzerland
  to avoid arrest, then he is a fugitive, and a fugitive cannot use the discovery process to his benefit
  while avoiding arrest. See S.E.C. v. Roman, No. 94 CIV. 3621 (SAS), 1996 WL 34146, at *1
  (S.D.N.Y. Jan. 30, 1996). The fugitive disentitlement doctrine explicitly prevents a fugitive from
  avoiding discovery obligations while using the courts to gain evidence from his opponents, as
  “one who flaunts the legal system is not entitled to benefit from it.” Id. Khrapunov has served
  numerous document requests and deposition notices on the Kazakh Entities, and received tens of
  thousands of documents in response (while he has produced virtually none). If Khrapunov
  prioritizes evading arrest over being deposed or participating in this lawsuit, then he has no right
  to seek discovery from the Kazakh Entities as they attempt to recover the assets his co-
  conspirators stole, and he should be barred from doing so going forward.
         For the foregoing reasons, the Court should order Ilyas Khrapunov to be deposed at a
  mutually agreeable location under the Federal Rules. Thank you for your consideration.
                                                         Respectfully,
                                                          /s/ Matthew L. Schwartz
                                                         Matthew L. Schwartz

  	
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    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK



     CITY OF ALMATY, KAZAKHSTAN and BTA
     BANK JSC,

                        Crossclaim Plaintiffs,                 15 Civ. 5345 (AJN) (SN)

            -against-

     MUKHTAR ABLYAZOV, VIKTOR
     KHRAPUNOV, ILYAS KHRAPUNOV, and
     TRIADOU SPV S.A.,

                        Crossclaim Defendants.




       CROSSCLAIM PLAINTIFFS’ NOTICE OF VIDEOTAPED DEPOSITION OF
                           ILYAS KHRAPUNOV

            PLEASE TAKE NOTICE that pursuant to Rule 30 of the Federal Rules of Civil

     Procedure, Crossclaim Plaintiffs, by and through their undersigned attorneys, will take

     the videotaped deposition, upon oral examination, of Ilyas Khrapunov on the following

     date and time, and at the following location:


            Date/Time                                Location
            April 3, 2017                            Offices of Boies, Schiller & Flexner LLP
            9:00 a.m.                                575 Lexington Ave., 7th Floor
                                                     New York, NY 10022

            The deposition will be taken before a notary public or some other person

     authorized to administer oaths, pursuant to Fed. R. Civ. P. 28. The testimony shall be

     recorded by sound-and-visual stenographic means, and real-time transcription will be

     available.

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              Crossclaim Plaintiffs reserve their right to request additional deposition time as

     related documents are produced by Defendants.


     Dated:              March 20, 2017


                                                Respectfully Submitted,

                                                BOIES, SCHILLER & FLEXNER LLP


                                                By:     /s/ Matthew L. Schwartz
                                                            Matthew L. Schwartz

                                                Peter M. Skinner
                                                Daniel G. Boyle

                                                BOIES, SCHILLER & FLEXNER LLP
                                                575 Lexington Avenue
                                                New York, NY 10022
                                                Telephone: 212-446-2300
                                                Facsimile: 212-446-2350




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 20, 2017, a copy of Crossclaim Plaintiffs’ Notice of
  Videotaped Deposition of Ilyas Khrapunov was served on counsel of record for Mukhtar
  Ablyazov, Viktor Khrapunov, Ilyas Khrapunov and Triadou SPV S.A., as follows:

  BY E-MAIL:

  Deborah A. Skakel
  Alex E. Hassid
  Robyn L. Michaelson
  BLANK ROME LLP
  405 Lexington Avenue
  New York, NY 10174
  dskakel@blankrome.com
  ahassid@blankrome.com
  rmichaelson@blankrome.com
  Counsel for Triadou SPV S.A.

  Jonathan D. Cogan
  KOBRE & KIM LLP
  800 Third Avenue
  New York, NY 10022
  jonathan.cogan@kobrekim.com
  Counsel for Mukhtar Ablyazov

  John J. Kenney
  John P. Curley
  HOGUE NEWMAN REGAL & KENNEDY LLP
  10 East 40th Street
  New York, NY 10016
  jkenney@hnrklaw.com
  jcurley@hnrklaw.com
  Counsel for Viktor and Ilyas Khrapunov

                                                             /s/ Matthew L. Schwartz
                                                         Matthew L. Schwartz

                                                      Boies, Schiller & Flexner LLP
                                                      575 Lexington Avenue
                                                      New York, NY 10022
                                                      Telephone: 212-446-2300
                                                      Facsimile: 212-446-2350




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          EXHIBIT 11
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                                                      MATTHEW L. SCHWARTZ
                                                      Tel.: (212) 303-3646
                                                      E-mail: mlschwartz@bsfllp.com

                                                      July 25, 2017
  BY ECF AND HAND DELIVERY

  The Honorable Alison J. Nathan
  United States District Judge
  Southern District of New York
  40 Foley Square, Room 2102
  New York, New York 10007

         Re:    City of Almaty, Kazakhstan, et ano. v. Mukhtar Ablyazov, et al.,
                Case No. 15 Civ. 5345 (AJN) (KHP)

  Dear Judge Nathan:

          We represent the City of Almaty, Kazakhstan and BTA Bank (the “Kazakh Entities”).
  Pursuant to 28 U.S.C. § 1781(b) and the Hague Convention on the Taking of Evidence Abroad in
  Civil or Commercial Matters, Mar. 18, 1970, 23 U.S.T. 2555, 847 U.N.T.S. 231, we respectfully
  submit this application requesting that the Court issue the enclosed Hague Convention Requests
  for International Judicial Assistance to the Central Authorities of Switzerland, the United
  Kingdom, and France, in the forms attached hereto as Exhibits 1 & 2 (Switzerland), 3 (the
  United Kingdom), and 4 (France).1 The Kazakh Entities have conferred with all parties and
  shared with them copies of these letters of request, and none of the parties have opposed the
  issuance of the enclosed Letters of Request in the attached forms.2 Some of the Defendants have
  expressed a desire to participate in questioning in any deposition resulting from these requests,



         1
                 The Kazakh Entities are transmitting this letter to the Court by both ECF and hand
  delivery. The hand-delivered version will have attached two copies of each proposed Letter of
  Request, to comply with the U.S. Department of State’s recommendation that Hague Convention
  requests be prepared in duplicate. Both copies will be labeled Exhibits 1 & 2 (Switzerland), 3
  (United Kingdom), and 4 (France).
         2
                  Counsel for Defendant Mukhtar Ablyazov has recently moved to withdraw from
  their representation of Defendant Ablyazov [ECF No. 351], and accordingly, declined to take a
  position on the draft Hague Requests. The Kazakh Entities agreed to postpone the filing of these
  requests until after counsel for Ablayzov had moved to withdraw, but were not aware at the time
  we reached that agreement that Ablyazov did not intend to retain new counsel to defend himself
  in this action going forward. [ECF No. 352, ¶ 6]. In light of Ablyazov’s representation that he
  will not be retaining new counsel [ECF No. 352, ¶ 6], the Kazakh Entities’ current inability to
  contact Ablyazov directly, and the time delay involved in the Hague process, the Kazakh Entities
  respectfully request that the Court issue the enclosed letters of request at this time.
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                                                               Hon. Alison J. Nathan
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  and the Kazakh Entities do not oppose sharing time for questioning. We therefore respectfully
  request that the Court issue the attached letters of request.

          Enclosed are three Letters of Request, to Switzerland, the United Kingdom, and France,
  respectively:

         Switzerland (Exs. 1 & 2): On June 7, 2017, Magistrate Judge Parker issued a
  memorandum and order directing that the Kazakh Entities take Defendant Ilyas Khrapunov’s
  deposition pursuant to the Hague process in the first instance. [ECF No. 330].3 Pursuant to the
  Conditions for a Commissioner or Diplomatic or Consular Officer to Obtain Evidence in
  Switzerland, as set forth by the Swiss Federal Office of Justice as of May 2013 (the
  “Conditions”), this Court may appoint a commissioner or commissioners to collect evidence in
  Switzerland, and such a court-appointed commissioner may be authorized by the Swiss Central
  Authority to take the depositions of voluntary witnesses located in Switzerland. In accordance
  with the Conditions, the Kazakh Entities have prepared the attached Letter of Request (Ex. 1)
  and Commission (Ex. 2), which designate the parties’ counsel and accompanying Swiss co-
  counsel as commissioners for the purpose of taking the testimony of Defendants Ilyas & Viktor
  Khrapunov, and identify the proposed topics for examination.

          The United Kingdom (Ex. 3): The proposed Amended Letter of Request to the United
  Kingdom responds to the concerns expressed in the letter to Your Honor from Senior Master B.J.
  Fontaine of the Queen’s Bench Division, dated May 16, 2017 [ECF No. 327], instructing the
  parties to file an amended Hague Request conforming to certain requirements under United
  Kingdom law. This Amended Letter of Request seeks documents and testimony related to Eesh
  Aggarwal and companies controlled by him relating to his provision of financial services for the
  benefit of the Defendants, including the shell company Telford International Limited. The Court
  has preliminarily found that Telford was “an Ablyazov investment entity used to move
  Ablyazov’s funds,” ECF No. 175, at 6, and the Kazakh Entities are seeking the assistance of the
  Central Authority of the United Kingdom in securing documentary evidence and testimony from
  Aggarwal regarding the sources of the funds transferred for the Defendants’ benefit.

          France (Ex. 4): Similar to the position taken by Defendants Ilyas & Viktor Khrapunov,
  prior to his counsel’s motion to withdraw, Ablyazov expressed (through counsel) that he could
  only be deposed in France pursuant to the Hague Convention.4 The attached proposed Letter of
         3
                  In that order, Magistrate Judge Parker noted that while the Kazakh Entities were
  required to seek Ilyas Khrapunov’s testimony through the Hague process in the first instance, “in
  light of the materiality of Khrapunov’s testimony to this action, should the Hague procedures
  ultimately prove ineffective, the Kazakh Entities may apply for permission to seek additional
  testimony from Khrapunov outside of Switzerland.” [ECF No. 330, at 13].
         4
                  While Ablyazov was previously incarcerated, he has now been released and news
  reports indicate that the Interpol red notice against him has been withdrawn. Interpol’s website
  likewise does not indicate that he is the subject of any pending red notice for his detention (see
  https://www.interpol.int/notice/search/wanted), and a July 20, 2017 post on Ablyazov’s public
  Facebook page indicates the same (available at http://bit.ly/2tUeIeZ, last visited July 24, 2017).
  The Kazakh Entities therefore no longer believe that the logic of Judge Parker’s order with
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  Request to France seeks the permission of the French Ministry of Justice in deposing Ablyazov
  in that country, and identifies the topics for the proposed deposition.

         If the attached proposed Letters of Request are acceptable to the Court, we respectfully
  request that Your Honor endorse these letter applications, and take the following actions:

         1. The Kazakh Entities respectfully request that Your Honor sign both of the duplicates
            for each Letter of Request (including the Commission to take the Depositions of Ilyas
            & Viktor Khrapunov in Switzerland) attached to the hand-delivered copy of this
            application.

         2. The Kazakh Entities respectfully request that Your Honor then direct the Clerk of the
            Court to:

                 a. apply the seal of the Court to both signed copies of each Letter of Request;

                 b. file a copy of each signed Letter of Request in the docket of this action; and

                 c. return the two signed copies of each Letter of Request and Commission to
                    undersigned counsel to be transmitted to the designated Hague Convention
                    Central Authorities, at the below addresses.

                        Switzerland:
                        Tribunal civil - Tribunal de première instance
                        Place du Bourg-de-Four 1
                        Case postale 3736
                        CH-1211 Genève 3, Switzerland
                        tpi.securise@justice.ge.ch

                        With a copy to:

                        Federal Office of Justice FOJ
                        Private International Law Unit
                        CH-3003 Bern, Switzerland

                        The United Kingdom:
                        The Senior Master
                        For the attention of the Foreign Process Section


  respect to Ilyas Khrapunov’s deposition [ECF No. 330] would control here. As such, the Kazakh
  Entities intend to move to compel Ablyazov’s deposition in the United States, but are continuing
  to pursue the Hague process as an alternative to ensure the timely completion of necessary
  discovery. See generally ECF No. 362 (7/13/2017 Hearing Tr.) at 50 (Judge Parker suggesting
  that the parties may wish to pursue Hague Convention and party discovery “in tandem” to
  promote efficiency).
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                                                               Hon. Alison J. Nathan
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                        Room E16
                        Royal Courts of Justice
                        Strand
                        LONDON WC2A 2LL

                        France:
                        Ministère de la Justice
                        Direction des Affaires Civiles et du Sceau
                        Bureau du droit de l'Union, du droit international privé et de l'entraide
                        civile (BDIP)
                        13, Place Vendôme
                        75042 Paris Cedex 01

        In keeping with the Court’s practice in other Hague requests in this action, we will send a
  messenger to the Courthouse to pick up all originals from the Clerk’s Office once executed.

         Thank you for your consideration of this request.

                                                       Respectfully submitted,

                                                        /s/ Matthew L. Schwartz
                                                       Matthew L. Schwartz
                                                       BOIES SCHILLER FLEXNER LLP
                                                       575 Lexington Avenue
                                                       New York, New York 10022
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                            Exhibit 1
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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  ____________________________________
                                       )
  CITY OF ALMATY, KAZAKHSTAN,         )
  and BTA BANK JSC                     )
                                       )
              Plaintiffs,              )
                                       )
              v.                       )              No. 15-cv-05345 (AJN) (KHP)
                                       )
  MUKHTAR ABLYAZOV, ILYAS              )
  KHRAPUNOV, VIKTOR KHRAPUNOV )
  and TRIADOU SPV S.A.,                )
                                       )
              Defendants.              )
                                       )



       LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
         PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON
    THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

         The United States District Court for the Southern District of New York (the “Court”),

  presents its compliments to the Geneva Civil Court of the First Instance of the Swiss

  Confederation under the Hague Convention on the Taking of Evidence Abroad in Civil or

  Commercial Matters (“Hague Convention”), and pursuant to Article 17 of the Hague

  Convention, requests international judicial assistance to obtain evidence to be used in a civil

  proceeding before this Court in the above-captioned matter. This Court respectfully requests that

  the Geneva Civil Court recognize this Letter of Request from this Court and accompanying

  Commission, and that the Federal Department of Justice and Police authorizes the taking of

  evidence in the territory of Switzerland by the commissioners appointed for this purpose as

  developed below, in adherence to Article 17 of the Hague Convention and in the interest of

  comity.



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         A.      Sender

         The Honorable Alison J. Nathan, United States District Judge for the Southern District of

  New York, New York, New York, United States of America.

         B.      Central Authority of the Requested State

         The present Letter of Request is addressed to:

         Tribunal civil - Tribunal de première instance
         Place du Bourg-de-Four 1
         Case postale 3736
         CH-1211 Genève 3, Switzerland
         tpi.securise@justice.ge.ch

         With a copy to:

         Federal Office of Justice FOJ
         Private International Law Unit
         CH-3003 Bern, Switzerland

         C.      Person to Whom the Authorized Commission is to Be Returned

         This Court hereby requests that this executed Letter of Request and authorized

  Commission be returned to the following attorneys for the Plaintiffs, the City of Almaty,

  Kazakhstan and BTA Bank (collectively, the “Plaintiffs”), as an officer of this Court:

         Matthew L. Schwartz, Esq.
         Boies Schiller & Flexner, LLP
         575 Lexington Avenue
         New York, New York 10022
         Telephone Number: +1 (212) 446-2300
         Fax Number: +1 (212) 446-2350
         mlschwartz@bsfllp.com

         Represented in Switzerland by the Plaintiffs' Swiss attorney:

         Balz Gross, Esq.
         Claudio Bazzani, Esq.
         Homburger AG
         Prime Tower
         Hardstrasse 201
         CH-8005 Zurich, Switzerland

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         Telephone: +41 43 222 1000
         Fax:_ +1 43 222 1500
         Email: balz.gross@homburger.ch
         Email: claudio.bazzani@homburger.ch

         As an officer of this Court, he will act as confidential courier of this Court and deliver the

  executed Letter of Request, authorized Commission, and any related documents and materials

  directly to me at the following address:

         The Honorable Alison J. Nathan
         United States District Court for the Southern District of New York
         Thurgood Marshall United States Courthouse
         40 Foley Square, Room 2102
         New York, New York 10007

         All documents and materials deposited with the Court in accordance with this Letter of

  Request and Commission will be available to all parties and their counsel.

         D.      Purpose of Evidence Sought and Requested Date of Receipt of Response

         The requested commission will permit the collection of evidence to be used by the parties

  in support of their claims or defenses. The Court accordingly respectfully requests a prompt

  response to this Letter of Request.

  I.     HAGUE CONVENTION REQUIREMENTS

         This Court requests the assistance more specifically described herein as necessary in the

  interests of justice. In conformity with Article 3 of the Hague Convention, the undersigned

  applicant has the honor to submit the following request:

         A.      Requesting Judicial Authority

         The Honorable Alison J. Nathan
         United States District Court for the Southern District of New York
         Thurgood Marshall United States Courthouse
         40 Foley Square




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         New York, New York 10007, USA

         B.      Central Authority of the Requested State

         Tribunal Civil - Tribunal de Première Instance
         Place du Bourg-de-Four 1
         Case postale 3736
         CH-1211 Genève 3, Switzerland

         C.      Name of the Case and Identifying Number

         All evidence requested will be used in relation to the above-captioned civil lawsuit,

  which can be identified by the following information:

         Case Name: City of Almaty, Kazakhstan, et al. v. Mukhtar Ablyazov, et al.
         Court:       United States Federal District Court for the Southern District of New York
         Case Number: 15-cv-05345 (AJN)

         D.      Names and Addresses of the Parties and their Representatives

                 1.     Plaintiffs

         The City of Almaty, Kazakhstan (“Almaty”) and BTA Bank JSC (“BTA”) are,

  respectively, a political subdivision and a citizen of the Republic of Kazakhstan.

                 2.     Plaintiffs’ Representative

         Matthew L. Schwartz, Esquire
         Boies, Schiller & Flexner LLP
         575 Lexington Avenue
         New York, NY 10022
         Telephone: +1 (212) 446-2300
         Fax: +1 (212) 446-2350
         Email: mschwartz@bsfllp.com

         and

         Balz Gross, Esq.
         Claudio Bazzani, Esq.
         Homburger AG
         Prime Tower
         Hardstrasse 201
         CH-8005 Zurich, Switzerland
         Telephone: +41 43 222 1000

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         Fax:_ +1 43 222 1500
         Email: balz.gross@homburger.ch
         Email: claudio.Bazzani@homburger.ch

                3.      Defendants

         Defendant Mukhtar Ablyazov is a national of the Republic of Kazakhstan, currently

  domiciled in Paris, France. Defendant Ilyas Khrapunov is a national of the Republic of

  Kazakhstan, currently domiciled in Geneva, Switzerland. Defendant Viktor Khrapunov is a

  national of the Republic of Kazakhstan, currently domiciled in Geneva, Switzerland. Defendant

  Triadou SPV S.A. is a company established under the laws of Luxembourg, with a registered

  address at 60 Grand-Rue, L-1660 Luxembourg.

                4.      Defendants’ Representatives

        Mukhtar Ablyazov                                Ilyas and Viktor Khrapunov
        Jonathan D. Cogan, Esquire                      John J. Kenney, Esquire
        Kobre & Kim LLP                                 John P. Curley, Esquire
        800 Third Avenue, 6th Floor                     Hoguet, Newman, Regal & Kenney, LLP
        New York, New York 10022                        10 East 40th Street.
        Telephone: +1 (212) 488-1200                    New York, NY 10016
        Facsimile: +1 (212) 488-1220                    Telephone: +1 (222) 689-8808
        Email: jonathan.cogan@kobrekim.com              Facsimile: +1 (212) 689-5101
                                                        Email: jkenney@hnrklaw.com
        Triadou SPV S.A.                                Email: jcurley@hnrklaw.com
        Deborah A. Skakel, Esquire
        Blank Rome LLP
        405 Lexington Avenue
        New York, NY 10174
        Telephone: +1 (212) 885-5000
        Facsimile: +1 (212) 885-5001
        Email: dskakel@blankrome.com

         E.     Nature of the Proceedings and Summary of the Case and Relevant Facts

         The above-captioned case is a civil lawsuit brought by Plaintiffs seeking equitable relief

  and money damages for injuries resulting from the alleged embezzlement and laundering of

  funds belonging to Plaintiffs, and enforcement of a foreign judgment under New York law. See



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  Ex. A (Plaintiffs’ Amended Crossclaims). Defendant Viktor Khrapunov is the former mayor of

  the City of Almaty. Defendant Mukhtar Ablyazov is the former chairman of BTA Bank.

  Defendant Ilyas Khrapunov is Viktor Khrapunov’s son and Defendant Ablyazov’s son-in-law.

  Defendant Triadou SPV S.A. (“Triadou”) is an entity established in Luxembourg and allegedly

  controlled by Ilyas Khrapunov.

         Plaintiffs allege that Viktor Khrapunov abused his office as the Mayor of Almaty,

  Kazakhstan to enrich himself and his family members through a series of corrupt property

  dealings, channeling state-owned property to his family members and associates for below-

  market values, which were then resold to third parties for enormous profits. See Ex. A, at ¶ 45-

  61. Plaintiffs also allege that Defendant Ablyazov embezzled billions of dollars by abuse of his

  office at BTA Bank, one of Kazakhstan’s largest banks, which was subsequently nationalized by

  the Government of Kazakhstan. See Ex. A, at ¶ 28-44. When his actions were uncovered by

  bank regulators in Kazakhstan, Ablyazov fled to the United Kingdom, where BTA brought a

  series of civil fraud actions against him. Ablyazov repeatedly defied orders of the U.K. courts to

  disclose his assets, leading to his being sentenced to 22 months imprisonment for contempt.

  Ablyazov fled sentencing in the U.K. and went into hiding, and the U.K. courts awarded BTA

  billions of dollars in judgments against Ablyazov and his associates for their theft from BTA.

  Ablyazov was subsequently discovered and arrested in France. Plaintiffs have alleged that while

  fighting extradition, Ablyazov conspired with his son-in-law, Ilyas Khrapunov, to hack the

  mobile phones and computers of French judicial authorities and prosecutors. See Ex. A ¶ 73 –

  76. Ablyazov has since been released from French prison, but claims that he is applying for

  asylum in France and thus cannot travel to give testimony in this matter.




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          As specifically relevant to the above-captioned action, Ablyazov and Viktor Khrapunov

  are alleged to have laundered some of the commingled proceeds of their actions into the United

  States through a special purpose vehicle, Defendant Triadou SPV S.A (“Triadou”) controlled by

  Ilyas Khrapunov. See Ex. A, at ¶ 77 – 97. Once those assets were discovered, the Defendants are

  alleged to have entered into transactions in the United States that caused further and distinct

  injuries to the Plaintiffs, including allegedly engaging in fraudulent conveyances that diminished

  the value of those assets. The Court has granted attachment of Triadou’s assets in New York in

  the amount of $69,275,810.00.

          Plaintiffs and Defendants currently are engaged in discovery, where the parties exchange

  information concerning their claims and defenses. The Court accordingly has not addressed the

  merits of Plaintiffs’ allegations.

          Plaintiffs contend that the information sought by this request is available to the Geneva

  Civil Court. This Court respectfully requests that the Geneva Civil Court act on this request

  expeditiously.

  F.      Evidence to Be Obtained

          Based on the foregoing, this Court respectfully requests that the Geneva Civil Court

  recognize the attached Commission, so that the appointed commissioners may lawfully obtain

  testimony from the following witnesses, on the below-stated topics:

          1.       A deposition of Ilyas Khrapunov, who resides at 295, Route d'Hermance, 1247

  Anieres, Geneva, Switzerland, on the following topics:

                   1)     Triadou SPV S.A., including its formation, operation, funding, and its
                          investments, including but not limited to:
                            a. The Flatotel condominium conversion in New York, NY;
                            b. The Cabrini Medical Center conversion in New York NY;
                            c. The Syracuse Mixed Use Complex in Syracuse, NY;

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                       d. The Tri-County Mall in Cincinnati, OH;
              2)     Telford International Limited (“Telford”), including
                       a. Funding provided by Telford for Triadou’s investments;
                       b. The sources of funds Triadou received from Telford;
                       c. Due diligence done on Telford and its beneficial owners;
                       d. Funding provided by Telford for any investment by SDG or Ilyas
                          Khrapunov, including the purchase of any securities;
                       e. Any connection or relationship between Telford Financiers and
                          Telford International Limited
              3)     The formation of a real estate investment fund incorporated in
                     Luxembourg including Triadou’s assets and investments;
              4)     The structure and operations of SDG Capital SA (“SDG”), including any
                     current or former subsidiaries or affiliates, including:
                       a. The sources of SDG’s funding;
                       b. SDG’s investments through Porto Heli SPV;
                       c. SDG’s investments through Igloo SPV;
              5) The purported sale of SDG to Philippe Glatz in 2013, including:
                       a. Ilyas Khrapunov’s relationship and communications with Philippe
                          Glatz;
                       b.The source(s) of funds used to acquire SDG; and
                       c. Ilyas Khrapunov’s employment or services to SDG before and after
                          the purported sale;
              6)     FBME Bank (“FBME”), including:
                       a. Any accounts held at FBME by Ilyas Khrapunov or entities he or his
                          family members (including in-laws) own or control;
                       b. Any transfers of funds from accounts at FBME for the benefit of
                          Triadou or SDG;
                       c. Any communications between officers or employees of FBME and
                          Ilyas Khrapunov or his agents;
              7)     Transfers of funds involving the following entities:
                       a. VILDER Company
                       b. Northern Seas Waterage
                       c. Crownway Limited
                       d. Beford Limited
                       e. Beron Holdings


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                      f. Ignoramus Limited
                      g. Ramasita Investments
                      h. Lampwood Limited
                      i. Sartfield Limited
                      j. Claremont Holdings Limited
                      k. RPM USA
                      l. RPM-Maro
                      m. San Vito Investments Corp.
                      n. Adlux Group
                      o. SWISS TV
              8)    Ilyas Khrapunov’s relationship and communications with Peter Sztyk
                    (a/k/a Petro Sztyk), including:
                      a. The involvement of Mr. Sztyk in funding Triadou, SDG, or any of
                         their subsidiaries of affiliates;
                      b.   Any intended or planned sale of Triadou, in whole or part, to Mr.
                           Sztyk or any entity owned or controlled by him;
                      c. Any services or representation Mr. Sztyk provided to Ilyas
                         Khrapunov or Ablyazov;
              9)    Ablyazov’s assets, both in his name and held by associates for his benefit;
              10)   Ablyazov’s ownership or control of any corporate entities;
              11)   The sources of funding for Ablyazov’s legal expenses in the United
                    Kingdom;
              12)   Disclosures made by Ilyas Khrapunov pursuant to any freezing or
                    receivership orders of the courts of the United Kingdom;
              13)   Acts of hacking or unauthorized access to the electronic communications
                    of any government officials, including:
                      a. the employment of or payments to any their-party computer hackers;
                      b. Ilyas Khrapunov’s receipt of electronic communications obtained
                         without authorization;
              14)   Ilyas Khrapunov’s relationship and communications with Nicolas Bourg,
                    including those related to Bourg’s companies the Niel entities;
              15)   Ilyas Khrapunov’s communications with Laurent Foucher;
              16)   Ilyas Khrapunov’s communications with Kevin Meyer;
              17)   Ilyas Khrapunov’s communications with Mukhtar Ablyazov;
              18)   Ilyas Khrapunov’s communications with Eesh Aggarwal;


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                19)    Ilyas Khrapunov’s communications with Viktor Khrapunov;
                20)    Ilyas Khrapunov’s communications with Gennady Petelin;
                21)    Ilyas Khrapunov’s communications with Elena Petelina;
                22)    Ilyas Khrapunov’s communications with Petr Krasnov;
                23)    Ilyas Khrapunov’s communications with Alexander Yassik;
                24)    Ilyas Khrapunov’s communications with Joseph Chetrit;
                25)    Ilyas Khrapunov’s communications with Felix Sater;
                26)    Ilyas Khrapunov’s communications with Daniel Ridloff;
                27)    Ilyas Khrapunov’s communications with Botagoz Dzhardemali (a/k/a Bota
                       Jardemalie);
                28)    Ilyas Khrapunov’s retention of relevant documents or electronic
                       communications, or maintenance of such documents by SDG, Triadou, or
                       any of Ilyas Khrapunov’s employees, counsel, or agents.
                29)    The allegations in the Amended Crossclaims.
         2.     A deposition of Viktor Khrapunov, who resides at 28b Chemin du Petit-

  Saconnex, 1209 Geneva, Switzerland, on the following topics:

                1)     Viktor Khrapunov’s actions as Mayor of the City of Almaty Kazakhstan,
                       including:
                         a. Viktor Khrapunov’s oath of office and ethical and legal obligations as
                            Mayor of Almaty;
                         b.The transfer of property in the “Two Rivers” area of Almaty, as
                           referenced in ¶ 51 of the Amended Crossclaims;
                         c. The April 2001 transfer of property to “KRI”, as referenced in ¶ 53 of
                            the Amended Crossclaims;
                         d. The 2003 seizure and resale of property from Shadid Engineering, as
                           referenced in ¶ 54 of the Amended Crossclaims;
                         e. The transfer for sale of any property owned or controlled by the City
                            of Almaty to Leila Khrapunova or entities owned or controlled by her;
                2)     Transfers of funds involving the following entities:
                         a. TOO KazRealIncom
                         b.TOO KarashaPlus
                         c. TOO Building Service Company
                         d.TOO Compania Stroytech
                         e. TOO Altay


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                      f. Viled Establishment
              3)    The formation, funding, and investments of SDG Capital SA (“SDG”),
                    including any current or former subsidiaries or affiliates, including:
                      a. The sources of SDG’s funding;
                      b. SDG’s investments through Porto Heli SPV;
                      c. SDG’s investments through Igloo SPV;
                      d. The purported sale of SDG to Philippe Glatz in 2013;
              4)    The formation, operation, funding, and investments of Triadou SPV S.A.,
                    including Triadou’s investments in:
                      a. The Flatotel condominium conversation in New York, NY;
                      b. The Cabrini Medical Center conversion in New York NY;
                      c. The Syracuse Mixed Use Complex in Syracuse, NY;
                      d. The Tri-County Mall in Cincinnati, OH;
              5)    Telford International Limited (“Telford”), including
                      a. Funding provided by Telford for Triadou’s investments;
                      b. The sources of funds Triadou received from Telford;
                      c. Due diligence done on Telford and its beneficial owners;
                      d. Any connection between Telford International Limited and Telford
                         Financiers Corp.;
              6)    FBME Bank (“FBME”), including:
                      a. Any accounts held at FBME by Viktor Khrapunov or entities he or
                         his family members (or in-laws) own or control;
                      b. Any transfers of funds from accounts at FBME for the benefit of
                         Triadou or SDG;
                      c. Any communications between officers or employees of FBME and
                         Ilyas Khrapunov or his agents;
              7)    The net worth of Viktor Khrapunov and his immediate family, as
                    referenced in public reports and ¶ 61 of the Amended Crossclaims;
              8)    Tax reporting by Viktor Khrapunov and his spouse, as referenced in ¶ 61
                    of the Amended Crossclaims;
              9)    Viktor Khrapunov’s disclosures and statements to Swiss law enforcement
                    authorities;
              10)   Investments by Viktor Khrapunov and his immediate family members in
                    the United States, including the purchase and sale of any real property;
              11)   Acts of hacking or unauthorized access to the electronic communications
                    of any government officials, including:

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                          a. the employment of or payments to any third-party computer hackers;
                          b. Viktor Khrapunov’s receipt of electronic communications obtained
                             without authorization;
                 12)    Viktor Khrapunov’s communications with Mukhtar Ablyazov;
                 13)    Viktor Khrapunov’s communications with Abylaykhan Karymsakov;
                 14)    Viktor Khrapunov’s communications with Eesh Aggarwal;
                 15)    Viktor Khrapunov’s communications with Ilyas Khrapunov;
                 16)    Viktor Khrapunov’s communications with Leila Khrapunova;
                 17)    Viktor Khrapunov’s communications with Gennady Petelin;
                 18)    Viktor Khrapunov’s communications with Elena Petelina;
                 19)    Viktor Khrapunov’s communications with Petr Krasnov;
                 20)    Viktor Khrapunov’s communications with Alexander Yassik;
                 21)    Viktor Khrapunov’s communications with Peter Sztyk (a/k/a Petro Sztyk);
                 22)    Viktor Khrapunov’s communications with Nicolas Bourg;
                 23)    Viktor Khrapunov’s retention of relevant documents or electronic
                        communications, any of Viktor Khrapunov’s employees, counsel, or
                        agents.
                 24)    The allegations in the Amended Crossclaims.


         The witnesses Ilyas Khrapunov and Viktor Khrapunov have voluntarily agreed to be

  deposed in connection with the above-captioned case and know that they cannot be subjected to

  any coercive measures, that they cannot be forced to participate or to appear and that they have

  the right to invoke any exemption or prohibition to give evidence provided for by the laws of

  Switzerland or of the United States of America. See Exs. A, B.

  G.     Procedure for Obtaining the Evidence

         If authorized, testimony from the witnesses will be obtained by the commissioners at the

  offices of one of the appointed commissioners in Switzerland, and will be under oath and recorded

  by video and stenography. Cross-examination of the witnesses is requested, and it is requested that

  each of the commissioners be authorized to conduct examination.


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         The testimonies from the witnesses should be obtained as soon as practically possible. The

  exact date(s) will be scheduled once the Federal Department of Justice and Police has issued its

  authorization. The parties will notify the date(s) to the Geneva Civil Court. The Parties expect the

  Commissioners, if authorized, would seek to collect the identified evidence on or about September

  11-15, 2017.


  II.    OTHER REQUIREMENTS

         A.      Fees and Costs

         Plaintiffs are responsible for reasonable copy costs and charges associated with the

  processing and handling of this request by the Geneva Civil Court.

         For the purpose of determining the court fees, the parties estimate the amount in dispute

  to be in excess of USD 70 million.

         B.      Reciprocity

         This Court expresses its sincere willingness to provide similar assistance to the courts of

  the Swiss Confederation, if future circumstances so require.



  III.   CONCLUSION

         This Court, in the spirit of comity and reciprocity, hereby requests international judicial

  assistance in the form of this Letter of Request seeking information, testimony, and things

  described herein, from the Geneva Civil Court. This Court extends to all judicial and other

  authorities of the Swiss Confederation the assurances of its highest consideration.



  Date: ________________                        __________________________________
                                                The Honorable Alison J. Nathan
                                                United States District Court for the

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                                       Thurgood Marshall United States Courthouse
                                       500 Pearl Street, Room 1620
                                       New York, New York 10007-1312

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                                       COURT FOR THE SOUTHERN DISTRICT OF
                                       NEW YORK




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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

                                                    )
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  MEMBERS LLC and THE CHETRIT GROUP,                ) Case No. 15-cv-05345-AJN
  LLC,                                              )
                                                    )
                         Interpleader Plaintiffs,   )
                                                    )
                   -against-                        ) AMENDED CROSSCLAIMS
                                                    )
  TRIADOU SPV S.A., CITY OF ALMATY, a               )
  foreign city, and BTA Bank,                       )
                                                    )
                       Interpleader Defendants.     )
                                                    )
                                                    )
                                                    )
  CITY OF ALMATY, KAZAKHSTAN and                    )
  BTA BANK,                                         )
                                                    )
                          Crossclaim Plaintiffs,    )
                                                    )
                   -against-                        )
                                                    )
                                                    )
  MUKHTAR ABLYAZOV, VIKTOR                          )
  KHRAPUNOV, ILYAS KHRAPUNOV,                       )
  TRIADOU SPV S.A., AND FBME BANK                   )
  LTD.,                                             )
                                                    )
                       Crossclaim Defendants.       )
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          Crossclaim Plaintiffs City of Almaty (“Almaty”) and BTA Bank (“BTA” or “BTA Bank,”

  and together with Almaty, the “Kazakhstan Plaintiffs”), by and through their undersigned

  counsel, for the Kazakhstan Plaintiffs’ crossclaims against Defendants Triadou SPV S.A., Viktor

  Khrapunov, Mukhtar Ablyazov, Ilyas Khrapunov, and FBME Bank Ltd. (collectively the

  “Ablyazov-Khrapunov Group”) allege as follows:

                                         INTRODUCTION

          1.      Joseph Chetrit (“Chetrit”) is a well-known New York based real estate developer,

  who, along with crossclaim defendants Mukhtar Ablyazov (“Ablyazov”), Victor Khrapunov, Ilyas

  Khrapunov and others known and unknown, combined, conspired, and confederated in the

  commission of an international scheme to launder and conceal at least $40 million stolen from the

  Kazakhstan Plaintiffs. Chetrit conspired with these international criminals by, among other

  things, partnering with Triadou SPV S.A. (“Triadou”), a nominee entity owned, controlled, and

  funded by the Ablyazov-Khrapunov Group, for the purposes of converting the stolen funds into

  valuable New York City real estate.

          2.      BTA, a bank based in Almaty, Kazakhstan, seeks to regain assets looted by its

  former Chairman, Mukhtar Ablyazov, who abused his position to enrich himself and treat BTA as

  his personal property. BTA has commenced and successfully obtained judgments in proceedings

  against Ablyazov in the courts of the United Kingdom for defrauding BTA Bank of no less than

  $4 billion.

          3.      Almaty, the largest city in the Republic of Kazakhstan, seeks to regain assets

  looted by its former mayor, Victor Khrapunov (“Khrapunov”), and his family and co-

  conspirators, to be returned for the benefit of the people of Almaty. Khrapunov abused and

  corrupted his position as the mayor of Almaty for the purposes of embezzlement, fraudulent self-


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   dealing, and blatant looting of public assets. He reaped an estimated $300 million or more

   through various fraudulent activities, including rigged auctions, the improper sale of public

   property to friends and co-conspirators, and fraudulent abuse of eminent domain powers, before

   fleeing Kazakhstan and secreting these stolen funds across the globe.

           4.       The Khrapunovs and Ablyazov, both fighting law enforcement investigations and

   asset seizures by Kazakh authorities, joined forces and commingled their stolen funds. Through

   joint investments across the globe, the two renegade families combined and conspired to launder

   their illicit wealth into real estate, energy assets, and other investments in locales they deemed

   safe from seizure. Ilyas Khrapunov, related by marriage to Ablyazov, helped orchestrate these

   efforts and steered the families’ joint investments into assets within this Court’s jurisdiction.

           5.       The Ablyazov-Khrapunov Group’s money laundering schemes relied heavily on

   the cooperation of officers within FBME Bank, Ltd (“FBME”), a Tanzanian-incorporated

   financial institution operating primarily out of the Republic of Cyprus. Until 2014, FBME had

   long been known as a financial institution open for business to money launderers and international

   criminals. FBME joined the Ablyazov-Khrapunov Group’s money laundering conspiracy by

   knowingly aiding the Ablyazov-Khrapunov Group’s members in hiding and laundering funds and

   evading asset freezes and investigations. In 2014, FBME was designated a “foreign financial

   institution of primary money laundering concern” and effectively banned from the legitimate

   international financial system by the Financial Crimes Enforcement Network (“FinCEN”) of the

   U.S. Department of the Treasury, a decision subsequently described by FBME as a “death

   sentence.”

           6.       Collectively, the Ablyazov-Khrapunov Group has been the subject of numerous

   proceedings and investigations across the globe, arising from their theft of billions of dollars from




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   entities and municipalities in the Republic of Kazakhstan. They have sought to hide their stolen

   wealth from investigators and law enforcement through a vast network of shell corporations and

   outwardly-legitimate investments, including major New York real estate developments such as the

   Flatotel and Cabrini Medical Center condominium conversions. Through these investments, the

   Chetrit Group allied itself with the Ablyazov-Khrapunov Group and their global money laundering

   endeavor.

              7.    The Ablyazov-Khrapunov Group laundered their ill-gotten assets through a

   number of shell corporations, including Triadou. With the help of Chetrit and the Chetrit Group,

   the Ablyazov-Khrapunov Group parked these corrupt assets in New York City real estate,

   hoping to avoid the scrutiny of escalating international investigations into the Ablyazov-

   Khrapunov Group’s illicit activities.

              8.    Due to heavy scrutiny by international law enforcement, including criminal

   investigations by the Kazakh and Swiss authorities, the funds that the Ablyazov-Khrapunov

   Group, through Triadou, invested into the Flatotel and Cabrini Medical Center projects could not

   pass through legitimate banking channels. The Crossclaim Defendants devised a plan to

   circumvent legitimate banks and transfer funds directly from the Ablyazov-Khrapunov Group’s

   offshore accounts with FBME to the escrow account of the Chetrit Group’s long-time attorneys.

              9.    In return for facilitating the Ablyazov-Khrapunov Group’s money laundering

   scheme, the Chetrit Group got access to the stolen funds to fund its real estate projects, and

   entered into deals that entitled the Chetrit Group to a disproportionate share of the projects’

   profits.

              10.   Due to concern that he was partnering with reputed international criminals,

   however, Chetrit conducted his communications with the Ablyazov-Khrapunov Group by using



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   code names. For example, Chetrit used code names such as “Jose” and “Pedro” to refer to and

   communicate with crossclaim defendant Ilyas Khrapunov. It was only in face-to-face meetings,

   many of which were secretly recorded, that Ablyazov’s involvement, legal difficulties and

   incarceration were openly discussed.

          11.      Ultimately, Almaty and BTA Bank were able to trace the stolen assets to the

   United States. Rather than let Almaty and BTA reclaim their rightful property, the Ablyazov-

   Khrapunov Group, through Triadou, began to urgently liquidate their real estate holdings,

   hoping to spirit their illicit funds to more permissive locales. In an attempt to monetize the

   Ablyazov-Khrapunov Group’s real estate interests as quickly as possible, Triadou entered into a

   fraudulent, below-market assignment with the Chetrit Group for Triadou’s principal New York

   assets, interests in the Flatotel and Cabrini Medical Center real estate developments.

          12.      Specifically, in May 2014, the City of Almaty filed an action in federal court in

   California against members of the Ablyazov-Khrapunov Group. With the Kazakhstan Plaintiffs’

   collection efforts having expanded to the United States, and with the Ablyazov-Khrapunov Group

   in imminent danger of having its stolen assets seized or attached, the Ablyazov-Khrapunov

   Group, through Triadou, took immediate steps to liquidate its U.S. assets and move its money

   offshore again. The Chetrit Group’s assistance was essential to placing the stolen assets out of the

   reach of the Kazakhstan authorities.

          13.      Upon information and belief, Chetrit seized on this opportunity to double cross

   his co-conspirators. Understanding that the potential asset seizures or restraints put the Ablyazov-

   Khrapunov Group in a desperate situation, he devised scheme to acquire Triadou’s investments

   for a fraction of their value. To achieve this result, Chetrit bribed Triadou’s Director to drive

   down the purchase price of the assignment. The Chetrit Group ultimately succeeded in acquiring




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   Triadou’s interest in both the Flatotel and Cabrini properties for as little as $26,000,000.00 — far

   less than even what Triadou had originally invested — at a time when real estate values in New

   York were at an all-time high.

          14.      Almaty and BTA Bank now seek, among other relief, to unwind and recover the

   proceeds of these fraudulent transactions. Doing so will hold the Crossclaim Defendants liable

   for their corruption and fraud, and return the full value of Triadou’s New York assets to their

   rightful owners: BTA Bank and the City of Almaty.

                                            THE PARTIES

          15.      Crossclaim plaintiff Almaty is a legal subdivision of the Republic of Kazakhstan.

   Almaty is the former capital of the country, and continues to be the largest city in the Republic of

   Kazakhstan, with more than 1.5 million residents.

          16.     Crossclaim plaintiff BTA Bank is a Joint Stock Company and Kazakhstan bank

   with its headquarters in Almaty, Kazakhstan. Until in or about September 2014, BTA Bank was

   majority owner and controlled by the Republic of Kazakhstan.

          17.     Crossclaim defendant Triadou SPV S.A. is a special purpose investment vehicle

   incorporated under the laws of Luxembourg, with a principal place of business at 3, Rue du

   Mont-Blanc, 1201 Geneva, Switzerland. Triadou SPV S.A. is wholly-owned by SDG Capital

   S.A.

          18.     Crossclaim defendant Viktor Khrapunov, an individual, is the former Mayor of

   the City of Almaty, who, upon information and belief, currently resides in the city of Geneva,

   Switzerland.

          19.     Crossclaim defendant Mukhtar Ablyazov, an individual, is the former Chairman

   of BTA Bank and has been found liable for defrauding BTA of in excess of $6 billion. Ablyazov



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   was the subject of eleven proceedings commenced by BTA Bank in the United Kingdom to

   recover assets Ablyazov stole. During those proceedings, Ablyazov was found by multiple

   international courts to have lied, misled, misconstrued, and concealed assets in blatant disregard

   of Court orders, and was ordered imprisoned for 22 months. During these proceedings,

   Ablyazov fled the United Kingdom to avoid the many judgments against him. He is currently

   incarcerated in France pending extradition to Russia or Ukraine.

          20.      Crossclaim defendant Ilyas Khrapunov, an individual, is the son of Viktor

   Khrapunov, as well as the former president of SDG Capital S.A., who, upon information and

   belief, currently resides in the city of Geneva, Switzerland. Ilyas Khrapunov is married to

   Ablyazov’s daughter, Madina.

          21.      Crossclaim defendant FBME Bank Ltd. is a financial institution headquartered in

   Dar es Salaam, Tanzania and operating primarily out of Cyprus. FBME is jointly owned

   by Ayoub-Farid Saab and Fady Saab, but is currently controlled and administered by

   representatives of the Central Bank of Cyprus.

                                   JURISDICTION AND VENUE

          22.       The Crossclaims are brought under Rule 13 of the Federal Rules of Civil

   Procedure. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 18 U.S.C. §

   1964(c) over the claims for relief alleging violations of the federal Racketeer Influenced and

   Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for conspiracy to violate

   RICO. This Court has supplemental jurisdiction over the sixth through thirteenth claims for

   relief pursuant to 28 U.S.C. § 1367, as those claims are substantially related to Almaty’s and

   BTA Bank’s claims under RICO and arise from a common nucleus of operative facts, and thus

   they form part of the same case or controversy under Article III of the United States

   Constitution.


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           23.      Alternatively, this Court has supplemental jurisdiction over Almaty’s and BTA

   Bank’s claims under 28 U.S.C. § 1367, as those claims are substantially related to the original

   interpleader suit brought by Chetrit and arise from a common nucleus of operative facts, and thus

   they form part of the same case or controversy under Article III of the United States

   Constitution.

           24.      Alternatively, the City of Almaty is a “foreign state” as that term is defined in 28

   U.S.C. § 1603, and this Court has jurisdiction over Almaty’s and BTA Bank’s claims under 28

   U.S.C. §§ 1330, 1441(d), which provide for the removal of any civil action brought in a State

   court against a foreign state.

           25.      Alternatively, this Court has diversity jurisdiction under 28 U.S.C. § 1332(a)

   because at the time this action was filed (i) there was complete diversity of citizenship between

   the parties, and (ii) more than $75,000, exclusive of interest and costs, is at stake.

           26.      Venue is proper in this District and before this Court pursuant to 28 U.S.C.

   § 1391(b)(2) because events giving rise to Almaty’s and BTA Bank’s claims occurred in this

   District, including, among other things, the negotiation, investment and subsequent transfer of

   interest in the Flatotel and Cabrini Medical Center properties located in New York, New York.

           27.      This Court has personal jurisdiction over Triadou, Ablyazov, Viktor Khrapunov,

   Ilyas Khrapunov, and FBME because each of them knowingly committed acts in New York that

   form the basis of this action, directed or conspired with others to commit acts in New York,

   and/or purposely availed themselves of the privileges of doing business in New York, as fully set

   forth herein.




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                                    FACTUAL BACKGROUND

          Mukhtar Ablyazov Defrauded BTA Bank of in Excess of $6 billion.

          28.      Ablyazov was the Chairman of BTA Bank from May 2005 until February 2009.

   He is the father-in-law of crossclaim defendant Ilyas Khrapunov, who is married to Ablyazov’s

   daughter, Madina. Along with crossclaim defendant Viktor Khrapunov, Ablyazov is a central

   member of the Ablyazov-Khrapunov Group money laundering and embezzlement conspiracy.

          29.      As the Courts of the United Kingdom have found, while Chairman of BTA Bank,

   Ablyazov exercised virtually unfettered control over the bank’s operations while hiding that

   control from Kazakhstan’s banking regulators, and used this influence to treat BTA’s assets as his

   own. As Justice Teare of the High Court of England and Wales (Commercial Court) found:

          [P]rior to the nationalisation of the Bank in February 2009, Mr. Ablyazov admitted
          to owning over 75% of the shares in the Bank. Those shares were not held by Mr.
          Ablyazov personally but by nine companies on his behalf. However, Mr. Ablyazov
          did not admit that ownership to the AFN, the banking regulator in Kazakhstan. In
          January 2009, shortly before the nationalisation of the Bank, the AFN requested
          Mr. Ablyazov to state whether he owned more than 10% of the shares in the Bank.
          He replied on 19 January 2009 that he did not own directly or indirectly more than
          10% of the shares in the Bank. That statement was untrue.
          ...
          Banks in Kazakhstan tend to be operated in a different manner from that in which
          they are typically operated in the West. It is common for banks to be owned by a
          single shareholder who is both chairman of the board of directors and also closely
          involved in the management of the bank. He therefore has considerable influence
          over the operation of the bank. Mr. Ablyazov’s relationship with the Bank
          conformed with this general description of Kazakh banking practice. Thus Mr.
          Talvitie, the independent member of the Board of Directors of the Bank from East
          Capital, gave evidence that it seemed to him that at board meetings Mr. Ablyazov
          had already made the decisions. He described the other members of the board as
          “straw men”. Others in the Bank, below board level, had the same impression.
          Thus Ms. Tleukulova (a member of the Credit Committee) gave evidence in
          Russia in 2012 that “all top managers of the bank, including Board Members, have
          to obey him”. Mr. Khazhaev also gave evidence in Russia in 2012 that Mr.
          Ablyazov was “the main” person in the Bank who controlled the granting of the
          largest and most important loans. Mr. Ablyazov’s control of the Bank is illustrated
          by his issue of an order (“the Ablyazov Order”) whereby he, as Chairman,
          amended certain procedural rules governing the grant of loans.


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           ...
          [O]fficers and staff in the Bank did not draw a clear distinction between the Bank
          having an interest in a project and Mr. Ablyazov, as shareholder in the Bank,
          having a personal interest in a project. Thus [Deputy Chairman] Zharimbetov,
          when being crossexamined, failed to draw a clear distinction, in the context of the
          offshore companies with which he dealt, between Mr. Ablyazov and the Bank.
          Thus the unfortunate reality appears to have been that little, if any, distinction was
          drawn by personnel in the Bank between the Bank’s property and Mr. Ablyazov’s
          property. The Vitino port project was an example of that reality. Mr. Khazhaev
          told a Russian court in 2012 that Mr. Ablyazov treated the Bank as his property.

          30.      Ablyazov’s abuse of his position as chairman took many forms, principally

   through enormous loans to valueless entities owned by Ablyazov, which would then be obscured

   by transfers among different shell corporations, and never repaid.

          31.      For example, in one series of loans (referred to as the “Original Loans” by the UK

   court in the “Granton Action”), between March 2006 and August 2008, Ablyazov directed twenty

   loans totaling $1,428,840,000 to entities with minimal assets and for no apparent reason. These

   loans were made to entities outwardly unaffiliated with Ablyazov (“Original Borrowers”), but

   were actually transferred to entities controlled by Ablyazov (“Original Real Borrowers”). As the

   UK court found:

          Mr. Ablyazov did not disclose to the Board that he owned or controlled those
          [Original] Borrowers. He has never claimed that he did so and there is no evidence
          that he did. None of the represented Defendants has suggested that he did. In those
          circumstances there can be only one explanation for the fact that the very large
          sums of money which were advanced were immediately transferred to companies
          owned or controlled by Mr. Ablyazov, namely, that the Original Loans were part
          of a dishonest scheme whereby Mr. Ablyazov sought to misappropriate monies
          which belonged to the Bank. The scheme was fraudulent because Mr. Ablyazov
          did not disclose to the Board his interest in the Original Borrowers or that the real
          purpose of the loans was to pay out the Bank's money to the Original Real
          Borrowers who were to use the monies for Mr. Ablyazov’s purposes. The purpose
          of such nondisclosure must have been to deceive the Board so that it remained in
          ignorance of the “related party” nature of the Original Loans and of their true
          purpose.

          32.      When, in or about 2008, Ablyazov’s involvement in the Original Loans was in


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   danger of discovery, he directed that additional fraudulent loans be made in an attempt to cover up

   his earlier fraud.

           33.      Between November 4, 2008, and December 4, 2008 a number of loans (the “Later

   Loans”) totaling $1,031,263,000 were made, ostensibly for the purchase of oil and gas resources.

   The UK court, however, found it “beyond argument” that these loans of BTA funds were made

   only to hide Ablyazov’s earlier theft:

           The Later Loans were made between 5 November and 8 December 2012 but they
           were paid out, not to the Later Borrowers, but to Intermediaries who paid them on
           to other companies, the Recipients, who in turn paid them to the Bank in apparent
           discharge of the Original Loans. They were not used for the purchase of oil and
           gas equipment. Documents said to support and evidence the Later Loans were
           created after the monies had been paid out by the Bank but backdated. Thus
           contracts for the purchase of oil and gas equipment supposedly by the Later
           Borrowers were still being prepared in late November 2008 and backdated to 23
           October 2008.
            ...
           Expert evidence as to the oil and gas industry was adduced by the Bank to
           establish that the oil and gas contracts were shams because of the lack of specific
           provisions which would be appropriate for contracts of their size. But such
           evidence was unnecessary. The email evidence shows that the contracts were
           prepared by persons within the Bank.
             ...
           It is beyond argument that the Later Loans were a mere cloak which sought to hide
           from view the reality, which was that money was being extracted from the Bank
           for the purpose of paying back the Original Loans. Since this circular exercise
           benefitted Mr. Ablyazov (because he owned or controlled the Original Borrowers)
           it is also clear that he must have orchestrated or, at the least, authorised this fraud.

           34.      As a result of Ablyazov’s siphoning billions out of the company, in 2009, BTA

   Bank defaulted on billions of dollars of debt held by investors including Credit Suisse Group AG,

   HSBC Holdings Plc, JPMorgan Chase & Co. and Royal Bank of Scotland Group Plc.

   Kazakhstan’s sovereign wealth fund, Samruk-Kazyna, was forced to take control of BTA Bank,

   and Ablyazov fled to London.




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           35.     BTA then commenced the first in a series of lawsuits against Ablyazov, claiming

   that he had misappropriated approximately $295,000,000 pursuant to this fraudulent scheme.

   Other proceedings followed against Ablyazov in the Chancery Division and England High Court.

   In every proceeding, BTA alleged (and ultimately proved) that Ablyazov treated BTA as his own

   private source of funds. In all, BTA commenced eleven proceedings against Ablyazov and his

   lieutenants for defrauding BTA in excess of $6 billion. The UK courts took the unprecedented

   legal step of granting BTA a Worldwide Freezing Order over Ablyazov’s assets.

           36.     As part of these UK proceedings, in late 2010 BTA obtained a number of search

   and disclosure orders that uncovered a vast network of undisclosed companies and assets used by

   Ablyazov to hold and invest his stolen wealth. The UK courts ordered Ablyazov’s assets to be

   put in the receivership of the accounting firm KPMG (the “Receivership Order”), finding that

   Ablyazov had breached various disclosure and freezing orders against him. The Receivership

   Order gave the receiver the right to recover a network of many hundreds of entities, worth billions

   of dollars.

           37.     On January 26, 2011, a further 212 companies were added to the scope of the

   Receivership Order and on April 8, 2011, a further 3,890 companies were added.

           38.     After Ablyazov defied the Receivership Order entered by the UK courts, BTA

   obtained judgments and sanctions against him for, among other acts, flaunting court orders,

   fleeing and hiding from judicial proceedings, lying during proceedings, and refusing to comply

   with orders directing him to uncover assets. For his numerous actions in contempt of court,

   Ablyazov was sentenced to 22 months imprisonment for his conduct.

           39.     On February 16, 2012, despite having promised the court his attendance at his

   contempt hearing, Ablyazov did not appear. Ablyazov left behind a 100-acre estate in the English



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   countryside and a London mansion, valued at least 20 million pounds sterling (approximately $31

   million) each, and no fewer than 750 shell companies used to invest his stolen funds in oil

   production, property development, and agriculture.

            40.    On November 6, 2012, the Court of Appeal unanimously upheld the judgments

   and contempt orders against Ablyazov. Concurring in the judgment, Lord Justice Maurice Kay

   stated that it was “difficult to imagine a party to commercial litigation who has acted with more

   cynicism, opportunism and deviousness towards court orders than Mr. Ablyazov.”

            41.    Following Ablyazov’s flight from justice, BTA has been granted judgments in 5

   of the 11 claims against Ablyazov and his associates, with others still pending, and has been

   awarded over $4 billion in damages by the UK courts, with interest continuing to accrue. (the

   “Ablyazov Judgments”).

            42.    After a global search spearheaded by BTA Bank, French special forces found and

   arrested Ablyazov in a luxury villa in France on July 31, 2013. He remains detained in a French

   prison pending extradition, and the courts of France have refused to release him on bail three

   times.

            43.    Following Ablyazov’s capture and imprisonment, through his counsel and other

   channels, Ablyazov remained in regular communication with his son-in-law, Ilyas Khrapunov,

   who assumed operational control of much of Ablyazov’s money laundering operations and, in

   concert with Ablyazov and Viktor Khrapunov, has continued the Ablyazov-Khrapunov Group’s

   combined efforts to hide their wealth.

            44.    Ilyas Khrapunov’s continuing role in facilitating the Ablyazov-Khrapunov

   Group’s money laundering efforts was confirmed on July 17, 2015, when Justice Males of the

   Commercial Division of the Queen’s Bench of the U.K. High Court of Justice expanded the


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   freezing order against Ablyazov to encompass specified assets of Ilyas Khrapunov. In response to

   the disclosure obligations imposed by the freezing order, Ilyas Khrapunov invoked his privilege

   against self-incrimination.

           Viktor Khrapunov Defrauded the City of Almaty of Approximately $300 million.

           45.        In 1991, the Republic of Kazakhstan declared its independence from the former

   Soviet Union and began the process of transitioning from communism to an open market

   economy. This transition required substantial privatization of vast state assets in order to restart

   the nation’s economy and raise revenue for improvements to the nation’s infrastructure and

   public services.

           46.        Viktor Khrapunov became mayor of the City of Almaty on or about June 16,

   1997, and remained in that position until approximately December 2004. At the time Viktor

   Khrapunov took office, the Republic of Kazakhstan was experiencing the beginning of a natural

   resources boom and accompanying drive for investment, infrastructure upgrades, and new

   construction. Almaty was the nation’s former capital and largest city, and held enormous public

   assets remaining to be privatized and developed, a responsibility which the office of the mayor

   oversaw and directed.

           47.        Before Viktor Khrapunov assumed the office of the mayor of Almaty, he took an

   oath of office to obey the Constitution and laws of the Republic of Kazakhstan. Among other

   things, he expressly and impliedly promised that he would uphold his fiduciary duties to the

   people of Almaty, would honor his obligation to provide honest services, and would not convert

   money, property, or assets belonging to the City of Almaty for his own use or that of his family,

   friends, or associates.

           48.        In reality, Viktor Khrapunov, along with his son, Ilyas Khrapunov, and other




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   Khrapunov family members and co-conspirators, almost immediately began a multi-year scheme

   to enrich themselves through the corrupt abuse of Khrapunov’s public position as mayor.

          49.      Viktor Khrapunov repeatedly and systemically used the powers of the office of

   the mayor to transfer public assets belonging to the City of Almaty to his family and their co-

   conspirators for prices that were a fraction of their fair value. This was often achieved by

   arranging fraudulent auctions to ensure that interested bidders won these assets at nominal

   prices. In other instances, Viktor Khrapunov used the eminent domain powers of the office of

   the mayor to seize private property ostensibly for the City of Almaty, but then promptly

   transferred that property to entities owned or controlled by the Khrapunovs. They would then

   pass these assets through a series of shell or holding corporations to conceal the destination of

   these assets, before reselling them for prices an order of magnitude greater than what they had

   paid the City of Almaty.

          50.      Three examples of these corrupt schemes to subvert and acquire the public

   property of the City of Almaty follow:

          Transaction One

          51.      In or about 2000, Viktor Khrapunov used his position as mayor of Almaty to

   transfer a large tract of state-owned land near the two rivers area of Almaty to his spouse and co-

   conspirator, Leila Khrapunov, for a total price of approximately $121,000. The final recipient of

   this transfer was concealed through a series of fraudulent transactions and front companies

   controlled by the Khrapunovs. The Khrapunovs ultimately resold this parcel of real estate for an

   estimated $15.57 million, a more than $15 million profit on one interested transaction.

          52.      In short, the Khrapunovs paid approximately $121,000 for a parcel of public real

   estate which they later resold for a total of $15.57 million; a 128,000 percent profit.




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           Transaction Two

           53.      On or about April 16, 2001, Viktor Khrapunov used his position as mayor to

   cause a public building in Almaty to be sold at a fixed and rigged public auction to KRI, a

   company owned by Leila Khrapunov, for approximately $347,000. The property was ultimately

   resold to an unrelated third party for approximately $4.1 million.

           Transaction Three

           54.       In addition to the sale of state-owned assets to Leila Khrapunov and other

   family members and co-conspirators, Viktor Khrapunov also abused his authority as mayor to

   enrich the Khrapunovs by seizing privately-owned property and transferring it to the Khrapunovs

   and others for resale. For example, on or about August 25, 2003, Viktor Khrapunov caused the

   City of Almaty to seize land owned by privately-owned third party Shadid Engineering LLP.

   Approximately one month later, he caused the property to be sold to Leila Khrapunov’s

   company, Karasha, for approximately $105,000. Leila Khrapunov then caused Karasha to sell

   the property directly to her, whereupon she transferred it to another company, BSC, and it was

   sold as part of BSC to an unrelated third party, in a transaction that valued the parcel at

   approximately $2 million. As a result, the Khrapunovs obtained nearly $1.9 million in

   unjustified profit.

           55.      In short, through similar transactions uncovered and still under investigation, the

   Khrapunovs are estimated to have illegally acquired at least 80 pieces of real estate, which they

   converted into approximately $300 million in illicit funds.

           The Khrapunovs and Ablyazov Join Together to Launder Their Stolen Money.

           56.      Seeking to avoid law enforcement attention and possible seizure of this ill-gotten

   wealth, the Ablyazov-Khrapunov Group funneled their corrupt assets into real estate and

   development entities located in, among other places, the United States and Switzerland.


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          57.       Among other locations, the Ablyazov-Khrapunov Group transferred their stolen

   funds to Switzerland, where Ilyas Khrapunov and Madina Ablyazov reside, using accounts and

   sham entities owned or ultimately controlled by the Ablyazov-Khrapunov Group. The

   Ablyazov-Khrapunov Group ultimately transferred to Switzerland hundreds of millions of

   dollars, moved out of Kazakhstan by Viktor Khrapunov and laundered through offshore holding

   companies to appear legitimate.

          58.      Seeking to hide the proceeds of their frauds, the Ablyazov-Khrapunov Group

   created a series of entities in Switzerland and overseas to launder these illicit funds into

   outwardly-legitimate investments. One such entity was Swiss Development Group, formally

   SDG Capital S.A., formed and controlled by Ilyas Khrapunov for the benefit of the Ablyazov-

   Khrapunov Group. Between 2008 and 2012, the Ablyazov-Khrapunov Group and sham

   companies they controlled funneled at least $115 million into SDG derived from the Ablyazov-

   Khrapunov Group’s self-dealing and fraud.

          59.      Through these foreign investment vehicles, the Ablyazov-Khrapunov Group

   sought to obscure their wealth from law enforcement in the Republic of Kazakhstan and abroad,

   by maintaining the appearance of a modest family of civil servants.

          60.      The Ablyazov-Khrapunov Group took numerous steps to maintain this facade

   and conceal their looting of the City of Almaty’s public assets from authorities. Among other

   schemes, Viktor Khrapunov regularly filed false annual tax returns with Kazakhstan's taxation

   authority, the Tax Committee of the Ministry of Finance of Kazakhstan. The false returns

   concealed millions of dollars in monies, properties, and assets the Ablyazov-Khrapunov Group

   had acquired and laundered through their corrupt enterprise.

          61.      For example, according to their 2007 tax returns, which required Viktor and



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   Leila Khrapunov to list their entire net worth accumulated through all sources as of December

   31, 2007, Viktor Khrapunov reported a combined net worth equivalent to $113,298, in addition

   to three vehicles, five modest pieces of real estate, and two parking stalls. While claiming to

   have a total net worth of less than $120,000, Viktor Khrapunov had in fact amassed a fortune

   estimated at no less than $300 million. Indeed, according to public news reports, in 2009 Viktor

   Khrapunov was one of the richest people in Switzerland with a fortune of over $300 million.

   Similarly, in 2012 Viktor Khrapunov was again listed among Switzerland's 300 richest people,

   with a fortune estimated at $324– $432 million.

          The Ablyazov-Khrapunov Group’s Corruption is Exposed and Investigations Begin in
          Kazakhstan and Switzerland

          62.      In late 2007, Viktor Khrapunov was tipped off that the Kazakh government had

   begun investigating the financial dealings of the Ablyazov-Khrapunov Group and their

   associates for a range of criminal acts and self-dealing. In anticipation of possible criminal

   charges, on or about November 9, 2007, Viktor and Leila Khrapunov boarded a private jet and

   fled Kazakhstan for Switzerland, where Ilyas Khrapunov and Madina Ablyazov resided, and the

   bulk of their looted funds were held.

          63.       On or about May 27, 2011, the Investigation Department of the Agency for

   Economic and Corruption-Related Crimes of Kazakhstan (the “Investigation Department”) filed

   two criminal cases against Viktor Khrapunov for abuse of power and fraudulent acts, and on or

   about July 21, 2011, obtained a court-ordered arrest warrant for Viktor Khrapunov. Through

   2011 and 2012 additional charges were brought in Kazakhstan against Viktor, Leila, and Ilyas

   Khrapunov, arising from the theft of public property and the ultimate laundering of funds during

   Viktor Khrapunov’s tenure as Mayor of Almaty.

          64.      On or about February 20, 2012 and September 14, 2012, the Investigation


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   Department applied to the Federal Office of Justice in Switzerland for legal assistance in

   connection with the effort to prosecute Viktor, Leila, and Ilyas Khrapunov for crimes in

   Switzerland and Kazakhstan relating to their corrupt acts in Almaty and the laundering of the

   resulting funds. In response to this request, in mid-2012 the Public Prosecutor of Geneva opened

   an investigation into the Ablyazov-Khrapunov Group on suspicion of violating Swiss money

   laundering laws. The Public Prosecutor of Geneva subsequently seized financial and banking

   documents from the Ablyazov-Khrapunov Group and ordered Swiss accounts and assets

   belonging to them be frozen, including accounts held at Swiss banks Sarasin & Co. Ltd., Credit

   Suisse, and Schroeder & Co. This investigation by the Swiss authorities is ongoing, and in

   August 2013 the Public Prosecutor of Geneva froze additional assets belonging to the Ablyazov-

   Khrapunov Group.

          65.      At this time, in addition to the numerous judgments against Ablyazov in the

   United Kingdom, there are no less than 24 criminal charges pending against Viktor Khrapunov

   in Kazakhstan for embezzlement, fraud, money laundering, establishing and directing an

   organized criminal group for criminal purposes, abuse of power, and bribery. There are

   additional charges pending against Leila Khrapunov and Ilyas Khrapunov in Kazakhstan for,

   among other offenses, money laundering and establishing and directing an organized criminal

   group for criminal purposes. Assets of the Ablyazov-Khrapunov Group remain frozen by Swiss

   authorities, and the Government of the Republic of Kazakhstan has formally requested

   extradition of Viktor Khrapunov.

          66.      Despite the numerous investigations and freezing orders against the members of

   the Ablyazov-Khrapunov Group, the conspirators continue to launder their commingled stolen

   wealth through acts of fraud and in furtherance of the conspiracy.




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          67.      As one example, from 2011 through the present, members of the Ablyazov-

   Khrapunov Group, including Ilyas Khrapunov and Ablyazov himself, conspired to fund

   Ablyazov’s widespread global legal campaign with laundered funds, despite global freezing and

   receivership orders against Ablyazov’s assets.

          68.      In May of 2011, two entities that Ablyazov had been using to fund his various

   litigations were put in receivership, based on findings that they were not arms-length lenders, but

   in fact controlled and funded by Ablyazov himself. Deprived of a funding source, Ablyazov

   conspired with other members of the Ablyazov-Khrapunov Group to circumvent the receivership

   and freezing orders against him and began funding his litigation – including litigation against the

   Republic of Kazakhstan – through loans from a series of shell companies, including the Belizean-

   registered entity Green Life International SA (“Green Life”).

          69.      The conspirators represented to the U.K. receivers and courts that Green Life was

   an arms-length entity owned and funded by Gennady Petelin, but did not disclose that Petelin was

   related by marriage to the Ablyazov and Khrapunov families.

          70.      In fact, Green Life was one more in a long series of shell entities used by the

   Ablyazov-Khrapunov Group to launder their stolen funds. At Ablyazov’s direction, Ilyas

   Khrapunov and other members of the Ablyazov-Khrapunov Group transferred millions of dollars

   in funds from accounts controlled by the Ablyazov-Khrapunov Group through Petelin and Green

   Life to Ablyazov’s counsel. To obscure this scheme, all funds were transferred from Green Life to

   Chabrier Avocats, the Swiss counsel for the Khrapunov family and SDG, before being paid to

   Ablyazov’s counsel.

          71.      Using Petelin’s name to deter suspicion, the conspirators were able to launder and

   spend millions of dollars in stolen funds that should rightly have been placed in receivership.




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          72.       The use of Petelin as a front for Ablyazov shell corporations such as Green Life

   was based in part on the close relationship between Petelin and Viktor Khrapunov. Viktor

   Khrapunov, whose daughter is married to Petelin’s son, collaborated with Petelin on investments

   of the Ablyazov-Khrapunov Group’s funds in Russia, where Petelin resided and had an extensive

   network of contacts. For example, in 2013, Viktor Khrapunov engaged in discussions with Petelin

   for the purpose of utilizing Petelin’s contacts in Russia to facilitate the investment of the

   Ablyazov-Khrapunov Group’s funds in Russian oil and energy assets.

          73.       As another example of the Ablyazov-Khrapunov Group’s continuing operations,

   members of the Ablyazov-Khrapunov Group hired computer hackers to illegally surveil French

   prosecutors and other public officials in an effort to free Ablyazov from French prison.

          74.       Ablyazov was arrested by French special forces in 2013 after fleeing the U.K.,

   but has remained in continuous contact with his coconspirators during his imprisonment. During

   his incarceration, Ablyazov directed his coconspirators, and his son-in-law Ilyas Khrapunov in

   particular, to use an array of unlawful means to secure his release.

          75.       At Ablyazov’s direction, in 2013 Ilyas Khrapunov hired a “black hat” computer

   security group to hack into the personal and work communications of numerous French public

   officials, including the prosecutors in Ablyazov’s French extradition proceedings. Without

   permission and in violation of law, these hackers successfully breached the computers and mobile

   phones of numerous French law enforcement and justice officials, intercepted their electronic

   communications, and installed malicious software permitting them to remotely activate the

   microphones on these public officials’ mobile phones to eavesdrop on and record their

   conversations. The hackers then transmitted French officials’ intercepted communications,

   including emails, text messages, documents, and photographs, to Ilyas Khrapunov, who shared




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   and discussed this illegally-obtained surveillance with Ablyazov himself. Ablyazov then used this

   information as part of his legal campaign to avoid extradition.

          76.      In return for this illegally-intercepted information, the Ablyazov-Khrapunov

   Group paid hundreds of thousands of dollars to these hackers-for-hire, from funds traceable to the

   thefts from BTA Bank and the City of Almaty.

          The Ablyazov-Khrapunov Group Conspires to Transfer and Hide Illicit Funds in the
          United States.

          77.      In 2011 and 2012, in response to escalating pressure on the Ablyazov-Khrapunov

   Group from both Kazakh and Swiss authorities and legal proceedings in the United Kingdom, the

   Ablyazov-Khrapunov Group embarked on a scheme to secret the families’ illicit wealth in real

   estate investments in the United States. Upon information and belief, the Ablyazov-Khrapunov

   Group selected the United States as a harbor for these stolen funds because they believed real

   estate investments in the United States would be difficult for Kazakh authorities to access.

          78.      To execute this scheme the Ablyazov-Khrapunov Group used SDG, their Swiss

   real estate vehicle, and Telford International Limited (“Telford”), a Dubai-based private

   contracting entity controlled by the Ablyazov-Khrapunov Group.

          79.      To create the appearance that SDG was independent of the Ablyazov-Khrapunov

   Group, in 2012 SDG was purportedly sold to a close friend and political ally of the Ablyazov-

   Khrapunov Group, Philippe Glatz. This sale was in fact a sham transaction, with the Ablyazov-

   Khrapunov Group maintaining beneficial ownership and control of SDG.

          80.      Upon information and belief, the Ablyazov-Khrapunov Group paid Mr. Glatz to

   purchase SDG using the Ablyazov-Khrapunov Group’s own funds: Glatz accepted a loan from

   the Ablyazov-Khrapunov Group and then repaid that loan while outwardly claiming that this

   payment to the Ablyazov-Khrapunov Group was for the purchase of SDG. In fact, the transfer


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   of SDG was illusory, as Mr. Glatz was merely repaying a prior obligation, and effectively getting

   SDG for free.

          81.      To reduce the amount of cash needed to effectuate this sham sale, Ilyas

   Khrapunov offered SDG to Glatz at an incredibly discounted price. Although at the time of the

   purported sale SDG’s assets were valued at approximately $150 million, Glatz only transferred

   approximately $3.5 million in cash to the Khrapunov family for SDG – roughly two percent of

   SDG’s assessed asset value.

          82.      To justify this incredible discount to asset value, Ilyas Khrpaunov used his control

   of SDG to falsely book millions of dollars in supposed debt and liabilities to hide the fraudulent

   nature of the transition he had orchestrated.

          83.      This sham transaction served the Ablyazov-Khrapunov Group’s purposes by

   creating the appearance that SDG had changed ownership, although the Ablyazov-Khrapunov

   Group received no net consideration for the purported sale, and Glatz was left beholden to the

   Ablyazov-Khrapunov Group and explicitly obligated to hold their interest in the investment.

          84.      The capital structure, organization, management, and illicit purpose of SDG

   remained the same after the purported sale, and the Ablyazov-Khrapunov Group still profits

   from and manages SDG’s operations. Ilyas Khrapunov continues to control SDG while holding

   himself out to be a mere “outside advisor” to the company, all the while protecting and reaping

   the benefits of the Ablyazov-Khrapunov Group’s investments in SDG.

          Through SDG, the Ablyazov-Khrapunov Group Creates Triadou to Hide their Illicit
          Funds in New York Real Estate Transactions with the Chetrit Group.

          85.      In or about 2011, Ilyas Khrapunov, on behalf of the Ablyazov-Khrapunov Group,

   approached Nicolas Bourg, a Belgium-based real estate fund manager, seeking to create a new

   entity controlled by SDG to mask the Ablyazov-Khrapunov Group’s efforts to invest in real



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   estate opportunities in the United States.

           86.     In consultation with Ilyas Khrapunov, Bourg formed a series of entities under the

   laws of Luxembourg for the specific purpose of investing the Ablyazov-Khrapunov Group’s

   funds in real estate in the United States. These entities included Triadou, an investment vehicle

   wholly owned and controlled by SDG, which was itself a front for the Ablyazov-Khrapunov

   Group’s activities.

           87.     Triadou is a special purpose vehicle: a limited-liability legal entity created to

   fulfill a specific purpose, often used to insulate a parent entity from financial risk or liability.

   SPVs can also be used, as Triadou was, to hide the true ownership of assets held by the SPV, or

   to obscure relationships between individuals and entities. Bourg became the sole director of

   Triadou, operating at the direction of the Ablyazov-Khrapunov Group, who continued to control

   SDG, Triadou’s sole shareholder.

           88.     At the direction of Ilyas Khrapunov, Bourg made contact with Eric Elkain, an

   agent of Chetrit and the Chetrit Group. Bourg and Elkain agreed to arrange a meeting between

   Chetrit and Ilyas Khrapunov for the purpose of exploring concealed investments by the

   Ablyazov-Khrapunov Group in the United States with the Chetrit Group.

           89.     In or about 2012, Chetrit and his brother and partner Meyer Chetrit met with Ilyas

   Khrapunov and Bourg in Geneva, Switzerland. While the Ablyazov-Khrapunov Group had

   purportedly divested itself of any interest in SDG by this time, Ilyas Khrapunov held himself out

   to Chetrit as having a controlling ownership interest in SDG.

           90.     At this meeting, Chetrit and Ilyas Khrapunov discussed possible investment

   strategies for the Ablyazov-Khrapunov Group in the United States real estate sector. In these

   discussions, Ilyas Khrapunov disclosed the fact that the Ablyazov-Khrapunov Group was facing



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   criminal charges and asset freezes directed by the governments of Kazakhstan, Switzerland, and

   the United Kingdom, and needed to move funds to other jurisdictions.      During the continuing

   course of his dealings with the Ablyazov-Khrapunov Group, this situation was repeatedly and

   unequivocally made clear to Chetrit. Specifically, the Ablyazov-Khrapunov Group needed to

   move funds that were the subject of criminal charges and asset freezes as a result of the

   proceedings both against Ablyazov and the Ablyazov-Khrapunov Group. Chetrit expressed

   sympathy with this situation, stating that his own family had faced political sanctions in his

   native Morocco, a result of having defrauded the King and being forced to flee. Chetrit and Ilyas

   Khrapunov agreed in principle to seek joint investments in the United States, and agreed to meet

   further.

              91.   Following this meeting in Geneva, Ilyas Khrapunov and Bourg met with Chetrit

   again in New York City, to evaluate potential investment options. While discussing specific

   investment opportunities, the parties again openly and repeatedly discussed the criminal charges

   against the Ablyazov-Khrapunov Group and the efforts of the governments of Switzerland and

   Kazakhstan to locate and seize the assets of the Ablyazov-Khrapunov Group. Again, Ilyas

   Khrapunov acted on behalf of SDG and Triadou, despite the Ablyazov-Khrapunov Group’s

   purported sale of SDG a year prior.

              92.   As a result of these discussions, the Ablyazov-Khrapunov Group invested,

   through Triadou, with Chetrit and the Chetrit Group in a number of real estate opportunities in

   New York City. The most significant of these were investments in the Flatotel and Cabrini

   Medical Center developments in New York City.

              93.   The Flatotel is a 289-room business hotel opened in 1991, located at 135 West

   52nd St, New York, New York.




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          94.     The Cabrini Medical Center hospital campus closed in 2008 and is now

   comprised of several buildings containing approximately 250 condominium units.

          95.     Both the Flatotel and the Cabrini Medical Center properties were purchased by

   members of the Chetrit Group, along with co-investors. The developers have been executing

   plans to convert both properties into luxury condominiums, and are close to completion.

          96.     The Chetrit Group owned a 75% interest in the Flatotel, and created a series of

   limited liability entities to hold that interest, including Counterclaim Defendants CF 135 FLAT

   LLC and CF 135 West Member LLC.

          97.     The Chetrit Group offered to sell half of their 75% investment in the Flatotel to

   Triadou, after which the Chetrit Group and Triadou would each own 37.5%. Triadou would

   provide 70% of the capital needed – against Chetrit’s 30%, the difference amounting to an

   above-market “promote fee” for Chetrit that ensured that the Chetrit Group would reap the

   largest profits from the Flatotel development, even as it put in the least capital – and the parties

   would then divide the profits from the investment. In or about March 25, 2013, Triadou

   accepted this offer, notwithstanding the fact that the terms strongly favored Chetrit, and

   committed to transmit funds to the Chetrit Group to secure the 37.5% interest in the Flatotel

   property.

          The Ablyazov-Khrapunov Group Enlists FBME to Facilitate Their Money Laundering
          Scheme in the United States

          98.     The Ablyazov-Khrapunov Group sought to fund Triadou’s investments with

   money from the Ablyazov-controlled entity Telford, held in accounts with FBME.

          99.     Telford’s FBME accounts were managed by Eesh Aggarwal, Chairman of Azure

   Consultants DMCC, and a close financial advisor to Ablyazov. Aggarwal had connected

   Ablyazov and other members of the Ablyazov-Khrapunov Group to FBME through Aggarwal’s


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   contacts with high-level officers at FBME, and in time FBME became one of the Ablyazov-

   Khrapunov Group’s primary banks. On information and belief, the conspirators favored FBME

   due to its presence inside of the European Union, its lack of anti-money laundering protections,

   and its eagerness to service high-risk clientele and shell corporations such as Telford.

          100.    FBME promoted its weak due diligence standards to attract high-risk, high-value

   clients just like the Ablyazov, and was known for its willingness to do business with clients

   seeking to avoid regulatory oversight. In particular, FBME relied on an “Approved Third Party”

   program, where FBME’s contacts could introduce new, high-value clients to the bank with

   virtually no due diligence of these new relationships. Upon information and belief, Aggarwal was

   one such “Approved Third Party,” and with the approval of certain FBME officers, was able to

   launder the Ablyazov-Khrapunov Group’s funds through FBME by way of entities such as the

   Ablyazov-controlled Telford, with effectively no scrutiny or due diligence by FBME.

          101.    FBME had a history of moving funds for Aggarwal and Ablyazov with no

   questions asked, which led the conspirators to favor FBME for their criminal schemes aimed at

   the United States. For example, on June 11, 2011, FBME executed more than $27 million in

   transfers of Ablyazov’s stolen funds to Amber Limited, a shell company registered in the U.A.E.

   (where Aggerwal operates) subsequently found to be an undisclosed Ablyazov asset and added to

   the U.K. courts’ freezing and receivership orders.

          102.    Telford’s accounts at FBME bank were used to covertly move and invest funds

   stolen by Ablyazov from BTA Bank. Because the Telford accounts consisted of Ablyazov’s

   stolen funds, Ilyas Khrapunov conferred with Ablyazov regarding investments of funds from

   Telford, and Ablyazov’s approval was required for transfers from Telford. Even after Ablyazov’s

   incarceration in France he remained in contact with his coconspirators, and while Ilyas




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   Khrapunov took operational control of much of the Ablyazov-Khrapunov Group’s network,

   Ablyazov continued to direct specific transfers of funds, including those from Telford’s FBME

   accounts.

          103.    Triadou attempted to transfer Telford’s funds held in FBME for the Flatotel and

   Cabrini deals through banks in Luxembourg, but those banks refused to accept wire transfers

   from the Ablyazov-Khrapunov Group’s FBME accounts due in part to the investigations or

   proceedings led by the Kazakh, Swiss, and United Kingdom authorities.

          104.    Bourg then contacted Chetrit about alternative wire transfer arrangements.

   Informed that commercial banks refused to handle Triadou’s funds from Telford, Chetrit

   conspired to launder the money, instructing Bourg to disregard the banks and transfer funds

   directly from the Ablyazov-Khrapunov Group’s offshore accounts to the escrow account of

   Chetrit’s personal and corporate attorneys. Bourg then directed a series of wire transfers, on

   behalf of Triadou, from Telford’s accounts at FBME directly to Chetrit’s counsel.

          105.    FBME executed these transfers despite their blatant indicia of money laundering,

   including that (1) Telford was a recently incorporated offshore shell company with no obvious

   business purpose, (2) Telford was purportedly owned by another offshore nominee-shareholder

   trust, (3) Telford was seeking to transfer millions of dollars into escrow accounts with no due

   diligence, and (4) Telford was transferring these funds from a high-risk jurisdiction for the benefit

   of an unrelated third party operating in a more financially-rigorous jurisdiction.

          106.    This was not the only instance of FBME executing such obviously suspicious

   transfers for Aggerwal and the Ablyazov-Khrapunov Group without concern for money

   laundering red flags. At the same time FBME began to execute transfers from Telford to the

   accounts of Chetrit’s counsel, on or about October 9, 2013, FBME executed wire transfers for $25




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   million from Telford’s accounts for an investment in overseas telecommunications assets. Again

   Telford was transferring millions of dollars of Ablyazov’s money for the benefit of another entity

   linked to the Ablyazov-Khrapunov Group.

          107.    Subsequent to these transfers, on July 22, 2014, the U.S. Financial Crimes

   Enforcement Network (“FinCEN”) designated FBME Bank a “foreign financial institution of

   primary money laundering concern.” FinCEN found that FBME Bank was regularly “used by its

   customers to facilitate money laundering, terrorist financing, transnational organized crime,” had

   “systemic failures in its anti-money laundering controls that attract high-risk shell companies,”

   and performed a “significant volume of transactions and activities that have little or no

   transparency and often no apparent legitimate business purpose.”

          108.    Under Section 311 of the PATRIOT Act, FinCEN barred U.S. financial institutions

   from opening or maintaining “payable-through” accounts with FBME.1 In the accompanying

   official announcement, FinCEN’s then-Director emphasized that FBME was not merely

   negligent, but rather “promotes itself on the basis of its weak Anti Money Laundering (AML)

   controls in order to attract illicit finance business from the darkest corners of the criminal

   underworld,” and “openly advertises the bank to its potential customer base as willing to facilitate

   the evasion of AML regulations.”

          109.    In its updated rule barring U.S financial institutions from dealing with FBME,

   FinCEN noted in particular FBME’s pervasive dealings with obscure shell companies just like

   Telford, serving no purpose but to facilitate money laundering:

                  FinCEN considered all of the relevant information and is particularly

          1
                   FBME challenged FinCEN’s rulemaking in the United States District Court for
   the District of Columbia and won a temporary reprieve, but FinCIN reissued the rule in
   substantially the same form on March 31, 2016. That updated rule is now undergoing judicial
   review.


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          concerned with: (1) The large number of FBME customers that are either shell
          companies or that conduct transactions with shell companies; (2) the lack of
          transparency with respect to beneficial ownership or legitimate business purposes
          of many of FBME’s shell company customers; (3) the location of many of its
          shell company customers in other high-risk money laundering jurisdictions
          outside of Cyprus; (4) the high volume of U.S. dollar transactions conducted by
          these shell companies with no apparent business purpose; and (5) FBME’s
          longtime facilitation of its shell company customers’ anonymity by allowing
          thousands of customers to use the bank’s physical address in lieu of their own.

          110.    The Central Bank of Cyprus has frozen all assets transfers to or from FBME, and

   taken control of the bank pending completion of an investigation into its operations. FBME

   remains under the control of the Central Bank of Cyprus, and upon information and belief,

   continues to hold millions in funds belonging to the Ablyazov-Khrapunov Group and shell

   companies they control.

           The Ablyazov-Khrapunov Group Enters a Second Deal with Chetrit, Again Funded By
           Telford through FBME

          111.    Through Triadou, the Ablyazov-Khrapunov Group entered a second investment

   with the Chetrit Group shortly thereafter. In late 2012, Triadou agreed to invest $12 million in

   the Cabrini Medical Center conversion, a joint venture between the Chetrit Group and another

   private developer to convert a former medical center in New York City into luxury

   condominiums.

          112.    Due to increasing scrutiny on the Ablyazov-Khrapunov Group’s finances, the

   contemplated $12 million investment became impossible. Bourg discussed this obstacle with

   Chetrit, who agreed that Triadou should invest $6 million, half the originally-agreed amount,

   until further funds became available. In return for this $6 million investment, Triadou would

   receive a promissory note and the right to convert that note into equity in the entity holding the

   Chetrit Group’s interest in the Cabrini deal, 227 East 19th Holder, LLC.

          113.    Again, the funds to execute the Cabrini deal were transferred, on May 20, 2013,


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   directly from the Ablyazov-Khrapunov Group’s Telford accounts at FBME Bank to a law firm in

   New York working on Chetrit’s behalf. Again, this transfer of funds from Telford was only

   executed after Ilyas Khrapunov received explicit direction from Ablyazov.

          Kazakh Authorities Target the Ablyazov-Khrapunov Group’s Holdings in the United
          States, and the Ablyazov-Khrapunov Group Liquidates Those Assets at Below-Market
          Value with the Chetrit Group’s Assistance.

          114.    In 2014, Almaty filed an action in California federal court against members of the

   Ablyazov-Khrapunov Group seeking to seize assets that they had attempted to launder through

   real estate investments in California. That action is City of Almaty v. Viktor Khrapunov, et al,

   Case No. 2:14-cv-03650-FMO-CW (filed May 13, 2014; dismissed September 21, 2015) (the

   “California Litigation”). On information and belief, this lawsuit led the Ablyazov-Khrapunov

   Group to believe their assets in the U.S. were no longer safe from seizure by the government of

   Kazakhstan.

          115.    In response, in late 2014, Ilyas Khrapunov directed Bourg, Triadou’s director, to

   begin liquidating Triadou’s assets in New York so that the funds could be removed from the

   United States and hidden. Specifically, Ilyas Khrapunov told Bourg to liquidate Triadou’s

   investments in Flatotel and the Cabrini Medical Center as quickly as possible.

          116.    Bourg approached Chetrit, explaining that the threat of the California Litigation

   was pressuring Triadou and the Ablyazov-Khrapunov Group into moving their assets out of the

   United States. Chetrit offered to purchase an assignment of Triadou’s interest in the Flatotel at a

   substantial discount from the price originally paid by Triadou. By this point, the value of

   Triadou’s investment had in fact increased substantially beyond the funds originally invested.

          117.     Chetrit simultaneously proposed to bribe Bourg, so Chetrit could further take

   advantage of Triadou and secretly influence it to obtain a discounted price. Specifically, Chetrit




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   proposed that Bourg covertly use his position as director of Triadou to accept a lower price for

   the Chetrit Group’s purchase of an assignment, thus decreasing Triadou’s recovery from the

   investment and increasing the Chetrit Group’s profit. In return for securing for Chetrit a lower

   assignment price, Chetrit agreed to surreptitiously pay Bourg $3 million.

          118.     In or about August of 2014, Bourg, acting on behalf of Triadou and at the

   direction of the Ablyazov-Khrapunov Group, agreed to assign Triadou’s interest in the Flatotel

   back to the Chetrit Group for a price as low as $26 million, only a fraction of the fair market

   value of the properties. At the same time, Bourg executed a release of the promissory note that

   Triadou held entitling it to equity in the Cabrini Medical Center development. At the time of this

   assignment and release, Viktor Khrapunov was facing criminal charges as well as possible fines

   and disgorgement in Kazakhstan; the Kazakh government had formally sought extradition of

   Viktor Khrapunov from Switzerland; Ablyazov was being held in French prison awaiting

   extradition; and the Swiss assets of the Ablyazov-Khrapunov Group remained frozen. Not only

   were all of these facts widely disseminated in the news, they were known by all parties to the

   assignment and release transactions, including Chetrit, and it was not uncommon for their

   meetings to begin with a discussion of the possibility of the incarceration of members of the

   Ablyazov-Khrapunov Group.

          119.     Following the assignment and release, Bourg invoiced Chetrit for $1 million of

   the agreed-upon $3 million bribe. After receiving the invoice, Chetrit paid Bourg $400,000, but

   refused to pay the full amount demanded by Bourg.

          120.     In or about March 2015, Bourg met with Chetrit, and recorded the meeting. As

   captured on audio, Bourg demanded the remainder of his promised compensation. Chetrit

   acknowledged that he had paid Bourg “400 or 500,” but responded that Bourg would receive the




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   additional $600,000 only when Chetrit paid what he owed Triadou for the assignment, and that

   he had no intention of paying Triadou until forced to do so. Chetrit further stated on tape that

   Bourg would not receive any remaining money.

           121.    At that meeting, Bourg and Chetrit repeatedly discussed the legal troubles of

   Mukhtar Ablyazov and Victor and Ilyas Khrapunov. Chetrit repeatedly avoided using Ilyas

   Khrapunov’s actual name, referring to him instead by the code name “Pedro.” Chetrit and Bourg

   discussed how “Pedro” was “sought by Interpol” and his “father-in-law [was] still in prison,”

   and Chetrit agreed that law enforcement was “coming at [the Ablyazov-Khrapunov Group] from

   all sides.”

           122.   Also at that meeting, Chetrit and Bourg discussed the fact that due to the

   investigation in Switzerland, Ilyas Khrapunov could not leave the country and was under intense

   law enforcement pressure. In addition, Chetrit once again acknowledged his longstanding

   understanding that Ablyazov and his criminal situation was behind the motivations of the

   Ablyazov-Khrapunov investments in the United States.           Chetrit further acknowledged his

   longstanding understanding that the Ablyazov-Khrapunov Group had made similar investments

   in other countries, such as Greece, to conceal and launder the proceeds of their crimes.

           123.    On or about March 22, 2015, after his meeting with Chetrit, Bourg contacted

   Elkain, Chetrit’s agent in Europe, and also recorded that phone call. In that call, Bourg sought to

   confirm the terms of his secret deal with Chetrit. During this recorded conversation, Bourg and

   Elkain agreed that the secret deal between Chetrit and Bourg called for $3 million in

   compensation for Bourg. Elkain agreed that he “confirmed the deal” between Chetrit and Bourg,

   and “would have never said that if [Chetrit] hadn’t told [him] so.” Bourg requested Elkain’s aid

   in receiving the remainder of his payment, but Elkain responded that whether or not the




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   agreement would be honored was up to Chetrit.

           124.     Despite the finalized assignment agreement and release, the Chetrit Group

   refused to make any payments to Triadou following the sale. In response, Triadou filed a series

   of actions in New York state courts, seeking summary judgment and payment of these

   obligations under the assignment agreement. Those actions are Triadou SPV S.A. v. CF 135

   FLAT LLC, et al., No. 653462/2014 (Nov. 10, 2014); Triadou SPV S.A. v. CF 135 FLAT LLC, et

   al., No. 650239/2015 (Jan. 26, 2015); Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

   154681/2015 (May 11, 2015), and Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

   156907/2015 (July 9, 2015),

           125.     Each of these actions seeks the payment of money to Triadou derived from the

   sale of property illicitly obtained by the Ablyazov-Khrapunov Group, and rightfully owned by

   BTA and Almaty.

           126.     By this lawsuit, BTA Bank and the City of Almaty seek to hold Crossclaim

   Defendants responsible for their illegal conduct in the United States in violation of U.S. law.

                                     FIRST CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           127.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 126

   as if fully set forth herein.

           128.    This cause of action is against all Crossclaim Defendants (the “Count 1

   Defendants”).

           129.     From 1997 and continuing to the present, the Ablyazov-Khrapunov Group and

   numerous other individuals and entities, including SDG and Telford, have constituted an

   association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 1



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   Enterprise”).

          130.      In 2012, the Chetrit Group knowingly and willfully joined the Count 1 Enterprise

   by aiding the Ablyazov-Khrapunov Group’s schemes to hide and launder their illicit assets

   through investments by SDG through Triadou in properties owned by the Chetrit Group.

          131.      The Count 1 Enterprise was engaged in, and the activities of the Count 1

   Defendants affected, interstate and foreign commerce.

          132.      The Count 1 Defendants conducted or participated, directly or indirectly, in the

   conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity

   consisting of the following predicate acts of racketeering within the meaning of 18 U.S.C.

   § 1961(1)(B):

              a. The Count 1 Defendants engaged and conspired to engage in money laundering

                   in violation of 18 U.S.C. § 1956 by conducting numerous financial transactions

                   using illegally obtained funds to purchase real estate investments in New York

                   City and elsewhere and to fund business entities including SDG and Triadou,

                   knowing that such funds were unlawfully converted from the City of Almaty and

                   BTA Bank, with the goal of concealing the source of those funds. The Count 1

                   Defendants further engaged and conspired to engage in money laundering in

                   violation of 18 U.S.C. § 1956 by transporting, transmitting, and/or transferring

                   funds stolen from Almaty and BTA into and within the United States in order to

                   conceal their source and existence from lawful investigations conducted by

                   Swiss, Kazakh, and United Kingdom authorities.

              b. The Count 1 Defendants further engaged and conspired to engage in money

                   laundering in violation of 18 U.S.C. § 1956 by conducting financial transactions




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                using those stolen funds by, among other things, using stolen funds to purchase

                real estate and other assets in New York City and elsewhere and to fund business

                entities, including Triadou and SDG, with the intent to further the Count 1

                Enterprise and to conceal the source of those funds.

            c. The Count 1 Defendants engaged and conspired to engage in money transactions

                in property derived from specified unlawful activity in violation of 18 U.S.C.

                § 1957 by, among other things, knowingly transferring funds in excess of $10,000

                stolen from Almaty and BTA into and within the United States to invest in real

                estate and other assets in New York City with the aid of the Chetrit Group,

                knowing that such funds were stolen from the City of Almaty and BTA Bank.

            d. The Count 1 Defendants engaged and conspired to engage in mail fraud in

                violation of 18 U.S.C. § 1341 and wire fraud in violation of 18 U.S.C. § 1343 by

                knowingly using the mails and wires to transfer illegally obtained funds into and

                within the United States, for the purpose of furthering the Count 1 Enterprise and,

                while concealing the funds’ illegal source, used those funds to purchase real estate

                in New York City and to fund business entities, including SDG and Triadou, that

                enabled those entities to conduct business in the United States using the illegally-

                obtained funds.

            e. The Count 1 Defendants unlawfully transported or caused to be transported in

                interstate or foreign commerce securities or money having a value of $5,000 or

                more which was stolen, converted or taken by fraud from Almaty and BTA Bank,

                and knowing the same to be stolen, converted or taken by fraud in violation of 18

                U.S.C. § 2314.




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              f. The Count 1 Defendants received, possessed, concealed, sold, or disposed of

                  securities or money having the value of $5,000 or more, or conspired to do the

                  same, which crossed a state or United States boundary after being stolen,

                  unlawfully converted, or taken from Almaty and BTA Bank, and knowing the

                  securities or money to have been stolen, unlawfully converted, or taken in

                  violation of 18 U.S.C. § 2315.

          133.     Each of the Count 1 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 1 Defendants engaged or conspired to engage in two or more predicate acts of

   racketeering, and each committed at least one such act of racketeering after the effective date of

   RICO. From in or about 1997, and continuing to the present, Count 1 Defendants associated

   together, with one another and with others, and acted in concert for the common and unlawful

   purposes of the Count 1 Enterprise and in order to implement the schemes and employ the

   devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   the following acts of money laundering, transactions in money and property derived from

   specified unlawful activity, foreign transport of stolen money or property known to be stolen,

   converted or taken by fraud, mail fraud, and/or wire fraud:

              a. The 2012 sham sale of SDG to Philippe Glatz to create the appearance that SDG

                  was independent of the Ablyazov-Khrapunov Group;

              b. the fraudulent loan from the Ablyazov-Khrapunov Group to Mr. Glatz to facilitate

                  the SDG sale transaction;




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            c. the formation of Triadou and other entities by SDG at the direction of Bourg and in

                consultation with Ilyas Khrapunov;

            d. Chetrit’s meetings with Ilyas Khrapunov in or about 2012 in Switzerland and New

                York City, and their subsequent agreement to invest the Ablyazov-Khrapunov

                Group’s unlawfully obtained money in real estate in New York City;

            e. E-mails directly between Chetrit and Ilyas Khrapunov as well as through

                intermediaries discussing the Ablyazov-Khrapunov Group’s possible investments in

                New York real estate;

            f. the formation of the investment vehicles necessary to facilitate the Flatotel and

                Cabrini investments;

            g. Telford’s failed attempt to transfer funds held in FBME Bank for the Flatotel and

                Cabrini deals through banks in Luxembourg;

            h. the May 20, 2013 transfer of funds from Telford to Chetrit’s attorney representing

                Triadou’s investment of $6 million in the Cabrini deal, along with Chetrit’s

                promissory note and Triadou’s right to convert that debt into equity in Cabrini;

            i. a series of other wire transfers on behalf of Triadou from Telford’s accounts at

                FBME Bank Ltd. to Chetrit’s counsel in New York, including transfers on

                November 9, 2012, and January 22, February 13, February 19, April 8, April 16,

                and April 24, 2013;

            j. a May 22, 2013 wire transfer of $28 million from Telford to a different law firm’s

                Citibank account in New York used for a separate New York real estate investment

                with Chetrit;

            k. a May 2014 agreement (executed August 2014) to transfer Triadou’s interest in the




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                   Flatotel to the Chetrit Group at a below-market price;

               l. Chetrit’s and Triadou’s signed May 2014 release of the promissory note regarding

                   Triadou’s $6 million investment in the Cabrini Medical Center development;

               m. Chetrit’s payment of $400,000 to Bourg in partial satisfaction of Chetrit’s

                   agreement with Bourg to pay him $3 million in exchange for securing Chetrit a

                   lower assignment price for Triadou’s interests in the Flatotel and Cabrini deals;

                   and

               n. a payment of $1 million from Chetrit to Triadou in partial satisfaction of Chetrit’s

                   obligations under the fraudulent assignment.

           134.     As a direct and proximate result of RICO violations by the Count 1 Defendants

   of 18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined

   at trial and presently estimated to be not less than $6 billion. Almaty and BTA have been injured

   in their business or property by reason of each Count 1 Defendants’ violations and, pursuant to

   the civil remedy provisions of 18 U.S.C. § 1964(c), are thereby entitled to recover threefold the

   damages suffered, together with the costs of this suit and reasonable attorneys’ fees.

                                   SECOND CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           135.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 134

   as if fully set forth herein.

           136.    This cause of action is against all Crossclaim Defendants (the “Count 2

   Defendants”).

           137.     From its formation and continuing to the present, CF 135 West Member LLC,

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 2



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   Enterprise”).

          138.      The Count 2 Enterprise was engaged in, and the activities of the Count 2

   Defendants affected, interstate and foreign commerce.

          139.      The Count 2 Defendants engaged in a pattern of racketeering activity consisting

   of the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

   paragraph 132 above.

          140.      Each of the Count 2 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 2 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 2 Defendants engaged in two or more predicate acts of racketeering, and each committed

   at least one such act of racketeering after the effective date of RICO. The Count 2 Defendants

   associated together, with one another and with others, and acted in concert for the common and

   unlawful purposes of the Count 2 Enterprise and in order to implement the schemes and employ

   the devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   those acts described in paragraph 133 above.

          141.     As a direct and proximate result of RICO violations by the Count 2 Defendants of

   18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 2

   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.




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                                     THIRD CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(a))
                                      Against All Defendants

           142.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 141

   as if fully set forth herein.

           143.    This cause of action is against all Crossclaim Defendants (the “Count 3

   Defendants”).

           144.     From its formation and continuing to the present, CF 135 West Member LLC,

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 3

   Enterprise”).

           145.     The Count 3 Enterprise was engaged in, and the activities of the Count 3

   Defendants affected, interstate and foreign commerce.

           146.     The Count 3 Defendants received income derived from a pattern of racketeering

   activity consisting of the related predicate acts of racketeering described in paragraphs 132 and

   133 above.

           147.     The Count 3 Defendants used or invested the income derived from their

   racketeering activity in the acquisition of an interest in, or the establishment or operation of, the

   Count 3 Enterprise in violation of 18 U.S.C. § 1962(a).

           148.     The Count 3 Defendants used or invested the income derived from their

   racketeering activity in the Count 3 Enterprise in fraudulent and below-market transactions,

   including by accepting unreasonable contractual terms to transfer wealth to the Chetrit Group.

           149.    As a direct and proximate result of RICO violations by the Count 3 Defendants of

   18 U.S.C. § 1962(a), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 3


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   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                   FOURTH CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           150.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 149

   as if fully set forth herein.

           151.    This cause of action is against all Crossclaim Defendants (the “Count 4

   Defendants”).

           152.     From its incorporation and continuing to the present, 227 East 19th Holder LLC

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 4

   Enterprise”).

           153.     The Count 4 Enterprise was engaged in, and the activities of the Count 4

   Defendants affected, interstate and foreign commerce.

           154.     The Count 4 Defendants engaged a pattern of racketeering activity consisting of

   the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

   paragraph 132 above.

           155.     Each of the Count 4 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 4 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 4 Defendants engaged in two or more predicate acts of racketeering, and each committed

   at least one such act of racketeering after the effective date of RICO. The Count 4 Defendants

   associated together, with one another and with others, and acted in concert for the common and



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   unlawful purposes of the Count 4 Enterprise and in order to implement the schemes and employ

   the devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   those acts described in paragraph 133 above.

           156.    As a direct and proximate result of RICO violations by the Count 4 Defendants of

   18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 4

   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                     FIFTH CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(d))
                                      Against All Defendants

           157.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 156

   as if fully set forth herein.

           158.    This cause of action is against all Crossclaim Defendants (the “Count 5

   Defendants”).

           159.     As alleged herein, Count 5 Defendants conspired to engage in the acts described

   above in the United States to further the goals of their criminal enterprises in violation of U.S.

   law.

           160.     In so doing, Count 5 Defendants unlawfully, willfully, and knowingly did

   combine, conspire, confederate, and agree together, with each other and with others to commit

   RICO violations under 18 U.S.C. § 1962(c) and, thereby, violated 18 U.S.C. § 1962(d). In

   furtherance of the conspiracy and to achieve its objectives, Count 5 Defendants committed the



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   overt acts as described in paragraph 133 in the Southern District of New York and elsewhere.

           161.     As a direct and proximate result of RICO violations by the Count 5 Defendants

   of 18 U.S.C. § 1962(d), Almaty and BTA have suffered damages in an amount to be determined

   at trial. Almaty and BTA have been injured in their business or property by reason of each Count

   5 Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                    SIXTH CAUSE OF ACTION

                           (ACTUAL FRAUDULENT TRANSFER)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           162.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 161

   as if fully set forth herein.

           163.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

   the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

   as these funds were the unlawful profits of embezzlement, fraud, and the corruption of the public

   office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

   alter or diminish either Almaty or BTA’s interest.

           164.     The 2014 assignment of Triadou’s interest in the Flatotel and Cabrini Medical

   Center was not for adequate consideration, and in fact, represented a value significantly below

   the fair value of that interest, due to the improper motivations of Triadou’s ownership, the

   Ablyazov-Khrapunov Group, to hide their illicit assets and move them offshore, and the Chetrit

   Group’s secret deal to drive down the price of the assignment through bribery.

           165.     This assignment was made for the specific purpose of liquidating a fixed asset to

   frustrate a future creditor. Defendants knew of the numerous judgments against Ablyazov in the



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   United Kingdom, and of Almaty’s claims against the Ablyazov-Khrapunov Group in the

   California Litigation, and knew that Triadou was owned and controlled by the defendants in

   those actions. Defendants intended and believed that the assignment of the Ablyazov-Khrapunov

   Group’s interest in the Flatotel and Cabrini Medical Center would hinder, delay, and defraud

   current and future judgment creditors, specifically the City of Almaty and BTA Bank.

           166.     For these reasons, the assignment was fraudulently and illegally intended to

   remove an asset from the jurisdiction of the United States, namely Triadou’s interests in the

   Flatotel and Cabrini Medical Center, convert those assets to cash, and transfer those funds beyond

   the reach of the Swiss, Kazakh, and United Kingdom authorities

           167.     As a result of the foregoing, pursuant to sections 275, 276, and 279 of the New

   York Debtor and Creditor Law, the August 2014 assignment agreement should be set aside as

   the product of clearly-inequitable conduct.

                                   SEVENTH CAUSE OF ACTION

                        (CONSTRUCTIVE FRAUDULENT TRANSFER)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           168.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 167

   as if fully set forth herein.

           169.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

   the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

   as these funds were the unlawful profits of embezzlement, fraud, and corruption of the public

   office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

   alter or diminish either Almaty or BTA’s interest.

           170.     Triadou, although an arm of a massive international fraud and money laundering

   conspiracy, is and has been insolvent itself. Triadou holds no funds or other assets of its own,



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   and relies on funding from other Ablyazov-Khrapunov Group entities, such as Telford, to meet

   its obligations. Assets that flow to Triadou are promptly moved to other Ablyazov-Khrapunov

   Group entities offshore.

           171.     As Triadou is controlled by the Ablyazov-Khrapunov Group, whose members

   face multi-billion dollar judgments in other jurisdictions, Triadou is effectively kept insolvent at

   all times, so as to limit the Ablyazov-Khrapunov Group’s exposure in the United States.

           172.     Similarly, because Triadou is controlled by and is an alter ego of the Ablyazov-

   Khrapunov Group, at the time it liquidated the Flatotel and Cabrini interests and transferred the

   proceeds to other entities, it had liabilities – including resulting from the UK judgments – that far

   outstripped its assets.

           173.     As a result of the foregoing, pursuant to sections 273 and 273-a of the New York

   Debtor and Creditor Law, the August 2014 assignment agreement should be set aside.

                                    EIGHTH CAUSE OF ACTION

                                   (UNJUST ENRICHMENT)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           174.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 173

   as if fully set forth herein.

           175.    The Crossclaim Defendants were unjustly enriched at the expense of the City of

   Almaty and BTA Bank when they invested funds embezzled from the City of Almaty and BTA

   Bank to acquire assets in the United States including an interest in the Flatotel project, and did so

   knowing that authorities of Switzerland, the Republic of Kazakhstan, and the United Kingdom

   were seeking the wrongfully-taken assets held by the Ablyazov-Khrapunov Group, and that

   further sales of the same assets would potentially frustrate their identification by the lawful

   authorities.


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           176.    It would be against equity and good conscience to permit the Crossclaim

   Defendants to retain the profits derived from the looting of assets rightfully belonging to the City

   of Almaty and BTA Bank.

                                    NINTH CAUSE OF ACTION

                                        (CONVERSION)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           177.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 176

   as if fully set forth herein.

           178.     None of the Defendants has a superior interest to the City of Almaty or BTA in

   the assets wrongfully taken by the Ablyazov-Khrapunov Group. These funds, and the assets

   they were used to purchase, are the rightful property of the people of Almaty and BTA.

           179.     Defendants knowingly bought and sold assets obtained with these funds derived

   from the corruption of the office of the mayor of the City of Almaty and control of BTA Bank.

           180.     As a result, Defendants have wrongfully and without authorization exercised of

   dominion and control over property of Almaty and BTA, and thus are liable for converting the

   same.

                                    TENTH CAUSE OF ACTION

                                     (CONSTRUCTIVE TRUST)
                                       Against All Defendants

           181.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 180

   as if fully set forth herein.

           182.     As mayor of Almaty, Viktor Khrapunov owed fiduciary duties to the people of

   Almaty, and through his oath of office, expressly promised to execute those duties.

           183.     Despite that promise, Viktor Khrapunov breached those fiduciary duties

   repeatedly by transferring public assets of the City of Almaty to other members of the Ablyazov-


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   Khrapunov Group for fractions of their market value, and then assisted the Ablyazov-Khrapunov

   Group in laundering the funds resulting from those illicit transfers of public property. Through

   these breaches of fiduciary duty, the Ablyazov-Khrapunov Group has been unjustly enriched.

           184.     A constructive trust over the 50% interest in CF 135 West Member LLC

   assigned by Triadou, and all profits therefrom, is the appropriate equitable remedy to prevent

   further dissipation of the funds resulting from these breaches of fiduciary duty.

           185.     Defendants have also conspired to fraudulently transfer Triadou’s interest in the

   Flatotel for the purpose of hiding the Ablyazov-Khrapunov Group’s assets and frustrating any

   recovery resulting from Almaty and BTA’s investigations and pursuits of their stolen assets.

   Separate and aside from the Ablyazov-Khrapunov Group’s breaches of fiduciary duty, this

   knowingly fraudulent transfer by Cross- and Counterclaim Defendants justifies imposition of a

   constructive trust to prevent any further transfers or encumbrances of this property.

           186.     Absent this remedy, the Ablyazov-Khrapunov Group will continue to use

   Triadou and SDG to launder the fruits of these breaches of fiduciary duty and hide these assets

   from law enforcement, and the Chetrit Group will continue to be unjustly enriched by these acts

   of fraud.

                                   ELEVENTH CAUSE OF ACTION

                  (PURSUANT TO CPLR § 5239 FOR FRAUD AND CONVERSION)
                                  Against All Defendants

           187.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 186

   as if fully set forth herein.

           188.     Triadou has filed serial actions in the courts of the state of New York seeking

   payment on the fraudulent assignment agreement between Triadou and the Chetrit Group. While

   Triadou has been awarded summary judgment in some of these actions, none of these judgments



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   have been satisfied by any sheriff or receiver.

             189.   The City of Almaty and BTA Bank are the rightful owners of Triadou’s interest in

   the Flatotel and Cabrini Medical Center and/or any funds derived from the sale of that interest, as

   the interest was purchased with funds unlawfully converted by the Ablyazov-Khrapunov Group

   and laundered through SDG and Triadou.

             190.   Pursuant to CPLR § 5239, this court is empowered to vacate any such judgments

   and direct the disposition of the property in question, as well as direct which party should keep

   possession of the property during the pendency of this action.

             191.   The court should set aside any judgments in Triadou’s favor in light of the City

   of Almaty’s and BTA’s superior interest in this illicitly-obtained property, direct that Triadou’s

   interest in the Flatotel and Cabrini Medical Center be transferred to the City of Almaty and BTA

   Bank, and pursuant to CPLR § 5239, award the City of Almaty and BTA Bank its reasonable

   attorneys’ fees in bringing this claim.

                                   TWELFTH CAUSE OF ACTION

      (PURSUANT TO CPLR § 5303 FOR RECOGNITION AND ENFORCEMENT OF A
                 FOREIGN JUDGMENT UNDER NEW YORK LAW)
                            Against Defendant Ablyazov

             192.   BTA Bank repeats and realleges paragraphs 1 through 191 as if fully set forth

   herein.

             193.   The United Kingdom of Great Britain and Northern Ireland is a “foreign state”

   within the meaning of N.Y. C.P.L.R. § 5301(a).

             194.   The Ablyazov Judgments are “foreign country judgments” within the meaning of

   N.Y. C.P.L.R. § 5301(b).

             195.   The Ablyazov Judgments are “final, conclusive and enforceable” in England

   within the meaning of N.Y. C.P.L.R. § 5302.


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           196.      The Ablyazov Judgments grant recovery of a sum of money and are enforceable

   by an action on the judgments in New York pursuant to N.Y. C.P.L.R. § 5303.

           197.      None of the grounds for non-recognition of a foreign country judgment set forth

   in N.Y. C.P.L.R. § 5304 applies to the Ablyazov Judgments.

           198.      The Ablyazov Judgments are required to be enforced pursuant to N.Y. C.P.L.R.

   § 5303.

           199.      Triadou is the alter ego of the Ablyazov-Khrapunov Group, and is thus liable for

   all current and future obligations against the Ablyazov-Khrapunov Group. Maintaining the

   separateness of Triadou and its alter ego, the Ablyazov-Khrapunov Group, would allow the

   Ablyazov-Khrapunov Group to avoid otherwise enforceable obligations and would be highly

   inequitable to the people of the city of Almaty and BTA Bank.

                                 THIRTEENTH CAUSE OF ACTION

                                      (AIDING AND ABETTING)
                                        Against Defendant FBME

           200.      The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 199

   as if fully set out herein.

           201.      The Ablyazov-Khrapunov Group converted property that rightfully belongs to

   the Kazakhstan Plaintiffs through wire transfers executed by FBME Bank, and the Ablyazov-

   Khrapunov Group was unjustly enriched by the use and investment of the same funds.

           202.      FBME Bank was aware that the funds wired were the proceeds of crime and that

   the wire transfers were an effort by the Ablyazov-Khrapunov Group to obscure the illicit nature

   of those funds.

           203.      Due to its longstanding relationship with the Ablyazov-Khrapunov Group and

   deliberately ineffective protocols for preventing money laundering, FBME Bank aided and



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   abetted the Ablyazov-Khrapunov Group’s laundering scheme.

          204.     FBME’s active participation in the Ablyazov-Khrapunov Group’s money

   laundering network rendered substantial assistance to the Ablyazov-Khrapunov Group’s acts of

   conversion, fraud, and subsequent unjust enrichment, and the Kazakhstan Plaintiffs seek relief

   from FBME to the extent Defendants are found liable for these acts.



                                    DEMAND FOR JURY TRIAL

          Almaty and BTA Bank demand a jury trial on all claims for which trial by jury is

   available, including on the underlying interpleader action.

                                       DEMAND FOR RELIEF

   WHEREFORE, Almaty and BTA Bank demand the Court enter judgment as follows:

          A.       For injunctive relief and rescission of the 2014 assignment agreement and release;

          B.       For compensatory, punitive, and treble damages;

          C.       For declaratory relief;

          D.       For all costs and fees incurred in prosecuting this Complaint;

          E.       For such other and further relief as this Court deems just and proper.




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   Dated: New York, New York
          September 7, 2016


                                         Respectfully Submitted,

                                         BOIES, SCHILLER & FLEXNER LLP

                                    By: /s/ Matthew L. Schwartz
                                        Matthew L. Schwartz
                                        Randall W. Jackson
                                        Daniel G. Boyle
                                        Craig Wenner

                                         BOIES, SCHILLER & FLEXNER LLP
                                         575 Lexington Avenue
                                         New York, New York 10022
                                         Telephone: 212-446-2300
                                         Facsimile: 212-446-2350




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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
                                       A
   CITY OF ALMATY, KAZAKHSTN and BTA
   BANK JSC,

                   Crossclaim Plaintiffs,                   No. JS-CV-05345(AJN) (KHP)

                           -against-

   MUKHTAR ABLYAZOV, VIKTOR
   KHRAPUNOV, !LYAS KHRAPUNOV, and
   TRIADOU SPY S.A.,

                  Crossclaim Defendants.



                            DECLARATION OF YIKTOR KHRAPUNOV

         I, Viktor Khrapunov, hereby declare under penalty of perjury under the laws of the

  United States of America that the foregoing is true and correct:

             l. I submit this declaration in connection with the accompanying request for

 international judicial assistance.

             2. have voluntarily agreed to be deposed in connection with the above-captioned

  case and know that I cannot be subjected to any coercive measures, that I cannot be forced      10


  participate or to appear, and that I have the right to invoke any exemption or prohibition to give

  evidence provided for by the Jaws of Switzerland or of the United States of

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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK

    CITY OF ALMATY, KAZAKHSTAN and BTA
    BANK JSC,
                                                               No. 15-CV-05345(AJN) (KHP)
                     Crossclaim Plaintiffs,

                              -against-

    MUKHTAR ABLYAZOV, VIKTOR
    KHRAPUNOV, IL YAS KHRAPUNOV, and
    TRIADOU SPY S.A.,

                    Crossclaim Defendants.




                                DECLARATION OF ILYAS KHRAPUNOV

           I, Ilyas Khrapunov, hereby declare under penalty of perjury under the laws of the United

   States of America that the foregoing is true and correct:

               1. I submit this declaration in connection with the accompanymg request for

   international judicial assistance.

               2. have voluntarily agreed to be deposed in connection with the above-captioned

   case and know that I cannot be subjected to any coercive measures, that I cannot be forced to

   participate or to appear, and that I have the right to invoke an exemption or prohibition to give

   evidence provided for by the laws of Switzerland or of th    1t.m~a-c;tt\:tIes   of America.

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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ____________________________________
                                        )
   CITY OF ALMATY, KAZAKHSTAN,         )
   and BTA BANK JSC                     )
                                        )
               Plaintiffs,              )
                                        )
               v.                       )            No. 15-cv-05345 (AJN)
                                        )
   MUKHTAR ABLYAZOV, ILYAS              )
   KHRAPUNOV, VIKTOR KHRAPUNOV )
   and TRIADOU SPV S.A.,                )
                                        )
               Defendants.              )
                                        )


       COMMISSION TO TAKE THE DEPOSITIONS OF ILYAS KHRAPUNOV AND
                   VIKTOR KHRAPUNOV IN SWITZERLAND

          Pursuant to this Order of the above-titled Court, the individuals set forth below (“the

   Commissioners”) are hereby commissioned, pursuant to Article 17 of the Hague Convention On

   The Taking Of Evidence Abroad In Civil Or Commercial Matters (“Hague Evidence

   Convention”), T.I.A.S. 7444, 23 U.S.T. 2555, reprinted in 28 U.S.C.A. § 1781, to take the

   depositions of Ilyas Khrapunov, a resident of Switzerland, who is a party and whose elected

   domicile is 295, Route d'Hermance, 1247 Anieres, Geneva, Switzerland, and Viktor Khrapunov,

   a resident of Switzerland, who is a party and whose elected domicile is 28b Chemin du Petit-

   Saconnex, 1209 Geneva, Switzerland.

          The Commissioners shall include:

             1. Matthew L. Schwartz, of Boies, Schiller Flexner LLP, 575 Lexington Ave, New
                York NY, 10022 (Plaintiffs’ U.S. counsel)
             2. Balz Gross and Claudio Bazzani, of Homburger AG, Prime Tower, Hardstrasse
                201, CH-8005 Zurich (Plaintiffs’ Swiss counsel);



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            3. John Kenney and/or John P. Curley, of Hoguet Newman Regal & Kenney LLP,
               10 E 40th St #35, New York, NY 10016 (Viktor & Ilyas Khrapunov’s U.S.
               counsel)
            4. Grégoire Mangeat and/or Fanny Margairaz, of Mangeat Law firm, Passage des
               Lions 6, Case postale 5653, 1204 Geneva, Switzerland (Ilyas Khrapunov’s Swiss
               counsel)
            5. Marc Henzelin and/or Maria Vinogradova, of Lalive Law Firm, Rue de la Mairie
               35, 1207 Genève, Switzerland (Viktor Khrapunov’s Swiss counsel).
            6. Alex Hassid, of Blank Rome, LLP, 1825 Eye Street, NW, Washington, D.C.
               20006 (Triadou SPV S.A.’s U.S. counsel).


         The deposition of Ilyas Khrapunov shall be limited to the following topics:

                1.      Triadou SPV S.A. including its formation, operation, funding, and its
                        investments, including but not limited to:
                            The Flatotel condominium conversion in New York, NY;
                            The Cabrini Medical Center conversion in New York NY;
                            The Syracuse Mixed Use Complex in Syracuse, NY;
                            The Tri-County Mall in Cincinnati, OH;
                2.      Telford International Limited (“Telford”), including
                            Funding provided by Telford for Triadou’s investments;
                            The sources of funds Triadou received from Telford;
                            Due diligence done on Telford and its beneficial owners;
                            Funding provided by Telford for any investment by SDG or Ilyas
                             Khrapunov, including the purchase of any securities;
                            Any connection or relationship between Telford Financiers and
                             Telford International Limited
                3.      The formation of a real estate investment fund incorporated in
                        Luxembourg including Triadou’s assets and investments;
                4.      The structure and operations of SDG Capital SA (“SDG”), including any
                        current or former subsidiaries or affiliates, including:
                            The sources of SDG’s funding;
                            SDG’s investments through Porto Heli SPV;
                            SDG’s investments through Igloo SPV;
                5. The purported sale of SDG to Philippe Glatz in 2013, including:
                          Ilyas Khrapunov’s relationship with Philippe Glatz;

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                        The source(s) of funds use to acquire SDG;
                          Ilyas Khrapunov’s employment or services to SDG before and after
                           the purported sale;
               6.    FBME Bank (“FBME”), including:
                          Any accounts held at FBME by Ilyas Khrapunov or entities he or his
                           family members (including in-laws) own or control;
                          Any transfers of funds from accounts at FBME for the benefit of
                           Triadou or SDG;
                          Any communications between officers or employees of FBME and
                           Ilyas Khrapunov or his agents;
               7.    Transfers of funds involving the following entities:
                          VILDER Company
                          Northern Seas Waterage
                          Crownway Limited
                          Beford Limited
                          Beron Holdings
                          Ignoramus Limited
                          Ramasita Investments
                          Lampwood Limited
                          Sartfield Limited
                          Claremont Holdings Limited
                          RPM USA
                          RPM-Maro
                          San Vito Investments Corp.
                          Adlux Group
                          SWISS TV
               8.    Ilyas Khrapunov’s relationship and communications with Peter Sztyk
                     (a/k/a Petro Sztyk), including:
                          The involvement of Mr. Sztyk in funding Triadou, SDG, or any of
                           their subsidiaries of affiliates;
                          Any intended or planned sale of Triadou, in whole or part, to Mr.
                           Sztyk or any entity owned or controlled by him;
                          Any services or representation Mr. Sztyk provided to Ilyas
                           Khrapunov or Ablyazov;

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                9.     Ablyazov’s assets, both in his name and held by associates for his benefit;
                10.    Ablyazov’s ownership or control of any corporate entities;
                11.    The sources of funding for Ablyazov’s legal expenses in the United
                       Kingdom;
                12.    Disclosures made by Ilyas Khrapunov pursuant to any freezing or
                       receivership orders of the courts of the United Kingdom;
                13.    Acts of hacking or unauthorized access to the electronic communications
                       of any government officials, including:
                            the employment of or payments to any their-party computer hackers;
                            Ilyas Khrapunov’s receipt of electronic communications obtained
                             without authorization;
                14.    Ilyas Khrapunov’s relationship and communications with Nicolas Bourg,
                       including those related to Bourg’s companies the Niel entities;
                15.    Ilyas Khrapunov’s communications with Laurent Foucher;
                16.    Ilyas Khrapunov’s communications with Kevin Meyer;
                17.    Ilyas Khrapunov’s communications with Mukhtar Ablyazov;
                18.    Ilyas Khrapunov’s communications with Nicolas Bourg;
                19.    Ilyas Khrapunov’s communications with Eesh Aggarwal;
                20.    Ilyas Khrapunov’s communications with Viktor Khrapunov;
                21.    Ilyas Khrapunov’s communications with Gennady Petelin;
                22.    Ilyas Khrapunov’s communications with Elena Petelina;
                23.    Ilyas Khrapunov’s communications with Petr Krasnov;
                24.    Ilyas Khrapunov’s communications with Alexander Yassik;
                25.    Ilyas Khrapunov’s communications with Joseph Chetrit;
                26.    Ilyas Khrapunov’s communications with Felix Sater;
                27.    Ilyas Khrapunov’s communications with Daniel Ridloff;
                28.    Ilyas Khrapunov’s communications with Botagoz Dzhardemali (a/k/a Bota
                       Jardemalie);
                29.    Ilyas Khrapunov’s retention of relevant documents or electronic
                       communications, or maintenance of such documents by SDG, Triadou, or
                       any of Ilyas Khrapunov’s employees, counsel, or agents.
                30.    The allegations in the Amended Crossclaims.


         The deposition of Viktor Khrapunov shall be limited to the following topics:



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               1. Viktor Khrapunov’s actions as Mayor of the City of Almaty Kazakhstan,
                  including:
                         Viktor Khrapunov’s oath of office and ethical and legal obligations as
                          Mayor of Almaty;
                         The transfer of property in the “Two Rivers” area of Almaty, as
                          referenced in ¶ 51 of the Amended Crossclaims;
                         The April 2001 transfer of property to “KRI”, as referenced in ¶ 53 of
                          the Amended Crossclaims;
                         The 2003 seizure and resale of property from Shadid Engineering, as
                          referenced in ¶ 54 of the Amended Crossclaims;
                         The transfer for sale of any property owned or controlled by the City
                          of Almaty to Leila Khrapunova or entities owned or controlled by her;
               2. Transfers of funds involving the following entities:
                         TOO KazRealIncom
                         TOO KarashaPlus
                         TOO Building Service Company
                         TOO Compania Stroytech
                         TOO Altay
                         Viled Establishment
               3. The formation, funding, and investments of SDG Capital SA (“SDG”),
                  including any current or former subsidiaries or affiliates, including:
                           The sources of SDG’s funding;
                           SDG’s investments through Porto Heli SPV;
                           SDG’s investments through Igloo SPV;
                           The purported sale of SDG to Philippe Glatz in 2013;
               4. The formation, operation, funding, and investments of Triadou SPV S.A.,
                  including Triadou’s investments in:
                           The Flatotel condominium conversation in New York, NY;
                           The Cabrini Medical Center conversion in New York NY;
                           The Syracuse Mixed Use Complex in Syracuse, NY;
                           The Tri-County Mall in Cincinnati, OH;
               5. Telford International Limited (“Telford”), including
                           Funding provided by Telford for Triadou’s investments;
                           The sources of funds Triadou received from Telford;

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                          Due diligence done on Telford and its beneficial owners;
                          Any connection between Telford International Limited and Telford
                           Financiers Corp.;
               6. FBME Bank (“FBME”), including:
                          Any accounts held at FBME by Viktor Khrapunov or entities he or
                           his family members (or in-laws) own or control;
                          Any transfers of funds from accounts at FBME for the benefit of
                           Triadou or SDG;
                          Any communications between officers or employees of FBME and
                           Ilyas Khrapunov or his agents;
               7. The net worth of Viktor Khrapunov and his immediate family, as referenced
                  in public reports and ¶ 61 of the Amended Crossclaims;
               8. Tax reporting by Viktor Khrapunov and his spouse, as referenced in ¶ 61 of
                  the Amended Crossclaims;
               9. Viktor Khrapunov’s disclosures and statements to Swiss law enforcement
                  authorities;
               10. Investments by Viktor Khrapunov and his immediate family members in the
                   United States, including the purchase and sale of any real property;
               11. Acts of hacking or unauthorized access to the electronic communications of
                   any government officials, including:
                          the employment of or payments to any third-party computer hackers;
                          Viktor Khrapunov’s receipt of electronic communications obtained
                           without authorization;
               12. Viktor Khrapunov’s communications with Mukhtar Ablyazov;
               13. Viktor Khrapunov’s communications with Abylaykhan Karymsakov;
               14. Viktor Khrapunov’s communications with Eesh Aggarwal;
               15. Viktor Khrapunov’s communications with Ilyas Khrapunov;
               16. Viktor Khrapunov’s communications with Leila Khrapunova;
               17. Viktor Khrapunov’s communications with Gennady Petelin;
               18. Viktor Khrapunov’s communications with Elena Petelina;
               19. Viktor Khrapunov’s communications with Petr Krasnov;
               20. Viktor Khrapunov’s communications with Alexander Yassik;
               21. Viktor Khrapunov’s communications with Peter Sztyk (a/k/a Petro Sztyk);
               22. Viktor Khrapunov’s communications with Nicolas Bourg;
               23. Viktor Khrapunov’s retention of relevant documents or electronic
                   communications, any of Viktor Khrapunov’s employees, counsel, or agents.
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                   24. The allegations in the Amended Crossclaims.


   The Commissioners must comply with the Conditions for a Commissioner or Diplomatic or

   Consular Officer to Obtain Evidence in Switzerland, as set forth by the Swiss Federal Office of

   Justice as of May 2013 (the “Conditions”). Consistent with the Conditions, the Commissioners

   must obtain prior authorization from the Swiss authorities to validate this Commission and pay

   all required fees.

           IT IS SO ORDERED.

   Date: ________________                      __________________________________
                                               The Honorable Alison J. Nathan
                                               United States District Court for the
                                               Southern District of New York
                                               Thurgood Marshall United States Courthouse
                                               500 Pearl Street, Room 1620
                                               New York, New York 10007-1312

                                               SEAL OF THE UNITED STATES DISTRICT
                                               COURT FOR THE SOUTHERN DISTRICT OF
                                               NEW YORK




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ____________________________________
                                        )
   CITY OF ALMATY, KAZAKHSTAN,         )
   and BTA BANK JSC                     )
                                        )
               Plaintiffs,              )
                                        )
               v.                       )              No. 15-cv-05345 (AJN)
                                        )
   MUKHTAR ABLYAZOV, ILYAS              )
   KHRAPUNOV, VIKTOR KHRAPUNOV )
   and TRIADOU SPV S.A.,                )
                                        )
               Defendants.              )
                                        )


   AMENDED LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
         PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON
    THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

          The United States District Court for the Southern District of New York (the “Court”),

   presents its compliments to the Senior Master of the Royal Courts of Justice under the Hague

   Convention on the Taking of Evidence Abroad in Civil or Commercial Matters (“Hague

   Convention”), and requests international judicial assistance to obtain evidence to be used in a

   civil proceeding before this Court in the above-captioned matter. This Court respectfully requests

   that The Senior Master of the Royal Courts of Justice recognize this Amended Letter of Request

   from this Court and arrange for its execution, in adherence to the Hague Convention and in the

   interest of comity.

          A.      Sender

          The Honorable Alison J. Nathan, United States District Judge for the Southern District of

   New York, New York, New York, United States of America.




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   B.      Central Authority of the Requested State

           The Senior Master (for the attention of the Foreign Process Section), Room E16, Royal

   Courts of Justice, Strand, LONDON WWC2A 2LL (foreignprocess.rcj@hmcts.gsi.gov.uk).

           C.      Person to Whom the Executed Request Is to Be Returned

           This Court hereby requests that the executed Amended Letter of Request and all

   documents and materials covered by this Amended Letter of Request be returned to the

   following attorney for the Plaintiffs, the City of Almaty, Kazakhstan and BTA Bank JSC

   (collectively, the “Plaintiffs”), as an officer of this Court:

           Matthew L. Schwartz
           Boies Schiller Flexner LLP
           575 Lexington Avenue
           New York, New York 10022
           Telephone Number: (212) 446-2300
           Fax Number: (212) 446-2350

           As an officer of this Court, he will act as confidential courier of this Court and deliver the

   executed Amended Letter of Request and all related documents and materials directly to me at

   the following address:

           The Honorable Alison J. Nathan
           United States District Court for the Southern District of New York
           Thurgood Marshall United States Courthouse
           40 Foley Square, Room 2102
           New York, New York 10007

           All documents and materials deposited with the Court in accordance with this Revised

   Letter of Request will be available to all parties and their counsel.

           D.      Purpose of Evidence Sought and Requested Date of Receipt of Response

           The requested documents and evidence will be used by the parties in support of their

   claims or defenses. Specifically, the requested evidence will be used by the plaintiffs at trial in

   support of allegations described in paragraphs 98–106 of Plaintiffs’ Amended Crossclaims,

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   attached as Exhibit A to this Revised Letter of Request. The Court accordingly respectfully

   requests a prompt response to this Amended Letter of Request.

   I.     HAGUE CONVENTION REQUIREMENTS

          This Court requests the assistance more specifically described herein as necessary in the

   interests of justice. In conformity with Article 3 of the Hague Convention, the undersigned

   applicant has the honor to submit the following request:

          A.      Requesting Judicial Authority

          The Honorable Alison J. Nathan
          United States District Court for the Southern District of New York
          Thurgood Marshall United States Courthouse
          40 Foley Square
          New York, New York 10007, USA

          B.      Central Authority of the Requested State

          The Senior Master
          For the attention of the Foreign Process Section
          Room E16
          Royal Courts of Justice
          Strand
          LONDON WC2A 2LL, United Kingdom

          C.      Name of the Case and Identifying Number

          All documents and materials requested will be used in relation to the above-captioned

   civil lawsuit, which can be identified by the following information:

          Case Name: City of Almaty, Kazakhstan, et al. v. Mukhtar Ablyazov, et al.
          Court:       United States Federal District Court for the Southern District of New York
          Case Number: 15-cv-05345 (AJN)


          D.      Names and Addresses of the Parties and their Representatives

                  1.     Plaintiffs




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          The City of Almaty, Kazakhstan (“Almaty”) and BTA Bank JSC (“BTA”) are,

   respectively, a political subdivision and a citizen of the Republic of Kazakhstan.

                  2.     Plaintiffs’ Representative

          Matthew L. Schwartz
          Boies Schiller Flexner LLP
          575 Lexington Avenue
          New York, New York 10022
          Telephone: (212) 446-2300
          Fax: (212) 446-2350
          Email: mlschwartz@bsfllp.com

                  3.     Defendants

          Defendant Mukhtar Ablyazov is a national of the Republic of Kazakhstan, currently

   domiciled in Paris, France. Defendant Ilyas Khrapunov is a national of the Republic of

   Kazakhstan, currently domiciled in Geneva, Switzerland. Defendant Viktor Khrapunov is a

   national of the Republic of Kazakhstan, currently domiciled in Geneva, Switzerland. Defendant

   Triadou SPV S.A. is a company established under the laws of Luxembourg, with its registered

   address at 60 Grand-Rue, L-1660 Luxembourg.

                  4.     Defendants’ Representatives

         Mukhtar Ablyazov                                 Ilyas and Viktor Khrapunov
         Jonathan D. Cogan                                John J. Kenney
         Kobre & Kim LLP                                  Hoguet Newman & Kenney, LLP
         800 Third Avenue, 6th Floor                      10 East 40th Street.
         New York, New York 10022                         New York, New York 10016
         Telephone: (212) 488-1200                        Telephone: (222) 689-8808
         Facsimile: (212) 488-1220                        Facsimile: (212) 689-5101
         Email: jonathan.cogan@kobrekim.com               Email: jkenney@hnrklaw.com

         Triadou SPV S.A.
         Deborah A. Skakel
         Blank Rome LLP
         405 Lexington Avenue
         New York, New York 10174
         Telephone: (212) 885-5000
         Facsimile: (212) 885-5001

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          Email: dskakel@blankrome.com


          E.       Nature of the Proceedings and Summary of the Case and Relevant Facts

          The above-captioned case is a civil lawsuit brought by Plaintiffs seeking equitable relief

   and money damages for injuries resulting from alleged embezzlement and laundering of funds

   belonging to Plaintiffs, and for enforcement of a foreign judgment under New York law. See

   Exhibit A, Plaintiffs’ Amended Crossclaims. Defendant Mukhtar Ablyazov is the former

   chairman of BTA Bank. Defendant Viktor Khrapunov is the former mayor of the City of

   Almaty. Defendant Ilyas Khrapunov is Viktor Khrapunov’s son and Mukhtar Ablyazov’s son-

   in-law. Defendant Triadou SPV S.A. (“Triadou”) is an entity established in Luxembourg and

   allegedly controlled by Ilyas Khrapunov to invest funds stolen by Mukhtar Ablyazov and Viktor

   Khrapunov.

          Plaintiffs contend that Ablyazov and the Khrapunovs stole billions of dollars in

   Kazakhstan by abuse of their offices; Ablyazov through embezzlement from BTA Bank (see Ex.

   A, at ¶ 28-44), and Viktor Khrapunov through the corruption of his office as Mayor of Almaty.

   See Ex. A, at ¶ 45-61. They are alleged to have then laundered some of the proceeds of their

   crimes into the United States through a special purpose vehicle, Defendant Triadou SPV S.A.

   See Ex. A, at ¶ 77-97. Once those assets were discovered, the Defendants are alleged to have

   entered into transactions in the United States that caused further and distinct injuries to the

   Plaintiffs, including allegedly engaging in fraudulent conveyances that diminished the value of

   those assets.




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          The courts of the United Kingdom have already awarded BTA Bank billions of dollars in

   judgments against Ablyazov and his associates for their theft from BTA,1 and this Court has

   granted attachment of Triadou’s assets in the State of New York. Ablyazov is also currently the

   subject of freezing and receivership orders issued by the Courts of the United Kingdom. See

   Freezing Order as to Mukhtar Ablyazov, dated 23 November, 2012 and updated March 24, 2014,

   issued in JSC BTA Bank v. Ablyazov, EWHC (QB) 2009 Folio 1099.

          As specifically relevant to this request, Plaintiffs contend that the Khrapunov and

   Ablyazov families used the services of a U.K. national, Eesh Aggarwal (“Aggarwal”) to move

   and launder stolen funds through the Federal Bank of the Middle East (“FBME”).2 See Ex. A, at

   ¶ 99. Aggarwal is located in the U.K, and conducts business through at least six companies: Eesh

   Aggarwal, Limited; Azure Consultants, Limited; Appleby Windsor, Limited; Sterling Tax

   Advisers, Limited; Offshore Direct, LLP; and the Society of Offshore Corporate and Trust

   Administrators. Either Aggarwal or his spouse are directors or owners of each of these

   companies.

          Plaintiffs contend that Aggarwal utilized connections at FBME that allowed him to

   execute millions of dollars in suspicious transfers on behalf of the Ablyazov and Khrapunov

   families. Specifically, Plaintiffs allege that Aggarwal was responsible for transferring not less


          1
                 See JSC BTA Bank v. Ablyazov et al., 201 EWHC 510 (comm); JSC BTA Bank v.
   Ablyazov, 2013 EWHC 3691 (ch); JSC BTA Bank v. Ablyazov [2015] UKSC 64; JSC BTA Bank
   v. Ablyazov and Khrapunov, 2016 EWHC 289 (comm).
          2
                    FBME is headquartered in both Tanzania and Cyprus, but until recently,
   conducted the majority of its operations in Cyprus. In 2014 FBME was designated a “foreign
   financial institution of primary money laundering concern” and effectively banned from the
   legitimate international financial system by the Financial Crimes Enforcement Network
   (“FinCEN”) of the U.S. Department of the Treasury, a decision subsequently described by
   FBME as a “death sentence.” The Central Banks of Cyprus and Tanzania have frozen all assets
   transfers to or from FBME and taken control of the bank pending completion of an investigation
   into its operations. See Ex. A, at ¶ 107-110.
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   than $70 million from accounts at FBME in the name of “Telford International Limited” to

   escrow accounts in the United States on behalf of Triadou. See Ex. A, at ¶ 100. In granting

   attachment of Triadou SPV S.A.’s assets, this Court preliminarily found that these funds

   transferred from Telford International Limited were traceable to Defendant Ablyazov. The

   requested evidence will be used at trial in support of these allegations as described in paragraphs

   98–106 of the Amended Crossclaims.

          On April 24, 2017, this Court issued an initial Letter of Request under the Hague

   Convention to the Senior Master of the Royal Courts of Justice of the United Kingdom. On May

   23, 2017, this Court received a responsive letter from Senior Master B.J. Fontaine of the

   Queen’s Bench Division, stating that the initial Request could not be executed under Section 2.4

   of the Evidence (Proceedings in Other Jurisdictions) Act 1975, and detailing the requirements

   for this Amended Request.

          Plaintiffs and Defendants currently are engaged in discovery, where the parties exchange

   information concerning their claims and defenses.        The Court accordingly has not finally

   addressed the merits of Plaintiffs’ allegations. Plaintiffs contend that the information sought by

   this request is in the custody and control of the Senior Master of the Royal Courts of Justice of

   the United Kingdom. This Court respectfully requests that the United Kingdom act on this

   amended request expeditiously.

   F.     Evidence to Be Obtained

          Based on the foregoing, this Court respectfully requests that the Senior Master of the

   Royal Courts of Justice of the United Kingdom provide assistance to obtain the following

   documents and testimony in response to this Revised Letter of Request that are in the possession

   or control of the Senior Master of the Royal Courts of Justice, or that may be lawfully obtained



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   by any other department, division, or office of the government of the United Kingdom

   (collectively, the “U.K. Government”), that relate to Plaintiffs’ allegations against Defendants:

          1.      A deposition of Eesh Aggerwal in the United Kingdom on the topics of

                     Financial services he provided, directly or indirectly, to the Ablyazov and
                      Khrapunov families whether or not on behalf of Telford International Limited;

                     The nature of his relationship with the Ablyazov and Khrapunov families;

                     Documents, witness statements, and testimony he provided to the High Court
                      of Justice in the matter of JSC BTA Bank v. Mukhtar Ablyazov, et al., Claim
                      no. 2009 Folio 1099, in the High Court of Justice, Queen’s Bench Division
                      Commercial Court;

                     Eesh Aggarwal may be served at Suite 319-3, 32 Threadneedle Street,
                      London, EC2R 8AY, sometimes listed as Suite 319-3, 1 Royal Exchange
                      Avenue, London, EC2R 8AY


          2.      Account records from January 1, 2011, to the present for the following accounts

   at ING Bank N.V., located in London, England:

                     Account Number 20417496, identified as belonging to Claremont Holdings
                      Limited;

                     Account Number 20426691, identified as belonging to Sartfield Limited.

          3.      Documents submitted by Eesh Aggarwal to the High Court of Justice in the

   matter of JSC BTA Bank v. Mukhtar Ablyazov, et al., Claim no. 2009 Folio 1099, in the High

   Court of Justice, Queen's Bench Division, Commercial Court. These documents, which include a

   witness statement and statement of facts by Eesh Aggarwal, were submitted by Mr. Aggarwal

   confidentially and subject to undertakings and related to BTA’s claims in that case, which are

   based on the same underlying wrongs as those alleged by BTA Bank here. Those allegations

   include Eesh Aggarwal’s facilitation of the money laundering efforts of defendant Mukhtar

   Ablyazov, with help from the Khrapunov defendants, including through the Telford entities.

   These documents generally include:
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                         Communications between Eesh Aggarwal and Ilyas Khrapunov from the
                          period January 1, 2012, to the present.
                         Financial models, payments, memoranda, and documents regarding
                          sources of funds and investment proceeds to and from Telford for the
                          period January 1, 2012, to the present.
                         Lists or charts of entities incorporated or operated by Eesh Aggarwal for
                          the defendants for the period January 1, 2012, to the present.
                         Account statements and records for bank accounts held by FBME Bank
                          including the following accounts:
                              o Telford International, Account Number
                                  CY4511501001402320USDCACC001
                              o Northern Seas Waterage, Account Number
                                  CY9711501001400677USDCACC001


   II.    OTHER REQUIREMENTS

          A.      Fees and Costs

          Plaintiffs are responsible for reasonable copy costs and charges associated with the

   processing and handling of this request by the Senior Master of the Royal Courts of Justice.

          B.      Reciprocity

          This Court expresses its sincere willingness to provide similar assistance to the courts of

   the United Kingdom, if future circumstances so require.

   III.   CONCLUSION

          This Court, in the spirit of comity and reciprocity, hereby requests international judicial

   assistance in the form of this Amended Letter of Request seeking information, documents,

   testimony, and things described herein, from the Senior Master of the Royal Courts of Justice.

   This Court extends to all judicial and other authorities of the United Kingdom the assurances of

   its highest consideration.




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   Date: ________________              __________________________________
                                       The Honorable Alison J. Nathan
                                       United States District Court for the
                                       Southern District of New York
                                       Thurgood Marshall United States Courthouse
                                       500 Pearl Street, Room 1620
                                       New York, New York 10007-1312

                                       SEAL OF THE UNITED STATES DISTRICT
                                       COURT FOR THE SOUTHERN DISTRICT OF
                                       NEW YORK




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

                                                     )
   CF 135 FLAT LLC, CF 135 WEST                      )
   MEMBERS LLC and THE CHETRIT GROUP,                ) Case No. 15-cv-05345-AJN
   LLC,                                              )
                                                     )
                          Interpleader Plaintiffs,   )
                                                     )
                    -against-                        ) AMENDED CROSSCLAIMS
                                                     )
   TRIADOU SPV S.A., CITY OF ALMATY, a               )
   foreign city, and BTA Bank,                       )
                                                     )
                        Interpleader Defendants.     )
                                                     )
                                                     )
                                                     )
   CITY OF ALMATY, KAZAKHSTAN and                    )
   BTA BANK,                                         )
                                                     )
                           Crossclaim Plaintiffs,    )
                                                     )
                    -against-                        )
                                                     )
                                                     )
   MUKHTAR ABLYAZOV, VIKTOR                          )
   KHRAPUNOV, ILYAS KHRAPUNOV,                       )
   TRIADOU SPV S.A., AND FBME BANK                   )
   LTD.,                                             )
                                                     )
                        Crossclaim Defendants.       )
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           Crossclaim Plaintiffs City of Almaty (“Almaty”) and BTA Bank (“BTA” or “BTA Bank,”

   and together with Almaty, the “Kazakhstan Plaintiffs”), by and through their undersigned

   counsel, for the Kazakhstan Plaintiffs’ crossclaims against Defendants Triadou SPV S.A., Viktor

   Khrapunov, Mukhtar Ablyazov, Ilyas Khrapunov, and FBME Bank Ltd. (collectively the

   “Ablyazov-Khrapunov Group”) allege as follows:

                                          INTRODUCTION

           1.      Joseph Chetrit (“Chetrit”) is a well-known New York based real estate developer,

   who, along with crossclaim defendants Mukhtar Ablyazov (“Ablyazov”), Victor Khrapunov, Ilyas

   Khrapunov and others known and unknown, combined, conspired, and confederated in the

   commission of an international scheme to launder and conceal at least $40 million stolen from the

   Kazakhstan Plaintiffs. Chetrit conspired with these international criminals by, among other

   things, partnering with Triadou SPV S.A. (“Triadou”), a nominee entity owned, controlled, and

   funded by the Ablyazov-Khrapunov Group, for the purposes of converting the stolen funds into

   valuable New York City real estate.

           2.      BTA, a bank based in Almaty, Kazakhstan, seeks to regain assets looted by its

   former Chairman, Mukhtar Ablyazov, who abused his position to enrich himself and treat BTA as

   his personal property. BTA has commenced and successfully obtained judgments in proceedings

   against Ablyazov in the courts of the United Kingdom for defrauding BTA Bank of no less than

   $4 billion.

           3.      Almaty, the largest city in the Republic of Kazakhstan, seeks to regain assets

   looted by its former mayor, Victor Khrapunov (“Khrapunov”), and his family and co-

   conspirators, to be returned for the benefit of the people of Almaty. Khrapunov abused and

   corrupted his position as the mayor of Almaty for the purposes of embezzlement, fraudulent self-


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   dealing, and blatant looting of public assets. He reaped an estimated $300 million or more

   through various fraudulent activities, including rigged auctions, the improper sale of public

   property to friends and co-conspirators, and fraudulent abuse of eminent domain powers, before

   fleeing Kazakhstan and secreting these stolen funds across the globe.

           4.       The Khrapunovs and Ablyazov, both fighting law enforcement investigations and

   asset seizures by Kazakh authorities, joined forces and commingled their stolen funds. Through

   joint investments across the globe, the two renegade families combined and conspired to launder

   their illicit wealth into real estate, energy assets, and other investments in locales they deemed

   safe from seizure. Ilyas Khrapunov, related by marriage to Ablyazov, helped orchestrate these

   efforts and steered the families’ joint investments into assets within this Court’s jurisdiction.

           5.       The Ablyazov-Khrapunov Group’s money laundering schemes relied heavily on

   the cooperation of officers within FBME Bank, Ltd (“FBME”), a Tanzanian-incorporated

   financial institution operating primarily out of the Republic of Cyprus. Until 2014, FBME had

   long been known as a financial institution open for business to money launderers and international

   criminals. FBME joined the Ablyazov-Khrapunov Group’s money laundering conspiracy by

   knowingly aiding the Ablyazov-Khrapunov Group’s members in hiding and laundering funds and

   evading asset freezes and investigations. In 2014, FBME was designated a “foreign financial

   institution of primary money laundering concern” and effectively banned from the legitimate

   international financial system by the Financial Crimes Enforcement Network (“FinCEN”) of the

   U.S. Department of the Treasury, a decision subsequently described by FBME as a “death

   sentence.”

           6.       Collectively, the Ablyazov-Khrapunov Group has been the subject of numerous

   proceedings and investigations across the globe, arising from their theft of billions of dollars from




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   entities and municipalities in the Republic of Kazakhstan. They have sought to hide their stolen

   wealth from investigators and law enforcement through a vast network of shell corporations and

   outwardly-legitimate investments, including major New York real estate developments such as the

   Flatotel and Cabrini Medical Center condominium conversions. Through these investments, the

   Chetrit Group allied itself with the Ablyazov-Khrapunov Group and their global money laundering

   endeavor.

              7.    The Ablyazov-Khrapunov Group laundered their ill-gotten assets through a

   number of shell corporations, including Triadou. With the help of Chetrit and the Chetrit Group,

   the Ablyazov-Khrapunov Group parked these corrupt assets in New York City real estate,

   hoping to avoid the scrutiny of escalating international investigations into the Ablyazov-

   Khrapunov Group’s illicit activities.

              8.    Due to heavy scrutiny by international law enforcement, including criminal

   investigations by the Kazakh and Swiss authorities, the funds that the Ablyazov-Khrapunov

   Group, through Triadou, invested into the Flatotel and Cabrini Medical Center projects could not

   pass through legitimate banking channels. The Crossclaim Defendants devised a plan to

   circumvent legitimate banks and transfer funds directly from the Ablyazov-Khrapunov Group’s

   offshore accounts with FBME to the escrow account of the Chetrit Group’s long-time attorneys.

              9.    In return for facilitating the Ablyazov-Khrapunov Group’s money laundering

   scheme, the Chetrit Group got access to the stolen funds to fund its real estate projects, and

   entered into deals that entitled the Chetrit Group to a disproportionate share of the projects’

   profits.

              10.   Due to concern that he was partnering with reputed international criminals,

   however, Chetrit conducted his communications with the Ablyazov-Khrapunov Group by using



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   code names. For example, Chetrit used code names such as “Jose” and “Pedro” to refer to and

   communicate with crossclaim defendant Ilyas Khrapunov. It was only in face-to-face meetings,

   many of which were secretly recorded, that Ablyazov’s involvement, legal difficulties and

   incarceration were openly discussed.

          11.      Ultimately, Almaty and BTA Bank were able to trace the stolen assets to the

   United States. Rather than let Almaty and BTA reclaim their rightful property, the Ablyazov-

   Khrapunov Group, through Triadou, began to urgently liquidate their real estate holdings,

   hoping to spirit their illicit funds to more permissive locales. In an attempt to monetize the

   Ablyazov-Khrapunov Group’s real estate interests as quickly as possible, Triadou entered into a

   fraudulent, below-market assignment with the Chetrit Group for Triadou’s principal New York

   assets, interests in the Flatotel and Cabrini Medical Center real estate developments.

          12.      Specifically, in May 2014, the City of Almaty filed an action in federal court in

   California against members of the Ablyazov-Khrapunov Group. With the Kazakhstan Plaintiffs’

   collection efforts having expanded to the United States, and with the Ablyazov-Khrapunov Group

   in imminent danger of having its stolen assets seized or attached, the Ablyazov-Khrapunov

   Group, through Triadou, took immediate steps to liquidate its U.S. assets and move its money

   offshore again. The Chetrit Group’s assistance was essential to placing the stolen assets out of the

   reach of the Kazakhstan authorities.

          13.      Upon information and belief, Chetrit seized on this opportunity to double cross

   his co-conspirators. Understanding that the potential asset seizures or restraints put the Ablyazov-

   Khrapunov Group in a desperate situation, he devised scheme to acquire Triadou’s investments

   for a fraction of their value. To achieve this result, Chetrit bribed Triadou’s Director to drive

   down the purchase price of the assignment. The Chetrit Group ultimately succeeded in acquiring




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   Triadou’s interest in both the Flatotel and Cabrini properties for as little as $26,000,000.00 — far

   less than even what Triadou had originally invested — at a time when real estate values in New

   York were at an all-time high.

          14.      Almaty and BTA Bank now seek, among other relief, to unwind and recover the

   proceeds of these fraudulent transactions. Doing so will hold the Crossclaim Defendants liable

   for their corruption and fraud, and return the full value of Triadou’s New York assets to their

   rightful owners: BTA Bank and the City of Almaty.

                                            THE PARTIES

          15.      Crossclaim plaintiff Almaty is a legal subdivision of the Republic of Kazakhstan.

   Almaty is the former capital of the country, and continues to be the largest city in the Republic of

   Kazakhstan, with more than 1.5 million residents.

          16.     Crossclaim plaintiff BTA Bank is a Joint Stock Company and Kazakhstan bank

   with its headquarters in Almaty, Kazakhstan. Until in or about September 2014, BTA Bank was

   majority owner and controlled by the Republic of Kazakhstan.

          17.     Crossclaim defendant Triadou SPV S.A. is a special purpose investment vehicle

   incorporated under the laws of Luxembourg, with a principal place of business at 3, Rue du

   Mont-Blanc, 1201 Geneva, Switzerland. Triadou SPV S.A. is wholly-owned by SDG Capital

   S.A.

          18.     Crossclaim defendant Viktor Khrapunov, an individual, is the former Mayor of

   the City of Almaty, who, upon information and belief, currently resides in the city of Geneva,

   Switzerland.

          19.     Crossclaim defendant Mukhtar Ablyazov, an individual, is the former Chairman

   of BTA Bank and has been found liable for defrauding BTA of in excess of $6 billion. Ablyazov



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   was the subject of eleven proceedings commenced by BTA Bank in the United Kingdom to

   recover assets Ablyazov stole. During those proceedings, Ablyazov was found by multiple

   international courts to have lied, misled, misconstrued, and concealed assets in blatant disregard

   of Court orders, and was ordered imprisoned for 22 months. During these proceedings,

   Ablyazov fled the United Kingdom to avoid the many judgments against him. He is currently

   incarcerated in France pending extradition to Russia or Ukraine.

          20.      Crossclaim defendant Ilyas Khrapunov, an individual, is the son of Viktor

   Khrapunov, as well as the former president of SDG Capital S.A., who, upon information and

   belief, currently resides in the city of Geneva, Switzerland. Ilyas Khrapunov is married to

   Ablyazov’s daughter, Madina.

          21.      Crossclaim defendant FBME Bank Ltd. is a financial institution headquartered in

   Dar es Salaam, Tanzania and operating primarily out of Cyprus. FBME is jointly owned

   by Ayoub-Farid Saab and Fady Saab, but is currently controlled and administered by

   representatives of the Central Bank of Cyprus.

                                   JURISDICTION AND VENUE

          22.       The Crossclaims are brought under Rule 13 of the Federal Rules of Civil

   Procedure. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 18 U.S.C. §

   1964(c) over the claims for relief alleging violations of the federal Racketeer Influenced and

   Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for conspiracy to violate

   RICO. This Court has supplemental jurisdiction over the sixth through thirteenth claims for

   relief pursuant to 28 U.S.C. § 1367, as those claims are substantially related to Almaty’s and

   BTA Bank’s claims under RICO and arise from a common nucleus of operative facts, and thus

   they form part of the same case or controversy under Article III of the United States

   Constitution.


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           23.      Alternatively, this Court has supplemental jurisdiction over Almaty’s and BTA

   Bank’s claims under 28 U.S.C. § 1367, as those claims are substantially related to the original

   interpleader suit brought by Chetrit and arise from a common nucleus of operative facts, and thus

   they form part of the same case or controversy under Article III of the United States

   Constitution.

           24.      Alternatively, the City of Almaty is a “foreign state” as that term is defined in 28

   U.S.C. § 1603, and this Court has jurisdiction over Almaty’s and BTA Bank’s claims under 28

   U.S.C. §§ 1330, 1441(d), which provide for the removal of any civil action brought in a State

   court against a foreign state.

           25.      Alternatively, this Court has diversity jurisdiction under 28 U.S.C. § 1332(a)

   because at the time this action was filed (i) there was complete diversity of citizenship between

   the parties, and (ii) more than $75,000, exclusive of interest and costs, is at stake.

           26.      Venue is proper in this District and before this Court pursuant to 28 U.S.C.

   § 1391(b)(2) because events giving rise to Almaty’s and BTA Bank’s claims occurred in this

   District, including, among other things, the negotiation, investment and subsequent transfer of

   interest in the Flatotel and Cabrini Medical Center properties located in New York, New York.

           27.      This Court has personal jurisdiction over Triadou, Ablyazov, Viktor Khrapunov,

   Ilyas Khrapunov, and FBME because each of them knowingly committed acts in New York that

   form the basis of this action, directed or conspired with others to commit acts in New York,

   and/or purposely availed themselves of the privileges of doing business in New York, as fully set

   forth herein.




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                                    FACTUAL BACKGROUND

          Mukhtar Ablyazov Defrauded BTA Bank of in Excess of $6 billion.

          28.      Ablyazov was the Chairman of BTA Bank from May 2005 until February 2009.

   He is the father-in-law of crossclaim defendant Ilyas Khrapunov, who is married to Ablyazov’s

   daughter, Madina. Along with crossclaim defendant Viktor Khrapunov, Ablyazov is a central

   member of the Ablyazov-Khrapunov Group money laundering and embezzlement conspiracy.

          29.      As the Courts of the United Kingdom have found, while Chairman of BTA Bank,

   Ablyazov exercised virtually unfettered control over the bank’s operations while hiding that

   control from Kazakhstan’s banking regulators, and used this influence to treat BTA’s assets as his

   own. As Justice Teare of the High Court of England and Wales (Commercial Court) found:

          [P]rior to the nationalisation of the Bank in February 2009, Mr. Ablyazov admitted
          to owning over 75% of the shares in the Bank. Those shares were not held by Mr.
          Ablyazov personally but by nine companies on his behalf. However, Mr. Ablyazov
          did not admit that ownership to the AFN, the banking regulator in Kazakhstan. In
          January 2009, shortly before the nationalisation of the Bank, the AFN requested
          Mr. Ablyazov to state whether he owned more than 10% of the shares in the Bank.
          He replied on 19 January 2009 that he did not own directly or indirectly more than
          10% of the shares in the Bank. That statement was untrue.
          ...
          Banks in Kazakhstan tend to be operated in a different manner from that in which
          they are typically operated in the West. It is common for banks to be owned by a
          single shareholder who is both chairman of the board of directors and also closely
          involved in the management of the bank. He therefore has considerable influence
          over the operation of the bank. Mr. Ablyazov’s relationship with the Bank
          conformed with this general description of Kazakh banking practice. Thus Mr.
          Talvitie, the independent member of the Board of Directors of the Bank from East
          Capital, gave evidence that it seemed to him that at board meetings Mr. Ablyazov
          had already made the decisions. He described the other members of the board as
          “straw men”. Others in the Bank, below board level, had the same impression.
          Thus Ms. Tleukulova (a member of the Credit Committee) gave evidence in
          Russia in 2012 that “all top managers of the bank, including Board Members, have
          to obey him”. Mr. Khazhaev also gave evidence in Russia in 2012 that Mr.
          Ablyazov was “the main” person in the Bank who controlled the granting of the
          largest and most important loans. Mr. Ablyazov’s control of the Bank is illustrated
          by his issue of an order (“the Ablyazov Order”) whereby he, as Chairman,
          amended certain procedural rules governing the grant of loans.


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           ...
          [O]fficers and staff in the Bank did not draw a clear distinction between the Bank
          having an interest in a project and Mr. Ablyazov, as shareholder in the Bank,
          having a personal interest in a project. Thus [Deputy Chairman] Zharimbetov,
          when being crossexamined, failed to draw a clear distinction, in the context of the
          offshore companies with which he dealt, between Mr. Ablyazov and the Bank.
          Thus the unfortunate reality appears to have been that little, if any, distinction was
          drawn by personnel in the Bank between the Bank’s property and Mr. Ablyazov’s
          property. The Vitino port project was an example of that reality. Mr. Khazhaev
          told a Russian court in 2012 that Mr. Ablyazov treated the Bank as his property.

          30.      Ablyazov’s abuse of his position as chairman took many forms, principally

   through enormous loans to valueless entities owned by Ablyazov, which would then be obscured

   by transfers among different shell corporations, and never repaid.

          31.      For example, in one series of loans (referred to as the “Original Loans” by the UK

   court in the “Granton Action”), between March 2006 and August 2008, Ablyazov directed twenty

   loans totaling $1,428,840,000 to entities with minimal assets and for no apparent reason. These

   loans were made to entities outwardly unaffiliated with Ablyazov (“Original Borrowers”), but

   were actually transferred to entities controlled by Ablyazov (“Original Real Borrowers”). As the

   UK court found:

          Mr. Ablyazov did not disclose to the Board that he owned or controlled those
          [Original] Borrowers. He has never claimed that he did so and there is no evidence
          that he did. None of the represented Defendants has suggested that he did. In those
          circumstances there can be only one explanation for the fact that the very large
          sums of money which were advanced were immediately transferred to companies
          owned or controlled by Mr. Ablyazov, namely, that the Original Loans were part
          of a dishonest scheme whereby Mr. Ablyazov sought to misappropriate monies
          which belonged to the Bank. The scheme was fraudulent because Mr. Ablyazov
          did not disclose to the Board his interest in the Original Borrowers or that the real
          purpose of the loans was to pay out the Bank's money to the Original Real
          Borrowers who were to use the monies for Mr. Ablyazov’s purposes. The purpose
          of such nondisclosure must have been to deceive the Board so that it remained in
          ignorance of the “related party” nature of the Original Loans and of their true
          purpose.

          32.      When, in or about 2008, Ablyazov’s involvement in the Original Loans was in


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   danger of discovery, he directed that additional fraudulent loans be made in an attempt to cover up

   his earlier fraud.

           33.      Between November 4, 2008, and December 4, 2008 a number of loans (the “Later

   Loans”) totaling $1,031,263,000 were made, ostensibly for the purchase of oil and gas resources.

   The UK court, however, found it “beyond argument” that these loans of BTA funds were made

   only to hide Ablyazov’s earlier theft:

           The Later Loans were made between 5 November and 8 December 2012 but they
           were paid out, not to the Later Borrowers, but to Intermediaries who paid them on
           to other companies, the Recipients, who in turn paid them to the Bank in apparent
           discharge of the Original Loans. They were not used for the purchase of oil and
           gas equipment. Documents said to support and evidence the Later Loans were
           created after the monies had been paid out by the Bank but backdated. Thus
           contracts for the purchase of oil and gas equipment supposedly by the Later
           Borrowers were still being prepared in late November 2008 and backdated to 23
           October 2008.
            ...
           Expert evidence as to the oil and gas industry was adduced by the Bank to
           establish that the oil and gas contracts were shams because of the lack of specific
           provisions which would be appropriate for contracts of their size. But such
           evidence was unnecessary. The email evidence shows that the contracts were
           prepared by persons within the Bank.
             ...
           It is beyond argument that the Later Loans were a mere cloak which sought to hide
           from view the reality, which was that money was being extracted from the Bank
           for the purpose of paying back the Original Loans. Since this circular exercise
           benefitted Mr. Ablyazov (because he owned or controlled the Original Borrowers)
           it is also clear that he must have orchestrated or, at the least, authorised this fraud.

           34.      As a result of Ablyazov’s siphoning billions out of the company, in 2009, BTA

   Bank defaulted on billions of dollars of debt held by investors including Credit Suisse Group AG,

   HSBC Holdings Plc, JPMorgan Chase & Co. and Royal Bank of Scotland Group Plc.

   Kazakhstan’s sovereign wealth fund, Samruk-Kazyna, was forced to take control of BTA Bank,

   and Ablyazov fled to London.




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           35.     BTA then commenced the first in a series of lawsuits against Ablyazov, claiming

   that he had misappropriated approximately $295,000,000 pursuant to this fraudulent scheme.

   Other proceedings followed against Ablyazov in the Chancery Division and England High Court.

   In every proceeding, BTA alleged (and ultimately proved) that Ablyazov treated BTA as his own

   private source of funds. In all, BTA commenced eleven proceedings against Ablyazov and his

   lieutenants for defrauding BTA in excess of $6 billion. The UK courts took the unprecedented

   legal step of granting BTA a Worldwide Freezing Order over Ablyazov’s assets.

           36.     As part of these UK proceedings, in late 2010 BTA obtained a number of search

   and disclosure orders that uncovered a vast network of undisclosed companies and assets used by

   Ablyazov to hold and invest his stolen wealth. The UK courts ordered Ablyazov’s assets to be

   put in the receivership of the accounting firm KPMG (the “Receivership Order”), finding that

   Ablyazov had breached various disclosure and freezing orders against him. The Receivership

   Order gave the receiver the right to recover a network of many hundreds of entities, worth billions

   of dollars.

           37.     On January 26, 2011, a further 212 companies were added to the scope of the

   Receivership Order and on April 8, 2011, a further 3,890 companies were added.

           38.     After Ablyazov defied the Receivership Order entered by the UK courts, BTA

   obtained judgments and sanctions against him for, among other acts, flaunting court orders,

   fleeing and hiding from judicial proceedings, lying during proceedings, and refusing to comply

   with orders directing him to uncover assets. For his numerous actions in contempt of court,

   Ablyazov was sentenced to 22 months imprisonment for his conduct.

           39.     On February 16, 2012, despite having promised the court his attendance at his

   contempt hearing, Ablyazov did not appear. Ablyazov left behind a 100-acre estate in the English



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   countryside and a London mansion, valued at least 20 million pounds sterling (approximately $31

   million) each, and no fewer than 750 shell companies used to invest his stolen funds in oil

   production, property development, and agriculture.

            40.    On November 6, 2012, the Court of Appeal unanimously upheld the judgments

   and contempt orders against Ablyazov. Concurring in the judgment, Lord Justice Maurice Kay

   stated that it was “difficult to imagine a party to commercial litigation who has acted with more

   cynicism, opportunism and deviousness towards court orders than Mr. Ablyazov.”

            41.    Following Ablyazov’s flight from justice, BTA has been granted judgments in 5

   of the 11 claims against Ablyazov and his associates, with others still pending, and has been

   awarded over $4 billion in damages by the UK courts, with interest continuing to accrue. (the

   “Ablyazov Judgments”).

            42.    After a global search spearheaded by BTA Bank, French special forces found and

   arrested Ablyazov in a luxury villa in France on July 31, 2013. He remains detained in a French

   prison pending extradition, and the courts of France have refused to release him on bail three

   times.

            43.    Following Ablyazov’s capture and imprisonment, through his counsel and other

   channels, Ablyazov remained in regular communication with his son-in-law, Ilyas Khrapunov,

   who assumed operational control of much of Ablyazov’s money laundering operations and, in

   concert with Ablyazov and Viktor Khrapunov, has continued the Ablyazov-Khrapunov Group’s

   combined efforts to hide their wealth.

            44.    Ilyas Khrapunov’s continuing role in facilitating the Ablyazov-Khrapunov

   Group’s money laundering efforts was confirmed on July 17, 2015, when Justice Males of the

   Commercial Division of the Queen’s Bench of the U.K. High Court of Justice expanded the


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   freezing order against Ablyazov to encompass specified assets of Ilyas Khrapunov. In response to

   the disclosure obligations imposed by the freezing order, Ilyas Khrapunov invoked his privilege

   against self-incrimination.

           Viktor Khrapunov Defrauded the City of Almaty of Approximately $300 million.

           45.        In 1991, the Republic of Kazakhstan declared its independence from the former

   Soviet Union and began the process of transitioning from communism to an open market

   economy. This transition required substantial privatization of vast state assets in order to restart

   the nation’s economy and raise revenue for improvements to the nation’s infrastructure and

   public services.

           46.        Viktor Khrapunov became mayor of the City of Almaty on or about June 16,

   1997, and remained in that position until approximately December 2004. At the time Viktor

   Khrapunov took office, the Republic of Kazakhstan was experiencing the beginning of a natural

   resources boom and accompanying drive for investment, infrastructure upgrades, and new

   construction. Almaty was the nation’s former capital and largest city, and held enormous public

   assets remaining to be privatized and developed, a responsibility which the office of the mayor

   oversaw and directed.

           47.        Before Viktor Khrapunov assumed the office of the mayor of Almaty, he took an

   oath of office to obey the Constitution and laws of the Republic of Kazakhstan. Among other

   things, he expressly and impliedly promised that he would uphold his fiduciary duties to the

   people of Almaty, would honor his obligation to provide honest services, and would not convert

   money, property, or assets belonging to the City of Almaty for his own use or that of his family,

   friends, or associates.

           48.        In reality, Viktor Khrapunov, along with his son, Ilyas Khrapunov, and other




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   Khrapunov family members and co-conspirators, almost immediately began a multi-year scheme

   to enrich themselves through the corrupt abuse of Khrapunov’s public position as mayor.

          49.      Viktor Khrapunov repeatedly and systemically used the powers of the office of

   the mayor to transfer public assets belonging to the City of Almaty to his family and their co-

   conspirators for prices that were a fraction of their fair value. This was often achieved by

   arranging fraudulent auctions to ensure that interested bidders won these assets at nominal

   prices. In other instances, Viktor Khrapunov used the eminent domain powers of the office of

   the mayor to seize private property ostensibly for the City of Almaty, but then promptly

   transferred that property to entities owned or controlled by the Khrapunovs. They would then

   pass these assets through a series of shell or holding corporations to conceal the destination of

   these assets, before reselling them for prices an order of magnitude greater than what they had

   paid the City of Almaty.

          50.      Three examples of these corrupt schemes to subvert and acquire the public

   property of the City of Almaty follow:

          Transaction One

          51.      In or about 2000, Viktor Khrapunov used his position as mayor of Almaty to

   transfer a large tract of state-owned land near the two rivers area of Almaty to his spouse and co-

   conspirator, Leila Khrapunov, for a total price of approximately $121,000. The final recipient of

   this transfer was concealed through a series of fraudulent transactions and front companies

   controlled by the Khrapunovs. The Khrapunovs ultimately resold this parcel of real estate for an

   estimated $15.57 million, a more than $15 million profit on one interested transaction.

          52.      In short, the Khrapunovs paid approximately $121,000 for a parcel of public real

   estate which they later resold for a total of $15.57 million; a 128,000 percent profit.




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           Transaction Two

           53.      On or about April 16, 2001, Viktor Khrapunov used his position as mayor to

   cause a public building in Almaty to be sold at a fixed and rigged public auction to KRI, a

   company owned by Leila Khrapunov, for approximately $347,000. The property was ultimately

   resold to an unrelated third party for approximately $4.1 million.

           Transaction Three

           54.       In addition to the sale of state-owned assets to Leila Khrapunov and other

   family members and co-conspirators, Viktor Khrapunov also abused his authority as mayor to

   enrich the Khrapunovs by seizing privately-owned property and transferring it to the Khrapunovs

   and others for resale. For example, on or about August 25, 2003, Viktor Khrapunov caused the

   City of Almaty to seize land owned by privately-owned third party Shadid Engineering LLP.

   Approximately one month later, he caused the property to be sold to Leila Khrapunov’s

   company, Karasha, for approximately $105,000. Leila Khrapunov then caused Karasha to sell

   the property directly to her, whereupon she transferred it to another company, BSC, and it was

   sold as part of BSC to an unrelated third party, in a transaction that valued the parcel at

   approximately $2 million. As a result, the Khrapunovs obtained nearly $1.9 million in

   unjustified profit.

           55.      In short, through similar transactions uncovered and still under investigation, the

   Khrapunovs are estimated to have illegally acquired at least 80 pieces of real estate, which they

   converted into approximately $300 million in illicit funds.

           The Khrapunovs and Ablyazov Join Together to Launder Their Stolen Money.

           56.      Seeking to avoid law enforcement attention and possible seizure of this ill-gotten

   wealth, the Ablyazov-Khrapunov Group funneled their corrupt assets into real estate and

   development entities located in, among other places, the United States and Switzerland.


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          57.       Among other locations, the Ablyazov-Khrapunov Group transferred their stolen

   funds to Switzerland, where Ilyas Khrapunov and Madina Ablyazov reside, using accounts and

   sham entities owned or ultimately controlled by the Ablyazov-Khrapunov Group. The

   Ablyazov-Khrapunov Group ultimately transferred to Switzerland hundreds of millions of

   dollars, moved out of Kazakhstan by Viktor Khrapunov and laundered through offshore holding

   companies to appear legitimate.

          58.      Seeking to hide the proceeds of their frauds, the Ablyazov-Khrapunov Group

   created a series of entities in Switzerland and overseas to launder these illicit funds into

   outwardly-legitimate investments. One such entity was Swiss Development Group, formally

   SDG Capital S.A., formed and controlled by Ilyas Khrapunov for the benefit of the Ablyazov-

   Khrapunov Group. Between 2008 and 2012, the Ablyazov-Khrapunov Group and sham

   companies they controlled funneled at least $115 million into SDG derived from the Ablyazov-

   Khrapunov Group’s self-dealing and fraud.

          59.      Through these foreign investment vehicles, the Ablyazov-Khrapunov Group

   sought to obscure their wealth from law enforcement in the Republic of Kazakhstan and abroad,

   by maintaining the appearance of a modest family of civil servants.

          60.      The Ablyazov-Khrapunov Group took numerous steps to maintain this facade

   and conceal their looting of the City of Almaty’s public assets from authorities. Among other

   schemes, Viktor Khrapunov regularly filed false annual tax returns with Kazakhstan's taxation

   authority, the Tax Committee of the Ministry of Finance of Kazakhstan. The false returns

   concealed millions of dollars in monies, properties, and assets the Ablyazov-Khrapunov Group

   had acquired and laundered through their corrupt enterprise.

          61.      For example, according to their 2007 tax returns, which required Viktor and



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   Leila Khrapunov to list their entire net worth accumulated through all sources as of December

   31, 2007, Viktor Khrapunov reported a combined net worth equivalent to $113,298, in addition

   to three vehicles, five modest pieces of real estate, and two parking stalls. While claiming to

   have a total net worth of less than $120,000, Viktor Khrapunov had in fact amassed a fortune

   estimated at no less than $300 million. Indeed, according to public news reports, in 2009 Viktor

   Khrapunov was one of the richest people in Switzerland with a fortune of over $300 million.

   Similarly, in 2012 Viktor Khrapunov was again listed among Switzerland's 300 richest people,

   with a fortune estimated at $324– $432 million.

          The Ablyazov-Khrapunov Group’s Corruption is Exposed and Investigations Begin in
          Kazakhstan and Switzerland

          62.      In late 2007, Viktor Khrapunov was tipped off that the Kazakh government had

   begun investigating the financial dealings of the Ablyazov-Khrapunov Group and their

   associates for a range of criminal acts and self-dealing. In anticipation of possible criminal

   charges, on or about November 9, 2007, Viktor and Leila Khrapunov boarded a private jet and

   fled Kazakhstan for Switzerland, where Ilyas Khrapunov and Madina Ablyazov resided, and the

   bulk of their looted funds were held.

          63.       On or about May 27, 2011, the Investigation Department of the Agency for

   Economic and Corruption-Related Crimes of Kazakhstan (the “Investigation Department”) filed

   two criminal cases against Viktor Khrapunov for abuse of power and fraudulent acts, and on or

   about July 21, 2011, obtained a court-ordered arrest warrant for Viktor Khrapunov. Through

   2011 and 2012 additional charges were brought in Kazakhstan against Viktor, Leila, and Ilyas

   Khrapunov, arising from the theft of public property and the ultimate laundering of funds during

   Viktor Khrapunov’s tenure as Mayor of Almaty.

          64.      On or about February 20, 2012 and September 14, 2012, the Investigation


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   Department applied to the Federal Office of Justice in Switzerland for legal assistance in

   connection with the effort to prosecute Viktor, Leila, and Ilyas Khrapunov for crimes in

   Switzerland and Kazakhstan relating to their corrupt acts in Almaty and the laundering of the

   resulting funds. In response to this request, in mid-2012 the Public Prosecutor of Geneva opened

   an investigation into the Ablyazov-Khrapunov Group on suspicion of violating Swiss money

   laundering laws. The Public Prosecutor of Geneva subsequently seized financial and banking

   documents from the Ablyazov-Khrapunov Group and ordered Swiss accounts and assets

   belonging to them be frozen, including accounts held at Swiss banks Sarasin & Co. Ltd., Credit

   Suisse, and Schroeder & Co. This investigation by the Swiss authorities is ongoing, and in

   August 2013 the Public Prosecutor of Geneva froze additional assets belonging to the Ablyazov-

   Khrapunov Group.

          65.      At this time, in addition to the numerous judgments against Ablyazov in the

   United Kingdom, there are no less than 24 criminal charges pending against Viktor Khrapunov

   in Kazakhstan for embezzlement, fraud, money laundering, establishing and directing an

   organized criminal group for criminal purposes, abuse of power, and bribery. There are

   additional charges pending against Leila Khrapunov and Ilyas Khrapunov in Kazakhstan for,

   among other offenses, money laundering and establishing and directing an organized criminal

   group for criminal purposes. Assets of the Ablyazov-Khrapunov Group remain frozen by Swiss

   authorities, and the Government of the Republic of Kazakhstan has formally requested

   extradition of Viktor Khrapunov.

          66.      Despite the numerous investigations and freezing orders against the members of

   the Ablyazov-Khrapunov Group, the conspirators continue to launder their commingled stolen

   wealth through acts of fraud and in furtherance of the conspiracy.




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          67.      As one example, from 2011 through the present, members of the Ablyazov-

   Khrapunov Group, including Ilyas Khrapunov and Ablyazov himself, conspired to fund

   Ablyazov’s widespread global legal campaign with laundered funds, despite global freezing and

   receivership orders against Ablyazov’s assets.

          68.      In May of 2011, two entities that Ablyazov had been using to fund his various

   litigations were put in receivership, based on findings that they were not arms-length lenders, but

   in fact controlled and funded by Ablyazov himself. Deprived of a funding source, Ablyazov

   conspired with other members of the Ablyazov-Khrapunov Group to circumvent the receivership

   and freezing orders against him and began funding his litigation – including litigation against the

   Republic of Kazakhstan – through loans from a series of shell companies, including the Belizean-

   registered entity Green Life International SA (“Green Life”).

          69.      The conspirators represented to the U.K. receivers and courts that Green Life was

   an arms-length entity owned and funded by Gennady Petelin, but did not disclose that Petelin was

   related by marriage to the Ablyazov and Khrapunov families.

          70.      In fact, Green Life was one more in a long series of shell entities used by the

   Ablyazov-Khrapunov Group to launder their stolen funds. At Ablyazov’s direction, Ilyas

   Khrapunov and other members of the Ablyazov-Khrapunov Group transferred millions of dollars

   in funds from accounts controlled by the Ablyazov-Khrapunov Group through Petelin and Green

   Life to Ablyazov’s counsel. To obscure this scheme, all funds were transferred from Green Life to

   Chabrier Avocats, the Swiss counsel for the Khrapunov family and SDG, before being paid to

   Ablyazov’s counsel.

          71.      Using Petelin’s name to deter suspicion, the conspirators were able to launder and

   spend millions of dollars in stolen funds that should rightly have been placed in receivership.




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          72.       The use of Petelin as a front for Ablyazov shell corporations such as Green Life

   was based in part on the close relationship between Petelin and Viktor Khrapunov. Viktor

   Khrapunov, whose daughter is married to Petelin’s son, collaborated with Petelin on investments

   of the Ablyazov-Khrapunov Group’s funds in Russia, where Petelin resided and had an extensive

   network of contacts. For example, in 2013, Viktor Khrapunov engaged in discussions with Petelin

   for the purpose of utilizing Petelin’s contacts in Russia to facilitate the investment of the

   Ablyazov-Khrapunov Group’s funds in Russian oil and energy assets.

          73.       As another example of the Ablyazov-Khrapunov Group’s continuing operations,

   members of the Ablyazov-Khrapunov Group hired computer hackers to illegally surveil French

   prosecutors and other public officials in an effort to free Ablyazov from French prison.

          74.       Ablyazov was arrested by French special forces in 2013 after fleeing the U.K.,

   but has remained in continuous contact with his coconspirators during his imprisonment. During

   his incarceration, Ablyazov directed his coconspirators, and his son-in-law Ilyas Khrapunov in

   particular, to use an array of unlawful means to secure his release.

          75.       At Ablyazov’s direction, in 2013 Ilyas Khrapunov hired a “black hat” computer

   security group to hack into the personal and work communications of numerous French public

   officials, including the prosecutors in Ablyazov’s French extradition proceedings. Without

   permission and in violation of law, these hackers successfully breached the computers and mobile

   phones of numerous French law enforcement and justice officials, intercepted their electronic

   communications, and installed malicious software permitting them to remotely activate the

   microphones on these public officials’ mobile phones to eavesdrop on and record their

   conversations. The hackers then transmitted French officials’ intercepted communications,

   including emails, text messages, documents, and photographs, to Ilyas Khrapunov, who shared




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   and discussed this illegally-obtained surveillance with Ablyazov himself. Ablyazov then used this

   information as part of his legal campaign to avoid extradition.

          76.      In return for this illegally-intercepted information, the Ablyazov-Khrapunov

   Group paid hundreds of thousands of dollars to these hackers-for-hire, from funds traceable to the

   thefts from BTA Bank and the City of Almaty.

          The Ablyazov-Khrapunov Group Conspires to Transfer and Hide Illicit Funds in the
          United States.

          77.      In 2011 and 2012, in response to escalating pressure on the Ablyazov-Khrapunov

   Group from both Kazakh and Swiss authorities and legal proceedings in the United Kingdom, the

   Ablyazov-Khrapunov Group embarked on a scheme to secret the families’ illicit wealth in real

   estate investments in the United States. Upon information and belief, the Ablyazov-Khrapunov

   Group selected the United States as a harbor for these stolen funds because they believed real

   estate investments in the United States would be difficult for Kazakh authorities to access.

          78.      To execute this scheme the Ablyazov-Khrapunov Group used SDG, their Swiss

   real estate vehicle, and Telford International Limited (“Telford”), a Dubai-based private

   contracting entity controlled by the Ablyazov-Khrapunov Group.

          79.      To create the appearance that SDG was independent of the Ablyazov-Khrapunov

   Group, in 2012 SDG was purportedly sold to a close friend and political ally of the Ablyazov-

   Khrapunov Group, Philippe Glatz. This sale was in fact a sham transaction, with the Ablyazov-

   Khrapunov Group maintaining beneficial ownership and control of SDG.

          80.      Upon information and belief, the Ablyazov-Khrapunov Group paid Mr. Glatz to

   purchase SDG using the Ablyazov-Khrapunov Group’s own funds: Glatz accepted a loan from

   the Ablyazov-Khrapunov Group and then repaid that loan while outwardly claiming that this

   payment to the Ablyazov-Khrapunov Group was for the purchase of SDG. In fact, the transfer


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   of SDG was illusory, as Mr. Glatz was merely repaying a prior obligation, and effectively getting

   SDG for free.

          81.      To reduce the amount of cash needed to effectuate this sham sale, Ilyas

   Khrapunov offered SDG to Glatz at an incredibly discounted price. Although at the time of the

   purported sale SDG’s assets were valued at approximately $150 million, Glatz only transferred

   approximately $3.5 million in cash to the Khrapunov family for SDG – roughly two percent of

   SDG’s assessed asset value.

          82.      To justify this incredible discount to asset value, Ilyas Khrpaunov used his control

   of SDG to falsely book millions of dollars in supposed debt and liabilities to hide the fraudulent

   nature of the transition he had orchestrated.

          83.      This sham transaction served the Ablyazov-Khrapunov Group’s purposes by

   creating the appearance that SDG had changed ownership, although the Ablyazov-Khrapunov

   Group received no net consideration for the purported sale, and Glatz was left beholden to the

   Ablyazov-Khrapunov Group and explicitly obligated to hold their interest in the investment.

          84.      The capital structure, organization, management, and illicit purpose of SDG

   remained the same after the purported sale, and the Ablyazov-Khrapunov Group still profits

   from and manages SDG’s operations. Ilyas Khrapunov continues to control SDG while holding

   himself out to be a mere “outside advisor” to the company, all the while protecting and reaping

   the benefits of the Ablyazov-Khrapunov Group’s investments in SDG.

          Through SDG, the Ablyazov-Khrapunov Group Creates Triadou to Hide their Illicit
          Funds in New York Real Estate Transactions with the Chetrit Group.

          85.      In or about 2011, Ilyas Khrapunov, on behalf of the Ablyazov-Khrapunov Group,

   approached Nicolas Bourg, a Belgium-based real estate fund manager, seeking to create a new

   entity controlled by SDG to mask the Ablyazov-Khrapunov Group’s efforts to invest in real



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   estate opportunities in the United States.

           86.     In consultation with Ilyas Khrapunov, Bourg formed a series of entities under the

   laws of Luxembourg for the specific purpose of investing the Ablyazov-Khrapunov Group’s

   funds in real estate in the United States. These entities included Triadou, an investment vehicle

   wholly owned and controlled by SDG, which was itself a front for the Ablyazov-Khrapunov

   Group’s activities.

           87.     Triadou is a special purpose vehicle: a limited-liability legal entity created to

   fulfill a specific purpose, often used to insulate a parent entity from financial risk or liability.

   SPVs can also be used, as Triadou was, to hide the true ownership of assets held by the SPV, or

   to obscure relationships between individuals and entities. Bourg became the sole director of

   Triadou, operating at the direction of the Ablyazov-Khrapunov Group, who continued to control

   SDG, Triadou’s sole shareholder.

           88.     At the direction of Ilyas Khrapunov, Bourg made contact with Eric Elkain, an

   agent of Chetrit and the Chetrit Group. Bourg and Elkain agreed to arrange a meeting between

   Chetrit and Ilyas Khrapunov for the purpose of exploring concealed investments by the

   Ablyazov-Khrapunov Group in the United States with the Chetrit Group.

           89.     In or about 2012, Chetrit and his brother and partner Meyer Chetrit met with Ilyas

   Khrapunov and Bourg in Geneva, Switzerland. While the Ablyazov-Khrapunov Group had

   purportedly divested itself of any interest in SDG by this time, Ilyas Khrapunov held himself out

   to Chetrit as having a controlling ownership interest in SDG.

           90.     At this meeting, Chetrit and Ilyas Khrapunov discussed possible investment

   strategies for the Ablyazov-Khrapunov Group in the United States real estate sector. In these

   discussions, Ilyas Khrapunov disclosed the fact that the Ablyazov-Khrapunov Group was facing



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   criminal charges and asset freezes directed by the governments of Kazakhstan, Switzerland, and

   the United Kingdom, and needed to move funds to other jurisdictions.      During the continuing

   course of his dealings with the Ablyazov-Khrapunov Group, this situation was repeatedly and

   unequivocally made clear to Chetrit. Specifically, the Ablyazov-Khrapunov Group needed to

   move funds that were the subject of criminal charges and asset freezes as a result of the

   proceedings both against Ablyazov and the Ablyazov-Khrapunov Group. Chetrit expressed

   sympathy with this situation, stating that his own family had faced political sanctions in his

   native Morocco, a result of having defrauded the King and being forced to flee. Chetrit and Ilyas

   Khrapunov agreed in principle to seek joint investments in the United States, and agreed to meet

   further.

              91.   Following this meeting in Geneva, Ilyas Khrapunov and Bourg met with Chetrit

   again in New York City, to evaluate potential investment options. While discussing specific

   investment opportunities, the parties again openly and repeatedly discussed the criminal charges

   against the Ablyazov-Khrapunov Group and the efforts of the governments of Switzerland and

   Kazakhstan to locate and seize the assets of the Ablyazov-Khrapunov Group. Again, Ilyas

   Khrapunov acted on behalf of SDG and Triadou, despite the Ablyazov-Khrapunov Group’s

   purported sale of SDG a year prior.

              92.   As a result of these discussions, the Ablyazov-Khrapunov Group invested,

   through Triadou, with Chetrit and the Chetrit Group in a number of real estate opportunities in

   New York City. The most significant of these were investments in the Flatotel and Cabrini

   Medical Center developments in New York City.

              93.   The Flatotel is a 289-room business hotel opened in 1991, located at 135 West

   52nd St, New York, New York.




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          94.     The Cabrini Medical Center hospital campus closed in 2008 and is now

   comprised of several buildings containing approximately 250 condominium units.

          95.     Both the Flatotel and the Cabrini Medical Center properties were purchased by

   members of the Chetrit Group, along with co-investors. The developers have been executing

   plans to convert both properties into luxury condominiums, and are close to completion.

          96.     The Chetrit Group owned a 75% interest in the Flatotel, and created a series of

   limited liability entities to hold that interest, including Counterclaim Defendants CF 135 FLAT

   LLC and CF 135 West Member LLC.

          97.     The Chetrit Group offered to sell half of their 75% investment in the Flatotel to

   Triadou, after which the Chetrit Group and Triadou would each own 37.5%. Triadou would

   provide 70% of the capital needed – against Chetrit’s 30%, the difference amounting to an

   above-market “promote fee” for Chetrit that ensured that the Chetrit Group would reap the

   largest profits from the Flatotel development, even as it put in the least capital – and the parties

   would then divide the profits from the investment. In or about March 25, 2013, Triadou

   accepted this offer, notwithstanding the fact that the terms strongly favored Chetrit, and

   committed to transmit funds to the Chetrit Group to secure the 37.5% interest in the Flatotel

   property.

          The Ablyazov-Khrapunov Group Enlists FBME to Facilitate Their Money Laundering
          Scheme in the United States

          98.     The Ablyazov-Khrapunov Group sought to fund Triadou’s investments with

   money from the Ablyazov-controlled entity Telford, held in accounts with FBME.

          99.     Telford’s FBME accounts were managed by Eesh Aggarwal, Chairman of Azure

   Consultants DMCC, and a close financial advisor to Ablyazov. Aggarwal had connected

   Ablyazov and other members of the Ablyazov-Khrapunov Group to FBME through Aggarwal’s


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   contacts with high-level officers at FBME, and in time FBME became one of the Ablyazov-

   Khrapunov Group’s primary banks. On information and belief, the conspirators favored FBME

   due to its presence inside of the European Union, its lack of anti-money laundering protections,

   and its eagerness to service high-risk clientele and shell corporations such as Telford.

          100.    FBME promoted its weak due diligence standards to attract high-risk, high-value

   clients just like the Ablyazov, and was known for its willingness to do business with clients

   seeking to avoid regulatory oversight. In particular, FBME relied on an “Approved Third Party”

   program, where FBME’s contacts could introduce new, high-value clients to the bank with

   virtually no due diligence of these new relationships. Upon information and belief, Aggarwal was

   one such “Approved Third Party,” and with the approval of certain FBME officers, was able to

   launder the Ablyazov-Khrapunov Group’s funds through FBME by way of entities such as the

   Ablyazov-controlled Telford, with effectively no scrutiny or due diligence by FBME.

          101.    FBME had a history of moving funds for Aggarwal and Ablyazov with no

   questions asked, which led the conspirators to favor FBME for their criminal schemes aimed at

   the United States. For example, on June 11, 2011, FBME executed more than $27 million in

   transfers of Ablyazov’s stolen funds to Amber Limited, a shell company registered in the U.A.E.

   (where Aggerwal operates) subsequently found to be an undisclosed Ablyazov asset and added to

   the U.K. courts’ freezing and receivership orders.

          102.    Telford’s accounts at FBME bank were used to covertly move and invest funds

   stolen by Ablyazov from BTA Bank. Because the Telford accounts consisted of Ablyazov’s

   stolen funds, Ilyas Khrapunov conferred with Ablyazov regarding investments of funds from

   Telford, and Ablyazov’s approval was required for transfers from Telford. Even after Ablyazov’s

   incarceration in France he remained in contact with his coconspirators, and while Ilyas




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   Khrapunov took operational control of much of the Ablyazov-Khrapunov Group’s network,

   Ablyazov continued to direct specific transfers of funds, including those from Telford’s FBME

   accounts.

          103.    Triadou attempted to transfer Telford’s funds held in FBME for the Flatotel and

   Cabrini deals through banks in Luxembourg, but those banks refused to accept wire transfers

   from the Ablyazov-Khrapunov Group’s FBME accounts due in part to the investigations or

   proceedings led by the Kazakh, Swiss, and United Kingdom authorities.

          104.    Bourg then contacted Chetrit about alternative wire transfer arrangements.

   Informed that commercial banks refused to handle Triadou’s funds from Telford, Chetrit

   conspired to launder the money, instructing Bourg to disregard the banks and transfer funds

   directly from the Ablyazov-Khrapunov Group’s offshore accounts to the escrow account of

   Chetrit’s personal and corporate attorneys. Bourg then directed a series of wire transfers, on

   behalf of Triadou, from Telford’s accounts at FBME directly to Chetrit’s counsel.

          105.    FBME executed these transfers despite their blatant indicia of money laundering,

   including that (1) Telford was a recently incorporated offshore shell company with no obvious

   business purpose, (2) Telford was purportedly owned by another offshore nominee-shareholder

   trust, (3) Telford was seeking to transfer millions of dollars into escrow accounts with no due

   diligence, and (4) Telford was transferring these funds from a high-risk jurisdiction for the benefit

   of an unrelated third party operating in a more financially-rigorous jurisdiction.

          106.    This was not the only instance of FBME executing such obviously suspicious

   transfers for Aggerwal and the Ablyazov-Khrapunov Group without concern for money

   laundering red flags. At the same time FBME began to execute transfers from Telford to the

   accounts of Chetrit’s counsel, on or about October 9, 2013, FBME executed wire transfers for $25




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   million from Telford’s accounts for an investment in overseas telecommunications assets. Again

   Telford was transferring millions of dollars of Ablyazov’s money for the benefit of another entity

   linked to the Ablyazov-Khrapunov Group.

          107.    Subsequent to these transfers, on July 22, 2014, the U.S. Financial Crimes

   Enforcement Network (“FinCEN”) designated FBME Bank a “foreign financial institution of

   primary money laundering concern.” FinCEN found that FBME Bank was regularly “used by its

   customers to facilitate money laundering, terrorist financing, transnational organized crime,” had

   “systemic failures in its anti-money laundering controls that attract high-risk shell companies,”

   and performed a “significant volume of transactions and activities that have little or no

   transparency and often no apparent legitimate business purpose.”

          108.    Under Section 311 of the PATRIOT Act, FinCEN barred U.S. financial institutions

   from opening or maintaining “payable-through” accounts with FBME.1 In the accompanying

   official announcement, FinCEN’s then-Director emphasized that FBME was not merely

   negligent, but rather “promotes itself on the basis of its weak Anti Money Laundering (AML)

   controls in order to attract illicit finance business from the darkest corners of the criminal

   underworld,” and “openly advertises the bank to its potential customer base as willing to facilitate

   the evasion of AML regulations.”

          109.    In its updated rule barring U.S financial institutions from dealing with FBME,

   FinCEN noted in particular FBME’s pervasive dealings with obscure shell companies just like

   Telford, serving no purpose but to facilitate money laundering:

                  FinCEN considered all of the relevant information and is particularly

          1
                   FBME challenged FinCEN’s rulemaking in the United States District Court for
   the District of Columbia and won a temporary reprieve, but FinCIN reissued the rule in
   substantially the same form on March 31, 2016. That updated rule is now undergoing judicial
   review.


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          concerned with: (1) The large number of FBME customers that are either shell
          companies or that conduct transactions with shell companies; (2) the lack of
          transparency with respect to beneficial ownership or legitimate business purposes
          of many of FBME’s shell company customers; (3) the location of many of its
          shell company customers in other high-risk money laundering jurisdictions
          outside of Cyprus; (4) the high volume of U.S. dollar transactions conducted by
          these shell companies with no apparent business purpose; and (5) FBME’s
          longtime facilitation of its shell company customers’ anonymity by allowing
          thousands of customers to use the bank’s physical address in lieu of their own.

          110.    The Central Bank of Cyprus has frozen all assets transfers to or from FBME, and

   taken control of the bank pending completion of an investigation into its operations. FBME

   remains under the control of the Central Bank of Cyprus, and upon information and belief,

   continues to hold millions in funds belonging to the Ablyazov-Khrapunov Group and shell

   companies they control.

           The Ablyazov-Khrapunov Group Enters a Second Deal with Chetrit, Again Funded By
           Telford through FBME

          111.    Through Triadou, the Ablyazov-Khrapunov Group entered a second investment

   with the Chetrit Group shortly thereafter. In late 2012, Triadou agreed to invest $12 million in

   the Cabrini Medical Center conversion, a joint venture between the Chetrit Group and another

   private developer to convert a former medical center in New York City into luxury

   condominiums.

          112.    Due to increasing scrutiny on the Ablyazov-Khrapunov Group’s finances, the

   contemplated $12 million investment became impossible. Bourg discussed this obstacle with

   Chetrit, who agreed that Triadou should invest $6 million, half the originally-agreed amount,

   until further funds became available. In return for this $6 million investment, Triadou would

   receive a promissory note and the right to convert that note into equity in the entity holding the

   Chetrit Group’s interest in the Cabrini deal, 227 East 19th Holder, LLC.

          113.    Again, the funds to execute the Cabrini deal were transferred, on May 20, 2013,


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   directly from the Ablyazov-Khrapunov Group’s Telford accounts at FBME Bank to a law firm in

   New York working on Chetrit’s behalf. Again, this transfer of funds from Telford was only

   executed after Ilyas Khrapunov received explicit direction from Ablyazov.

          Kazakh Authorities Target the Ablyazov-Khrapunov Group’s Holdings in the United
          States, and the Ablyazov-Khrapunov Group Liquidates Those Assets at Below-Market
          Value with the Chetrit Group’s Assistance.

          114.    In 2014, Almaty filed an action in California federal court against members of the

   Ablyazov-Khrapunov Group seeking to seize assets that they had attempted to launder through

   real estate investments in California. That action is City of Almaty v. Viktor Khrapunov, et al,

   Case No. 2:14-cv-03650-FMO-CW (filed May 13, 2014; dismissed September 21, 2015) (the

   “California Litigation”). On information and belief, this lawsuit led the Ablyazov-Khrapunov

   Group to believe their assets in the U.S. were no longer safe from seizure by the government of

   Kazakhstan.

          115.    In response, in late 2014, Ilyas Khrapunov directed Bourg, Triadou’s director, to

   begin liquidating Triadou’s assets in New York so that the funds could be removed from the

   United States and hidden. Specifically, Ilyas Khrapunov told Bourg to liquidate Triadou’s

   investments in Flatotel and the Cabrini Medical Center as quickly as possible.

          116.    Bourg approached Chetrit, explaining that the threat of the California Litigation

   was pressuring Triadou and the Ablyazov-Khrapunov Group into moving their assets out of the

   United States. Chetrit offered to purchase an assignment of Triadou’s interest in the Flatotel at a

   substantial discount from the price originally paid by Triadou. By this point, the value of

   Triadou’s investment had in fact increased substantially beyond the funds originally invested.

          117.     Chetrit simultaneously proposed to bribe Bourg, so Chetrit could further take

   advantage of Triadou and secretly influence it to obtain a discounted price. Specifically, Chetrit




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   proposed that Bourg covertly use his position as director of Triadou to accept a lower price for

   the Chetrit Group’s purchase of an assignment, thus decreasing Triadou’s recovery from the

   investment and increasing the Chetrit Group’s profit. In return for securing for Chetrit a lower

   assignment price, Chetrit agreed to surreptitiously pay Bourg $3 million.

          118.     In or about August of 2014, Bourg, acting on behalf of Triadou and at the

   direction of the Ablyazov-Khrapunov Group, agreed to assign Triadou’s interest in the Flatotel

   back to the Chetrit Group for a price as low as $26 million, only a fraction of the fair market

   value of the properties. At the same time, Bourg executed a release of the promissory note that

   Triadou held entitling it to equity in the Cabrini Medical Center development. At the time of this

   assignment and release, Viktor Khrapunov was facing criminal charges as well as possible fines

   and disgorgement in Kazakhstan; the Kazakh government had formally sought extradition of

   Viktor Khrapunov from Switzerland; Ablyazov was being held in French prison awaiting

   extradition; and the Swiss assets of the Ablyazov-Khrapunov Group remained frozen. Not only

   were all of these facts widely disseminated in the news, they were known by all parties to the

   assignment and release transactions, including Chetrit, and it was not uncommon for their

   meetings to begin with a discussion of the possibility of the incarceration of members of the

   Ablyazov-Khrapunov Group.

          119.     Following the assignment and release, Bourg invoiced Chetrit for $1 million of

   the agreed-upon $3 million bribe. After receiving the invoice, Chetrit paid Bourg $400,000, but

   refused to pay the full amount demanded by Bourg.

          120.     In or about March 2015, Bourg met with Chetrit, and recorded the meeting. As

   captured on audio, Bourg demanded the remainder of his promised compensation. Chetrit

   acknowledged that he had paid Bourg “400 or 500,” but responded that Bourg would receive the




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   additional $600,000 only when Chetrit paid what he owed Triadou for the assignment, and that

   he had no intention of paying Triadou until forced to do so. Chetrit further stated on tape that

   Bourg would not receive any remaining money.

           121.    At that meeting, Bourg and Chetrit repeatedly discussed the legal troubles of

   Mukhtar Ablyazov and Victor and Ilyas Khrapunov. Chetrit repeatedly avoided using Ilyas

   Khrapunov’s actual name, referring to him instead by the code name “Pedro.” Chetrit and Bourg

   discussed how “Pedro” was “sought by Interpol” and his “father-in-law [was] still in prison,”

   and Chetrit agreed that law enforcement was “coming at [the Ablyazov-Khrapunov Group] from

   all sides.”

           122.   Also at that meeting, Chetrit and Bourg discussed the fact that due to the

   investigation in Switzerland, Ilyas Khrapunov could not leave the country and was under intense

   law enforcement pressure. In addition, Chetrit once again acknowledged his longstanding

   understanding that Ablyazov and his criminal situation was behind the motivations of the

   Ablyazov-Khrapunov investments in the United States.           Chetrit further acknowledged his

   longstanding understanding that the Ablyazov-Khrapunov Group had made similar investments

   in other countries, such as Greece, to conceal and launder the proceeds of their crimes.

           123.    On or about March 22, 2015, after his meeting with Chetrit, Bourg contacted

   Elkain, Chetrit’s agent in Europe, and also recorded that phone call. In that call, Bourg sought to

   confirm the terms of his secret deal with Chetrit. During this recorded conversation, Bourg and

   Elkain agreed that the secret deal between Chetrit and Bourg called for $3 million in

   compensation for Bourg. Elkain agreed that he “confirmed the deal” between Chetrit and Bourg,

   and “would have never said that if [Chetrit] hadn’t told [him] so.” Bourg requested Elkain’s aid

   in receiving the remainder of his payment, but Elkain responded that whether or not the




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   agreement would be honored was up to Chetrit.

           124.     Despite the finalized assignment agreement and release, the Chetrit Group

   refused to make any payments to Triadou following the sale. In response, Triadou filed a series

   of actions in New York state courts, seeking summary judgment and payment of these

   obligations under the assignment agreement. Those actions are Triadou SPV S.A. v. CF 135

   FLAT LLC, et al., No. 653462/2014 (Nov. 10, 2014); Triadou SPV S.A. v. CF 135 FLAT LLC, et

   al., No. 650239/2015 (Jan. 26, 2015); Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

   154681/2015 (May 11, 2015), and Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

   156907/2015 (July 9, 2015),

           125.     Each of these actions seeks the payment of money to Triadou derived from the

   sale of property illicitly obtained by the Ablyazov-Khrapunov Group, and rightfully owned by

   BTA and Almaty.

           126.     By this lawsuit, BTA Bank and the City of Almaty seek to hold Crossclaim

   Defendants responsible for their illegal conduct in the United States in violation of U.S. law.

                                     FIRST CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           127.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 126

   as if fully set forth herein.

           128.    This cause of action is against all Crossclaim Defendants (the “Count 1

   Defendants”).

           129.     From 1997 and continuing to the present, the Ablyazov-Khrapunov Group and

   numerous other individuals and entities, including SDG and Telford, have constituted an

   association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 1



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   Enterprise”).

          130.      In 2012, the Chetrit Group knowingly and willfully joined the Count 1 Enterprise

   by aiding the Ablyazov-Khrapunov Group’s schemes to hide and launder their illicit assets

   through investments by SDG through Triadou in properties owned by the Chetrit Group.

          131.      The Count 1 Enterprise was engaged in, and the activities of the Count 1

   Defendants affected, interstate and foreign commerce.

          132.      The Count 1 Defendants conducted or participated, directly or indirectly, in the

   conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity

   consisting of the following predicate acts of racketeering within the meaning of 18 U.S.C.

   § 1961(1)(B):

              a. The Count 1 Defendants engaged and conspired to engage in money laundering

                   in violation of 18 U.S.C. § 1956 by conducting numerous financial transactions

                   using illegally obtained funds to purchase real estate investments in New York

                   City and elsewhere and to fund business entities including SDG and Triadou,

                   knowing that such funds were unlawfully converted from the City of Almaty and

                   BTA Bank, with the goal of concealing the source of those funds. The Count 1

                   Defendants further engaged and conspired to engage in money laundering in

                   violation of 18 U.S.C. § 1956 by transporting, transmitting, and/or transferring

                   funds stolen from Almaty and BTA into and within the United States in order to

                   conceal their source and existence from lawful investigations conducted by

                   Swiss, Kazakh, and United Kingdom authorities.

              b. The Count 1 Defendants further engaged and conspired to engage in money

                   laundering in violation of 18 U.S.C. § 1956 by conducting financial transactions




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                using those stolen funds by, among other things, using stolen funds to purchase

                real estate and other assets in New York City and elsewhere and to fund business

                entities, including Triadou and SDG, with the intent to further the Count 1

                Enterprise and to conceal the source of those funds.

            c. The Count 1 Defendants engaged and conspired to engage in money transactions

                in property derived from specified unlawful activity in violation of 18 U.S.C.

                § 1957 by, among other things, knowingly transferring funds in excess of $10,000

                stolen from Almaty and BTA into and within the United States to invest in real

                estate and other assets in New York City with the aid of the Chetrit Group,

                knowing that such funds were stolen from the City of Almaty and BTA Bank.

            d. The Count 1 Defendants engaged and conspired to engage in mail fraud in

                violation of 18 U.S.C. § 1341 and wire fraud in violation of 18 U.S.C. § 1343 by

                knowingly using the mails and wires to transfer illegally obtained funds into and

                within the United States, for the purpose of furthering the Count 1 Enterprise and,

                while concealing the funds’ illegal source, used those funds to purchase real estate

                in New York City and to fund business entities, including SDG and Triadou, that

                enabled those entities to conduct business in the United States using the illegally-

                obtained funds.

            e. The Count 1 Defendants unlawfully transported or caused to be transported in

                interstate or foreign commerce securities or money having a value of $5,000 or

                more which was stolen, converted or taken by fraud from Almaty and BTA Bank,

                and knowing the same to be stolen, converted or taken by fraud in violation of 18

                U.S.C. § 2314.




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              f. The Count 1 Defendants received, possessed, concealed, sold, or disposed of

                  securities or money having the value of $5,000 or more, or conspired to do the

                  same, which crossed a state or United States boundary after being stolen,

                  unlawfully converted, or taken from Almaty and BTA Bank, and knowing the

                  securities or money to have been stolen, unlawfully converted, or taken in

                  violation of 18 U.S.C. § 2315.

          133.     Each of the Count 1 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 1 Defendants engaged or conspired to engage in two or more predicate acts of

   racketeering, and each committed at least one such act of racketeering after the effective date of

   RICO. From in or about 1997, and continuing to the present, Count 1 Defendants associated

   together, with one another and with others, and acted in concert for the common and unlawful

   purposes of the Count 1 Enterprise and in order to implement the schemes and employ the

   devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   the following acts of money laundering, transactions in money and property derived from

   specified unlawful activity, foreign transport of stolen money or property known to be stolen,

   converted or taken by fraud, mail fraud, and/or wire fraud:

              a. The 2012 sham sale of SDG to Philippe Glatz to create the appearance that SDG

                  was independent of the Ablyazov-Khrapunov Group;

              b. the fraudulent loan from the Ablyazov-Khrapunov Group to Mr. Glatz to facilitate

                  the SDG sale transaction;




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            c. the formation of Triadou and other entities by SDG at the direction of Bourg and in

                consultation with Ilyas Khrapunov;

            d. Chetrit’s meetings with Ilyas Khrapunov in or about 2012 in Switzerland and New

                York City, and their subsequent agreement to invest the Ablyazov-Khrapunov

                Group’s unlawfully obtained money in real estate in New York City;

            e. E-mails directly between Chetrit and Ilyas Khrapunov as well as through

                intermediaries discussing the Ablyazov-Khrapunov Group’s possible investments in

                New York real estate;

            f. the formation of the investment vehicles necessary to facilitate the Flatotel and

                Cabrini investments;

            g. Telford’s failed attempt to transfer funds held in FBME Bank for the Flatotel and

                Cabrini deals through banks in Luxembourg;

            h. the May 20, 2013 transfer of funds from Telford to Chetrit’s attorney representing

                Triadou’s investment of $6 million in the Cabrini deal, along with Chetrit’s

                promissory note and Triadou’s right to convert that debt into equity in Cabrini;

            i. a series of other wire transfers on behalf of Triadou from Telford’s accounts at

                FBME Bank Ltd. to Chetrit’s counsel in New York, including transfers on

                November 9, 2012, and January 22, February 13, February 19, April 8, April 16,

                and April 24, 2013;

            j. a May 22, 2013 wire transfer of $28 million from Telford to a different law firm’s

                Citibank account in New York used for a separate New York real estate investment

                with Chetrit;

            k. a May 2014 agreement (executed August 2014) to transfer Triadou’s interest in the




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                   Flatotel to the Chetrit Group at a below-market price;

               l. Chetrit’s and Triadou’s signed May 2014 release of the promissory note regarding

                   Triadou’s $6 million investment in the Cabrini Medical Center development;

               m. Chetrit’s payment of $400,000 to Bourg in partial satisfaction of Chetrit’s

                   agreement with Bourg to pay him $3 million in exchange for securing Chetrit a

                   lower assignment price for Triadou’s interests in the Flatotel and Cabrini deals;

                   and

               n. a payment of $1 million from Chetrit to Triadou in partial satisfaction of Chetrit’s

                   obligations under the fraudulent assignment.

           134.     As a direct and proximate result of RICO violations by the Count 1 Defendants

   of 18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined

   at trial and presently estimated to be not less than $6 billion. Almaty and BTA have been injured

   in their business or property by reason of each Count 1 Defendants’ violations and, pursuant to

   the civil remedy provisions of 18 U.S.C. § 1964(c), are thereby entitled to recover threefold the

   damages suffered, together with the costs of this suit and reasonable attorneys’ fees.

                                   SECOND CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           135.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 134

   as if fully set forth herein.

           136.    This cause of action is against all Crossclaim Defendants (the “Count 2

   Defendants”).

           137.     From its formation and continuing to the present, CF 135 West Member LLC,

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 2



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   Enterprise”).

          138.      The Count 2 Enterprise was engaged in, and the activities of the Count 2

   Defendants affected, interstate and foreign commerce.

          139.      The Count 2 Defendants engaged in a pattern of racketeering activity consisting

   of the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

   paragraph 132 above.

          140.      Each of the Count 2 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 2 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 2 Defendants engaged in two or more predicate acts of racketeering, and each committed

   at least one such act of racketeering after the effective date of RICO. The Count 2 Defendants

   associated together, with one another and with others, and acted in concert for the common and

   unlawful purposes of the Count 2 Enterprise and in order to implement the schemes and employ

   the devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   those acts described in paragraph 133 above.

          141.     As a direct and proximate result of RICO violations by the Count 2 Defendants of

   18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 2

   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.




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                                     THIRD CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(a))
                                      Against All Defendants

           142.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 141

   as if fully set forth herein.

           143.    This cause of action is against all Crossclaim Defendants (the “Count 3

   Defendants”).

           144.     From its formation and continuing to the present, CF 135 West Member LLC,

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 3

   Enterprise”).

           145.     The Count 3 Enterprise was engaged in, and the activities of the Count 3

   Defendants affected, interstate and foreign commerce.

           146.     The Count 3 Defendants received income derived from a pattern of racketeering

   activity consisting of the related predicate acts of racketeering described in paragraphs 132 and

   133 above.

           147.     The Count 3 Defendants used or invested the income derived from their

   racketeering activity in the acquisition of an interest in, or the establishment or operation of, the

   Count 3 Enterprise in violation of 18 U.S.C. § 1962(a).

           148.     The Count 3 Defendants used or invested the income derived from their

   racketeering activity in the Count 3 Enterprise in fraudulent and below-market transactions,

   including by accepting unreasonable contractual terms to transfer wealth to the Chetrit Group.

           149.    As a direct and proximate result of RICO violations by the Count 3 Defendants of

   18 U.S.C. § 1962(a), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 3


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   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                   FOURTH CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           150.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 149

   as if fully set forth herein.

           151.    This cause of action is against all Crossclaim Defendants (the “Count 4

   Defendants”).

           152.     From its incorporation and continuing to the present, 227 East 19th Holder LLC

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 4

   Enterprise”).

           153.     The Count 4 Enterprise was engaged in, and the activities of the Count 4

   Defendants affected, interstate and foreign commerce.

           154.     The Count 4 Defendants engaged a pattern of racketeering activity consisting of

   the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

   paragraph 132 above.

           155.     Each of the Count 4 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 4 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 4 Defendants engaged in two or more predicate acts of racketeering, and each committed

   at least one such act of racketeering after the effective date of RICO. The Count 4 Defendants

   associated together, with one another and with others, and acted in concert for the common and



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   unlawful purposes of the Count 4 Enterprise and in order to implement the schemes and employ

   the devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   those acts described in paragraph 133 above.

           156.    As a direct and proximate result of RICO violations by the Count 4 Defendants of

   18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 4

   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                     FIFTH CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(d))
                                      Against All Defendants

           157.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 156

   as if fully set forth herein.

           158.    This cause of action is against all Crossclaim Defendants (the “Count 5

   Defendants”).

           159.     As alleged herein, Count 5 Defendants conspired to engage in the acts described

   above in the United States to further the goals of their criminal enterprises in violation of U.S.

   law.

           160.     In so doing, Count 5 Defendants unlawfully, willfully, and knowingly did

   combine, conspire, confederate, and agree together, with each other and with others to commit

   RICO violations under 18 U.S.C. § 1962(c) and, thereby, violated 18 U.S.C. § 1962(d). In

   furtherance of the conspiracy and to achieve its objectives, Count 5 Defendants committed the



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   overt acts as described in paragraph 133 in the Southern District of New York and elsewhere.

           161.     As a direct and proximate result of RICO violations by the Count 5 Defendants

   of 18 U.S.C. § 1962(d), Almaty and BTA have suffered damages in an amount to be determined

   at trial. Almaty and BTA have been injured in their business or property by reason of each Count

   5 Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                    SIXTH CAUSE OF ACTION

                           (ACTUAL FRAUDULENT TRANSFER)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           162.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 161

   as if fully set forth herein.

           163.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

   the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

   as these funds were the unlawful profits of embezzlement, fraud, and the corruption of the public

   office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

   alter or diminish either Almaty or BTA’s interest.

           164.     The 2014 assignment of Triadou’s interest in the Flatotel and Cabrini Medical

   Center was not for adequate consideration, and in fact, represented a value significantly below

   the fair value of that interest, due to the improper motivations of Triadou’s ownership, the

   Ablyazov-Khrapunov Group, to hide their illicit assets and move them offshore, and the Chetrit

   Group’s secret deal to drive down the price of the assignment through bribery.

           165.     This assignment was made for the specific purpose of liquidating a fixed asset to

   frustrate a future creditor. Defendants knew of the numerous judgments against Ablyazov in the



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   United Kingdom, and of Almaty’s claims against the Ablyazov-Khrapunov Group in the

   California Litigation, and knew that Triadou was owned and controlled by the defendants in

   those actions. Defendants intended and believed that the assignment of the Ablyazov-Khrapunov

   Group’s interest in the Flatotel and Cabrini Medical Center would hinder, delay, and defraud

   current and future judgment creditors, specifically the City of Almaty and BTA Bank.

           166.     For these reasons, the assignment was fraudulently and illegally intended to

   remove an asset from the jurisdiction of the United States, namely Triadou’s interests in the

   Flatotel and Cabrini Medical Center, convert those assets to cash, and transfer those funds beyond

   the reach of the Swiss, Kazakh, and United Kingdom authorities

           167.     As a result of the foregoing, pursuant to sections 275, 276, and 279 of the New

   York Debtor and Creditor Law, the August 2014 assignment agreement should be set aside as

   the product of clearly-inequitable conduct.

                                   SEVENTH CAUSE OF ACTION

                        (CONSTRUCTIVE FRAUDULENT TRANSFER)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           168.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 167

   as if fully set forth herein.

           169.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

   the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

   as these funds were the unlawful profits of embezzlement, fraud, and corruption of the public

   office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

   alter or diminish either Almaty or BTA’s interest.

           170.     Triadou, although an arm of a massive international fraud and money laundering

   conspiracy, is and has been insolvent itself. Triadou holds no funds or other assets of its own,



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   and relies on funding from other Ablyazov-Khrapunov Group entities, such as Telford, to meet

   its obligations. Assets that flow to Triadou are promptly moved to other Ablyazov-Khrapunov

   Group entities offshore.

           171.     As Triadou is controlled by the Ablyazov-Khrapunov Group, whose members

   face multi-billion dollar judgments in other jurisdictions, Triadou is effectively kept insolvent at

   all times, so as to limit the Ablyazov-Khrapunov Group’s exposure in the United States.

           172.     Similarly, because Triadou is controlled by and is an alter ego of the Ablyazov-

   Khrapunov Group, at the time it liquidated the Flatotel and Cabrini interests and transferred the

   proceeds to other entities, it had liabilities – including resulting from the UK judgments – that far

   outstripped its assets.

           173.     As a result of the foregoing, pursuant to sections 273 and 273-a of the New York

   Debtor and Creditor Law, the August 2014 assignment agreement should be set aside.

                                    EIGHTH CAUSE OF ACTION

                                   (UNJUST ENRICHMENT)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           174.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 173

   as if fully set forth herein.

           175.    The Crossclaim Defendants were unjustly enriched at the expense of the City of

   Almaty and BTA Bank when they invested funds embezzled from the City of Almaty and BTA

   Bank to acquire assets in the United States including an interest in the Flatotel project, and did so

   knowing that authorities of Switzerland, the Republic of Kazakhstan, and the United Kingdom

   were seeking the wrongfully-taken assets held by the Ablyazov-Khrapunov Group, and that

   further sales of the same assets would potentially frustrate their identification by the lawful

   authorities.


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           176.    It would be against equity and good conscience to permit the Crossclaim

   Defendants to retain the profits derived from the looting of assets rightfully belonging to the City

   of Almaty and BTA Bank.

                                    NINTH CAUSE OF ACTION

                                        (CONVERSION)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           177.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 176

   as if fully set forth herein.

           178.     None of the Defendants has a superior interest to the City of Almaty or BTA in

   the assets wrongfully taken by the Ablyazov-Khrapunov Group. These funds, and the assets

   they were used to purchase, are the rightful property of the people of Almaty and BTA.

           179.     Defendants knowingly bought and sold assets obtained with these funds derived

   from the corruption of the office of the mayor of the City of Almaty and control of BTA Bank.

           180.     As a result, Defendants have wrongfully and without authorization exercised of

   dominion and control over property of Almaty and BTA, and thus are liable for converting the

   same.

                                    TENTH CAUSE OF ACTION

                                     (CONSTRUCTIVE TRUST)
                                       Against All Defendants

           181.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 180

   as if fully set forth herein.

           182.     As mayor of Almaty, Viktor Khrapunov owed fiduciary duties to the people of

   Almaty, and through his oath of office, expressly promised to execute those duties.

           183.     Despite that promise, Viktor Khrapunov breached those fiduciary duties

   repeatedly by transferring public assets of the City of Almaty to other members of the Ablyazov-


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   Khrapunov Group for fractions of their market value, and then assisted the Ablyazov-Khrapunov

   Group in laundering the funds resulting from those illicit transfers of public property. Through

   these breaches of fiduciary duty, the Ablyazov-Khrapunov Group has been unjustly enriched.

           184.     A constructive trust over the 50% interest in CF 135 West Member LLC

   assigned by Triadou, and all profits therefrom, is the appropriate equitable remedy to prevent

   further dissipation of the funds resulting from these breaches of fiduciary duty.

           185.     Defendants have also conspired to fraudulently transfer Triadou’s interest in the

   Flatotel for the purpose of hiding the Ablyazov-Khrapunov Group’s assets and frustrating any

   recovery resulting from Almaty and BTA’s investigations and pursuits of their stolen assets.

   Separate and aside from the Ablyazov-Khrapunov Group’s breaches of fiduciary duty, this

   knowingly fraudulent transfer by Cross- and Counterclaim Defendants justifies imposition of a

   constructive trust to prevent any further transfers or encumbrances of this property.

           186.     Absent this remedy, the Ablyazov-Khrapunov Group will continue to use

   Triadou and SDG to launder the fruits of these breaches of fiduciary duty and hide these assets

   from law enforcement, and the Chetrit Group will continue to be unjustly enriched by these acts

   of fraud.

                                   ELEVENTH CAUSE OF ACTION

                  (PURSUANT TO CPLR § 5239 FOR FRAUD AND CONVERSION)
                                  Against All Defendants

           187.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 186

   as if fully set forth herein.

           188.     Triadou has filed serial actions in the courts of the state of New York seeking

   payment on the fraudulent assignment agreement between Triadou and the Chetrit Group. While

   Triadou has been awarded summary judgment in some of these actions, none of these judgments



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   have been satisfied by any sheriff or receiver.

             189.   The City of Almaty and BTA Bank are the rightful owners of Triadou’s interest in

   the Flatotel and Cabrini Medical Center and/or any funds derived from the sale of that interest, as

   the interest was purchased with funds unlawfully converted by the Ablyazov-Khrapunov Group

   and laundered through SDG and Triadou.

             190.   Pursuant to CPLR § 5239, this court is empowered to vacate any such judgments

   and direct the disposition of the property in question, as well as direct which party should keep

   possession of the property during the pendency of this action.

             191.   The court should set aside any judgments in Triadou’s favor in light of the City

   of Almaty’s and BTA’s superior interest in this illicitly-obtained property, direct that Triadou’s

   interest in the Flatotel and Cabrini Medical Center be transferred to the City of Almaty and BTA

   Bank, and pursuant to CPLR § 5239, award the City of Almaty and BTA Bank its reasonable

   attorneys’ fees in bringing this claim.

                                   TWELFTH CAUSE OF ACTION

      (PURSUANT TO CPLR § 5303 FOR RECOGNITION AND ENFORCEMENT OF A
                 FOREIGN JUDGMENT UNDER NEW YORK LAW)
                            Against Defendant Ablyazov

             192.   BTA Bank repeats and realleges paragraphs 1 through 191 as if fully set forth

   herein.

             193.   The United Kingdom of Great Britain and Northern Ireland is a “foreign state”

   within the meaning of N.Y. C.P.L.R. § 5301(a).

             194.   The Ablyazov Judgments are “foreign country judgments” within the meaning of

   N.Y. C.P.L.R. § 5301(b).

             195.   The Ablyazov Judgments are “final, conclusive and enforceable” in England

   within the meaning of N.Y. C.P.L.R. § 5302.


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           196.      The Ablyazov Judgments grant recovery of a sum of money and are enforceable

   by an action on the judgments in New York pursuant to N.Y. C.P.L.R. § 5303.

           197.      None of the grounds for non-recognition of a foreign country judgment set forth

   in N.Y. C.P.L.R. § 5304 applies to the Ablyazov Judgments.

           198.      The Ablyazov Judgments are required to be enforced pursuant to N.Y. C.P.L.R.

   § 5303.

           199.      Triadou is the alter ego of the Ablyazov-Khrapunov Group, and is thus liable for

   all current and future obligations against the Ablyazov-Khrapunov Group. Maintaining the

   separateness of Triadou and its alter ego, the Ablyazov-Khrapunov Group, would allow the

   Ablyazov-Khrapunov Group to avoid otherwise enforceable obligations and would be highly

   inequitable to the people of the city of Almaty and BTA Bank.

                                 THIRTEENTH CAUSE OF ACTION

                                      (AIDING AND ABETTING)
                                        Against Defendant FBME

           200.      The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 199

   as if fully set out herein.

           201.      The Ablyazov-Khrapunov Group converted property that rightfully belongs to

   the Kazakhstan Plaintiffs through wire transfers executed by FBME Bank, and the Ablyazov-

   Khrapunov Group was unjustly enriched by the use and investment of the same funds.

           202.      FBME Bank was aware that the funds wired were the proceeds of crime and that

   the wire transfers were an effort by the Ablyazov-Khrapunov Group to obscure the illicit nature

   of those funds.

           203.      Due to its longstanding relationship with the Ablyazov-Khrapunov Group and

   deliberately ineffective protocols for preventing money laundering, FBME Bank aided and



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   abetted the Ablyazov-Khrapunov Group’s laundering scheme.

          204.     FBME’s active participation in the Ablyazov-Khrapunov Group’s money

   laundering network rendered substantial assistance to the Ablyazov-Khrapunov Group’s acts of

   conversion, fraud, and subsequent unjust enrichment, and the Kazakhstan Plaintiffs seek relief

   from FBME to the extent Defendants are found liable for these acts.



                                    DEMAND FOR JURY TRIAL

          Almaty and BTA Bank demand a jury trial on all claims for which trial by jury is

   available, including on the underlying interpleader action.

                                       DEMAND FOR RELIEF

   WHEREFORE, Almaty and BTA Bank demand the Court enter judgment as follows:

          A.       For injunctive relief and rescission of the 2014 assignment agreement and release;

          B.       For compensatory, punitive, and treble damages;

          C.       For declaratory relief;

          D.       For all costs and fees incurred in prosecuting this Complaint;

          E.       For such other and further relief as this Court deems just and proper.




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   Dated: New York, New York
          September 7, 2016


                                         Respectfully Submitted,

                                         BOIES, SCHILLER & FLEXNER LLP

                                    By: /s/ Matthew L. Schwartz
                                        Matthew L. Schwartz
                                        Randall W. Jackson
                                        Daniel G. Boyle
                                        Craig Wenner

                                         BOIES, SCHILLER & FLEXNER LLP
                                         575 Lexington Avenue
                                         New York, New York 10022
                                         Telephone: 212-446-2300
                                         Facsimile: 212-446-2350




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   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   ____________________________________
                                        )
   CITY OF ALMATY, KAZAKHSTAN,         )
   and BTA BANK JSC                     )
                                        )
               Plaintiffs,              )
                                        )
               v.                       )              No. 15-cv-05345 (AJN) (KHP)
                                        )
   MUKHTAR ABLYAZOV, ILYAS              )
   KHRAPUNOV, VIKTOR KHRAPUNOV )
   and TRIADOU SPV S.A.,                )
                                        )
               Defendants.              )
                                        )


        LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
          PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON
     THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

          The United States District Court for the Southern District of New York (the “Court”),

   presents its compliments to the Ministry of Justice of the French Republic under the Hague

   Convention on the Taking of Evidence Abroad in Civil or Commercial Matters (“Hague

   Convention”), and requests international judicial assistance to obtain evidence to be used in a

   civil proceeding before this Court in the above-captioned matter. This Court respectfully requests

   that the Ministry of Justice recognize this Letter of Request from this Court and arrange for its

   execution, in adherence to the Hague Convention and in the interest of comity.

          A.      Sender

          The Honorable Alison J. Nathan, United States District Judge for the Southern District of

   New York, New York, New York, United States of America.




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           B.      Central Authority of the Requested State

           Ministère de la Justice
           Direction des Affaires Civiles et du Sceau
           Bureau du droit de l'Union, du droit international privé et de l'entraide civile (BDIP)
           13, Place Vendôme
           75042 Paris Cedex 01

           C.      Person to Whom the Executed Request Is to Be Returned

           This Court hereby requests that the executed Letter of Request and all documents and

   materials covered by this Letter of Request be returned to the following attorney for the

   Plaintiffs, the City of Almaty, Kazakhstan and BTA Bank (collectively, the “Plaintiffs”), as an

   officer of this Court:

           Matthew L. Schwartz, Esq.
           Boies Schiller & Flexner, LLP
           575 Lexington Avenue
           New York, New York 10022
           Telephone Number: (212) 446-2300
           Fax Number: (212) 446-2350
           mlschwartz@bsfllp.com

           As an officer of this Court, he will act as confidential courier of this Court and deliver the

   executed Letter of Request and all related documents and materials directly to me at the

   following address:

           The Honorable Alison J. Nathan
           United States District Court for the Southern District of New York
           Thurgood Marshall United States Courthouse
           40 Foley Square, Room 2102
           New York, New York 10007

           All documents and materials deposited with the Court in accordance with this Letter of

   Request will be available to all parties and their counsel.




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          D.      Purpose of Evidence Sought and Requested Date of Receipt of Response

          The requested deposition will be used by the parties in support of their claims or

   defenses. The Court accordingly respectfully requests a prompt response to this Letter of

   Request.

   I.     HAGUE CONVENTION REQUIREMENTS

          This Court requests the assistance more specifically described herein as necessary in the

   interests of justice. In conformity with Article 3 of the Hague Convention, the undersigned

   applicant has the honor to submit the following request:

          A.      Requesting Judicial Authority

          The Honorable Alison J. Nathan
          United States District Court for the Southern District of New York
          Thurgood Marshall United States Courthouse
          40 Foley Square
          New York, New York 10007, USA

          B.      Central Authority of the Requested State

          Ministère de la Justice
          Direction des Affaires Civiles et du Sceau
          Bureau du droit de l'Union, du droit international privé et de l'entraide civile (BDIP)
          13, Place Vendôme
          75042 Paris Cedex 01

          C.      Name of the Case and Identifying Number

          All evidence requested will be used in relation to the above-captioned civil lawsuit,

   which can be identified by the following information:

          Case Name: City of Almaty, Kazakhstan, et al. v. Mukhtar Ablyazov, et al.
          Court:       United States Federal District Court for the Southern District of New York
          Case Number: 15-cv-05345 (AJN)

          D.      Names and Addresses of the Parties and their Representatives

                  1.     Plaintiffs



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          The City of Almaty, Kazakhstan (“Almaty”) and BTA Bank JSC (“BTA”) are,

   respectively, a political subdivision and a citizen of the Republic of Kazakhstan.

                  2.     Plaintiffs’ Representative

          Matthew L. Schwartz, Esquire
          Boies, Schiller & Flexner LLP
          575 Lexington Avenue
          New York, NY 10022
          Telephone: (212) 446-2300
          Fax: (212) 446-2350
          Email: mschwartz@bsfllp.com

                  3.     Defendants

          Defendant Mukhtar Ablyazov is a national of the Republic of Kazakhstan, currently

   domiciled in Paris, France. Defendant Ilyas Khrapunov is a national of the Republic of

   Kazakhstan, currently domiciled in Geneva, Switzerland. Defendant Viktor Khrapunov is a

   national of the Republic of Kazakhstan, currently domiciled in Geneva, Switzerland. Defendant

   Triadou SPV S.A. is a company established under the laws of Luxembourg, with its registered

   address at 60 Grand-Rue, L-1660 Luxembourg.

                  4.     Defendants’ Representatives

         Mukhtar Ablyazov                                 Ilyas and Viktor Khrapunov
         Jonathan D. Cogan, Esquire                       John J. Kenney, Esquire
         Kobre & Kim LLP                                  Hoguet, Newman, Regal & Kenney, LLP
         800 Third Avenue, 6th Floor                      10 East 40th Street.
         New York, New York 10022                         New York, NY 10016
         Telephone: (212) 488-1200                        Telephone: (222) 689-8808
         Facsimile: (212) 488-1220                        Facsimile: (212) 689-5101
         Email: jonathan.cogan@kobrekim.com               Email: jkenney@hnrklaw.com

         Triadou SPV S.A.
         Deborah A. Skakel, Esquire
         Blank Rome LLP
         405 Lexington Avenue
         New York, NY 10174
         Telephone: (212) 885-5000
         Facsimile: (212) 885-5001

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         Email: dskakel@blankrome.com

          E.      Nature of the Proceedings and Summary of the Case and Relevant Facts

          The above-captioned case is a civil lawsuit brought by Plaintiffs seeking equitable relief

   and money damages for injuries resulting from the alleged embezzlement and laundering of

   funds belonging to Plaintiffs and enforcement of a foreign judgment under New York law. See

   Ex. A (Plaintiffs’ Amended Crossclaims). Defendant Mukhtar Ablyazov is the former chairman

   of BTA Bank. Defendant Viktor Khrapunov is the former mayor of the City of Almaty.

   Defendant Ilyas Khrapunov is Viktor Khrapunov’s son.             Defendant Triadou SPV S.A.

   (“Triadou”) is an entity established in Luxembourg and allegedly controlled by Ilyas Khrapunov

   at the direction of Ablyazov.

          Plaintiffs allege that Ablyazov embezzled billions of dollars by abuse of his office at BTA

   Bank, one of Kazakhstan’s largest banks, which was subsequently nationalized by the

   Government of Kazakhstan. See Ex. A, at ¶ 28-44. When his actions were uncovered by bank

   regulators in Kazakhstan, Ablyazov fled to the United Kingdom, where BTA brought a series of

   civil fraud actions against him. Ablyazov repeatedly defied orders of the U.K. courts to disclose

   his assets, leading to his being sentenced to 22 months imprisonment for contempt. Ablyazov

   fled sentencing in the U.K. and went into hiding, and the U.K. courts awarded BTA billions of

   dollars in judgments against Ablyazov and his associates for their theft from BTA.1 Ablyazov

   was subsequently discovered and arrested in France. Plaintiffs have alleged that while fighting

   extradition, Ablyazov conspired with his son-in-law, Ilyas Khrapunov, to hack the mobile

   phones and computers of French judicial authorities and prosecutors. See Ex. A ¶ 73 – 76.


          1
            See JSC BTA Bank v. Ablyazov et al., 201 EWHC 510 (comm); JSC BTA Bank v.
   Ablyazov, 2013 EWHC 3691 (ch); JSC BTA Bank v. Ablyazov [2015] UKSC 64; JSC BTA Bank
   v. Ablyazov and Khrapunov, 2016 EWHC 289 (comm).

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   Ablyazov has since been released from French prison, but claims that he is applying for asylum

   in France and thus cannot travel to give testimony in this matter.

           As specifically relevant to the above-captioned action, Ablyazov is alleged to have

   laundered some of the proceeds of his actions into the United States through a special purpose

   vehicle, Defendant Triadou SPV S.A. See Ex. A, at ¶ 77–97. Once those assets were discovered,

   the Defendants are alleged to have entered into transactions in the United States that caused

   further and distinct injuries to the Plaintiffs, including allegedly engaging in fraudulent

   conveyances that diminished the value of those assets. This Court has already granted attachment

   of Triadou’s assets in the State of New York, preliminarily finding that the assets in question

   were traceable to Ablyazov. See Ex. B, at 6 (Order of Attachment).

           Plaintiffs and Defendants currently are engaged in discovery, where the parties exchange

   information concerning their claims and defenses. The Court accordingly has not addressed the

   merits of Plaintiffs’ allegations.

           Plaintiffs contend that the information sought by this request is available to the Ministry

   of Justice of the French Republic. This Court respectfully requests that the French Republic act

   on this request expeditiously.

   F.      Evidence to Be Obtained

           Based on the foregoing, this Court respectfully requests that the Ministry of Justice of the

   French Republic provide assistance to obtain the following testimony in response to this Letter

   of Request that may be lawfully obtained by the Ministry of Justice or any other department,

   division, or office of the government of the French Republic, that relates to Plaintiffs’ allegations

   against Defendants. Mr. Ablyazov has consented to this request.

           1.      A deposition of Mukhtar Ablyazov on the following topics:



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               1)    Ablyazov’s chairmanship of BTA Bank;
               2)    Ablyazov’s relationship with Eesh Aggarwal and any entities controlled or
                     operated by Eesh Aggarwal;
               3)    Ablyazov’s knowledge regarding Triadou SPV S.A., including but not
                     limited to:
                       a. Any involvement or communications he had with Triadou;
                       b.The sources of Triadou’s funding;
                       c. Triadou’s investments in the United States;
               4)    Ablyazov’s knowledge regarding any hacking of electronic devices of
                     French prosecutors and judicial authorities, as well as communications
                     with Ilyas Khrapunov regarding information obtained through such
                     conduct;
               5)    Ablyazov’s knowledge regarding Telford International Limited;
               6)    Ablyazov’s knowledge regarding Telford Financiers;
               7)    Ablyazov’s knowledge regarding Green Life International SA;
               8)    Ablyazov’s knowledge regarding Fitcherly Holdings Ltd;
               9)    Ablyazov’s knowledge regarding Wintop Services Ltd;
               10)   Ablyazov’s knowledge regarding accounts held at Trasta Komercbanka
                     which received transfers of funds from BTA Bank;
               11)   Ablyazov’s knowledge regarding the sources of funding for his legal
                     expenses in the United Kingdom;
               12)   Ablyazov’s assets, both in his name and held by associates for his benefit;
               13)   Ablyazov’s ownership or control of any corporate entities, either in his
                     name and held by associates for his benefit;
               14)   Ablyazov’s knowledge regarding his disclosures to the courts of the
                     United Kingdom and subsequent sentence of criminal contempt;
               15)   Ablyazov’s communications with Ilyas Khrapunov;
               16)   Ablyazov’s communications with Viktor Khrapunov;
               17)   Ablyazov’s communications with Gennady Petelin;
               18)   Ablyazov’s communications with Elena Petelina;
               19)   Ablyazov’s communications with Peter Sztyk (a/k/a Petro Sztyk);
               20)   Ablyazov’s communications with Nicolas Bourg;
               21)   Ablyazov’s communications with Philippe Glatz;
               22)   Ablyazov’s communications with Botagoz Dzhardemali (a/k/a Bota
                     Jardemalie);
               23)   Ablyazov’s retention of relevant documents or financial records, or
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                         maintenance of such records by Ablyazov’s employees or agents.
   II.    OTHER REQUIREMENTS

          A.      Fees and Costs

          Plaintiffs are responsible for reasonable copy costs and charges associated with the

   processing and handling of this request by the Ministry of Justice.

          B.      Reciprocity

          This Court expresses its sincere willingness to provide similar assistance to the courts of

   the French Republic, if future circumstances so require.

   III.   CONCLUSION

          This Court, in the spirit of comity and reciprocity, hereby requests international judicial

   assistance in the form of this Letter of Request seeking information, testimony, and things

   described herein, from the Ministry of Justice. This Court extends to all judicial and other

   authorities of the French Republic the assurances of its highest consideration.




   Date: ________________                       __________________________________
                                                The Honorable Alison J. Nathan
                                                United States District Court for the
                                                Southern District of New York
                                                Thurgood Marshall United States Courthouse
                                                500 Pearl Street, Room 1620
                                                New York, New York 10007-1312

                                                SEAL OF THE UNITED STATES DISTRICT
                                                COURT FOR THE SOUTHERN DISTRICT OF
                                                NEW YORK




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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

                                                     )
   CF 135 FLAT LLC, CF 135 WEST                      )
   MEMBERS LLC and THE CHETRIT GROUP,                ) Case No. 15-cv-05345-AJN
   LLC,                                              )
                                                     )
                          Interpleader Plaintiffs,   )
                                                     )
                    -against-                        ) AMENDED CROSSCLAIMS
                                                     )
   TRIADOU SPV S.A., CITY OF ALMATY, a               )
   foreign city, and BTA Bank,                       )
                                                     )
                        Interpleader Defendants.     )
                                                     )
                                                     )
                                                     )
   CITY OF ALMATY, KAZAKHSTAN and                    )
   BTA BANK,                                         )
                                                     )
                           Crossclaim Plaintiffs,    )
                                                     )
                    -against-                        )
                                                     )
                                                     )
   MUKHTAR ABLYAZOV, VIKTOR                          )
   KHRAPUNOV, ILYAS KHRAPUNOV,                       )
   TRIADOU SPV S.A., AND FBME BANK                   )
   LTD.,                                             )
                                                     )
                        Crossclaim Defendants.       )
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           Crossclaim Plaintiffs City of Almaty (“Almaty”) and BTA Bank (“BTA” or “BTA Bank,”

   and together with Almaty, the “Kazakhstan Plaintiffs”), by and through their undersigned

   counsel, for the Kazakhstan Plaintiffs’ crossclaims against Defendants Triadou SPV S.A., Viktor

   Khrapunov, Mukhtar Ablyazov, Ilyas Khrapunov, and FBME Bank Ltd. (collectively the

   “Ablyazov-Khrapunov Group”) allege as follows:

                                          INTRODUCTION

           1.      Joseph Chetrit (“Chetrit”) is a well-known New York based real estate developer,

   who, along with crossclaim defendants Mukhtar Ablyazov (“Ablyazov”), Victor Khrapunov, Ilyas

   Khrapunov and others known and unknown, combined, conspired, and confederated in the

   commission of an international scheme to launder and conceal at least $40 million stolen from the

   Kazakhstan Plaintiffs. Chetrit conspired with these international criminals by, among other

   things, partnering with Triadou SPV S.A. (“Triadou”), a nominee entity owned, controlled, and

   funded by the Ablyazov-Khrapunov Group, for the purposes of converting the stolen funds into

   valuable New York City real estate.

           2.      BTA, a bank based in Almaty, Kazakhstan, seeks to regain assets looted by its

   former Chairman, Mukhtar Ablyazov, who abused his position to enrich himself and treat BTA as

   his personal property. BTA has commenced and successfully obtained judgments in proceedings

   against Ablyazov in the courts of the United Kingdom for defrauding BTA Bank of no less than

   $4 billion.

           3.      Almaty, the largest city in the Republic of Kazakhstan, seeks to regain assets

   looted by its former mayor, Victor Khrapunov (“Khrapunov”), and his family and co-

   conspirators, to be returned for the benefit of the people of Almaty. Khrapunov abused and

   corrupted his position as the mayor of Almaty for the purposes of embezzlement, fraudulent self-


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   dealing, and blatant looting of public assets. He reaped an estimated $300 million or more

   through various fraudulent activities, including rigged auctions, the improper sale of public

   property to friends and co-conspirators, and fraudulent abuse of eminent domain powers, before

   fleeing Kazakhstan and secreting these stolen funds across the globe.

           4.       The Khrapunovs and Ablyazov, both fighting law enforcement investigations and

   asset seizures by Kazakh authorities, joined forces and commingled their stolen funds. Through

   joint investments across the globe, the two renegade families combined and conspired to launder

   their illicit wealth into real estate, energy assets, and other investments in locales they deemed

   safe from seizure. Ilyas Khrapunov, related by marriage to Ablyazov, helped orchestrate these

   efforts and steered the families’ joint investments into assets within this Court’s jurisdiction.

           5.       The Ablyazov-Khrapunov Group’s money laundering schemes relied heavily on

   the cooperation of officers within FBME Bank, Ltd (“FBME”), a Tanzanian-incorporated

   financial institution operating primarily out of the Republic of Cyprus. Until 2014, FBME had

   long been known as a financial institution open for business to money launderers and international

   criminals. FBME joined the Ablyazov-Khrapunov Group’s money laundering conspiracy by

   knowingly aiding the Ablyazov-Khrapunov Group’s members in hiding and laundering funds and

   evading asset freezes and investigations. In 2014, FBME was designated a “foreign financial

   institution of primary money laundering concern” and effectively banned from the legitimate

   international financial system by the Financial Crimes Enforcement Network (“FinCEN”) of the

   U.S. Department of the Treasury, a decision subsequently described by FBME as a “death

   sentence.”

           6.       Collectively, the Ablyazov-Khrapunov Group has been the subject of numerous

   proceedings and investigations across the globe, arising from their theft of billions of dollars from




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   entities and municipalities in the Republic of Kazakhstan. They have sought to hide their stolen

   wealth from investigators and law enforcement through a vast network of shell corporations and

   outwardly-legitimate investments, including major New York real estate developments such as the

   Flatotel and Cabrini Medical Center condominium conversions. Through these investments, the

   Chetrit Group allied itself with the Ablyazov-Khrapunov Group and their global money laundering

   endeavor.

              7.    The Ablyazov-Khrapunov Group laundered their ill-gotten assets through a

   number of shell corporations, including Triadou. With the help of Chetrit and the Chetrit Group,

   the Ablyazov-Khrapunov Group parked these corrupt assets in New York City real estate,

   hoping to avoid the scrutiny of escalating international investigations into the Ablyazov-

   Khrapunov Group’s illicit activities.

              8.    Due to heavy scrutiny by international law enforcement, including criminal

   investigations by the Kazakh and Swiss authorities, the funds that the Ablyazov-Khrapunov

   Group, through Triadou, invested into the Flatotel and Cabrini Medical Center projects could not

   pass through legitimate banking channels. The Crossclaim Defendants devised a plan to

   circumvent legitimate banks and transfer funds directly from the Ablyazov-Khrapunov Group’s

   offshore accounts with FBME to the escrow account of the Chetrit Group’s long-time attorneys.

              9.    In return for facilitating the Ablyazov-Khrapunov Group’s money laundering

   scheme, the Chetrit Group got access to the stolen funds to fund its real estate projects, and

   entered into deals that entitled the Chetrit Group to a disproportionate share of the projects’

   profits.

              10.   Due to concern that he was partnering with reputed international criminals,

   however, Chetrit conducted his communications with the Ablyazov-Khrapunov Group by using



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   code names. For example, Chetrit used code names such as “Jose” and “Pedro” to refer to and

   communicate with crossclaim defendant Ilyas Khrapunov. It was only in face-to-face meetings,

   many of which were secretly recorded, that Ablyazov’s involvement, legal difficulties and

   incarceration were openly discussed.

          11.      Ultimately, Almaty and BTA Bank were able to trace the stolen assets to the

   United States. Rather than let Almaty and BTA reclaim their rightful property, the Ablyazov-

   Khrapunov Group, through Triadou, began to urgently liquidate their real estate holdings,

   hoping to spirit their illicit funds to more permissive locales. In an attempt to monetize the

   Ablyazov-Khrapunov Group’s real estate interests as quickly as possible, Triadou entered into a

   fraudulent, below-market assignment with the Chetrit Group for Triadou’s principal New York

   assets, interests in the Flatotel and Cabrini Medical Center real estate developments.

          12.      Specifically, in May 2014, the City of Almaty filed an action in federal court in

   California against members of the Ablyazov-Khrapunov Group. With the Kazakhstan Plaintiffs’

   collection efforts having expanded to the United States, and with the Ablyazov-Khrapunov Group

   in imminent danger of having its stolen assets seized or attached, the Ablyazov-Khrapunov

   Group, through Triadou, took immediate steps to liquidate its U.S. assets and move its money

   offshore again. The Chetrit Group’s assistance was essential to placing the stolen assets out of the

   reach of the Kazakhstan authorities.

          13.      Upon information and belief, Chetrit seized on this opportunity to double cross

   his co-conspirators. Understanding that the potential asset seizures or restraints put the Ablyazov-

   Khrapunov Group in a desperate situation, he devised scheme to acquire Triadou’s investments

   for a fraction of their value. To achieve this result, Chetrit bribed Triadou’s Director to drive

   down the purchase price of the assignment. The Chetrit Group ultimately succeeded in acquiring




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   Triadou’s interest in both the Flatotel and Cabrini properties for as little as $26,000,000.00 — far

   less than even what Triadou had originally invested — at a time when real estate values in New

   York were at an all-time high.

          14.      Almaty and BTA Bank now seek, among other relief, to unwind and recover the

   proceeds of these fraudulent transactions. Doing so will hold the Crossclaim Defendants liable

   for their corruption and fraud, and return the full value of Triadou’s New York assets to their

   rightful owners: BTA Bank and the City of Almaty.

                                            THE PARTIES

          15.      Crossclaim plaintiff Almaty is a legal subdivision of the Republic of Kazakhstan.

   Almaty is the former capital of the country, and continues to be the largest city in the Republic of

   Kazakhstan, with more than 1.5 million residents.

          16.     Crossclaim plaintiff BTA Bank is a Joint Stock Company and Kazakhstan bank

   with its headquarters in Almaty, Kazakhstan. Until in or about September 2014, BTA Bank was

   majority owner and controlled by the Republic of Kazakhstan.

          17.     Crossclaim defendant Triadou SPV S.A. is a special purpose investment vehicle

   incorporated under the laws of Luxembourg, with a principal place of business at 3, Rue du

   Mont-Blanc, 1201 Geneva, Switzerland. Triadou SPV S.A. is wholly-owned by SDG Capital

   S.A.

          18.     Crossclaim defendant Viktor Khrapunov, an individual, is the former Mayor of

   the City of Almaty, who, upon information and belief, currently resides in the city of Geneva,

   Switzerland.

          19.     Crossclaim defendant Mukhtar Ablyazov, an individual, is the former Chairman

   of BTA Bank and has been found liable for defrauding BTA of in excess of $6 billion. Ablyazov



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   was the subject of eleven proceedings commenced by BTA Bank in the United Kingdom to

   recover assets Ablyazov stole. During those proceedings, Ablyazov was found by multiple

   international courts to have lied, misled, misconstrued, and concealed assets in blatant disregard

   of Court orders, and was ordered imprisoned for 22 months. During these proceedings,

   Ablyazov fled the United Kingdom to avoid the many judgments against him. He is currently

   incarcerated in France pending extradition to Russia or Ukraine.

          20.      Crossclaim defendant Ilyas Khrapunov, an individual, is the son of Viktor

   Khrapunov, as well as the former president of SDG Capital S.A., who, upon information and

   belief, currently resides in the city of Geneva, Switzerland. Ilyas Khrapunov is married to

   Ablyazov’s daughter, Madina.

          21.      Crossclaim defendant FBME Bank Ltd. is a financial institution headquartered in

   Dar es Salaam, Tanzania and operating primarily out of Cyprus. FBME is jointly owned

   by Ayoub-Farid Saab and Fady Saab, but is currently controlled and administered by

   representatives of the Central Bank of Cyprus.

                                   JURISDICTION AND VENUE

          22.       The Crossclaims are brought under Rule 13 of the Federal Rules of Civil

   Procedure. This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 18 U.S.C. §

   1964(c) over the claims for relief alleging violations of the federal Racketeer Influenced and

   Corrupt Organizations Act (“RICO”), 18 U.S.C. §§ 1961 et seq. and for conspiracy to violate

   RICO. This Court has supplemental jurisdiction over the sixth through thirteenth claims for

   relief pursuant to 28 U.S.C. § 1367, as those claims are substantially related to Almaty’s and

   BTA Bank’s claims under RICO and arise from a common nucleus of operative facts, and thus

   they form part of the same case or controversy under Article III of the United States

   Constitution.


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           23.      Alternatively, this Court has supplemental jurisdiction over Almaty’s and BTA

   Bank’s claims under 28 U.S.C. § 1367, as those claims are substantially related to the original

   interpleader suit brought by Chetrit and arise from a common nucleus of operative facts, and thus

   they form part of the same case or controversy under Article III of the United States

   Constitution.

           24.      Alternatively, the City of Almaty is a “foreign state” as that term is defined in 28

   U.S.C. § 1603, and this Court has jurisdiction over Almaty’s and BTA Bank’s claims under 28

   U.S.C. §§ 1330, 1441(d), which provide for the removal of any civil action brought in a State

   court against a foreign state.

           25.      Alternatively, this Court has diversity jurisdiction under 28 U.S.C. § 1332(a)

   because at the time this action was filed (i) there was complete diversity of citizenship between

   the parties, and (ii) more than $75,000, exclusive of interest and costs, is at stake.

           26.      Venue is proper in this District and before this Court pursuant to 28 U.S.C.

   § 1391(b)(2) because events giving rise to Almaty’s and BTA Bank’s claims occurred in this

   District, including, among other things, the negotiation, investment and subsequent transfer of

   interest in the Flatotel and Cabrini Medical Center properties located in New York, New York.

           27.      This Court has personal jurisdiction over Triadou, Ablyazov, Viktor Khrapunov,

   Ilyas Khrapunov, and FBME because each of them knowingly committed acts in New York that

   form the basis of this action, directed or conspired with others to commit acts in New York,

   and/or purposely availed themselves of the privileges of doing business in New York, as fully set

   forth herein.




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                                    FACTUAL BACKGROUND

          Mukhtar Ablyazov Defrauded BTA Bank of in Excess of $6 billion.

          28.      Ablyazov was the Chairman of BTA Bank from May 2005 until February 2009.

   He is the father-in-law of crossclaim defendant Ilyas Khrapunov, who is married to Ablyazov’s

   daughter, Madina. Along with crossclaim defendant Viktor Khrapunov, Ablyazov is a central

   member of the Ablyazov-Khrapunov Group money laundering and embezzlement conspiracy.

          29.      As the Courts of the United Kingdom have found, while Chairman of BTA Bank,

   Ablyazov exercised virtually unfettered control over the bank’s operations while hiding that

   control from Kazakhstan’s banking regulators, and used this influence to treat BTA’s assets as his

   own. As Justice Teare of the High Court of England and Wales (Commercial Court) found:

          [P]rior to the nationalisation of the Bank in February 2009, Mr. Ablyazov admitted
          to owning over 75% of the shares in the Bank. Those shares were not held by Mr.
          Ablyazov personally but by nine companies on his behalf. However, Mr. Ablyazov
          did not admit that ownership to the AFN, the banking regulator in Kazakhstan. In
          January 2009, shortly before the nationalisation of the Bank, the AFN requested
          Mr. Ablyazov to state whether he owned more than 10% of the shares in the Bank.
          He replied on 19 January 2009 that he did not own directly or indirectly more than
          10% of the shares in the Bank. That statement was untrue.
          ...
          Banks in Kazakhstan tend to be operated in a different manner from that in which
          they are typically operated in the West. It is common for banks to be owned by a
          single shareholder who is both chairman of the board of directors and also closely
          involved in the management of the bank. He therefore has considerable influence
          over the operation of the bank. Mr. Ablyazov’s relationship with the Bank
          conformed with this general description of Kazakh banking practice. Thus Mr.
          Talvitie, the independent member of the Board of Directors of the Bank from East
          Capital, gave evidence that it seemed to him that at board meetings Mr. Ablyazov
          had already made the decisions. He described the other members of the board as
          “straw men”. Others in the Bank, below board level, had the same impression.
          Thus Ms. Tleukulova (a member of the Credit Committee) gave evidence in
          Russia in 2012 that “all top managers of the bank, including Board Members, have
          to obey him”. Mr. Khazhaev also gave evidence in Russia in 2012 that Mr.
          Ablyazov was “the main” person in the Bank who controlled the granting of the
          largest and most important loans. Mr. Ablyazov’s control of the Bank is illustrated
          by his issue of an order (“the Ablyazov Order”) whereby he, as Chairman,
          amended certain procedural rules governing the grant of loans.


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           ...
          [O]fficers and staff in the Bank did not draw a clear distinction between the Bank
          having an interest in a project and Mr. Ablyazov, as shareholder in the Bank,
          having a personal interest in a project. Thus [Deputy Chairman] Zharimbetov,
          when being crossexamined, failed to draw a clear distinction, in the context of the
          offshore companies with which he dealt, between Mr. Ablyazov and the Bank.
          Thus the unfortunate reality appears to have been that little, if any, distinction was
          drawn by personnel in the Bank between the Bank’s property and Mr. Ablyazov’s
          property. The Vitino port project was an example of that reality. Mr. Khazhaev
          told a Russian court in 2012 that Mr. Ablyazov treated the Bank as his property.

          30.      Ablyazov’s abuse of his position as chairman took many forms, principally

   through enormous loans to valueless entities owned by Ablyazov, which would then be obscured

   by transfers among different shell corporations, and never repaid.

          31.      For example, in one series of loans (referred to as the “Original Loans” by the UK

   court in the “Granton Action”), between March 2006 and August 2008, Ablyazov directed twenty

   loans totaling $1,428,840,000 to entities with minimal assets and for no apparent reason. These

   loans were made to entities outwardly unaffiliated with Ablyazov (“Original Borrowers”), but

   were actually transferred to entities controlled by Ablyazov (“Original Real Borrowers”). As the

   UK court found:

          Mr. Ablyazov did not disclose to the Board that he owned or controlled those
          [Original] Borrowers. He has never claimed that he did so and there is no evidence
          that he did. None of the represented Defendants has suggested that he did. In those
          circumstances there can be only one explanation for the fact that the very large
          sums of money which were advanced were immediately transferred to companies
          owned or controlled by Mr. Ablyazov, namely, that the Original Loans were part
          of a dishonest scheme whereby Mr. Ablyazov sought to misappropriate monies
          which belonged to the Bank. The scheme was fraudulent because Mr. Ablyazov
          did not disclose to the Board his interest in the Original Borrowers or that the real
          purpose of the loans was to pay out the Bank's money to the Original Real
          Borrowers who were to use the monies for Mr. Ablyazov’s purposes. The purpose
          of such nondisclosure must have been to deceive the Board so that it remained in
          ignorance of the “related party” nature of the Original Loans and of their true
          purpose.

          32.      When, in or about 2008, Ablyazov’s involvement in the Original Loans was in


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   danger of discovery, he directed that additional fraudulent loans be made in an attempt to cover up

   his earlier fraud.

           33.      Between November 4, 2008, and December 4, 2008 a number of loans (the “Later

   Loans”) totaling $1,031,263,000 were made, ostensibly for the purchase of oil and gas resources.

   The UK court, however, found it “beyond argument” that these loans of BTA funds were made

   only to hide Ablyazov’s earlier theft:

           The Later Loans were made between 5 November and 8 December 2012 but they
           were paid out, not to the Later Borrowers, but to Intermediaries who paid them on
           to other companies, the Recipients, who in turn paid them to the Bank in apparent
           discharge of the Original Loans. They were not used for the purchase of oil and
           gas equipment. Documents said to support and evidence the Later Loans were
           created after the monies had been paid out by the Bank but backdated. Thus
           contracts for the purchase of oil and gas equipment supposedly by the Later
           Borrowers were still being prepared in late November 2008 and backdated to 23
           October 2008.
            ...
           Expert evidence as to the oil and gas industry was adduced by the Bank to
           establish that the oil and gas contracts were shams because of the lack of specific
           provisions which would be appropriate for contracts of their size. But such
           evidence was unnecessary. The email evidence shows that the contracts were
           prepared by persons within the Bank.
             ...
           It is beyond argument that the Later Loans were a mere cloak which sought to hide
           from view the reality, which was that money was being extracted from the Bank
           for the purpose of paying back the Original Loans. Since this circular exercise
           benefitted Mr. Ablyazov (because he owned or controlled the Original Borrowers)
           it is also clear that he must have orchestrated or, at the least, authorised this fraud.

           34.      As a result of Ablyazov’s siphoning billions out of the company, in 2009, BTA

   Bank defaulted on billions of dollars of debt held by investors including Credit Suisse Group AG,

   HSBC Holdings Plc, JPMorgan Chase & Co. and Royal Bank of Scotland Group Plc.

   Kazakhstan’s sovereign wealth fund, Samruk-Kazyna, was forced to take control of BTA Bank,

   and Ablyazov fled to London.




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           35.     BTA then commenced the first in a series of lawsuits against Ablyazov, claiming

   that he had misappropriated approximately $295,000,000 pursuant to this fraudulent scheme.

   Other proceedings followed against Ablyazov in the Chancery Division and England High Court.

   In every proceeding, BTA alleged (and ultimately proved) that Ablyazov treated BTA as his own

   private source of funds. In all, BTA commenced eleven proceedings against Ablyazov and his

   lieutenants for defrauding BTA in excess of $6 billion. The UK courts took the unprecedented

   legal step of granting BTA a Worldwide Freezing Order over Ablyazov’s assets.

           36.     As part of these UK proceedings, in late 2010 BTA obtained a number of search

   and disclosure orders that uncovered a vast network of undisclosed companies and assets used by

   Ablyazov to hold and invest his stolen wealth. The UK courts ordered Ablyazov’s assets to be

   put in the receivership of the accounting firm KPMG (the “Receivership Order”), finding that

   Ablyazov had breached various disclosure and freezing orders against him. The Receivership

   Order gave the receiver the right to recover a network of many hundreds of entities, worth billions

   of dollars.

           37.     On January 26, 2011, a further 212 companies were added to the scope of the

   Receivership Order and on April 8, 2011, a further 3,890 companies were added.

           38.     After Ablyazov defied the Receivership Order entered by the UK courts, BTA

   obtained judgments and sanctions against him for, among other acts, flaunting court orders,

   fleeing and hiding from judicial proceedings, lying during proceedings, and refusing to comply

   with orders directing him to uncover assets. For his numerous actions in contempt of court,

   Ablyazov was sentenced to 22 months imprisonment for his conduct.

           39.     On February 16, 2012, despite having promised the court his attendance at his

   contempt hearing, Ablyazov did not appear. Ablyazov left behind a 100-acre estate in the English



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   countryside and a London mansion, valued at least 20 million pounds sterling (approximately $31

   million) each, and no fewer than 750 shell companies used to invest his stolen funds in oil

   production, property development, and agriculture.

            40.    On November 6, 2012, the Court of Appeal unanimously upheld the judgments

   and contempt orders against Ablyazov. Concurring in the judgment, Lord Justice Maurice Kay

   stated that it was “difficult to imagine a party to commercial litigation who has acted with more

   cynicism, opportunism and deviousness towards court orders than Mr. Ablyazov.”

            41.    Following Ablyazov’s flight from justice, BTA has been granted judgments in 5

   of the 11 claims against Ablyazov and his associates, with others still pending, and has been

   awarded over $4 billion in damages by the UK courts, with interest continuing to accrue. (the

   “Ablyazov Judgments”).

            42.    After a global search spearheaded by BTA Bank, French special forces found and

   arrested Ablyazov in a luxury villa in France on July 31, 2013. He remains detained in a French

   prison pending extradition, and the courts of France have refused to release him on bail three

   times.

            43.    Following Ablyazov’s capture and imprisonment, through his counsel and other

   channels, Ablyazov remained in regular communication with his son-in-law, Ilyas Khrapunov,

   who assumed operational control of much of Ablyazov’s money laundering operations and, in

   concert with Ablyazov and Viktor Khrapunov, has continued the Ablyazov-Khrapunov Group’s

   combined efforts to hide their wealth.

            44.    Ilyas Khrapunov’s continuing role in facilitating the Ablyazov-Khrapunov

   Group’s money laundering efforts was confirmed on July 17, 2015, when Justice Males of the

   Commercial Division of the Queen’s Bench of the U.K. High Court of Justice expanded the


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   freezing order against Ablyazov to encompass specified assets of Ilyas Khrapunov. In response to

   the disclosure obligations imposed by the freezing order, Ilyas Khrapunov invoked his privilege

   against self-incrimination.

           Viktor Khrapunov Defrauded the City of Almaty of Approximately $300 million.

           45.        In 1991, the Republic of Kazakhstan declared its independence from the former

   Soviet Union and began the process of transitioning from communism to an open market

   economy. This transition required substantial privatization of vast state assets in order to restart

   the nation’s economy and raise revenue for improvements to the nation’s infrastructure and

   public services.

           46.        Viktor Khrapunov became mayor of the City of Almaty on or about June 16,

   1997, and remained in that position until approximately December 2004. At the time Viktor

   Khrapunov took office, the Republic of Kazakhstan was experiencing the beginning of a natural

   resources boom and accompanying drive for investment, infrastructure upgrades, and new

   construction. Almaty was the nation’s former capital and largest city, and held enormous public

   assets remaining to be privatized and developed, a responsibility which the office of the mayor

   oversaw and directed.

           47.        Before Viktor Khrapunov assumed the office of the mayor of Almaty, he took an

   oath of office to obey the Constitution and laws of the Republic of Kazakhstan. Among other

   things, he expressly and impliedly promised that he would uphold his fiduciary duties to the

   people of Almaty, would honor his obligation to provide honest services, and would not convert

   money, property, or assets belonging to the City of Almaty for his own use or that of his family,

   friends, or associates.

           48.        In reality, Viktor Khrapunov, along with his son, Ilyas Khrapunov, and other




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   Khrapunov family members and co-conspirators, almost immediately began a multi-year scheme

   to enrich themselves through the corrupt abuse of Khrapunov’s public position as mayor.

          49.      Viktor Khrapunov repeatedly and systemically used the powers of the office of

   the mayor to transfer public assets belonging to the City of Almaty to his family and their co-

   conspirators for prices that were a fraction of their fair value. This was often achieved by

   arranging fraudulent auctions to ensure that interested bidders won these assets at nominal

   prices. In other instances, Viktor Khrapunov used the eminent domain powers of the office of

   the mayor to seize private property ostensibly for the City of Almaty, but then promptly

   transferred that property to entities owned or controlled by the Khrapunovs. They would then

   pass these assets through a series of shell or holding corporations to conceal the destination of

   these assets, before reselling them for prices an order of magnitude greater than what they had

   paid the City of Almaty.

          50.      Three examples of these corrupt schemes to subvert and acquire the public

   property of the City of Almaty follow:

          Transaction One

          51.      In or about 2000, Viktor Khrapunov used his position as mayor of Almaty to

   transfer a large tract of state-owned land near the two rivers area of Almaty to his spouse and co-

   conspirator, Leila Khrapunov, for a total price of approximately $121,000. The final recipient of

   this transfer was concealed through a series of fraudulent transactions and front companies

   controlled by the Khrapunovs. The Khrapunovs ultimately resold this parcel of real estate for an

   estimated $15.57 million, a more than $15 million profit on one interested transaction.

          52.      In short, the Khrapunovs paid approximately $121,000 for a parcel of public real

   estate which they later resold for a total of $15.57 million; a 128,000 percent profit.




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           Transaction Two

           53.      On or about April 16, 2001, Viktor Khrapunov used his position as mayor to

   cause a public building in Almaty to be sold at a fixed and rigged public auction to KRI, a

   company owned by Leila Khrapunov, for approximately $347,000. The property was ultimately

   resold to an unrelated third party for approximately $4.1 million.

           Transaction Three

           54.       In addition to the sale of state-owned assets to Leila Khrapunov and other

   family members and co-conspirators, Viktor Khrapunov also abused his authority as mayor to

   enrich the Khrapunovs by seizing privately-owned property and transferring it to the Khrapunovs

   and others for resale. For example, on or about August 25, 2003, Viktor Khrapunov caused the

   City of Almaty to seize land owned by privately-owned third party Shadid Engineering LLP.

   Approximately one month later, he caused the property to be sold to Leila Khrapunov’s

   company, Karasha, for approximately $105,000. Leila Khrapunov then caused Karasha to sell

   the property directly to her, whereupon she transferred it to another company, BSC, and it was

   sold as part of BSC to an unrelated third party, in a transaction that valued the parcel at

   approximately $2 million. As a result, the Khrapunovs obtained nearly $1.9 million in

   unjustified profit.

           55.      In short, through similar transactions uncovered and still under investigation, the

   Khrapunovs are estimated to have illegally acquired at least 80 pieces of real estate, which they

   converted into approximately $300 million in illicit funds.

           The Khrapunovs and Ablyazov Join Together to Launder Their Stolen Money.

           56.      Seeking to avoid law enforcement attention and possible seizure of this ill-gotten

   wealth, the Ablyazov-Khrapunov Group funneled their corrupt assets into real estate and

   development entities located in, among other places, the United States and Switzerland.


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          57.       Among other locations, the Ablyazov-Khrapunov Group transferred their stolen

   funds to Switzerland, where Ilyas Khrapunov and Madina Ablyazov reside, using accounts and

   sham entities owned or ultimately controlled by the Ablyazov-Khrapunov Group. The

   Ablyazov-Khrapunov Group ultimately transferred to Switzerland hundreds of millions of

   dollars, moved out of Kazakhstan by Viktor Khrapunov and laundered through offshore holding

   companies to appear legitimate.

          58.      Seeking to hide the proceeds of their frauds, the Ablyazov-Khrapunov Group

   created a series of entities in Switzerland and overseas to launder these illicit funds into

   outwardly-legitimate investments. One such entity was Swiss Development Group, formally

   SDG Capital S.A., formed and controlled by Ilyas Khrapunov for the benefit of the Ablyazov-

   Khrapunov Group. Between 2008 and 2012, the Ablyazov-Khrapunov Group and sham

   companies they controlled funneled at least $115 million into SDG derived from the Ablyazov-

   Khrapunov Group’s self-dealing and fraud.

          59.      Through these foreign investment vehicles, the Ablyazov-Khrapunov Group

   sought to obscure their wealth from law enforcement in the Republic of Kazakhstan and abroad,

   by maintaining the appearance of a modest family of civil servants.

          60.      The Ablyazov-Khrapunov Group took numerous steps to maintain this facade

   and conceal their looting of the City of Almaty’s public assets from authorities. Among other

   schemes, Viktor Khrapunov regularly filed false annual tax returns with Kazakhstan's taxation

   authority, the Tax Committee of the Ministry of Finance of Kazakhstan. The false returns

   concealed millions of dollars in monies, properties, and assets the Ablyazov-Khrapunov Group

   had acquired and laundered through their corrupt enterprise.

          61.      For example, according to their 2007 tax returns, which required Viktor and



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   Leila Khrapunov to list their entire net worth accumulated through all sources as of December

   31, 2007, Viktor Khrapunov reported a combined net worth equivalent to $113,298, in addition

   to three vehicles, five modest pieces of real estate, and two parking stalls. While claiming to

   have a total net worth of less than $120,000, Viktor Khrapunov had in fact amassed a fortune

   estimated at no less than $300 million. Indeed, according to public news reports, in 2009 Viktor

   Khrapunov was one of the richest people in Switzerland with a fortune of over $300 million.

   Similarly, in 2012 Viktor Khrapunov was again listed among Switzerland's 300 richest people,

   with a fortune estimated at $324– $432 million.

          The Ablyazov-Khrapunov Group’s Corruption is Exposed and Investigations Begin in
          Kazakhstan and Switzerland

          62.      In late 2007, Viktor Khrapunov was tipped off that the Kazakh government had

   begun investigating the financial dealings of the Ablyazov-Khrapunov Group and their

   associates for a range of criminal acts and self-dealing. In anticipation of possible criminal

   charges, on or about November 9, 2007, Viktor and Leila Khrapunov boarded a private jet and

   fled Kazakhstan for Switzerland, where Ilyas Khrapunov and Madina Ablyazov resided, and the

   bulk of their looted funds were held.

          63.       On or about May 27, 2011, the Investigation Department of the Agency for

   Economic and Corruption-Related Crimes of Kazakhstan (the “Investigation Department”) filed

   two criminal cases against Viktor Khrapunov for abuse of power and fraudulent acts, and on or

   about July 21, 2011, obtained a court-ordered arrest warrant for Viktor Khrapunov. Through

   2011 and 2012 additional charges were brought in Kazakhstan against Viktor, Leila, and Ilyas

   Khrapunov, arising from the theft of public property and the ultimate laundering of funds during

   Viktor Khrapunov’s tenure as Mayor of Almaty.

          64.      On or about February 20, 2012 and September 14, 2012, the Investigation


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   Department applied to the Federal Office of Justice in Switzerland for legal assistance in

   connection with the effort to prosecute Viktor, Leila, and Ilyas Khrapunov for crimes in

   Switzerland and Kazakhstan relating to their corrupt acts in Almaty and the laundering of the

   resulting funds. In response to this request, in mid-2012 the Public Prosecutor of Geneva opened

   an investigation into the Ablyazov-Khrapunov Group on suspicion of violating Swiss money

   laundering laws. The Public Prosecutor of Geneva subsequently seized financial and banking

   documents from the Ablyazov-Khrapunov Group and ordered Swiss accounts and assets

   belonging to them be frozen, including accounts held at Swiss banks Sarasin & Co. Ltd., Credit

   Suisse, and Schroeder & Co. This investigation by the Swiss authorities is ongoing, and in

   August 2013 the Public Prosecutor of Geneva froze additional assets belonging to the Ablyazov-

   Khrapunov Group.

          65.      At this time, in addition to the numerous judgments against Ablyazov in the

   United Kingdom, there are no less than 24 criminal charges pending against Viktor Khrapunov

   in Kazakhstan for embezzlement, fraud, money laundering, establishing and directing an

   organized criminal group for criminal purposes, abuse of power, and bribery. There are

   additional charges pending against Leila Khrapunov and Ilyas Khrapunov in Kazakhstan for,

   among other offenses, money laundering and establishing and directing an organized criminal

   group for criminal purposes. Assets of the Ablyazov-Khrapunov Group remain frozen by Swiss

   authorities, and the Government of the Republic of Kazakhstan has formally requested

   extradition of Viktor Khrapunov.

          66.      Despite the numerous investigations and freezing orders against the members of

   the Ablyazov-Khrapunov Group, the conspirators continue to launder their commingled stolen

   wealth through acts of fraud and in furtherance of the conspiracy.




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          67.      As one example, from 2011 through the present, members of the Ablyazov-

   Khrapunov Group, including Ilyas Khrapunov and Ablyazov himself, conspired to fund

   Ablyazov’s widespread global legal campaign with laundered funds, despite global freezing and

   receivership orders against Ablyazov’s assets.

          68.      In May of 2011, two entities that Ablyazov had been using to fund his various

   litigations were put in receivership, based on findings that they were not arms-length lenders, but

   in fact controlled and funded by Ablyazov himself. Deprived of a funding source, Ablyazov

   conspired with other members of the Ablyazov-Khrapunov Group to circumvent the receivership

   and freezing orders against him and began funding his litigation – including litigation against the

   Republic of Kazakhstan – through loans from a series of shell companies, including the Belizean-

   registered entity Green Life International SA (“Green Life”).

          69.      The conspirators represented to the U.K. receivers and courts that Green Life was

   an arms-length entity owned and funded by Gennady Petelin, but did not disclose that Petelin was

   related by marriage to the Ablyazov and Khrapunov families.

          70.      In fact, Green Life was one more in a long series of shell entities used by the

   Ablyazov-Khrapunov Group to launder their stolen funds. At Ablyazov’s direction, Ilyas

   Khrapunov and other members of the Ablyazov-Khrapunov Group transferred millions of dollars

   in funds from accounts controlled by the Ablyazov-Khrapunov Group through Petelin and Green

   Life to Ablyazov’s counsel. To obscure this scheme, all funds were transferred from Green Life to

   Chabrier Avocats, the Swiss counsel for the Khrapunov family and SDG, before being paid to

   Ablyazov’s counsel.

          71.      Using Petelin’s name to deter suspicion, the conspirators were able to launder and

   spend millions of dollars in stolen funds that should rightly have been placed in receivership.




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          72.       The use of Petelin as a front for Ablyazov shell corporations such as Green Life

   was based in part on the close relationship between Petelin and Viktor Khrapunov. Viktor

   Khrapunov, whose daughter is married to Petelin’s son, collaborated with Petelin on investments

   of the Ablyazov-Khrapunov Group’s funds in Russia, where Petelin resided and had an extensive

   network of contacts. For example, in 2013, Viktor Khrapunov engaged in discussions with Petelin

   for the purpose of utilizing Petelin’s contacts in Russia to facilitate the investment of the

   Ablyazov-Khrapunov Group’s funds in Russian oil and energy assets.

          73.       As another example of the Ablyazov-Khrapunov Group’s continuing operations,

   members of the Ablyazov-Khrapunov Group hired computer hackers to illegally surveil French

   prosecutors and other public officials in an effort to free Ablyazov from French prison.

          74.       Ablyazov was arrested by French special forces in 2013 after fleeing the U.K.,

   but has remained in continuous contact with his coconspirators during his imprisonment. During

   his incarceration, Ablyazov directed his coconspirators, and his son-in-law Ilyas Khrapunov in

   particular, to use an array of unlawful means to secure his release.

          75.       At Ablyazov’s direction, in 2013 Ilyas Khrapunov hired a “black hat” computer

   security group to hack into the personal and work communications of numerous French public

   officials, including the prosecutors in Ablyazov’s French extradition proceedings. Without

   permission and in violation of law, these hackers successfully breached the computers and mobile

   phones of numerous French law enforcement and justice officials, intercepted their electronic

   communications, and installed malicious software permitting them to remotely activate the

   microphones on these public officials’ mobile phones to eavesdrop on and record their

   conversations. The hackers then transmitted French officials’ intercepted communications,

   including emails, text messages, documents, and photographs, to Ilyas Khrapunov, who shared




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   and discussed this illegally-obtained surveillance with Ablyazov himself. Ablyazov then used this

   information as part of his legal campaign to avoid extradition.

          76.      In return for this illegally-intercepted information, the Ablyazov-Khrapunov

   Group paid hundreds of thousands of dollars to these hackers-for-hire, from funds traceable to the

   thefts from BTA Bank and the City of Almaty.

          The Ablyazov-Khrapunov Group Conspires to Transfer and Hide Illicit Funds in the
          United States.

          77.      In 2011 and 2012, in response to escalating pressure on the Ablyazov-Khrapunov

   Group from both Kazakh and Swiss authorities and legal proceedings in the United Kingdom, the

   Ablyazov-Khrapunov Group embarked on a scheme to secret the families’ illicit wealth in real

   estate investments in the United States. Upon information and belief, the Ablyazov-Khrapunov

   Group selected the United States as a harbor for these stolen funds because they believed real

   estate investments in the United States would be difficult for Kazakh authorities to access.

          78.      To execute this scheme the Ablyazov-Khrapunov Group used SDG, their Swiss

   real estate vehicle, and Telford International Limited (“Telford”), a Dubai-based private

   contracting entity controlled by the Ablyazov-Khrapunov Group.

          79.      To create the appearance that SDG was independent of the Ablyazov-Khrapunov

   Group, in 2012 SDG was purportedly sold to a close friend and political ally of the Ablyazov-

   Khrapunov Group, Philippe Glatz. This sale was in fact a sham transaction, with the Ablyazov-

   Khrapunov Group maintaining beneficial ownership and control of SDG.

          80.      Upon information and belief, the Ablyazov-Khrapunov Group paid Mr. Glatz to

   purchase SDG using the Ablyazov-Khrapunov Group’s own funds: Glatz accepted a loan from

   the Ablyazov-Khrapunov Group and then repaid that loan while outwardly claiming that this

   payment to the Ablyazov-Khrapunov Group was for the purchase of SDG. In fact, the transfer


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   of SDG was illusory, as Mr. Glatz was merely repaying a prior obligation, and effectively getting

   SDG for free.

          81.      To reduce the amount of cash needed to effectuate this sham sale, Ilyas

   Khrapunov offered SDG to Glatz at an incredibly discounted price. Although at the time of the

   purported sale SDG’s assets were valued at approximately $150 million, Glatz only transferred

   approximately $3.5 million in cash to the Khrapunov family for SDG – roughly two percent of

   SDG’s assessed asset value.

          82.      To justify this incredible discount to asset value, Ilyas Khrpaunov used his control

   of SDG to falsely book millions of dollars in supposed debt and liabilities to hide the fraudulent

   nature of the transition he had orchestrated.

          83.      This sham transaction served the Ablyazov-Khrapunov Group’s purposes by

   creating the appearance that SDG had changed ownership, although the Ablyazov-Khrapunov

   Group received no net consideration for the purported sale, and Glatz was left beholden to the

   Ablyazov-Khrapunov Group and explicitly obligated to hold their interest in the investment.

          84.      The capital structure, organization, management, and illicit purpose of SDG

   remained the same after the purported sale, and the Ablyazov-Khrapunov Group still profits

   from and manages SDG’s operations. Ilyas Khrapunov continues to control SDG while holding

   himself out to be a mere “outside advisor” to the company, all the while protecting and reaping

   the benefits of the Ablyazov-Khrapunov Group’s investments in SDG.

          Through SDG, the Ablyazov-Khrapunov Group Creates Triadou to Hide their Illicit
          Funds in New York Real Estate Transactions with the Chetrit Group.

          85.      In or about 2011, Ilyas Khrapunov, on behalf of the Ablyazov-Khrapunov Group,

   approached Nicolas Bourg, a Belgium-based real estate fund manager, seeking to create a new

   entity controlled by SDG to mask the Ablyazov-Khrapunov Group’s efforts to invest in real



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   estate opportunities in the United States.

           86.     In consultation with Ilyas Khrapunov, Bourg formed a series of entities under the

   laws of Luxembourg for the specific purpose of investing the Ablyazov-Khrapunov Group’s

   funds in real estate in the United States. These entities included Triadou, an investment vehicle

   wholly owned and controlled by SDG, which was itself a front for the Ablyazov-Khrapunov

   Group’s activities.

           87.     Triadou is a special purpose vehicle: a limited-liability legal entity created to

   fulfill a specific purpose, often used to insulate a parent entity from financial risk or liability.

   SPVs can also be used, as Triadou was, to hide the true ownership of assets held by the SPV, or

   to obscure relationships between individuals and entities. Bourg became the sole director of

   Triadou, operating at the direction of the Ablyazov-Khrapunov Group, who continued to control

   SDG, Triadou’s sole shareholder.

           88.     At the direction of Ilyas Khrapunov, Bourg made contact with Eric Elkain, an

   agent of Chetrit and the Chetrit Group. Bourg and Elkain agreed to arrange a meeting between

   Chetrit and Ilyas Khrapunov for the purpose of exploring concealed investments by the

   Ablyazov-Khrapunov Group in the United States with the Chetrit Group.

           89.     In or about 2012, Chetrit and his brother and partner Meyer Chetrit met with Ilyas

   Khrapunov and Bourg in Geneva, Switzerland. While the Ablyazov-Khrapunov Group had

   purportedly divested itself of any interest in SDG by this time, Ilyas Khrapunov held himself out

   to Chetrit as having a controlling ownership interest in SDG.

           90.     At this meeting, Chetrit and Ilyas Khrapunov discussed possible investment

   strategies for the Ablyazov-Khrapunov Group in the United States real estate sector. In these

   discussions, Ilyas Khrapunov disclosed the fact that the Ablyazov-Khrapunov Group was facing



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   criminal charges and asset freezes directed by the governments of Kazakhstan, Switzerland, and

   the United Kingdom, and needed to move funds to other jurisdictions.      During the continuing

   course of his dealings with the Ablyazov-Khrapunov Group, this situation was repeatedly and

   unequivocally made clear to Chetrit. Specifically, the Ablyazov-Khrapunov Group needed to

   move funds that were the subject of criminal charges and asset freezes as a result of the

   proceedings both against Ablyazov and the Ablyazov-Khrapunov Group. Chetrit expressed

   sympathy with this situation, stating that his own family had faced political sanctions in his

   native Morocco, a result of having defrauded the King and being forced to flee. Chetrit and Ilyas

   Khrapunov agreed in principle to seek joint investments in the United States, and agreed to meet

   further.

              91.   Following this meeting in Geneva, Ilyas Khrapunov and Bourg met with Chetrit

   again in New York City, to evaluate potential investment options. While discussing specific

   investment opportunities, the parties again openly and repeatedly discussed the criminal charges

   against the Ablyazov-Khrapunov Group and the efforts of the governments of Switzerland and

   Kazakhstan to locate and seize the assets of the Ablyazov-Khrapunov Group. Again, Ilyas

   Khrapunov acted on behalf of SDG and Triadou, despite the Ablyazov-Khrapunov Group’s

   purported sale of SDG a year prior.

              92.   As a result of these discussions, the Ablyazov-Khrapunov Group invested,

   through Triadou, with Chetrit and the Chetrit Group in a number of real estate opportunities in

   New York City. The most significant of these were investments in the Flatotel and Cabrini

   Medical Center developments in New York City.

              93.   The Flatotel is a 289-room business hotel opened in 1991, located at 135 West

   52nd St, New York, New York.




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          94.     The Cabrini Medical Center hospital campus closed in 2008 and is now

   comprised of several buildings containing approximately 250 condominium units.

          95.     Both the Flatotel and the Cabrini Medical Center properties were purchased by

   members of the Chetrit Group, along with co-investors. The developers have been executing

   plans to convert both properties into luxury condominiums, and are close to completion.

          96.     The Chetrit Group owned a 75% interest in the Flatotel, and created a series of

   limited liability entities to hold that interest, including Counterclaim Defendants CF 135 FLAT

   LLC and CF 135 West Member LLC.

          97.     The Chetrit Group offered to sell half of their 75% investment in the Flatotel to

   Triadou, after which the Chetrit Group and Triadou would each own 37.5%. Triadou would

   provide 70% of the capital needed – against Chetrit’s 30%, the difference amounting to an

   above-market “promote fee” for Chetrit that ensured that the Chetrit Group would reap the

   largest profits from the Flatotel development, even as it put in the least capital – and the parties

   would then divide the profits from the investment. In or about March 25, 2013, Triadou

   accepted this offer, notwithstanding the fact that the terms strongly favored Chetrit, and

   committed to transmit funds to the Chetrit Group to secure the 37.5% interest in the Flatotel

   property.

          The Ablyazov-Khrapunov Group Enlists FBME to Facilitate Their Money Laundering
          Scheme in the United States

          98.     The Ablyazov-Khrapunov Group sought to fund Triadou’s investments with

   money from the Ablyazov-controlled entity Telford, held in accounts with FBME.

          99.     Telford’s FBME accounts were managed by Eesh Aggarwal, Chairman of Azure

   Consultants DMCC, and a close financial advisor to Ablyazov. Aggarwal had connected

   Ablyazov and other members of the Ablyazov-Khrapunov Group to FBME through Aggarwal’s


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   contacts with high-level officers at FBME, and in time FBME became one of the Ablyazov-

   Khrapunov Group’s primary banks. On information and belief, the conspirators favored FBME

   due to its presence inside of the European Union, its lack of anti-money laundering protections,

   and its eagerness to service high-risk clientele and shell corporations such as Telford.

          100.    FBME promoted its weak due diligence standards to attract high-risk, high-value

   clients just like the Ablyazov, and was known for its willingness to do business with clients

   seeking to avoid regulatory oversight. In particular, FBME relied on an “Approved Third Party”

   program, where FBME’s contacts could introduce new, high-value clients to the bank with

   virtually no due diligence of these new relationships. Upon information and belief, Aggarwal was

   one such “Approved Third Party,” and with the approval of certain FBME officers, was able to

   launder the Ablyazov-Khrapunov Group’s funds through FBME by way of entities such as the

   Ablyazov-controlled Telford, with effectively no scrutiny or due diligence by FBME.

          101.    FBME had a history of moving funds for Aggarwal and Ablyazov with no

   questions asked, which led the conspirators to favor FBME for their criminal schemes aimed at

   the United States. For example, on June 11, 2011, FBME executed more than $27 million in

   transfers of Ablyazov’s stolen funds to Amber Limited, a shell company registered in the U.A.E.

   (where Aggerwal operates) subsequently found to be an undisclosed Ablyazov asset and added to

   the U.K. courts’ freezing and receivership orders.

          102.    Telford’s accounts at FBME bank were used to covertly move and invest funds

   stolen by Ablyazov from BTA Bank. Because the Telford accounts consisted of Ablyazov’s

   stolen funds, Ilyas Khrapunov conferred with Ablyazov regarding investments of funds from

   Telford, and Ablyazov’s approval was required for transfers from Telford. Even after Ablyazov’s

   incarceration in France he remained in contact with his coconspirators, and while Ilyas




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   Khrapunov took operational control of much of the Ablyazov-Khrapunov Group’s network,

   Ablyazov continued to direct specific transfers of funds, including those from Telford’s FBME

   accounts.

          103.    Triadou attempted to transfer Telford’s funds held in FBME for the Flatotel and

   Cabrini deals through banks in Luxembourg, but those banks refused to accept wire transfers

   from the Ablyazov-Khrapunov Group’s FBME accounts due in part to the investigations or

   proceedings led by the Kazakh, Swiss, and United Kingdom authorities.

          104.    Bourg then contacted Chetrit about alternative wire transfer arrangements.

   Informed that commercial banks refused to handle Triadou’s funds from Telford, Chetrit

   conspired to launder the money, instructing Bourg to disregard the banks and transfer funds

   directly from the Ablyazov-Khrapunov Group’s offshore accounts to the escrow account of

   Chetrit’s personal and corporate attorneys. Bourg then directed a series of wire transfers, on

   behalf of Triadou, from Telford’s accounts at FBME directly to Chetrit’s counsel.

          105.    FBME executed these transfers despite their blatant indicia of money laundering,

   including that (1) Telford was a recently incorporated offshore shell company with no obvious

   business purpose, (2) Telford was purportedly owned by another offshore nominee-shareholder

   trust, (3) Telford was seeking to transfer millions of dollars into escrow accounts with no due

   diligence, and (4) Telford was transferring these funds from a high-risk jurisdiction for the benefit

   of an unrelated third party operating in a more financially-rigorous jurisdiction.

          106.    This was not the only instance of FBME executing such obviously suspicious

   transfers for Aggerwal and the Ablyazov-Khrapunov Group without concern for money

   laundering red flags. At the same time FBME began to execute transfers from Telford to the

   accounts of Chetrit’s counsel, on or about October 9, 2013, FBME executed wire transfers for $25




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   million from Telford’s accounts for an investment in overseas telecommunications assets. Again

   Telford was transferring millions of dollars of Ablyazov’s money for the benefit of another entity

   linked to the Ablyazov-Khrapunov Group.

          107.    Subsequent to these transfers, on July 22, 2014, the U.S. Financial Crimes

   Enforcement Network (“FinCEN”) designated FBME Bank a “foreign financial institution of

   primary money laundering concern.” FinCEN found that FBME Bank was regularly “used by its

   customers to facilitate money laundering, terrorist financing, transnational organized crime,” had

   “systemic failures in its anti-money laundering controls that attract high-risk shell companies,”

   and performed a “significant volume of transactions and activities that have little or no

   transparency and often no apparent legitimate business purpose.”

          108.    Under Section 311 of the PATRIOT Act, FinCEN barred U.S. financial institutions

   from opening or maintaining “payable-through” accounts with FBME.1 In the accompanying

   official announcement, FinCEN’s then-Director emphasized that FBME was not merely

   negligent, but rather “promotes itself on the basis of its weak Anti Money Laundering (AML)

   controls in order to attract illicit finance business from the darkest corners of the criminal

   underworld,” and “openly advertises the bank to its potential customer base as willing to facilitate

   the evasion of AML regulations.”

          109.    In its updated rule barring U.S financial institutions from dealing with FBME,

   FinCEN noted in particular FBME’s pervasive dealings with obscure shell companies just like

   Telford, serving no purpose but to facilitate money laundering:

                  FinCEN considered all of the relevant information and is particularly

          1
                   FBME challenged FinCEN’s rulemaking in the United States District Court for
   the District of Columbia and won a temporary reprieve, but FinCIN reissued the rule in
   substantially the same form on March 31, 2016. That updated rule is now undergoing judicial
   review.


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          concerned with: (1) The large number of FBME customers that are either shell
          companies or that conduct transactions with shell companies; (2) the lack of
          transparency with respect to beneficial ownership or legitimate business purposes
          of many of FBME’s shell company customers; (3) the location of many of its
          shell company customers in other high-risk money laundering jurisdictions
          outside of Cyprus; (4) the high volume of U.S. dollar transactions conducted by
          these shell companies with no apparent business purpose; and (5) FBME’s
          longtime facilitation of its shell company customers’ anonymity by allowing
          thousands of customers to use the bank’s physical address in lieu of their own.

          110.    The Central Bank of Cyprus has frozen all assets transfers to or from FBME, and

   taken control of the bank pending completion of an investigation into its operations. FBME

   remains under the control of the Central Bank of Cyprus, and upon information and belief,

   continues to hold millions in funds belonging to the Ablyazov-Khrapunov Group and shell

   companies they control.

           The Ablyazov-Khrapunov Group Enters a Second Deal with Chetrit, Again Funded By
           Telford through FBME

          111.    Through Triadou, the Ablyazov-Khrapunov Group entered a second investment

   with the Chetrit Group shortly thereafter. In late 2012, Triadou agreed to invest $12 million in

   the Cabrini Medical Center conversion, a joint venture between the Chetrit Group and another

   private developer to convert a former medical center in New York City into luxury

   condominiums.

          112.    Due to increasing scrutiny on the Ablyazov-Khrapunov Group’s finances, the

   contemplated $12 million investment became impossible. Bourg discussed this obstacle with

   Chetrit, who agreed that Triadou should invest $6 million, half the originally-agreed amount,

   until further funds became available. In return for this $6 million investment, Triadou would

   receive a promissory note and the right to convert that note into equity in the entity holding the

   Chetrit Group’s interest in the Cabrini deal, 227 East 19th Holder, LLC.

          113.    Again, the funds to execute the Cabrini deal were transferred, on May 20, 2013,


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   directly from the Ablyazov-Khrapunov Group’s Telford accounts at FBME Bank to a law firm in

   New York working on Chetrit’s behalf. Again, this transfer of funds from Telford was only

   executed after Ilyas Khrapunov received explicit direction from Ablyazov.

          Kazakh Authorities Target the Ablyazov-Khrapunov Group’s Holdings in the United
          States, and the Ablyazov-Khrapunov Group Liquidates Those Assets at Below-Market
          Value with the Chetrit Group’s Assistance.

          114.    In 2014, Almaty filed an action in California federal court against members of the

   Ablyazov-Khrapunov Group seeking to seize assets that they had attempted to launder through

   real estate investments in California. That action is City of Almaty v. Viktor Khrapunov, et al,

   Case No. 2:14-cv-03650-FMO-CW (filed May 13, 2014; dismissed September 21, 2015) (the

   “California Litigation”). On information and belief, this lawsuit led the Ablyazov-Khrapunov

   Group to believe their assets in the U.S. were no longer safe from seizure by the government of

   Kazakhstan.

          115.    In response, in late 2014, Ilyas Khrapunov directed Bourg, Triadou’s director, to

   begin liquidating Triadou’s assets in New York so that the funds could be removed from the

   United States and hidden. Specifically, Ilyas Khrapunov told Bourg to liquidate Triadou’s

   investments in Flatotel and the Cabrini Medical Center as quickly as possible.

          116.    Bourg approached Chetrit, explaining that the threat of the California Litigation

   was pressuring Triadou and the Ablyazov-Khrapunov Group into moving their assets out of the

   United States. Chetrit offered to purchase an assignment of Triadou’s interest in the Flatotel at a

   substantial discount from the price originally paid by Triadou. By this point, the value of

   Triadou’s investment had in fact increased substantially beyond the funds originally invested.

          117.     Chetrit simultaneously proposed to bribe Bourg, so Chetrit could further take

   advantage of Triadou and secretly influence it to obtain a discounted price. Specifically, Chetrit




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   proposed that Bourg covertly use his position as director of Triadou to accept a lower price for

   the Chetrit Group’s purchase of an assignment, thus decreasing Triadou’s recovery from the

   investment and increasing the Chetrit Group’s profit. In return for securing for Chetrit a lower

   assignment price, Chetrit agreed to surreptitiously pay Bourg $3 million.

          118.     In or about August of 2014, Bourg, acting on behalf of Triadou and at the

   direction of the Ablyazov-Khrapunov Group, agreed to assign Triadou’s interest in the Flatotel

   back to the Chetrit Group for a price as low as $26 million, only a fraction of the fair market

   value of the properties. At the same time, Bourg executed a release of the promissory note that

   Triadou held entitling it to equity in the Cabrini Medical Center development. At the time of this

   assignment and release, Viktor Khrapunov was facing criminal charges as well as possible fines

   and disgorgement in Kazakhstan; the Kazakh government had formally sought extradition of

   Viktor Khrapunov from Switzerland; Ablyazov was being held in French prison awaiting

   extradition; and the Swiss assets of the Ablyazov-Khrapunov Group remained frozen. Not only

   were all of these facts widely disseminated in the news, they were known by all parties to the

   assignment and release transactions, including Chetrit, and it was not uncommon for their

   meetings to begin with a discussion of the possibility of the incarceration of members of the

   Ablyazov-Khrapunov Group.

          119.     Following the assignment and release, Bourg invoiced Chetrit for $1 million of

   the agreed-upon $3 million bribe. After receiving the invoice, Chetrit paid Bourg $400,000, but

   refused to pay the full amount demanded by Bourg.

          120.     In or about March 2015, Bourg met with Chetrit, and recorded the meeting. As

   captured on audio, Bourg demanded the remainder of his promised compensation. Chetrit

   acknowledged that he had paid Bourg “400 or 500,” but responded that Bourg would receive the




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   additional $600,000 only when Chetrit paid what he owed Triadou for the assignment, and that

   he had no intention of paying Triadou until forced to do so. Chetrit further stated on tape that

   Bourg would not receive any remaining money.

           121.    At that meeting, Bourg and Chetrit repeatedly discussed the legal troubles of

   Mukhtar Ablyazov and Victor and Ilyas Khrapunov. Chetrit repeatedly avoided using Ilyas

   Khrapunov’s actual name, referring to him instead by the code name “Pedro.” Chetrit and Bourg

   discussed how “Pedro” was “sought by Interpol” and his “father-in-law [was] still in prison,”

   and Chetrit agreed that law enforcement was “coming at [the Ablyazov-Khrapunov Group] from

   all sides.”

           122.   Also at that meeting, Chetrit and Bourg discussed the fact that due to the

   investigation in Switzerland, Ilyas Khrapunov could not leave the country and was under intense

   law enforcement pressure. In addition, Chetrit once again acknowledged his longstanding

   understanding that Ablyazov and his criminal situation was behind the motivations of the

   Ablyazov-Khrapunov investments in the United States.           Chetrit further acknowledged his

   longstanding understanding that the Ablyazov-Khrapunov Group had made similar investments

   in other countries, such as Greece, to conceal and launder the proceeds of their crimes.

           123.    On or about March 22, 2015, after his meeting with Chetrit, Bourg contacted

   Elkain, Chetrit’s agent in Europe, and also recorded that phone call. In that call, Bourg sought to

   confirm the terms of his secret deal with Chetrit. During this recorded conversation, Bourg and

   Elkain agreed that the secret deal between Chetrit and Bourg called for $3 million in

   compensation for Bourg. Elkain agreed that he “confirmed the deal” between Chetrit and Bourg,

   and “would have never said that if [Chetrit] hadn’t told [him] so.” Bourg requested Elkain’s aid

   in receiving the remainder of his payment, but Elkain responded that whether or not the




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   agreement would be honored was up to Chetrit.

           124.     Despite the finalized assignment agreement and release, the Chetrit Group

   refused to make any payments to Triadou following the sale. In response, Triadou filed a series

   of actions in New York state courts, seeking summary judgment and payment of these

   obligations under the assignment agreement. Those actions are Triadou SPV S.A. v. CF 135

   FLAT LLC, et al., No. 653462/2014 (Nov. 10, 2014); Triadou SPV S.A. v. CF 135 FLAT LLC, et

   al., No. 650239/2015 (Jan. 26, 2015); Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

   154681/2015 (May 11, 2015), and Triadou SPV S.A. v. CF 135 FLAT LLC, et al., No.

   156907/2015 (July 9, 2015),

           125.     Each of these actions seeks the payment of money to Triadou derived from the

   sale of property illicitly obtained by the Ablyazov-Khrapunov Group, and rightfully owned by

   BTA and Almaty.

           126.     By this lawsuit, BTA Bank and the City of Almaty seek to hold Crossclaim

   Defendants responsible for their illegal conduct in the United States in violation of U.S. law.

                                     FIRST CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           127.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 126

   as if fully set forth herein.

           128.    This cause of action is against all Crossclaim Defendants (the “Count 1

   Defendants”).

           129.     From 1997 and continuing to the present, the Ablyazov-Khrapunov Group and

   numerous other individuals and entities, including SDG and Telford, have constituted an

   association-in-fact enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 1



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   Enterprise”).

          130.      In 2012, the Chetrit Group knowingly and willfully joined the Count 1 Enterprise

   by aiding the Ablyazov-Khrapunov Group’s schemes to hide and launder their illicit assets

   through investments by SDG through Triadou in properties owned by the Chetrit Group.

          131.      The Count 1 Enterprise was engaged in, and the activities of the Count 1

   Defendants affected, interstate and foreign commerce.

          132.      The Count 1 Defendants conducted or participated, directly or indirectly, in the

   conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity

   consisting of the following predicate acts of racketeering within the meaning of 18 U.S.C.

   § 1961(1)(B):

              a. The Count 1 Defendants engaged and conspired to engage in money laundering

                   in violation of 18 U.S.C. § 1956 by conducting numerous financial transactions

                   using illegally obtained funds to purchase real estate investments in New York

                   City and elsewhere and to fund business entities including SDG and Triadou,

                   knowing that such funds were unlawfully converted from the City of Almaty and

                   BTA Bank, with the goal of concealing the source of those funds. The Count 1

                   Defendants further engaged and conspired to engage in money laundering in

                   violation of 18 U.S.C. § 1956 by transporting, transmitting, and/or transferring

                   funds stolen from Almaty and BTA into and within the United States in order to

                   conceal their source and existence from lawful investigations conducted by

                   Swiss, Kazakh, and United Kingdom authorities.

              b. The Count 1 Defendants further engaged and conspired to engage in money

                   laundering in violation of 18 U.S.C. § 1956 by conducting financial transactions




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                using those stolen funds by, among other things, using stolen funds to purchase

                real estate and other assets in New York City and elsewhere and to fund business

                entities, including Triadou and SDG, with the intent to further the Count 1

                Enterprise and to conceal the source of those funds.

            c. The Count 1 Defendants engaged and conspired to engage in money transactions

                in property derived from specified unlawful activity in violation of 18 U.S.C.

                § 1957 by, among other things, knowingly transferring funds in excess of $10,000

                stolen from Almaty and BTA into and within the United States to invest in real

                estate and other assets in New York City with the aid of the Chetrit Group,

                knowing that such funds were stolen from the City of Almaty and BTA Bank.

            d. The Count 1 Defendants engaged and conspired to engage in mail fraud in

                violation of 18 U.S.C. § 1341 and wire fraud in violation of 18 U.S.C. § 1343 by

                knowingly using the mails and wires to transfer illegally obtained funds into and

                within the United States, for the purpose of furthering the Count 1 Enterprise and,

                while concealing the funds’ illegal source, used those funds to purchase real estate

                in New York City and to fund business entities, including SDG and Triadou, that

                enabled those entities to conduct business in the United States using the illegally-

                obtained funds.

            e. The Count 1 Defendants unlawfully transported or caused to be transported in

                interstate or foreign commerce securities or money having a value of $5,000 or

                more which was stolen, converted or taken by fraud from Almaty and BTA Bank,

                and knowing the same to be stolen, converted or taken by fraud in violation of 18

                U.S.C. § 2314.




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              f. The Count 1 Defendants received, possessed, concealed, sold, or disposed of

                  securities or money having the value of $5,000 or more, or conspired to do the

                  same, which crossed a state or United States boundary after being stolen,

                  unlawfully converted, or taken from Almaty and BTA Bank, and knowing the

                  securities or money to have been stolen, unlawfully converted, or taken in

                  violation of 18 U.S.C. § 2315.

          133.     Each of the Count 1 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 1 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 1 Defendants engaged or conspired to engage in two or more predicate acts of

   racketeering, and each committed at least one such act of racketeering after the effective date of

   RICO. From in or about 1997, and continuing to the present, Count 1 Defendants associated

   together, with one another and with others, and acted in concert for the common and unlawful

   purposes of the Count 1 Enterprise and in order to implement the schemes and employ the

   devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   the following acts of money laundering, transactions in money and property derived from

   specified unlawful activity, foreign transport of stolen money or property known to be stolen,

   converted or taken by fraud, mail fraud, and/or wire fraud:

              a. The 2012 sham sale of SDG to Philippe Glatz to create the appearance that SDG

                  was independent of the Ablyazov-Khrapunov Group;

              b. the fraudulent loan from the Ablyazov-Khrapunov Group to Mr. Glatz to facilitate

                  the SDG sale transaction;




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            c. the formation of Triadou and other entities by SDG at the direction of Bourg and in

                consultation with Ilyas Khrapunov;

            d. Chetrit’s meetings with Ilyas Khrapunov in or about 2012 in Switzerland and New

                York City, and their subsequent agreement to invest the Ablyazov-Khrapunov

                Group’s unlawfully obtained money in real estate in New York City;

            e. E-mails directly between Chetrit and Ilyas Khrapunov as well as through

                intermediaries discussing the Ablyazov-Khrapunov Group’s possible investments in

                New York real estate;

            f. the formation of the investment vehicles necessary to facilitate the Flatotel and

                Cabrini investments;

            g. Telford’s failed attempt to transfer funds held in FBME Bank for the Flatotel and

                Cabrini deals through banks in Luxembourg;

            h. the May 20, 2013 transfer of funds from Telford to Chetrit’s attorney representing

                Triadou’s investment of $6 million in the Cabrini deal, along with Chetrit’s

                promissory note and Triadou’s right to convert that debt into equity in Cabrini;

            i. a series of other wire transfers on behalf of Triadou from Telford’s accounts at

                FBME Bank Ltd. to Chetrit’s counsel in New York, including transfers on

                November 9, 2012, and January 22, February 13, February 19, April 8, April 16,

                and April 24, 2013;

            j. a May 22, 2013 wire transfer of $28 million from Telford to a different law firm’s

                Citibank account in New York used for a separate New York real estate investment

                with Chetrit;

            k. a May 2014 agreement (executed August 2014) to transfer Triadou’s interest in the




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                   Flatotel to the Chetrit Group at a below-market price;

               l. Chetrit’s and Triadou’s signed May 2014 release of the promissory note regarding

                   Triadou’s $6 million investment in the Cabrini Medical Center development;

               m. Chetrit’s payment of $400,000 to Bourg in partial satisfaction of Chetrit’s

                   agreement with Bourg to pay him $3 million in exchange for securing Chetrit a

                   lower assignment price for Triadou’s interests in the Flatotel and Cabrini deals;

                   and

               n. a payment of $1 million from Chetrit to Triadou in partial satisfaction of Chetrit’s

                   obligations under the fraudulent assignment.

           134.     As a direct and proximate result of RICO violations by the Count 1 Defendants

   of 18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined

   at trial and presently estimated to be not less than $6 billion. Almaty and BTA have been injured

   in their business or property by reason of each Count 1 Defendants’ violations and, pursuant to

   the civil remedy provisions of 18 U.S.C. § 1964(c), are thereby entitled to recover threefold the

   damages suffered, together with the costs of this suit and reasonable attorneys’ fees.

                                   SECOND CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           135.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 134

   as if fully set forth herein.

           136.    This cause of action is against all Crossclaim Defendants (the “Count 2

   Defendants”).

           137.     From its formation and continuing to the present, CF 135 West Member LLC,

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 2



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   Enterprise”).

          138.      The Count 2 Enterprise was engaged in, and the activities of the Count 2

   Defendants affected, interstate and foreign commerce.

          139.      The Count 2 Defendants engaged in a pattern of racketeering activity consisting

   of the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

   paragraph 132 above.

          140.      Each of the Count 2 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 2 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 2 Defendants engaged in two or more predicate acts of racketeering, and each committed

   at least one such act of racketeering after the effective date of RICO. The Count 2 Defendants

   associated together, with one another and with others, and acted in concert for the common and

   unlawful purposes of the Count 2 Enterprise and in order to implement the schemes and employ

   the devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   those acts described in paragraph 133 above.

          141.     As a direct and proximate result of RICO violations by the Count 2 Defendants of

   18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 2

   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.




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                                     THIRD CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(a))
                                      Against All Defendants

           142.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 141

   as if fully set forth herein.

           143.    This cause of action is against all Crossclaim Defendants (the “Count 3

   Defendants”).

           144.     From its formation and continuing to the present, CF 135 West Member LLC,

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 3

   Enterprise”).

           145.     The Count 3 Enterprise was engaged in, and the activities of the Count 3

   Defendants affected, interstate and foreign commerce.

           146.     The Count 3 Defendants received income derived from a pattern of racketeering

   activity consisting of the related predicate acts of racketeering described in paragraphs 132 and

   133 above.

           147.     The Count 3 Defendants used or invested the income derived from their

   racketeering activity in the acquisition of an interest in, or the establishment or operation of, the

   Count 3 Enterprise in violation of 18 U.S.C. § 1962(a).

           148.     The Count 3 Defendants used or invested the income derived from their

   racketeering activity in the Count 3 Enterprise in fraudulent and below-market transactions,

   including by accepting unreasonable contractual terms to transfer wealth to the Chetrit Group.

           149.    As a direct and proximate result of RICO violations by the Count 3 Defendants of

   18 U.S.C. § 1962(a), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 3


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   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                   FOURTH CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(c))
                                      Against All Defendants

           150.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 149

   as if fully set forth herein.

           151.    This cause of action is against all Crossclaim Defendants (the “Count 4

   Defendants”).

           152.     From its incorporation and continuing to the present, 227 East 19th Holder LLC

   has constituted an enterprise within the meaning of 18 U.S.C. § 1961(4) (the “Count 4

   Enterprise”).

           153.     The Count 4 Enterprise was engaged in, and the activities of the Count 4

   Defendants affected, interstate and foreign commerce.

           154.     The Count 4 Defendants engaged a pattern of racketeering activity consisting of

   the predicate acts of racketeering within the meaning of 18 U.S.C. § 1961(1)(B) described in

   paragraph 132 above.

           155.     Each of the Count 4 Defendants conducted or participated, directly or indirectly,

   in the conduct of the affairs of the Count 4 Enterprise through a pattern of racketeering activity,

   within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. § 1962(c). Each of the

   Count 4 Defendants engaged in two or more predicate acts of racketeering, and each committed

   at least one such act of racketeering after the effective date of RICO. The Count 4 Defendants

   associated together, with one another and with others, and acted in concert for the common and



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   unlawful purposes of the Count 4 Enterprise and in order to implement the schemes and employ

   the devices described herein. The specific related predicate acts that constitute the pattern of

   racketeering activity within the meaning of 18 U.S.C. § 1961(1) include, but are not limited to,

   those acts described in paragraph 133 above.

           156.    As a direct and proximate result of RICO violations by the Count 4 Defendants of

   18 U.S.C. § 1962(c), Almaty and BTA have suffered damages in an amount to be determined at

   trial. Almaty and BTA have been injured in their business or property by reason of each Count 4

   Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                     FIFTH CAUSE OF ACTION

                             (VIOLATIONS OF RICO, 18 U.S.C. § 1962(d))
                                      Against All Defendants

           157.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 156

   as if fully set forth herein.

           158.    This cause of action is against all Crossclaim Defendants (the “Count 5

   Defendants”).

           159.     As alleged herein, Count 5 Defendants conspired to engage in the acts described

   above in the United States to further the goals of their criminal enterprises in violation of U.S.

   law.

           160.     In so doing, Count 5 Defendants unlawfully, willfully, and knowingly did

   combine, conspire, confederate, and agree together, with each other and with others to commit

   RICO violations under 18 U.S.C. § 1962(c) and, thereby, violated 18 U.S.C. § 1962(d). In

   furtherance of the conspiracy and to achieve its objectives, Count 5 Defendants committed the



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   overt acts as described in paragraph 133 in the Southern District of New York and elsewhere.

           161.     As a direct and proximate result of RICO violations by the Count 5 Defendants

   of 18 U.S.C. § 1962(d), Almaty and BTA have suffered damages in an amount to be determined

   at trial. Almaty and BTA have been injured in their business or property by reason of each Count

   5 Defendants’ violations and, pursuant to the civil remedy provisions of 18 U.S.C. § 1964(c), are

   thereby entitled to recover threefold the damages suffered, together with the costs of this suit and

   reasonable attorneys’ fees.

                                    SIXTH CAUSE OF ACTION

                           (ACTUAL FRAUDULENT TRANSFER)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           162.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 161

   as if fully set forth herein.

           163.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

   the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

   as these funds were the unlawful profits of embezzlement, fraud, and the corruption of the public

   office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

   alter or diminish either Almaty or BTA’s interest.

           164.     The 2014 assignment of Triadou’s interest in the Flatotel and Cabrini Medical

   Center was not for adequate consideration, and in fact, represented a value significantly below

   the fair value of that interest, due to the improper motivations of Triadou’s ownership, the

   Ablyazov-Khrapunov Group, to hide their illicit assets and move them offshore, and the Chetrit

   Group’s secret deal to drive down the price of the assignment through bribery.

           165.     This assignment was made for the specific purpose of liquidating a fixed asset to

   frustrate a future creditor. Defendants knew of the numerous judgments against Ablyazov in the



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   United Kingdom, and of Almaty’s claims against the Ablyazov-Khrapunov Group in the

   California Litigation, and knew that Triadou was owned and controlled by the defendants in

   those actions. Defendants intended and believed that the assignment of the Ablyazov-Khrapunov

   Group’s interest in the Flatotel and Cabrini Medical Center would hinder, delay, and defraud

   current and future judgment creditors, specifically the City of Almaty and BTA Bank.

           166.     For these reasons, the assignment was fraudulently and illegally intended to

   remove an asset from the jurisdiction of the United States, namely Triadou’s interests in the

   Flatotel and Cabrini Medical Center, convert those assets to cash, and transfer those funds beyond

   the reach of the Swiss, Kazakh, and United Kingdom authorities

           167.     As a result of the foregoing, pursuant to sections 275, 276, and 279 of the New

   York Debtor and Creditor Law, the August 2014 assignment agreement should be set aside as

   the product of clearly-inequitable conduct.

                                   SEVENTH CAUSE OF ACTION

                        (CONSTRUCTIVE FRAUDULENT TRANSFER)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           168.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 167

   as if fully set forth herein.

           169.     At all relevant times, the City of Almaty and BTA Bank have held an interest in

   the illicit funds taken by the Ablyazov-Khrapunov Group and invested by and through Triadou,

   as these funds were the unlawful profits of embezzlement, fraud, and corruption of the public

   office of the mayor of Almaty. The intermediary transfers or investment of those funds did not

   alter or diminish either Almaty or BTA’s interest.

           170.     Triadou, although an arm of a massive international fraud and money laundering

   conspiracy, is and has been insolvent itself. Triadou holds no funds or other assets of its own,



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   and relies on funding from other Ablyazov-Khrapunov Group entities, such as Telford, to meet

   its obligations. Assets that flow to Triadou are promptly moved to other Ablyazov-Khrapunov

   Group entities offshore.

           171.     As Triadou is controlled by the Ablyazov-Khrapunov Group, whose members

   face multi-billion dollar judgments in other jurisdictions, Triadou is effectively kept insolvent at

   all times, so as to limit the Ablyazov-Khrapunov Group’s exposure in the United States.

           172.     Similarly, because Triadou is controlled by and is an alter ego of the Ablyazov-

   Khrapunov Group, at the time it liquidated the Flatotel and Cabrini interests and transferred the

   proceeds to other entities, it had liabilities – including resulting from the UK judgments – that far

   outstripped its assets.

           173.     As a result of the foregoing, pursuant to sections 273 and 273-a of the New York

   Debtor and Creditor Law, the August 2014 assignment agreement should be set aside.

                                    EIGHTH CAUSE OF ACTION

                                   (UNJUST ENRICHMENT)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           174.    The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 173

   as if fully set forth herein.

           175.    The Crossclaim Defendants were unjustly enriched at the expense of the City of

   Almaty and BTA Bank when they invested funds embezzled from the City of Almaty and BTA

   Bank to acquire assets in the United States including an interest in the Flatotel project, and did so

   knowing that authorities of Switzerland, the Republic of Kazakhstan, and the United Kingdom

   were seeking the wrongfully-taken assets held by the Ablyazov-Khrapunov Group, and that

   further sales of the same assets would potentially frustrate their identification by the lawful

   authorities.


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           176.    It would be against equity and good conscience to permit the Crossclaim

   Defendants to retain the profits derived from the looting of assets rightfully belonging to the City

   of Almaty and BTA Bank.

                                    NINTH CAUSE OF ACTION

                                        (CONVERSION)
           Against Defendants Triadou, Ablyazov, Viktor Khrapunov and Ilyas Khrapunov

           177.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 176

   as if fully set forth herein.

           178.     None of the Defendants has a superior interest to the City of Almaty or BTA in

   the assets wrongfully taken by the Ablyazov-Khrapunov Group. These funds, and the assets

   they were used to purchase, are the rightful property of the people of Almaty and BTA.

           179.     Defendants knowingly bought and sold assets obtained with these funds derived

   from the corruption of the office of the mayor of the City of Almaty and control of BTA Bank.

           180.     As a result, Defendants have wrongfully and without authorization exercised of

   dominion and control over property of Almaty and BTA, and thus are liable for converting the

   same.

                                    TENTH CAUSE OF ACTION

                                     (CONSTRUCTIVE TRUST)
                                       Against All Defendants

           181.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 180

   as if fully set forth herein.

           182.     As mayor of Almaty, Viktor Khrapunov owed fiduciary duties to the people of

   Almaty, and through his oath of office, expressly promised to execute those duties.

           183.     Despite that promise, Viktor Khrapunov breached those fiduciary duties

   repeatedly by transferring public assets of the City of Almaty to other members of the Ablyazov-


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   Khrapunov Group for fractions of their market value, and then assisted the Ablyazov-Khrapunov

   Group in laundering the funds resulting from those illicit transfers of public property. Through

   these breaches of fiduciary duty, the Ablyazov-Khrapunov Group has been unjustly enriched.

           184.     A constructive trust over the 50% interest in CF 135 West Member LLC

   assigned by Triadou, and all profits therefrom, is the appropriate equitable remedy to prevent

   further dissipation of the funds resulting from these breaches of fiduciary duty.

           185.     Defendants have also conspired to fraudulently transfer Triadou’s interest in the

   Flatotel for the purpose of hiding the Ablyazov-Khrapunov Group’s assets and frustrating any

   recovery resulting from Almaty and BTA’s investigations and pursuits of their stolen assets.

   Separate and aside from the Ablyazov-Khrapunov Group’s breaches of fiduciary duty, this

   knowingly fraudulent transfer by Cross- and Counterclaim Defendants justifies imposition of a

   constructive trust to prevent any further transfers or encumbrances of this property.

           186.     Absent this remedy, the Ablyazov-Khrapunov Group will continue to use

   Triadou and SDG to launder the fruits of these breaches of fiduciary duty and hide these assets

   from law enforcement, and the Chetrit Group will continue to be unjustly enriched by these acts

   of fraud.

                                   ELEVENTH CAUSE OF ACTION

                  (PURSUANT TO CPLR § 5239 FOR FRAUD AND CONVERSION)
                                  Against All Defendants

           187.     The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 186

   as if fully set forth herein.

           188.     Triadou has filed serial actions in the courts of the state of New York seeking

   payment on the fraudulent assignment agreement between Triadou and the Chetrit Group. While

   Triadou has been awarded summary judgment in some of these actions, none of these judgments



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   have been satisfied by any sheriff or receiver.

             189.   The City of Almaty and BTA Bank are the rightful owners of Triadou’s interest in

   the Flatotel and Cabrini Medical Center and/or any funds derived from the sale of that interest, as

   the interest was purchased with funds unlawfully converted by the Ablyazov-Khrapunov Group

   and laundered through SDG and Triadou.

             190.   Pursuant to CPLR § 5239, this court is empowered to vacate any such judgments

   and direct the disposition of the property in question, as well as direct which party should keep

   possession of the property during the pendency of this action.

             191.   The court should set aside any judgments in Triadou’s favor in light of the City

   of Almaty’s and BTA’s superior interest in this illicitly-obtained property, direct that Triadou’s

   interest in the Flatotel and Cabrini Medical Center be transferred to the City of Almaty and BTA

   Bank, and pursuant to CPLR § 5239, award the City of Almaty and BTA Bank its reasonable

   attorneys’ fees in bringing this claim.

                                   TWELFTH CAUSE OF ACTION

      (PURSUANT TO CPLR § 5303 FOR RECOGNITION AND ENFORCEMENT OF A
                 FOREIGN JUDGMENT UNDER NEW YORK LAW)
                            Against Defendant Ablyazov

             192.   BTA Bank repeats and realleges paragraphs 1 through 191 as if fully set forth

   herein.

             193.   The United Kingdom of Great Britain and Northern Ireland is a “foreign state”

   within the meaning of N.Y. C.P.L.R. § 5301(a).

             194.   The Ablyazov Judgments are “foreign country judgments” within the meaning of

   N.Y. C.P.L.R. § 5301(b).

             195.   The Ablyazov Judgments are “final, conclusive and enforceable” in England

   within the meaning of N.Y. C.P.L.R. § 5302.


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           196.      The Ablyazov Judgments grant recovery of a sum of money and are enforceable

   by an action on the judgments in New York pursuant to N.Y. C.P.L.R. § 5303.

           197.      None of the grounds for non-recognition of a foreign country judgment set forth

   in N.Y. C.P.L.R. § 5304 applies to the Ablyazov Judgments.

           198.      The Ablyazov Judgments are required to be enforced pursuant to N.Y. C.P.L.R.

   § 5303.

           199.      Triadou is the alter ego of the Ablyazov-Khrapunov Group, and is thus liable for

   all current and future obligations against the Ablyazov-Khrapunov Group. Maintaining the

   separateness of Triadou and its alter ego, the Ablyazov-Khrapunov Group, would allow the

   Ablyazov-Khrapunov Group to avoid otherwise enforceable obligations and would be highly

   inequitable to the people of the city of Almaty and BTA Bank.

                                 THIRTEENTH CAUSE OF ACTION

                                      (AIDING AND ABETTING)
                                        Against Defendant FBME

           200.      The City of Almaty and BTA Bank repeat and reallege paragraphs 1 through 199

   as if fully set out herein.

           201.      The Ablyazov-Khrapunov Group converted property that rightfully belongs to

   the Kazakhstan Plaintiffs through wire transfers executed by FBME Bank, and the Ablyazov-

   Khrapunov Group was unjustly enriched by the use and investment of the same funds.

           202.      FBME Bank was aware that the funds wired were the proceeds of crime and that

   the wire transfers were an effort by the Ablyazov-Khrapunov Group to obscure the illicit nature

   of those funds.

           203.      Due to its longstanding relationship with the Ablyazov-Khrapunov Group and

   deliberately ineffective protocols for preventing money laundering, FBME Bank aided and



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   abetted the Ablyazov-Khrapunov Group’s laundering scheme.

          204.     FBME’s active participation in the Ablyazov-Khrapunov Group’s money

   laundering network rendered substantial assistance to the Ablyazov-Khrapunov Group’s acts of

   conversion, fraud, and subsequent unjust enrichment, and the Kazakhstan Plaintiffs seek relief

   from FBME to the extent Defendants are found liable for these acts.



                                    DEMAND FOR JURY TRIAL

          Almaty and BTA Bank demand a jury trial on all claims for which trial by jury is

   available, including on the underlying interpleader action.

                                       DEMAND FOR RELIEF

   WHEREFORE, Almaty and BTA Bank demand the Court enter judgment as follows:

          A.       For injunctive relief and rescission of the 2014 assignment agreement and release;

          B.       For compensatory, punitive, and treble damages;

          C.       For declaratory relief;

          D.       For all costs and fees incurred in prosecuting this Complaint;

          E.       For such other and further relief as this Court deems just and proper.




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   Dated: New York, New York
          September 7, 2016


                                         Respectfully Submitted,

                                         BOIES, SCHILLER & FLEXNER LLP

                                    By: /s/ Matthew L. Schwartz
                                        Matthew L. Schwartz
                                        Randall W. Jackson
                                        Daniel G. Boyle
                                        Craig Wenner

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                                         575 Lexington Avenue
                                         New York, New York 10022
                                         Telephone: 212-446-2300
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           EXHIBIT 12
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 Provisional version




 Committee on Legal Affairs and Human Rights

 Abusive use of the INTERPOL system: the need for more
 stringent legal safeguards

 Report
 Rapporteur: Bernd FABRITIUS, Germany, Group of the European People's Party


 A.       Draft resolution

 1.   The Assembly stresses the importance of INTERPOL as an efficient instrument for international
 cooperation in the fight against transnational crime, including terrorism.

 2.      INTERPOL is based on mutual assistance by national law enforcement authorities and should function
 in full neutrality and with respect for the suspects’ human rights.

 3.    The International Notice System allows police in member countries to share critical crime-related
 information. Police can use notices to alert law enforcement bodies in other countries of potential threats, or
 to ask for assistance in solving crimes. "Red Notices", in particular, are used to seek the location and arrest
 of a person wanted by a national jurisdiction or an international tribunal with a view to extradition. The
 number of Red Notices increased dramatically over the last decade.

 4.     Article 2 of its Constitution requires INTERPOL to act in the spirit of the Universal Declaration of
 Human Rights and Article 3 strictly prohibits any intervention or activities of a political, military, religious or
 racist character. But in a number of cases in recent years, INTERPOL and its Red Notice system has been
 abused by some member States in the pursuit of political objectives, repressing the freedom of expression or
 persecuting members of the political opposition beyond their borders.

 5.     Red Notices have a serious negative impact on the human rights of targeted persons, including the
 rights to liberty and security and the right to a fair trial. Red Notices should therefore be requested by
 National Central Bureaus (NCBs) and circulated by INTERPOL only when there are serious grounds for
 suspicion against the targeted person. These grounds should be verified following procedures designed to
 minimise the possibility for abuse without hindering international police cooperation in the vast majority of
 legitimate cases.

 6.     Targeted persons cannot successfully challenge Red Notices before any national or international
 courts. Such jurisdictional immunity can only be justified to the extent that an internal appeals mechanism
 provides an effective remedy within the meaning of applicable human rights standards. In this respect,
 INTERPOL’s “Commission for the Control of Files” (CCF) has been criticized for being ill-equipped to deal
 with the large and growing number and complexity of complaints.

 7.     The Assembly notes that INTERPOL has reacted to these criticisms by engaging in a dialogue
 including civil society. INTERPOL’s Working Group on the Processing of Information (GTI) submitted a
 number of reform proposals adopted at INTERPOL’s General Assembly in Bali (Indonesia) in November
 2016. Recent improvements, including those decided in Bali, include:

 
     Draft resolution adopted unanimously by the committee on 7 March 2017.


                          F – 67075 Strasbourg Cedex | assembly@coe.int | Tel: + 33 3 88 41 2000 | Fax: +33 3 88 41 2702
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       7.1. further strengthening INTERPOL’s internal vetting procedures before Red Notices are
       published, by setting up a “task force” consisting of lawyers, policemen and analysts;

       7.2.   appointing a Data Protection Officer within INTERPOL’s Secretariat General;

       7.3. strengthening the CCF, whose new Statute will enter into force in March 2017; in particular by
       separating its advisory from its appeals function, increasing the number of members of the appeals
       chamber to five, setting clear timetables for its work, making its findings binding on INTERPOL, and
       increasing the resources at its disposal.

 8.    The Assembly welcomes these reforms as so many steps in the right direction. It stresses the
 importance of their implementation in practice and calls on INTERPOL to continue improving its Red Notice
 procedure in order to prevent and redress abuses even more effectively, including by:

       8.1.   further strengthening the preventive checks before Red Notices are circulated; in particular by

              8.1.1. increasing the capacity of INTERPOL’s “task force” entrusted with such checks by
              bolstering the resources placed at its disposal;

              8.1.2. ensuring that information on relevant cases made available by international or regional
              intergovernmental human rights bodies (in particular, the United Nations High Commissioner for
              Refugees, the United Nations High Commissioner for Human Rights, and the competent bodies
              of the Council of Europe) and, if appropriate, by non-governmental human rights organisations
              is duly taken into account;

              8.1.3. publishing sufficiently detailed, authoritative interpretations (“repositories of practice”) of
              Articles 2 and 3 of the Constitution and of INTERPOL’s policy in refugee and asylum cases;

              8.1.4. reexamining Red Notices periodically so as to ensure that they are deleted when they
              have not given rise to successful extradition requests within a reasonable amount of time;

              8.1.5. examining with particular care repetitive Red Notice requests emanating from the same
              NCB targeting the same person after earlier requests were either rejected by INTERPOL or their
              deletion ordered by the CCF.

       8.2.   strengthening the CCF as an appeals mechanism by

              8.2.1. making it fully independent from INTERPOL, in particular by continuing to ensure that
              staff members dealing with preventive checks are not involved in assessing complaints against
              Red Notices which had passed these checks;

              8.2.2. increasing its capacity – in particular by making sufficient staff available with expertise in
              the fields of human rights and criminal law and procedure;

              8.2.3. ensuring that the CCF fulfills minimum procedural standards, in particular by enabling the
              targeted persons and their lawyers to be informed of and comment on the reasons for the Red
              Notice request given by the requesting NCB;

              8.2.4. ensuring that the CCF responds to and resolves appeals within a reasonable time, taking
              into account the gravity of the consequences of a Red Notice for a targeted person;

              8.2.5. ensuring that the CCF publishes its decisions, provided the applicants agree; the
              decisions shall be sufficiently motivated in order to contribute to the development of consistent
              and predictable case-law.

       8.3. dealing appropriately with NCBs, which have repeatedly requested the publication of abusive
       Red Notices, in particular by

              8.3.1. keeping statistics on Red Notices filtered out upstream by INTERPOL’s preventive
              mechanism and downstream by successful challenges before the CCF;




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            8.3.2. subjecting new Red Notice requests by NCBs with a high number of abusive requests to
            more intensive ex ante scrutiny;

            8.3.3. giving priority to complaints against Red Notices requested by NCBs with a high number
            of abusive requests also for ex post scrutiny by the CCF;

            8.3.4. charging NCBs with a high number of abusive requests for the additional budgetary costs
            generated by more intensive scrutiny of their request required both ex ante and ex post.

      8.4. setting up a fund for compensation of victims of abusive or otherwise unjustified Red Notices
      fed by member States in proportion to the number of unjustified Red Notices emanating from their
      NCBs.

 9.   The Assembly calls on all member States of the Council of Europe to

      9.1. set a positive example by ensuring that their own NCB’s Red Notice requests clearly specify the
      targeted persons, the suspected crime and the elements of proof linking the targeted person to the
      alleged crime;

      9.2. swiftly communicate to INTERPOL relevant information on persons targeted by Red Notices
      (e.g. the granting of political asylum, judicial decisions refusing extradition);

      9.3. refrain from carrying out arrests on the basis of Red Notices, when they have serious concerns
      that the Notice in question could be abusive;

      9.4. make use of their influence within INTERPOL in order to ensure the implementation of
      necessary reforms so that INTERPOL respects human rights and the rule of law whilst remaining an
      effective tool for legitimate international police cooperation.




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 B.    Explanatory Memorandum by Mr Bernd Fabritius, rapporteur

 1.    Introductory remarks

 1.     The internationalisation of (serious) crime alongside with globalisation and increased mobility in
 general have made international cooperation between law enforcement bodies essential in order to ensure
 that suspects cannot escape prosecution or serving a sentence by hiding abroad.

 2.     The International Criminal Police Organisation (INTERPOL)’s main goal is to help combat international
 crime. Arresting fugitives with a view to extraditing them to the country where they are wanted for
                                                                                       1
 prosecution or to serve a sentence can make an essential contribution to that goal. INTERPOL has set up
 highly efficient channels for mutual assistance by national law enforcement authorities and should function in
 full neutrality and with respect for human rights.

 3.     The International Notice System allows police in member countries to share critical crime-related
 information. Police can use notices to alert law enforcement bodies in other countries to potential threats, or
 to ask for assistance in solving crimes. Notices can also be used by the United Nations Security Council and
 the International Criminal Court and other international criminal tribunals to inform the authorities that certain
 individuals and entities are subject to UN sanctions or sought by international tribunals. Over the last
 decade, thanks to advances in information technology, the International Notice System has become far more
 efficient and also far more widely-used. Between 2005 and 2015, the annual number of Red Notices alone
                                                   2
 increased almost five-fold, from 2 343 to 11 492. In 2016, a total of 12 787 Red Notices were issued.

 4.     Whilst it is ‘strictly prohibited for INTERPOL to undertake any intervention or activities of a political,
                                           3
 military, religious or racial character’, over recent years, there have been numerous alleged cases of abuse
 of the “Red Notice” system by some member States in the pursuit of political objectives, repressing the
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 freedom of expression or persecuting members of the political opposition beyond their borders. It would
 appear that legal safeguards have indeed been lagging behind technological advances and increased
 usage.
                                      5
 5.     The motion for a resolution underlying this report defines the parameters of my mandate so as to
 “study the issue more profoundly and provide conclusions in the form of a report on the issue of misuse of
 the INTERPOL system for political aims.” Law enforcement bodies around the world should co-operate to
 prevent or elucidate serious crimes and bring perpetrators to justice. INTERPOL's main objective is to enable
 and facilitate this cooperation. Therefore, I should like to make it clear that the purpose of my mandate is to
 assist INTERPOL in improving the effectiveness of its procedures aimed at ensuring respect for human
 rights. Improving the prevention of human rights violations serves to strengthen the credibility of INTERPOL
 and thus its effectiveness as a tool in the fight against international crime. I have resisted any attempts to
 abuse this report for promoting or legitimising impunity in any way.

 2.    INTERPOL’s international notices system

 6.      INTERPOL’s main objectives are to "ensure and promote the widest possible mutual assistance
 between all criminal police authorities within the limits of the laws existing in the different countries and in the
                                                        6
 spirit of the Universal Declaration of Human Rights".

 7.    INTERPOL allows for a wide exchange of information by maintaining different databases with
 information on lost and stolen travel documents, data on known offenders, missing persons and dead
 bodies.

 8.    The proper functioning of this system relies on mutual trust between the various actors and the belief
 that member States would only use INTERPOL in good faith, solely for the purposes for which the
 Organisation was established. Those who abuse INTERPOL’s infrastructures for the persecution of their
 adversaries undermine the very foundations of international police cooperation.

 1
   INTERPOL General Assembly, Resolution AGN/66/RES/7, adopted during the 66th INTERPOL General Assembly –
 New Delhi, India, 15-21 October 1997.
 2
   INTERPOL, Annual Report 2015, page 17.
 3
   Article 3 of the INTERPOL Constitution, I/CONS/GA/1956(2008).
 4
   See Herta Däubler-Gmelin,, “How rogue regimes have weaponised Interpol”, in: Wall Street Journal, 28 June; see also
 Fair Trials International, Strengthening respect for human rights; strengthening INTERPOL, November 2013,, page 14.
 5
   Doc. 13566 of 02 July 2014, Reference no. 4074 of 03 October 2014, election of rapporteur on 30 October 2014.
 6
   Article 2 of the INTERPOL Constitution, I/CONS/GA/1956(2008).


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       2.1.   Processing of International Notices and Diffusions

 9.     Notices are international alerts used by police to communicate to their counterparts around the world
 information on crimes, criminals and security threats. Such notices are circulated by INTERPOL to all
 member countries at the request of a country or an authorised international body. The information
 disseminated via notices concerns individuals wanted for serious crimes, missing persons, unidentified
 bodies, possible security threats, prison escapes and criminals’ modi operandi. Notices increase
                                                          7
 international visibility for serious crimes or incidents. They are color-coded according to their functions:
 black, purple, blue, orange, yellow, green, and red.

 10. Of particular interest in the context of allegations of abuses of INTERPOL procedures are "Red
 Notices", used "to seek the location and arrest of a person wanted by a judicial jurisdiction or an international
                                               8
 tribunal with a view to his/her extradition".
                                                                                                 9
 11. International notices are regulated by INTERPOL's Rules on the Processing of Data adopted by its
 General Assembly in 2011, which introduced a major revision of the legal framework governing the
 functioning of its police information system. Article 73(3) of these rules states that "the conditions for
 publishing notices are defined for each category of notice or special notice."

 12. Notices are distributed by INTERPOL’s General Secretariat at the request of National Central Bureaus
 (NCBs) and other authorised entities in Arabic, English, French or Spanish. All notices are distributed
 through INTERPOL's secure website. Extracts of notices may also be published on the Organisation’s public
 website if the requesting entity agrees. Red Notices may only be distributed if the request concerns a serious
 ordinary-law crime and is of interest for the purposes of international police cooperation. When submitting
 their requests, NCBs should also provide INTERPOL with a summary of the facts of the alleged crime, and
 specify the offence in question, the relevant laws creating that offence and the maximum sentence, or the
 actual sentence imposed if the person has already been convicted. The request must also include identifiers
 for the person: his or her name, photograph, nationality and other items, including biometric data such as
 fingerprints and DNA profiles. In addition to “notices”, member countries can send requests for the same
 purposes directly to countries of their choice. These so-called “diffusions” are also recorded in INTERPOL’s
 police databases. In 2014, INTERPOL published a total of 21,922 notices and diffusions, 10,718 of which
                                                                                                           10
 were Red Notices. A total of 60,187 notices and 74,625 diffusions were in circulation at the end of 2014.

       2.2.   Levels of control

 13. It must be recalled that INTERPOL’s objective is to assist in international police cooperation in order to
 fight serious crimes. Nevertheless, in pursuing its activities, situations may arise where human rights and
 individual freedoms are affected. Therefore, it is of paramount importance that appropriate safeguards
 prevent any abuses and ensure the respect of INTERPOL’s commitments to human rights and political
 neutrality.

 14. Three levels of control have been established in order to ensure compliance with general standards of
 international law and fundamental rights.

 15. Firstly, the NCBs set up for liaison with INTERPOL in each member State are responsible for the
 accuracy, relevance, and conformity with INTERPOL's rules of any information provided to INTERPOL for
 inclusion in its databases or information system. Moreover, any national authorities accessing INTERPOL's
 information are under the supervision of their own respective NCBs. National Central Bureaus may also
 exercise a control over requests submitted by other NCBs, which can be referred to INTERPOL's General
                                                                                        11
 Secretariat whenever they suspect that INTERPOL rules may have been violated. Prior to requesting the
                                                                                              12
 publication of a notice, the NCB or, as the case may be, the authorised international body shall ensure: (a)
 the quality and lawfulness of the data it provides in support of its request; (b) that the conditions for
 publication attached to its request are met; (c) that the data are of interest for the purposes of international
 police cooperation; (d) that its request complies with INTERPOL’s rules, in particular with Articles 2(1) and 3
 of INTERPOL’s Constitution, as well as with the obligations imposed on the requesting entity under


 7
   INTERPOL Fact Sheet, International Notices System (accessed 19.1.2017).
 8
   Ibid.
 9
   INTERPOL's Rules on the Processing of Data, INTERPOL General Assembly, III/IRPD/GA/2011(2014).
 10
    The factual information in this paragraph was gleaned from INTERPOL’s Fact Sheet (supra note 7).
 11
    http://www.INTERPOL.int/en/About-INTERPOL/Legal-materials/Compliance-with-the-rules. (accessed 19.1.2017).
 12
    Such as the United Nations Security Council, the International Criminal Court or similar bodies.


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                      13
 international law.

 16. Secondly, INTERPOL’s General Secretariat is responsible for processing the information it receives or
 collects and for ensuring that INTERPOL’s rules are observed during any operation to process information
 through the Organisation's channels. In case of doubt, the General Secretariat may take all appropriate steps
 to prevent any direct or indirect prejudice that might be caused by processing of incorrect information,
                                                                                                             14
 including, amongst other things, by deleting information provided or temporarily restricting access to it.
 Given the high number of requests for notices and diffusions, it is important that these preventive controls
 are adequately resourced. I was informed by INTERPOL that one of the changes put in place in 2016 was
 the creation of a dedicated “task force” which comprises multidisciplinary teams of lawyers, police officers
 and analysts. In addition, extra support and expertise is provided as or when needed, so the number of
 people conducting reviews, or providing assistance as part of a review, fluctuates (around 30-40 professional
 staff).

 17. Thirdly, a check is carried out by the Commission for the Control of INTERPOL's Files (CCF),
 responsible for verifying that information is obtained, processed and stored in accordance with INTERPOL's
 rules and regulations. The CCF is an independent monitoring body with three main functions: (a) monitoring
 the application of the Organisation's data protection rules to personal data processed by INTERPOL; (b)
 advising the Organisation with regard to any operations or projects concerning the processing of personal
                                                                           15
 information and (c) processing requests for access to INTERPOL's files. It can, for example, conduct spot
 checks or provide advice on issues it considers in need of improvement. The CCF is also competent to
 receive requests from persons wishing to exercise their right of access to information about them recorded in
 INTERPOL's databases. This right of access includes the right to have information corrected or deleted, as
                  16
 the case may be. This appeals function is examined more closely below.

 3.     The Commission for the Control of Files (CCF) – INTERPOL’s appeals body

        3.1.   Origin and composition
                                                                        17
 18. The Commission for the Control of INTERPOL’s Files was set up in 1984 after INTERPOL
 renegotiated its agreement with the French Government regarding INTERPOL’s headquarters. The French
 authorities asserted that a 1978 law concerning information technology, files and freedoms, was applicable
 to the nominal data stored in INTERPOL's premises in Saint-Cloud, France and that individuals should have
 access to data concerning them. From INTERPOL’s point of view, this law was not applicable as information
 was made available by member countries and did not belong to INTERPOL; and international police
 cooperation could be threatened if information were to be disclosed by application of the French 1978 law.
 An agreement was reached when France accepted to refrain from applying the 1978 law to INTERPOL's
 files, guaranteeing the inviolability of its archives and official correspondence, provided that INTERPOL's
 archives would be subjected to internal controls by an independent body: the Commission for the Control of
                                                   18
 INTERPOL’s Files (Control Commission/CCF).

 19. As of 11 March 2017 (entry into force of the CCF’s new Statute), the Control Commission will have 7
 members. Since September 2014, Ms Nina Vajić, Former Judge and Section President of the European
 Court of Human Rights in respect of Croatia, chairs the Commission. As part of the reform package adopted
 in Bali, the CCF has been divided into two chambers, separating its advisory from its appeals function. The
 appeals chamber will have five members; two other members will fulfill the advisory and supervisory
            19
 functions. The reform package also includes setting clear timetables for the CCF’s work, making its findings
 binding, and increasing the resources at its disposal. In 2015, seven staff members were assisting the
       20
 CCF. Currently, a staff of eight persons (six lawyers and two administrative staff) are assisting the CCF.




 13
    See Rules for the Processing of Data (note 9), Article 76(2), page 32.
 14
    Ibid. (note 9), Articles 78 and 81.
 15
    The Commission’s roles are explained in greater detail in the newly adopted Statute of the CCF, which will enter into
 force on 11 March 2017 (at: https://www.interpol.int/About-INTERPOL/Legal-materials); see also the Operating rules of
 the Commission for the Control of INTERPOL’s files, [II.E/RCCF/CCF/2008], which entered into force 1 November 2008.
 16
    http://www.INTERPOL.int/en/About-INTERPOL/Structure-and-governance/CCF/Commission-for-the-Control-of-
 INTERPOL%27s-Files.
 17
    It was then known as the Supervisory Board for the Control of INTERPOL's Archives.
 18
    http://www.INTERPOL.int/About-INTERPOL/Structure-and-governance/CCF/History (Accessed 19.01.2017).
 19
    INTERPOL website.
 20
    Activity Report of the CCF for 2015 (1986-2016), CCF/96/12/d461, para. 33.


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       3.2.   Supervisory Role

 20. The Control Commission is responsible for checking that the information stored by the General
 Secretariat is obtained, processed and stored in compliance with INTERPOL's rules and regulations, which
 are part of INTERPOL’s internal legal order. For this purpose, it also carries out spot checks.

 21. As part of its supervisory role, the Control Commission examines individual requests. Accordingly,
 Article 9 of the Rules on the Control of Information and Access to INTERPOL’s Files states that “any person
 who so wishes may, freely and free of charge, exercise the right of access to personal information
 concerning him which has been recorded in INTERPOL’s files.”

 22. However, specialised lawyers and NGO’s expressed concerns with regard to the fairness of the
 proceedings before the CCF, and its ability to provide an effective remedy for individuals. Indeed, the
 outcome of such request remains uncertain, as disclosure of relevant personal information, let alone
 substantive redress by the CCF is not automatic. According to the principle of ‘national sovereignty’,
 INTERPOL’s data remain, as a rule, under the control of the National Central Bureau (NCB) which supplied
 it, and whose authorisation is required before any information is released. In some cases, national authorities
 will allow disclosure. In other cases they will refuse to even confirm or deny whether any information exists
 about the person.

 23. In 2013, when the motion underlying this report was launched, the CCF was widely criticised for the
 ineffectiveness of the recourse it offered:

       “its proceedings took years; its members had insufficient expertise; its decisions were insufficiently
       reasoned – literally one-page, cryptic letters with no substantive reasoning at all – and not formally
       binding on INTERPOL; and, perhaps the worst feature for the practising lawyer, the evidence put
       forward by countries seeking to justify maintaining their Red Notices was not disclosed to the
                                      21
       individuals challenging them.”

 24. During the exchange of views with our Committee, in December 2016, the Secretary General of
 INTERPOL argued that the very nature of police work requires that disclosure of information to suspects
 must remain a case-by-case decision. But in my view, when restrictive measures are taken against
 individuals that have a serious impact on their fundamental rights, human rights law requires that the
 individuals are given a minimum of information on the grounds for these measures so that they can defend
 themselves. Such a requirement was strongly supported by the Assembly in its Resolution 1597 (2008) on
 “UN Security Council and EU Anti-terrorism Blacklists”, and relevant reforms have indeed been implemented
                                                                                             22
 regarding both the UN Security Council’s and the EU Council’s sanctions procedures. How much
 information must be disclosed depends on the circumstances of each case. The right to defend oneself
 against unfounded accusations must be balanced against the legitimate interest in the integrity of the on-
 going investigation and in particular the protection of witnesses.

 25. The CCF has therefore rightly, in my view, developed a number of exceptions to the principle of
 national sovereignty and claimed for itself the authority to disclose information from INTERPOL’s files even
 without the consent of the State concerned in certain circumstances. For example, if the NCB decided to
 have an extract of the Red Notice placed on INTERPOL's public website, the Commission will, in principle,
 disclose to the person copies of any other documents held by INTERPOL, unless the NCB can demonstrate
 why this should not be done. The CCF has also granted requests to access information whenever the person
 can prove that INTERPOL possesses information on them. But according to specialised lawyers, such proof
                                23
 is seldom possible in practice.

 26. In addition, legal practitioners have denounced the length of these control proceedings. Indeed, in
 theory, if an NCB fails to respond to a request for permission to disclose information before the deadline
 fixed by the CCF, the latter will presume that the NCB is not opposed to disclosure. But in practice,
 proceedings were kept pending for over a year, prolonging the negative effects that a Red Notice alert has
                                 24
 on the concerned person’s life.



 21
    Alex Tinsley, Echoes of Kadi: reforms to internal remedies at INTERPOL, with further references.
 22
    See also the explanatory report, with references to the case law of the European Court of Human Rights (Doc. 11454,
 Rapporteur: Dick Marty, Switzerland/ALDE).
 23
    See Fair Trials (note 4), page 55 paras. 198-199.
 24
    See Fair Trials (note 4), para. 200.


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 27. In parallel, the CCF examines individual requests to delete information or notices. The procedure
 resembles that applicable to requests for access to information, including the absence of an explicit provision
 giving an individual the possibility to challenge information concerning them held by INTERPOL. More
 generally, the proceedings before the CCF were found to lack transparency, fairness and effectiveness,
 endangering in particular the right to a fair trial and to an effective remedy as set forth in Articles 6 and 13 of
 the European Convention on Human Rights. This could create a problem for the continued jurisdictional
 immunity of INTERPOL.

 28. As independent legal experts pointed out, INTERPOL's activities fall outside the scope of national
 courts as INTERPOL is protected by jurisdictional immunity. INTERPOL has immunity agreements with the
 countries in which it has a physical presence, including France and the United States (and more recently,
 Singapore). Fair Trials International replied to my question that they are unaware of any countries in which
 victims are able to challenge INTERPOL over Red Notices before a domestic court of law; similar challenges
 lodged against NCBs before domestic courts have also failed because of the lack of a sufficient connection
 between the NCBs and INTERPOL. As pointed out by Mr Alex Tinsley (one of the experts who addressed
                                                              25
 the Committee in May 2015 in Erevan) in his recent article , the individual who is subject to a Red Notice
 can attack some of the effects of the Notice before national courts when they are brought about by a national
 authority. But the ongoing effect of a Red Notice as such (e.g. inability to travel without a serious risk of
 being arrested at border points; distress of being “wanted”; reputational harm) is attributable to INTERPOL,
 which is alone competent for issuing and maintaining Red Notices.

 29. The Secretary General of INTERPOL noted at the hearing in December 2016 that technically,
 jurisdictional immunity is foreseen only in the seat agreements with the small number of countries where
 INTERPOL has a physical presence. Its legal director specified that INTERPOL maintains its position that as
 an international organisation it enjoys immunity and that the CCF has exclusive jurisdiction to address
 requests from individuals and therefore no national court or other tribunal may attempt to exercise
 jurisdiction, or otherwise intervene in cases related to notices/diffusions or other data processed via
 INTERPOL’s channels.
                                                                              26
 30. According to the case law of the European Court of Human Rights as well as the European Court of
        27
 Justice , such immunity is only acceptable, and an international organisation may escape the jurisdiction of
 national courts only when it offers an alternative system ensuring access to justice. The question is therefore
 whether the CCF, which is (de facto or de jure) the only redress available for an individual trying to ward off
 an abusive Red Notice, can be seen as an effective remedy, or, in the words of the Strasbourg Court, a
 “reasonable alternative means to protect effectively their rights”. It is thus in the interest of INTERPOL itself
 that the CCF fulfills the criteria to be recognised as an effective remedy. The CCF’s main function is to
 provide effective redress to anyone targeted by an abusive Red Notice – which would then also justify
 INTERPOL’s judicial immunity.

 31. Whether or not the CCF can be seen as an effective remedy, or a reasonable alternative means
 ensuring access to justice, depends on a number of factors, including the CCF’s independence, the fairness
 of its proceedings (in particular, the right of the applicant to be heard and to be informed of the grounds of
 suspicion against him or her), and the effectiveness of the relief granted by the CCF (in terms, for example,
 of the length of proceedings, the possibility of interim relief, and the binding effect of the CCF’s findings on
 INTERPOL).

 32. In my view, the CCF could hardly be considered an effective remedy before the reforms decided in
 Bali in November 2016. As regards independence, the CCF had made some progress by 2015 in that the
 Secretariat General was no longer a party in the review of the cases, which was undertaken by the
 Commission alone. Regarding effectiveness of the redress granted, the General Secretariat “usually”
                                                  28
 implemented the Commission’s conclusions. But in 2015, the CCF was in session for just 12 days and had
 a staff of 7 persons assisting it – to deal with a total of 552 individual requests introduced in 2015 alone, on
 top of the general supervisory and advisory functions the same members of the CCF had to fulfil. The CCF,
 in its 2015 annual report, indicates itself that



 25
    Note 21 above.
 26
    Waite and Kennedy v. Germany, judgment of 18 February 1999 (GC), application no. 26083/94 (at paras. 68-69);
 Nada v. Switzerland, judgment of 12 September 2012 (GC), application no. 10593/08 (at para. 211).
 27
    Kadi and Al Barakaat v. Commission and Council, judgment of the European Court of Justice (Grand Chamber) of 3
 September 2008.
 28
    See Activity Report of the CCF for 2015 (note 20 above), paras. 110-113.


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       “[t]he profile of the requesting parties has changed over the years. The Commission used to deal
       directly with individuals wanted for offences of murder, drug trafficking, or other ordinary law crimes.
       Now the Commission frequently processes requests from politicians, former Heads of State or
       Government, or businessmen wanted for fraud offences, who are represented by law firms specialised
       in data protection and/or in requesting deletion of data registered in INTERPOL files based on Articles
       2 or 3 of INTERPOL’s Constitution. Recent requests tend to be more complex and often involve the
       submission of extensive legal arguments, and large volumes of documentation, that require more back
                                              29
       and forth communication with NCBs.”

 33. In view of these developments, and of the very rapidly increasing number of Red Notices, the
 resources available to the CCF, at least until 2015, were simply insufficient. The previously-mentioned
 complaints by lawyers handling such requests about long delays and insufficient reasoning provide ample
 anecdotal evidence for this conclusion.

 34. The question is whether the above-mentioned reforms adopted in Bali in November 2016 are sufficient
 to ensure that the CCF can henceforth provide an effective remedy to putative victims of abusive Red
 Notices. In my view, much will depend on how these reforms will be implemented in actual practice. This
 concerns, firstly, the resources in terms of meeting time of the CCF and staff that will be placed at the
 disposal of the Commission. Regarding staff, the CCF has its own secretariat (six lawyers and two
 administrative staff members). I was assured by Interpol’s legal director that the CCF’s secretariat is
 completely separate from the task force that conducts the ex-ante review. It is indeed important that an
 effective “firewall” exists between staff members who carry out the checks “upstream”, before issuing a Red
 Notice, and those who work on the applications to the CCF challenging the earlier decisions of the former.

 35. Secondly, the creation of a separate Requests Chamber whose members are lawyers with relevant
 backgrounds is definitely a step in the right direction; so are the new rules placing stricter limits on time
 frames, mandating reasoned decisions, making them binding on INTERPOL and providing for the possibility
 of interim relief. The procedure before the reformed CCF should become truly adversarial, allowing both
 sides to present their arguments, and in particular allowing the person concerned by the notice to comment
 on the information presented by the requesting NCB in support of the notice. Very importantly, the procedure
 should lead to a decision within a reasonable period of time – the standard should be analogous to that set
 by the European Court of Human Rights in its case law of on the length of criminal proceedings, which have
                                                                 30
 similarly harsh consequences on the daily lives of suspects. It must therefore be welcomed that the new
 Statute of the CCF lays down in its Article 32 that a decision on admissibility of a complaint must be taken
 within one month from its receipt and that an explanation must be given in case of a finding of inadmissibility.
 Under Article 40, a request for access to data must, as a rule, be decided within 4 months and one for
 correction or deletion of data within 9 months of the admissibility decision.

 36. Thirdly and lastly, it will be crucial how the Commission will apply its new Statute in practice, in
 particular Article 35. This article provides some guidance for balancing the conflicting interests of the
 applicant and the requesting NCB regarding disclosure of information. The first paragraph of this article
 states the principle of mutual access to evidence both for the applicant and for the NCB having requested
 the Red Notice. But the second paragraph reiterates the need for consultation prior to disclosure. The third
 paragraph clarifies on which basis NCBs may object to disclosure (including, understandably, the need to
 protect the confidentiality of an ongoing investigation). The fourth paragraph of Article 35 attempts to strike a
 balance when an objection to disclosure is raised by the NCB. The CCF could then disclose a summary
 instead of the actual evidence. Article 35 paragraph 4 also notes that “the failure to establish a justification
 [author’s note: for objecting to disclosure] will not lead to the disclosure of the evidence, but may be taken
 into account by the CCF in deciding on the request.” This could be read as meaning that the CCF may
 continue to rely on evidence undisclosed and unseen (and uncommented) by the applicant if an NCB can
 convince the CCF that it has acceptable reasons for objecting to disclosure. This would be less protective of
 the applicant’s procedural rights than the case law of the Court of Justice of the European Union on
 disclosure of evidence in security-related cases. Article 35 thus leaves gaps for the CCF to fill in by
                              31
 interpretation and practice.


 29
    Activity Report 2015, paras. 76 et 77; voir aussi para. 84.
 30
    See for example Dimitrov and Hamanov v Bulgaria, Nos 48059/06 and 2708/09, 10 May 2011, at para 70 and case
 law cited; Pimentel Lourenço v Portugal, No. 9223/10, 23 October 2012, at para 32; Ardelean v Romania,
 No. 28766/04, 30 October 2012, at para 82; see presentation of the Strasbourg Court’s case law by Marc Henzelin and
 Héloïse Rordorf, “When does the length of criminal proceedings become unreasonable according to the European Court
 of Human Rights?”.
 31
    See Tinsley (note 21), in fine, with reference to relevant judgments.


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 4.     Substantive standards: Articles 2 and 3 of INTERPOL’s Constitution and its Refugee Policy

 37. Respect for human rights is enshrined in Article 2 of INTERPOL’s Constitution, which mandates the
 Organisation to ensure and promote international police cooperation “in the spirit of the Universal Declaration
 of Human Rights”. It is also emphasised in Article 2(a) of INTERPOL’s Rules on the Processing of
 Information, which provides that information is to be processed by the Organisation or through its channels
 “with due respect for the basic rights of individuals in conformity with Article 2 of the Organization’s
 Constitution and the Universal Declaration of Human Rights”. In 2014, the Secretariat of INTERPOL was
                                                                                                     32
 invited by its General Assembly to develop and publish a “Repository of Practice” on Article 2 , which is
 eagerly awaited by civil society. This document should explain, inter alia, how INTERPOL takes into
 consideration extradition refusals by States on human rights grounds, and how it interprets and applies the
 prohibition of torture and of the use of evidence obtained by torture.

 38. An important aspect of the duty to respect human rights is spelt out in Article 3 of INTERPOL’s
 Constitution, according to which

        “It is strictly forbidden for the Organization to undertake any intervention or activities of a political,
        military, religious or racial character.”

 39. This rule should protect individuals from political, religious or racial persecution and ensure
 INTERPOL’s independence and neutrality. It also reflects international extradition law, thus stressing the
 required purposive link between Red Notices and extradition. When extradition was never requested, was
 refused or is otherwise impossible, the Red Notice has no more (legitimate) reason to exist and must
 therefore be deleted. This should be verified at regular intervals in order to prevent Red Notices with all their
 negative consequences for the individual from “lingering” indefinitely.

 40. One difficulty for the implementation of Article 3 is that there are not only offences that are political,
 military, religious or racial per se (so-called “pure” offenses), i.e. acts criminalised solely due to their
 political/military/religious/racial nature, directed against the State and affecting exclusively the public interest
 – for example, the crimes of treason, espionage, apostasy, or provisions criminalising the violation of
 apartheid rules; but also ordinary law crimes with a political/military/religious/racial) background (so-called
 “relative” offenses), i.e. acts that also contain ordinary-law elements and also affect private interests. In the
 presence of “relative” offenses, INTERPOL applies the so-called “predominance test”
 (Resolution AGN/20/RES/11), on a case-by-case basis. Article 34 of INTERPOL’s Rules on the Processing
 of Data indicates that the following elements should be taken into account:

 -      The nature of the offence, namely the charges and the underlying facts;
 -      The status of the person concerned;
 -      The identity of the source of data;
 -      The position expressed by another country or another international entity (such as an international
        tribunal);
 -      Obligations under international law;
 -      Implications for the neutrality of the Organization; and
 -      The general context of the case.

 41. These elements are very general and provide little guidance for the assessment of individual cases. In
 line with proposals by representatives of civil society, INTERPOL has therefore developed a “Repository of
 Practice” on Article 3. According to INTERPOL’s website, “[t]he Repository provides guidance on the
 evolution and development of INTERPOL’s practice in application of Article 3 in a variety of circumstances,
 including offences committed by politicians and former politicians; offences committed in an unconstitutional
 seizure of power; offences with military, religious or racial aspects and offences against the security of the
 state.” This repository could be an important resource for putative victims of abusive Red Notices and their
                                                                   33
 lawyers – but it is still not published on INTERPOL’s website. This is particularly regrettable as the CCF’s
 decisions (to date) lack meaningful justifications and are in any case not available to the public. This means
 that the “Repository of Practice” is really the only possible source to access INTERPOL’s “case law” as to the
 interpretation of Article 3.

 32
    Resolution No. 18, AG-2014-RES-18, and Art. 34(4), INTERPOL’s Rules on the Processing of Data.
 33
    It is not available on INTERPOL’s website (as of 19.1.2017); but an older version is available on the internet in the
                                                                                  st
 form of a Council of Europe document (CAHDI (2011) Inf 3 distributed at the 41 meeting of the Committee of Legal
 Advisers on Public International Law (CAHDI) in Strasbourg on 17-18 March 2011 (Contribution from Interpol,
 “Repository of Practice: Application of Article 3 of INTERPOL’s Constitution in the Context of the Processing of
 Information via INTERPOL’s Channels”).


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 42. INTERPOL’s new refugee policy was made public during a series of meetings in 2015, including at
                                                                   34
 our Committee hearing in Erevan (Armenia) on 19 May 2015. UNHCR also indicated to me that it is aware
 of this policy. But it can unfortunately still not be found on INTERPOL’s website.

 43. In substance, the new refugee policy implies that a Red Notice or diffusion will generally be withdrawn
 if the wanted person’s status as a refugee or asylum-seeker is confirmed by the country of asylum, the
 notice/diffusion has been requested by the country where the individual fears persecution, and the granting
 of refugee status is not itself a political act directed at the country that initiated the Red Notice/diffusion. Also,
 if the country of asylum, in confirming the wanted person’s refugee status, requests not to be named in
 communications with the country of origin, INTERPOL does not reveal the country of asylum.

 44. This revised policy is seen among specialised practitioners as a clear progress in relation to the earlier
 practice of maintaining the Red Notice and merely attaching a “note” or “caveat” on the wanted person’s
                 35
 refugee status. By leaving the assessment of the accusation directed at a refugee to the country of asylum,
 which is best placed to assess all the circumstances of the case, this policy also contributes to safeguarding
 the integrity of the institution of asylum in those cases where wanted persons may be hiding behind their
                                                         36
 refugee status to escape accountability for their crime. The policy clearly deserves to be properly publicised
 so that it can develop its full potential.

 45. It should finally be noted with appreciation that in 2015, the CCF decided to put in place special
 procedures for refugees and gave a specially designated “rapporteur” authority to deal with such cases in the
 interval between the CCF’s meetings.

 5.    Allegations of abuse

 46. Over the last years, there have been allegations that in a number of cases INTERPOL and the “Red
 Notices” system in particular was abused by some member States in the pursuit of political goals, including
 repressing the freedom of expression or persecuting members of the political opposition abroad.

 47. Cases of suspected abuses of INTERPOL for political purposes, including the persecution of human
 rights activists, political opponents, and journalists, were documented by a number of non-governmental
 organisations, including Fair Trials International and the Open Dialogue Foundation, whose representatives
 also spoke before the committee during the hearings in Erevan in May 2015 and in Paris in December 2016.

 48. For instance, Mr Akhmed Zakaev, President of the so-called Chechen Republic of Ichkeria (the
 unrecognised secessionist government of Chechnya) was arrested in Denmark on a Red Notice on the basis
 of allegations of terrorism. After a month in custody he was released for lack of evidence supporting the
 extradition request. He was arrested again in the United Kingdom on the strength of the same Red Notice. In
 2003, he was granted asylum by the United Kingdom after Russia’s extradition request was dismissed by the
                                                                  37
 British courts because it was found to be politically motivated.

 49. In 2011, Mr Benny Wenda, the leader of the West Papuan independence movement, recognised as a
                                                                                                             38
 political refugee in the United Kingdom, discovered that he was subject to a Red Notice seeking his arrest.

 50. Mr Baran Kimyongür, a Belgian-Turkish activist, had disturbed an exchange of views between the
 EP’s foreign affairs committee (AFET) with the Turkish foreign minister, in 2000. Years later, the Turkish
 authorities circulated via INTERPOL an arrest warrant alleging that this action evidenced his membership in
 a “terrorist organisation”. As a result, Mr Kimyongür was arrested three times in three different countries,
 spending over 100 days in detention. Three courts, in the Netherlands (2006), Spain (2014) and Italy (2014)
 refused his extradition on the ground that the Turkish authorities did not provide any proof of participation in
 a terrorist organisation, bearing in mind Mr Kimyongür’s right to freedom of expression. Following an
 intervention by Fair Trials International on his behalf, INTERPOL duly deleted the alert. But in April 2015,
 Mr Kimyongür and his family were stopped at Zurich airport on the way to a family holiday in Thailand, on the

 34
     See declassified minutes of the hearing and https://www.fairtrials.org/INTERPOL-announces-new-asylum-policy-at-
 council-of-europe-meeting/.
 35
    See for example https://www.fairtrials.org/guest-post-INTERPOLs-new-political-refugee-policy-is-already-affecting-
 lives-for-the-better/.
 36
    For general information on UNHCR’s position, see the 2008 “Guidance Note on Extradition and International Refugee
 Protection”.
 37
    FTI report (note 13), page 78.
 38
    FTI report (note 13) page 6.


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 basis of “very old” facts, in the words of the border agent. The arrest was not made on the basis of a new
 Red Notice, but it is assumed to have taken place because of traces of the previous Red Notice remaining in
 the system.

 51. Mr Azer Samadov left Azerbaijan for fear of political persecution after having supported a candidate
 opposing President Aliyev in 2003. He was first arrested in Georgia, accused of “participating in public
 disorder” under Article 220 of the Azerbaijani criminal code. He was later recognised as a refugee by
 UNHCR and granted protection by the Netherlands. But in 2009 he was again detained, at Amsterdam
 airport, due to an INTERPOL alert issued by Azerbaijan. His application to the CCF in 2010 did not receive
 any answer. In 2014, the Chief of the Dutch National Police Central Unit contacted the CCF, reminding them
 that they had been silent for over four years and pointing out that Mr Samadov was considered as welcome
 in the Netherlands. Having still not received an answer, Mr Samadov remained unable to travel, including for
 receiving crucial medical treatment in Germany, because of the Red Notice. The notice was finally removed
                                                                                            39
 in 2015, eight years after it was first issued, on the basis of INTERPOL’s Refugee Policy.

 52. Mr Djamel Ktiti, a French national, was arrested first in Morocco and then in Spain on the basis of an
 INTERPOL Red Notice issued at the request of Algeria. He spent altogether two and a half years in
 detention. On both occasions, his extradition was refused on the basis of a finding by the UN Committee
 against Torture (UNCAT) in 2011 that his extradition would present an unacceptable risk of his being
 exposed to torture and being prosecuted on the basis of evidence obtained by torture. An application to the
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 CCF by FTI and Redress was made in January 2015, and the Red Notice was removed later that year.

 53. Captain Paul Watson, a Canadian environmental activist, was arrested in Frankfurt on the basis of a
 Red Notice requested by Costa Rica ten years after an incident in 2002, when his ship “Sea Shepard”
 intervened against a poaching (shark-finning) Costa Rican fishing boat in Guatemalan waters at the request
 of the Guatemalan government. Shortly after the incident, he was acquitted by a Costa Rican court of
 charges first of attempted murder, then of assault (against the Costa Rican fishermen). The Costa Rican
 court was clearly convinced of Mr Watson’s innocence by the extensive film footage of the incident, which
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 was later also shown in the documentary film “Sharkwater”. But according to his lawyer, Captain Watson is
 still, or again, subject to a Red Notice, based on the same facts.

 54. In some cases INTERPOL has itself rejected requests when suspecting that charges were politically
 motivated, for example in the case of Mr William Browder. Mr Browder, a British businessman and
 financier, had successfully lobbied for the adoption of the ‘Magnitsky Law’ in the US, which imposed
 sanctions on Russian officials involved in the killing of Mr Browder’s former Russian lawyer, Sergei
 Magnitsky and in the cover-up of the crime Mr Magnitsky had denounced, which was subsequently blamed
 on Mr Browder. Mr Browder is lobbying governments and parliaments across Europe to pass similar
                42
 legislation. In May 2013, the CCF ruled that the Russian Federation's request to seek the location of
 William Browder was predominantly political in nature and therefore recommended that all data relating to
                                                                     43
 the Russian Federation's request concerning Mr Browder be deleted. In July 2013, INTERPOL dismissed
 another request from Moscow’s NCB seeking to locate and arrest Mr Browder with a view to his extradition
                                                                                44
 on a charge of ‘qualified swindling’ as defined by the Russian Penal Code. Nevertheless, Russian
 authorities continued to pursue Mr Browder, and allegations were made that President Putin himself tried to
 influence INTERPOL during a meeting with Mr Noble, INTERPOL’s outgoing Secretary General in October
        45
 2014. In January 2015, Russia’s third attempt to have a Red Notice issued against Mr Browder was
 rejected, the CCF ruling once again that the request was ill-founded because it was “predominantly
             46
 political.”



 39
    More detailed information on the case of Mr Samadov.
 40
    More detailed information on the case of Mr Ktiti.
 41
    See http://www.sharkwater.com/ (accessed 23.02.2017).
 42
     On 28 January 2014, PACE has adopted Resolution 1966 (2014): Refusing impunity for the killers of Sergei
 Magnitsky.
 43
    http://www.INTERPOL.int/News-and-media/News/2013/N20130528, (accessed 12.02.2015).
 44
    Law and Order in Russia ‘Russia Ignores INTERPOL’s Ruling and Re-Applies to INTERPOL for a Red Notice for
 William Browder to Block Magnitsky Justice Campaign’, 5 June 2013.
 45
          http://www.rednoticelawjournal.com/2015/01/INTERPOLs-third-decision-on-russias-red-notice-request-for-william-
 browder-no-red-notice/; see also http://www.telegraph.co.uk/news/worldnews/vladimir-putin/11240371/INTERPOL-must-
 not-collude-with-Vladimir-Putins-thugs.html and the item on INTERPOL’s website covering the meeting between
 Mr Noble and Mr Putin at: https://www.interpol.int/News-and-media/News/2014/N2014-208.
 46
    Law and Order in Russia ‘INTERPOL Definitively Rejects Russia’s Request to Issue an International Arrest Warrant for
 Bill Browder’, 26 January 2015.


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 55.    Here are some more recent examples, in brief:

        - Mr Nikita Kulachenkov, a Russian national recognised as a refugee in Lithuania for his links with
        a prominent anti-corruption activist, was arrested in Cyprus in January 2016 on the basis of a Russian
        INTERPOL Red Notice. His extradition was sought over the alleged theft of a drawing valued a little
        more than one Euro made by a street sweeper, who reportedly had no objections that the artwork was
        taken by someone. Mr Kulachenkov was detained for nearly three weeks before the Cypriot authorities
        decided to refuse extradition and release him.
        - Mr Mehdi Khosravi was arrested in northern Italy in August 2016 on the basis of an Iranian
        INTERPOL Red Notice. Mr Khosravi had fled Iran following political protests in 2009, and had
        successfully claimed asylum in the United Kingdom. Mr Khosravi’s arrest was subject to intense
        international criticism, including from Reza Pahlavi, before he was released, and his Red Notice was
        deleted further to a request made by his lawyer to the CCF.
        - Mr Oleg Vorotnikov is a leader of a street art collective, who has been living in exile since 2011
        due to fears of reprisals in Russia against his controversial public works. He was detained in the
        Czech Republic on the basis of a Russian Red Notice in September 2016. Although he has since
        been released, his Red Notice has yet to be withdrawn.
        - Mr Dolkun Isa is an award winning activist and the Secretary General of the World Uyghur
        Congress who was granted refugee status in Germany, where he was in the meantime naturalised as
        a citizen. He has been subject to a Red Notice requested by China since 2003. As a result, Mr Isa has
        faced difficulties travelling abroad to carry out his advocacy activities promoting Uyghur self-
        determination, and most recently in April 2016, his visa to India was revoked, preventing him from
        attending a conference organised by the Tibetan government in exile.
        - Ms Aysen Furhoff is a Turkish national who was naturalised as a Swedish citizen after having
        been granted human rights protection on the basis of the risk that she could be tortured if she returned
        to Turkey. She was arrested in Georgia on the basis of a Red Notice requested by Turkey in 2015,
        and had to stay there for over a year due to delays in her extradition proceedings. In December 2016,
        she left Georgia and made her way back to Sweden, before any conclusion could be made on her
        extradition proceedings, but her Red Notice remains.
        - Ms Natalya Bushueva was stopped in transit at an airport in Moscow on the basis of a Red Notice
        requested by Uzbekistan in July 2016. She had previously been a correspondent for the German
        international radio service Deutsche Welle and fled Uzbekistan after covering the events of the
        Andjian massacre in 2005. She was subsequently granted refugee status in Sweden, where she was
        naturalised. Although she managed to avoid arrest, Ms Bushueva remains at risk of arrest and
                                                                                         47
        extradition to Uzbekistan due to the Red Notice that has still not been deleted.
        - Mr Mukhtar Ablyazov is a Khazak opposition leader and businessman, who was granted political
        asylum in the United Kingdom in 2011. Despite the fact that Interpol was promptly informed of this, he
        was subjected to Red Notices issued following requests by Kazakhstan and, upon this country’s
        request, by the Russian Federation and Ukraine, between 2010 and 2013. He was arrested in France
        in July 2013 and released on 9 December 2016, the day of the final refusal of the extradition request
        by the French Conseil d’Etat. Dozens of family members and supporters of Mr Ablyazov are still being
                                                     48
        persecuted, including through Red Notices.
        - Mr Alexander Lapshin, a “travel blogger” holding Russian, Ukraine and Israeli nationality, was
        arrested in Minsk in mid-December 2016 on the strength of a Red Notice requested by Azerbaijan on
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        the basis of visits to Nagorno-Kharabakh in 2011 and 2012, which he had commented on in his blog.
        - Last but not least, I have also been informed of a number of cases in which Kurdish refugees from
        Turkey have been targeted through the use of INTERPOL Red Notices by Turkey. These cases
        appear to be increasingly common following the political unrest in Turkey last year.

 56. These – recent – cases have me worried about the practical effectiveness of the policies put into place
 by INTERPOL, in particular the Refugee Policy, which should have prevented cases such as those of
 MM. Kulachenko, Khosravi and Isa as well as those of Ms Furhoff and Ms Bushueva.



 47
       See    also     the     database     collated     by   John       Heathershaw    at   the  University    of   Exeter
 (http://www.centimedia.org/excas/exiles/), which contains information about political activists in exile from Central Asia.
 One of the individuals included in the database in Muhiddin Kabiri, the leader of Tajikistan’s Islamic Renaissance Party,
 who is currently in exile in an undisclosed country.
 48
    See Open Dialog, Report: Kazakhstan pursues former top managers of BTA Bank in order to obtain their testimonies
 against Mukhtar Ablyzazov, 10 February 2017.
 49
    See “The blogger jailed for visiting a country that ‘doesn’t exist’”, BBC, 7 February 2017.


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 57. As part of my fact-finding efforts concerning possible abuses, I also followed up the European
 Commission’s reply to a question in the European Parliament in which the Commission declared that it
 “stands ready to assist the Parliamentary Assembly of the Council of Europe in the preparation of its report,
 and is available to share its findings on the issue of possible abuses of Interpol's system for politically
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 motivated purposes as part of the planned consultation of the PACE AS/Jur Committee.” I was informed
 that no written document reflecting the results of the survey carried out by the Commission exists. Its results
 were presented to the Council’s Law Enforcement Working Party in October 2015. According to the summary
                                                    51
 by the competent service of the Commission of the replies collected from the relevant authorities of EU
 member countries (replies received from 22 of the 28 Member States), a significant proportion of
 respondents had signalled problems with the reliability of INTERPOL Red Notices – mostly in terms of lack of
 sufficient information and clarity. About one half of the replies submitted by the EU Member States NCB’s
 mentioned that they had experienced unlawful Red Notices. Only a minority of the NCB’s who replied to the
 questionnaire accept and act on Red Notices without further checks. The others do not consider a Red
 Notice as such as a valid reason to arrest someone. In reply to the question of what possible improvements
 could be made, proposals included the suggestion that INTERPOL tighten its own rules and allocate more
 resources to checks and that INTERPOL should sanction NCB’s from which numerous abusive requests
 emanated. A number of respondents also said they are concentrating checks on Notices emanating from
 certain countries. But it should be recalled that the objective of the Commission’s survey was not to collect
 information on possible politically-motivated abuses of the Red Notice procedure, but “to contribute to
 Interpol's further work in the field of data protection, notably by providing it with an overview of how EU
 Member States currently use Interpol's notices and diffusions and how these tools could be further improved,
                                                 52
 in particular in the field of data protection.”

 6.   Weaknesses of the existing system and possible remedies – application of the “principle of
 causal responsibility”

 58. Given the damage abusive Red Notices can do to the lives of innocent people, it is important that
 weaknesses of the system are identified and remedied. The examples of actual abuses show that
 weaknesses exist both with regard to preventing abuses and remedying abuses that have already occurred.
 The weakness residing in the limited resources available to INTERPOL concern both ex ante checks to filter
 out possible abuses and ex post relief by the CCF. Red Notice requests need to be assessed prior to
 publication by appropriately qualified staff members who have the time to take into account information
 available from open sources on the cases in question and to ask requesting NCB’s for supplementary
 information. Complaints before the CCF must be examined in such a way that all relevant information is
 collected from both sides and that it is assessed in light of applicable legal rules, including INTERPOL’s own
 Constitution and all relevant legal and human rights standards. The exponential growth in the number of Red
 Notices in recent years has not been matched with a similar increase in the resources available for ex ante
 and ex post scrutiny.

 59. So the first measure that needs to be taken is to give INTERPOL the resources needed to cope with
 the increased use made of its services. But in today’s budgetary landscape, as in all international
 organisations, it is not likely that sufficient extra funds will be allocated any time soon. It is therefore vital that
 existing resources are used efficiently. One approach would be to implement the “principle of causal
 responsibility”, making those users (NCB’s) pay for the cost of extra scrutiny made necessary by a higher
 case-count of abusive requests introduced by them. The “principle of causal responsibility” has first been
 recognised in environmental law (“polluter pays”), and it would have the same beneficial effects –
 incentivising a reduction in damaging behaviour and at the same time generating additional resources for
 prevention and ex-post redress. In my view, such an approach, if based on solid statistical data, would not
 violate the fundamental principle of the equality of all member States. Differentiated treatment based on
 different facts is not a violation of the principle of equality. In addition to “causal responsibility” for the
 budgetary costs generated by abusive requests, the efficiency of ex-ante and ex-post scrutiny of Red
 Notices could also benefit from a concentration of available resources on requests emanating from NCB’s
 with a high case count of Red Notices found abusive in the past. “Profiling” is a widespread police technique.
 It is not a violation of the equality principle as long as the profiling criteria are non-discriminatory and applied
 on the basis of solidly established, verifiable facts.




 50
      Link question and thereply: http://www.europarl.europa.eu/sides/getDoc.do?pubRef=-//EP//TEXT+WQ+E-2015-
 002608+0+DOC+XML+V0//EN.
 51
    In the form of a telephone conference at working level on 20 December 2016.
 52
    Commission reply (note 52).


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 60. A good start would be for INTERPOL to make more intensive use of the facilities available to it under
                                                                         53
 Articles 130 and 131 of its Rules on the Processing of Data (RPD). These include the possibility, for
 INTERPOL’s Secretariat, to invite NCB’s to suspend or withdraw access rights, or to do so itself, and even to
 take one or more of the corrective measures listed in Article 131. According to the information received from
 INTERPOL, these facilities are indeed not used very frequently. Again, the use of these facilities, which can
 be resource-intensive (such as dispatching an assessment team to the NCB) could be concentrated on
 NCB’s with a high case count of past abuses.

 61. INTERPOL is in effect a police organisation that is not subjected to any direct judicial or parliamentary
 controls. In my view, such a privileged status can only be accepted if all participating States, or more
 precisely, INTERPOL’s national interlocutors, the NCB’s, are in turn subject to such controls. This is surely
 the case in many member States of INTERPOL, but unfortunately not in all, as numerous examples of
 abuses show. It is precisely in those countries which have a high case count of abuses of the INTERPOL
 system that the national courts also tend to lack independence and/or professionalism. It would therefore not
 be very helpful for victims to grant them judicial recourse against Red Notices before the courts of the
 requesting country.

 62. For this reason, an international recourse mechanism for putative Red Notice victims, such as the
 CCF, makes good sense. This mechanism must fulfil the minimum standards laid down in Article 6 ECHR
 and Article 14 ICCPR. These minimum standards include the independence of the “tribunal” and that it is
 empowered to actually adjudicate the cases before it, and not merely express recommendations – an issue
 that has now been settled in the reform package adopted in Bali, which makes the CCF’s decisions binding
 on INTERPOL. The separation of the CCF’s advisory functions from its adjudicatory role decided in Bali will
 allow INTERPOL to ensure that members and staff of the future advisory and adjudicatory bodies will be
 appropriately qualified in their respective fields – i.e. criminal law and procedure and human rights law for the
 adjudicatory body and information technology and data protection for the advisory body.

 63. In order to create and maintain a sound factual basis for policy decisions aimed at minimising abuse,
 the INTERPOL secretariat, in cooperation with NCB’s, should collect statistical information on the total
 number of alerts issued, broken down by countries; the number of CCF complaints, by country of origin of
 the Notice; the number of deletions (including reasons for the deletions); and the number of Red Notices that
 have given rise to extradition (or not). A summary of this information should be made public at regular
 intervals, in order to improve the accountability of INTERPOL vis-à-vis its member States and vice versa,
 and in order to give member States an objective basis to assess the reliability of alerts coming from different
 NCB’s. Weaknesses that become apparent from these statistics can then be addressed in a targeted
 manner, with a view to correcting them through cooperation measures such as training and technical
 assistance. As a last resort, these statistics can also serve as an objective, non-discriminatory basis for
 appropriate sanctions, targeted resource allocation (“profiling”) or the application of the principle of causal
 responsibility (“polluter pays”, see para. 59).

 64. Even the best possible ex-ante and ex-post checks cannot prevent all (intentional) abuses of Red
 Notices, and bona fide errors also happen, as in any human activity. In the fight against transnational crime,
 speedy action can be essential, which increases the risk of mistakes. As at the national level, some risk for
 innocent persons to find themselves arrested and imprisoned on remand for some time must be accepted as
 the price to be paid for efficient law enforcement, which is in turn needed to keep many more innocent
 persons safe from crime. This is also accepted at the national level. But at the national level, persons who
 were innocently imprisoned are entitled to financial compensation. Such compensation is in principle also
 available to persons who were held in detention following an abusive or erroneous Red Notice, according to
 the laws of the arresting country. The mere existence of a Red Notice does not exonerate the arresting
 authorities when the person arrested turns out to be innocent. But the mere existence of a Red Notice, even
 without an arrest, can also cause much damage in itself, in particular when the target is a businessperson
 whose livelihood depends on international mobility. The best remedy is of course the speedy deletion of
 unjustified notices. But if there are delays, especially when the CCF is overwhelmed by a large number of
 complaints, or when the requesting NCB fails to answer requests for additional information in good time, it
 would only be fair to provide pecuniary compensation for losses that can be established with reasonable
 certainty, as well as for the aggravation and anguish caused by Red Notices that turn out to be unjustified.
 As it would be impractical for victims to sue the requesting NCB before the courts of the country concerned, it
 would make sense to establish a fund for the compensation of victims of abusive Notices located at
 INTERPOL. In accordance with the principle of causal responsibility (“polluter pays”), this fund should be fed
 by contributions from States proportionately to the number of unjustified notices requested by their NCB’s.


 53
      Available at: http://www.INTERPOL.int/fr/About-INTERPOL/Legal-materials/Fundamental-texts.


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 7.    Conclusion

 65. There is no doubt that ‘Red Notices’ can cause serious human rights violations when they are abused,
                                                                                                          54
 or “weaponised”, as a former German Federal Minister of Justice recently wrote in the Wall Street Journal ,
 by oppressive regimes in order to persecute their opponents even beyond their borders. Even unintentional
 mistakes, for example due to haste or lack of professionalism can cause much damage. They impede on an
 individual’s freedom of movement, restrict employment possibilities and business activities and more
 generally, they damage an individual’s reputation. Sometimes, people are arrested and extradited to
 countries where they cannot expect a fair trial, or where they are threatened by torture or inhuman and
 degrading treatment, without even knowing that they were the subject of an INTERPOL notice.

 66. By contrast, when the suspect of a crime is arrested in conformity with relevant human rights
 standards such as those laid down in Articles 5 and 6 of the European Convention of Human Rights, any
 unavoidable interference with the suspect’s rights to liberty, property etc. is not a human rights violation,
 though it should give rise to compensation when an innocent person has been targeted due to a bona fide
 mistake.

 67. As we have seen in the course of the fact-finding for this report, INTERPOL Red Notice procedures
 have been abused by certain member States, and INTERPOL has been unable to prevent many such
 abuses or provide relief in good time, despite considerable efforts made to strengthen ex ante and ex post
 scrutiny. A number of reforms have therefore been decided, and more are needed in my view, in order to
 further strengthen the credibility of INTERPOL for the sake of protecting its important mission in the fight
 against serious transnational crime, including terrorism. This would in turn strengthen the protection of
 fundamental rights and freedoms not only of the targets of abusive or otherwise unjustified Red Notices, but
 also of the victims of criminals walking free because of malfunctioning international police cooperation.

 68. This report assesses the principal weaknesses of the existing system and ways and means to remedy
 them. Targeted individuals must be able to challenge Red Notices following fair procedures that are in
 conformity with national and international human rights guarantees – in particular, the rights to an effective
 remedy and to a fair trial, adapted as needed to the context of international cooperation. The principle of
 causal responsibility (“polluter pays”), applied on the basis of sound statistics, can justify a more targeted use
 of limited resources available for review purposes and incentivise States or NCB’s to reduce unjustified
 notice requests. Unchecked abuses of INTERPOL's procedures clearly raise issues of judicial accountability,
 both of States involved in abuses, either by making abusive requests or by executing them, and of
 INTERPOL, to the extent that its responsibility is engaged for providing assistance to States violating human
        55
 rights. It is therefore very much in both INTERPOL’s and its member States interest that the CCF continues
 to successfully grow into the “effective remedy” within the meaning of relevant international human rights
 standards in order to justify the continued judicial immunity of the Organisation.

 69. In light of Professor Nina Vajic’s speech as Chair of the CCF at INTERPOL’s General Assembly in Bali
                     56
 in November 2016 , I trust that the CCF will indeed ensure that it provides such an “effective remedy”. As
 part of my follow-up mandate after the adoption of this report, I will not fail to observe the evolution of the
 CCF and the interpretation it gives to its new Statute in actual practice. The preliminary draft resolution
 includes a number of constructive proposals and recommendations designed to promote our common goal
 to further strengthen INTERPOL as a key tool in the fight against international crime, including terrorism.




 54
    See Däubler-Gmelin (note 4).
 55
    See report by José Maria Beneyto (Spain/EPP) on Accountability of International Organisations for human rights
 violations, pages 8-9 (Assembly Doc. 13370 dated 17 December 2013), adopted during the January 2014 part-session
 (see Resolution 1979 (2014) and Recommendation 2037 (2014). In his report, Mr Beneyto has referred to some issues
 regarding INTERPOL, which were taken up in the motion underlying the present report (see paragraphs 56 and 57 of the
 explanatory report).
 56
    Professor Nina Vajic’s speech as Chair of the CCF at INTERPOL’s General Assembly in Bali in November 2016.


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           EXHIBIT 13
1/19/2018
       Case                                         - INTERPOL
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                                                 #:9746                 Search : Keyword    English




      HOME             ABOUT INTERPOL                    NEWS AND MEDIA                         MEMBER COUNTRIES                    INTERPOL EXPERTISE                    CRIME AREAS


      Back to Search result



                                                  KHRAPUNOV, VIKTOR
                                                  WANTED BY THE JUDICIAL AUTHORITIES OF KAZAKHSTAN

                                             IDENTITY PARTICULARS


                                                       Present family name:       KHRAPUNOV
                                                                   Forename:      VIKTOR
                                                                          Sex:    Male
                                                                 Date of birth:   24/11/1948 (69 years old)
                                                                Place of birth:   EAST-KAZAKHSTAN REGION, Kazakhstan
                                                            Language spoken:      Russian
                                                                  Nationality:    Kazakhstan




                                             CHARGES          Published as provided by requesting entity



                                                                     Charges:         The Creation and Guidance of an Organised Criminal Group or Criminal Association
                                                                                      (Criminal Organisation), and Participation in a Criminal Association; Expropriation or
                                                                                      Embezzlement of Trusted Property; Fraud; Legalization of Monetary Funds or Other
                                                                                      Property Obtained Illegally; Abuse of Official Powers; Receipt of a Bribe


                                             PHOTOS




                                             IF YOU HAVE ANY INFORMATION PLEASE CONTACT

                                             Your national or local police
                                             General Secretariat of INTERPOL


                                                                                      This extract of the Red Notice has been approved for public dissemination




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https://www.interpol.int/notice/search/wanted/2012-10416                                                                                                                                1/1
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           EXHIBIT 15
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                      628 HOLDINGS REQUESTS FOR PRODUCTION
                   2017 (Set 3)                                        2015 (Set 1)
   REQUEST FOR PRODUCTION NO. 57:                  REQUEST FOR PRODUCTION NO. 28:
   All DOCUMENTS RELATING to any                   All DOCUMENTS relating to the transfer of
   KAZAKHSTAN TRANSACTION that YOU                 title of any real property located in
   and/or any DEFENDANT, INDIVIDUAL, or            Kazakhstan. (Set 1) (Dkt. 96-1, pp. 155-159)
   ENTITY participated in, directly or indirectly, REQUEST FOR PRODUCTION NO. 36:
   in any way.                                     All DOCUMENTS relating to the transfer of
                                                   monies to or from any PERSON located in
                                                   Kazakhstan. (Set 1) (Dkt. 96-1, pp. 185-189)

   REQUEST FOR PRODUCTION NO. 58:                        REQUEST FOR PRODUCTION NO. 5:
   All DOCUMENTS RELATING to any U.S.                    All DOCUMENTS RELATING TO any
   TRANSACTION that YOU and/or any                       monies transferred to YOU, directly or
   DEFENDANT, INDIVIDUAL, or ENTITY                      indirectly, by any DEFENDANT. (Set 1) (Dkt.
   participated in, directly or indirectly, in any       96-1, pp. 61-65)
   way.                                                  REQUEST FOR PRODUCTION NO. 6:
                                                         All DOCUMENTS RELATING TO any
                                                         monies transferred by YOU, directly or
                                                         indirectly, to any DEFENDANT. (Set 1) (Dkt.
                                                         96-1, pp. 65-69)
                                                         REQUEST FOR PRODUCTION NO. 7:
                                                         All DOCUMENTS RELATING TO any
                                                         monies transferred to YOU, directly or
                                                         indirectly, by any entity owned or controlled,
                                                         in whole or in part, by any DEFENDANT.
                                                         (Set 1) (Dkt. 96-1, pp. 70-74)
                                                         REQUEST FOR PRODUCTION NO. 8:
                                                         All DOCUMENTS RELATING TO any
                                                         monies transferred by YOU, directly or
                                                         indirectly, to any entity owned or controlled, in
                                                         whole or in part, by any DEFENDANT.
                                                         (Set 1) (Dkt. 96-1, pp. 74-77)
                                                         REQUEST FOR PRODUCTION NO. 9:
                                                         All DOCUMENTS RELATING TO any
                                                         financial transaction engaged in by,
                                                         on behalf of, or involving YOU. (Set 1) (Dkt.
                                                         96-1, pp.78-81)
   REQUEST FOR PRODUCTION NO. 59:                        REQUEST FOR PRODUCTION NO. 13:
   All DOCUMENTS RELATING to any ASSET                   All DOCUMENTS RELATING TO any
   in the United States directly or indirectly           acquisition, sale, or transfer of real
   transferred to or from, borrowed against by,          property engaged in by, on behalf of, or
   leased by, or in any other way associated with        involving YOU. (Set 1) (Dkt. 96-1, pp. 94-98)
   YOU and/or any DEFENDANT,                             REQUEST FOR PRODUCTION NO. 14:
   INDIVIDUAL, or ENTITY where the proposed              All DOCUMENTS RELATING TO any
                                                         acquisition, sale, or transfer of real property

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   or actual transfer price or financing value was       engaged in by, on behalf of, or involving any
   equal to or greater than $100,000 USD.                DEFENDANT. (Set 1)(Dkt. 96-1, pp. 98-102)

   REQUEST FOR PRODUCTION NO. 61:                        REQUEST FOR PRODUCTION NO. 5:
   All DOCUMENTS RELATING TO any                         All DOCUMENTS RELATING TO any
   ACCOUNTS owned, controlled,                           monies transferred to YOU, directly or
   associated with, for the benefit of, or               indirectly, by any DEFENDANT. (Set 1) (Dkt.
   administered by (a) YOU, (b) any                      96-1, pp. 61-65)
   DEFENDANT, INDIVIDUAL, or ENTITY, or                  REQUEST FOR PRODUCTION NO.15:
   (c) any RELATED PARTY of(a) or (b),                   All DOCUMENTS RELATING TO any
   including without limitation:                         accounts, funds, bonds, stocks, or
   1) All DOCUMENTS identifying the                      monetary instruments, or any real property,
   ACCOUNT, including the name of                        currently held or that ever has been held by
   the institution and the ACCOUNT number or             YOU, on YOUR behalf, or for YOUR benefit.
   other identifying characteristic;                     (Set 1) (Dkt. 96-1, pp. 102-106)
   2) All DOCUMENTS regarding the ownership,             REQUEST FOR PRODUCTION NO. 16:
   control, or operation of the                          All DOCUMENTS RELATING TO any
   ACCOUNT;                                              accounts, funds, bonds, stocks, or
   3) All ACCOUNT statements;                            monetary instruments, or any real property,
   4) All DOCUMENTS or                                   currently held or that ever have been held by
   COMMUNICATIONS regarding the transfer of              any other DEFENDANT, on behalf of any
   any ASSET to or from the ACCOUNT,                     other DEFENDANT, or for any other
   including without limitation any wire                 DEFENDANT's benefit. (Set 1) (Dkt. 96-1, pp.
   transaction; and                                      106-110)
   5) All ACCOUNTS anywhere in the world,                REQUEST FOR PRODUCTION NO. 19:
   including without limitation                          All COMMUNICATIONS between YOU and
   Kazakhstan, the United States, the United             any DEFENDANT. (Set 1) (Dkt. 96-1, pp.
   Kingdom, Switzerland,                                 118-122)
   Tanzania, Dubai, and Cyprus.                          REQUEST FOR PRODUCTION NO. 20:
                                                         All COMMUNICATIONS between YOU and
                                                         any DEFENDANT RELATING TO any
                                                         transfer of monies, financial transaction, or
                                                         transfer of real property. (Set 1) (Dkt. 96-1, pp.
                                                         122-126)
                                                         REQUEST FOR PRODUCTION NO. 21:
                                                         All COMMUNICATIONS RELATING TO
                                                         any transfer of monies, financial transaction, or
                                                         transfer of real property involving YOU or for
                                                         YOUR benefit. (Set 1) (Dkt. 96-1, pp. 126-
                                                         130)
   REQUEST FOR PRODUCTION NO. 62:                        REQUEST FOR PRODUCTION NO. 21:
   All DOCUMENTS or COMMUNICATIONS                       All COMMUNICATIONS RELATING TO
   between YOU and any DEFENDANT,                        any transfer of monies, financial transaction, or
   INDIVIDUAL, or ENTITY, or between YOU                 transfer of real property involving YOU or for
   and any RELATED PARTY of any                          YOUR benefit. (Set 1) (Dkt. 96-1, pp. 126-
                                                         130)

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   DEFENDANT, INDIVIDUAL or ENTITY,                      REQUEST FOR PRODUCTION NO. 22:
   RELATING to                                           All COMMUNICATIONS RELATING TO
   (a) any KAZAKHSTAN TRANSACTION,                       any transfer of monies, financial
   (b) any U.S. TRANSACTION,                             transaction, or transfer of real property
   (c) any ASSET, or                                     involving any DEFENDANT or for any
   (d) any ACCOUNT or transfer of monies to or           DEFENDANT's benefit. (Set 1) (Dkt. 96-1, pp.
   from any ACCOUNT, including any                       130-134)
   COMMUNICATIONS REFERRING TO the                       REQUEST FOR PRODUCTION NO. 23:
   intent or purpose behind any transfer to or from      All DOCUMENTS RELATING TO the
   any ACCOUNT or the creation of any                    purpose, intent, or goal of any transfer of
   ACCOUNT.                                              monies, financial transaction, or transfer of
                                                         real property involving YOU or for YOUR
                                                         benefit. (Set 1) (Dkt. 96-1, pp. 134-138)
                                                         REQUEST FOR PRODUCTION NO. 24:
                                                         All DOCUMENTS RELATING TO the
                                                         purpose, intent, or goal of any
                                                         transfer of monies, financial transaction, or
                                                         transfer of real property involving any
                                                         DEFENDANT or for any DEFENDANT's
                                                         benefit. (Set 1) (Dkt. 96-1, pp. 138-142)

   REQUEST FOR PRODUCTION NO. 63:                        REQUEST FOR PRODUCTION NO. 3:
   All DOCUMENTS containing, reflecting or               All DOCUMENTS REFERRING TO YOUR
   RELATING TO the current or former                     current and former directors
   ownership, control, beneficiaries, employees,         from the date YOU were incorporated to the
   representatives, managers, or agents of any of        present. (Set 1) (Dkt. 96-1, pp. 55-58)
   the ENTITIES or their RELATED PARTIES,                REQUEST FOR PRODUCTION NO. 4:
   including without limitation list of                  DOCUMENTS REFERRING TO all
   shareholders, capitalization tables, directories of   PERSONS who currently have or ever have
   officers, directors, employees or shareholders.       had any direct or indirect ownership interest in
                                                         YOU, from the date YOU were incorporated to
                                                         the present. (Set 1) (Dkt. 96-1, pp. 58-61)
   REQUEST FOR PRODUCTION NO. 65:                        REQUEST FOR PRODUCTION NO. 44:
   All DOCUMENTS relating to any legal and/or            All DOCUMENTS relating to any legal and/or
   administrative proceedings                            administrative proceedings involving any
   involving (a) YOU, (b) any DEFENDANT,                 DEFENDANT. (Set 1) (Dkt. 96-1, pp. 221-
   INDIVIDUAL, or ENTITY, or (c) any                     225)
   RELATED PARTY of (a) or (b), including                REQUEST FOR PRODUCTION NO. 45:
   without limitation non-privileged                     All DOCUMENTS relating to any law
   information regarding prosecutions,                   enforcement or governmental investigation of
   investigations, and/or civil actions in               YOU (Set 1) (Dkt. 96-1, pp. 225-229)
   Switzerland, Kazakhstan, or the United States.        REQUEST FOR PRODUCTION NO. 46:
                                                         All DOCUMENTS relating to any law
                                                         enforcement or governmental investigation of
                                                         any DEFENDANT. (Set 1) (Dkt. 96-1, pp.
                                                         229-234)

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   REQUEST FOR PRODUCTION NO. 71:                   REQUEST FOR PRODUCTION NO. 3:
   All DOCUMENTS relating to any corporation,       All DOCUMENTS REFERRING TO YOUR
   limited liability company, partnership,          current and former directors from the date
   enterprise, business, or other entity or         YOU were incorporated to the present. (Set 1)
   organization inside the United                   (Dkt. 96-1, pp. 55-58)
   States in which (a) YOU, (b) any
   DEFENDANT, INDIVIDUAL, or ENTITY, or             REQUEST FOR PRODUCTION NO. 15:
   (c) any RELATED PARTY of (a) or (b), serve       All DOCUMENTS RELATING TO any
   or served as an officer, director,               accounts, funds, bonds, stocks, or monetary
   manager, representative, consultant, employee,   instruments, or any real property, currently
   fiduciary, trustee, beneficiary,                 held or that ever has been held by YOU, on
   attorney, accountant, or agent, including        YOUR behalf, or for YOUR benefit. (Set 1)
   without limitation any corporate                 (Dkt. 96-1, pp. 102-106)
   DOCUMENTS, tax DOCUMENTS, financial
   DOCUMENTS, applications for
   loans or other lines of credit, ACCOUNT
   statements, and purchase or sale
   DOCUMENTS.




                                 628 HOLDINGS Interrogatories
                      2017 (Set 3)                                      2015(Set 1)
   INTERROGATORY NO. 22:                            INTERROGATORY NO. 2:
   IDENTIFY all PERSONS involved in YOUR            From the date of YOUR incorporation to the
   formation, operations, and                       present, IDENTIFY each natural person who
   financial transactions, either directly or       has served as:
   indirectly, and the role of each PERSON          (a) an officer for 628 HOLDINGS, and/or (b)
   including but not limited to any DEFENDANT,      on YOUR board of directors. (Set 1) (Dkt. 96-
   MUKHTAR, ELENA,                                  1, pp. 7-9)
   GENNADY, SDG CAPITAL, SPG, or                    .
   ADLUX.
   INTERROGATORY NO. 23:                            INTERROGATORY NO. 6:
   IDENTIFY (in U.S. dollars) all transactions      State (in U.S. dollars) the amount of each
   having a value of $5,000 or                      transaction involving monies transferred to
   more between YOU, including entities or          and/or by YOU, directly or indirectly, by
   individuals under your control, and any          and/or to any DEFENDANT or any entity
   DEFENDANT, ENTITY, INDIVIDUAL or                 owned or controlled, in whole or in part, by
   RELATED PARTY of any DEFENDANT,                  any DEFENDANT, from the date of YOUR
   ENTITY or INDIVIDUAL from 1997 to the            incorporation to the present, and for each
   present, and for each transaction, IDENTIFY:     transaction described herein, state:




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   (a) the name of each DEFENDANT, ENTITY,           (a) the name of each DEFENDANT,
   INDIVIDUAL, or PERSON involved in each            PERSON, and/or entity involved in each
   transaction;                                      transaction;
   (b) the business address of each DEFENDANT,       (b) the business address of each
   ENTITY, INDIVIDUAL, or PERSON involved            DEFENDANT, PERSON and/or entity
   in each transaction;                              involved in each transaction;
   (c) the amount of each transaction;               (c) the date of each transaction; and
   (d) the date of each transaction; and             (d) the purpose of each transaction (Set 1)
   (e) the purpose of each transaction.              (Dkt. 96-1, pp. 15-20)

                                                 INTERROGATORY NO. 7:
                                                 State the name and business address of any
                                                 DEFENDANT and/or entity owned or
                                                 controlled, in whole or in part, by any
                                                 DEFENDANT to whom you sold,
                                                 transferred, or from whom YOU acquired any
                                                 real property, directly or indirectly,
                                                 between the date of YOUR incorporation and
                                                 the present, and for each transaction
                                                 described herein, state:
                                                 (a) the amount YOU received or paid in
                                                 exchange for the sale, transfer or
                                                 acquisition of each property;
                                                 (b) the name of each DEFENDANT,
                                                 PERSON, and/or entity involved in each
                                                 transaction;
                                                 (c) the business address of each
                                                 DEFENDANT, PERSON and/or entity
                                                 involved in each transaction;
                                                 (d) the date of each transaction; and
                                                 (e) the purpose of each transaction. (Set 1)
                                                 (Dkt. 96-1, pp. 20-23)
                                Dmitri Kudryashov Interrogatories
                    2017 (Set 3)                                    2015 (Set 1)
   INTERROGATORY NO. 23:                         INTERROGATORY NO. 15:
   IDENTIFY all ENTITIES and RELATED             State the names and business address(es) of
   PARTIES for which you are or                  each entity owned or controlled,
   have been the beneficial owner.               directly or indirectly, by any DEFENDANT.
                                                 (Set 1) (Dkt. 96-3, pp. 76-81)

   INTERROGATORY NO. 24:                             INTERROGATORY NO. 6:
   IDENTIFY (in U.S. dollars) all transactions       State (in U.S. dollars) the amount of each
   having a value of $5,000 or                       transaction involving monies
   more between YOU, including entities or           transferred to and/or by YOU, directly or
   individuals under your control, and any           indirectly, by and/or to any


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   DEFENDANT, ENTITY, INDIVIDUAL or                  DEFENDANT or any entity owned or
   RELATED PARTY of any                              controlled, in whole or in part, by any
   DEFENDANT, ENTITY or INDIVIDUAL                   DEFENDANT, from 1997 to the present, and
   from 1997 to the present, and for each            for each transaction described
   transaction, IDENTIFY:                            herein, state:
   (a) the name of each DEFENDANT, ENTITY,           (a) the name of each DEFENDANT,
   INDIVIDUAL, or PERSON                             PERSON, and/or entity involved in
   involved in each transaction;                     each transaction;
   (b) the business address of each DEFENDANT,       (b) the business address of each
   ENTITY, INDIVIDUAL, or                            DEFENDANT, PERSON and/or entity
   PERSON involved in each transaction;              involved in each transaction;
   (c) the amount of each transaction;               (c) the date of each transaction; and
   (d) the date of each transaction; and             (d) the purpose of each transaction. (Set 1)
   (e) the purpose of each transaction.              (Dkt. 96-3, pp. 28-34)

                                                     INTERROGATORY NO. 2:
   INTERROGATORY NO. 25:
                                                     State the name and business address of every
   DESCRIBE your current and/or any prior role
                                                     entity for which you have
   at any of the ENTITIES or DEFENDANTS,
                                                     served as an officer and/or director, and all
   including but not limited to RPM-MARO and
                                                     titles you held within each entity. (Set 1) (Dkt.
   WHN.
                                                     96-3, pp. 12-16)




                                                 6
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           EXHIBIT 16
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   Memorandum
   From              MANGEAT ATTORNEYS-AT-LAW                                Place, date    Geneva, 19 January 2017


   To                BOERSCH SHAPIRO LLP                                     Matter         00944938/FMA
                                                                             Doc. no        00980116




   1.         QUESTION

   We have been requested to briefly describe the process of taking a deposition in Switzerland within
   the context of foreign civil proceedings.

   Note that the Swiss Federal Office of Justice (here-after: the “FOJ”) has issued very useful official
   Guidelines on the International Judicial Assistance in Civil Matters (attached1). All the details regarding
   the procedure can be found on pages 20 and following.

   2.         PRINCIPLE

   It is a criminal offence to proceed with the taking of evidence for a foreign court on the Swiss territory
   without an authorisation2.

   If US plaintiffs or US jurisdictions want to take a deposition in Switzerland, they thus need to go
   through the administrative channels provided through THE HAGUE CONVENTION ON TAKING OF EV-
   IDENCE (here-after: “the Convention”), signed by both Switzerland and the US3.

   3.         THE HAGUE CONVENTION ON TAKING OF EVIDENCE

   The more flexible option provided for by the Convention is to request an authorisation from the FOJ to
   have a Court appointed commissioner (typically on or several lawyers), to proceed with the party’s
   deposition, according to article 17 of the Convention 4.

   A.         Application process
   Formally, the application to obtain such authorization needs to be translated into French and filed be-
   fore the Geneva Tribunal5, in principle by the US Court. The parties’ lawyers might choose to file the


   1
        Also available online : https://www.rhf.admin.ch/dam/data/rhf/zivilrecht/wegleitungen/wegleitung-zivilsachen-e.pdf
   2
        See Guidelines for International Judicial Assistance in Civil Matters, p 2.
   3
        https://assets.hcch.net/docs/dfed98c0-6749-42d2-a9be-3d41597734f1.pdf
   4
        More precisely described in the Guidelines for International Judicial Assistance in Civil Matters, p. 28 and following.



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                                                                                       CH-1211 Geneva 11            www.mangeat.ch
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   request for authorization themselves, but in such case, they will still need to attach a decision from the
   US Court that appoints the commissioners. The parties should therefore first obtain such decision from
   the competent US Court and then file the application for authorisation in Switzerland.
   According to our experience, the FOJ does not set any strict restrictions regarding the nationality or
   number of the commissioners. This option leaves thus much flexibility as the authorisation can be
   granted to each involved lawyer, provided they were all previously appointed as commissioner by the
   foreign Court, so that each of them will be allowed to conduct the examination 6.
   Among others, the application for authorisation must briefly describe the nature and subject matter of
   the proceedings, as well as the name and address of the commissioners 7.
   After careful examination by the FOJ of these elements, the authorization is granted for the specific
   acts requested and to the appointed commissioner named in the foreign decision.

   The FOJ demands that this request is filed at least two months before the date set for the hearing.

   B.         Execution
   Once appointed and authorised, the commissioners can take any evidence insofar as the procedural
   steps considered are compatible with the law of the state of execution and accord with the authorisa-
   tion granted8.
   The deposition will thus need to be executed within the limits set by the authorisation. In particular,
   new topics of discussion that fall outside the scope specified in the application request cannot be add-
   ed, and new, unnamed in the authorisation and therefore unauthorized, commissioners will not be al-
   lowed to conduct the examination. A new letter of request need in these cases to be filed.
   As a rule, the evidence is to be taken according to the procedures provided for by the law of the re-
   questing court, unless the specified procedures are against the law of the state of execution.
   In this respect, if every party agrees on the videotaping of the deposition and a verbatim transcript
   of it, the FOJ will in principle allow it. Cross-examination is also authorised, during which the witness
   is examined by the lawyers of both parties9. The FOJ will also in principle authorise the examination of
   a witness under oath or solemn declaration, if such a request is made10.
   As an example, within the context of a pending US civil claim, we recently obtained the authorisation
   from the FOJ for ten Swiss and US lawyers - previously appointed commissioners by the competent US
   court - to conduct the audition of two parties in Geneva. The videotaping, the verbatim record and the
   cross-examination were expressly authorised.


                                                                     ***




   5
        The request must be addressed to: TRIBUNAL DE PREMIERE INSTANCE, Place du Bourg-de-Four 1, Case postale 3736, 1211
        Genève 3, F: +41 22 327 66 78, tpi.securise@justice.ge.ch
   6
        See Guidelines for International Judicial Assistance in Civil Matters, p 29.
   7
        See Guidelines for International Judicial Assistance in Civil Matters, p 29.
   8
        See Guidelines for International Judicial Assistance in Civil Matters, p 28.
   9
        See Guidelines for International Judicial Assistance in Civil Matters, p 29.
   10
        See Guidelines for International Judicial Assistance in Civil Matters, p 28.




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                                                 Federal Department of Justice and Police FDJP
                                                 Federal Office of Justice FOJ




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      International Judicial Assistance
      in Civil Matters

      Guidelines
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                  tance (FOJ), the Directorate of International Law (DFA) and the Office of the Attorney General of Switzerland

                         Internet: http://www.rhf.admin.ch/dam/data/rhf/zivilrecht/wegleitungen/wegleitung-zivilsachen-e.pdf
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      ABBREVIATIONS

      ACLFA      Administrative Case Law of the Federal Authorities
      Art.       Article(s)
      CPC        Civil Procedure Code
      FDJP       Federal Department of Justice and Police
      FDFA       Federal Department of Foreign Affairs
      FOJ        Federal Office of Justice
      JU         Canton Jura
      NE         Canton Neuchâtel
      PILA       Federal     Act     of    18    December       1987       on         Private
                       International Law (SR 291)
      RSJ        Revue suisse de jurisprudence: Swiss Law Review
      SCC        Swiss Criminal Code of 21 December 1937 (SR 311.0)
      SJ         La semaine judiciaire
      SR         Classified Compilation of Swiss Legislation
      SZ         Canton Schwyz
      ZH         Canton Zurich




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      FOREWORD - DISCLAIMER

      These Guidelines are intended for practitioners (central authorities, judges, lawyers,
      diplomatic and consular agents) confronted with questions on international judicial
      assistance in civil matters. Above all, they provide practical advice and information.
      However, in addition to this advice, the Private International Law Unit of the Federal
      Office of Justice FOJ feels it would be useful to give its opinion on certain frequently
      asked questions which are controversial and which have not yet been ruled on by a
      court. In such cases, the FOJ is unable to provide any guarantee as to the outcome
      of the proceedings should such matters arise during litigation brought before a court.

      In addition to these Guidelines, we would also recommend you consult the “Guide
      pratique de l'entraide judiciaire international en matière civile et pénale” (Guide on
      Judicial Assistance). This guide is updated on a regular basis. It gives practical rec-
      ommendations with regard to the procedures to follow for Swiss requests abroad on
      a country-by-country basis (To which authority should the request be addressed?
      How many copies? In which languages? How long does it take for the request to be
      executed? etc.).

      Finally, the FOJ has put together information which can be downloaded from the In-
      ternet on the locally competent Swiss authority to contact in a given case
      (http://www.elorge.admin.ch).


      I.       GENERAL REMARKS

      I.A.     The Concept of International Judicial Assistance in Civil Matters

      International judicial assistance in civil matters forms part of the law on international
      civil procedure, which, besides the issue of assistance, deals with questions relating
      to the international competence of the courts as well as those relating to the recogni-
      tion and execution of judgements.

      The object of international judicial assistance is the provision of support to the author-
      ities or courts of a requesting state by the state to which the request is made, by car-
      rying out procedural or other official acts and communicating the results to the au-
      thorities or courts of the requesting state, so that these can be used in specific pro-
      ceedings (ACLFA 1985 [49/I], p. 93).

      Judicial assistance in the normal sense includes the service of judicial and extra-
      judicial documents as well as the obtaining of evidence.1 These Guidelines deal with
      this category of assistance. Judicial assistance in the broader sense includes other
      official measures in relation to foreign proceedings, such as international judicial as-
      sistance (see e.g. Convention of 25 October 1980 on International Access to Justice
      [SR 0.274.133] and European Agreement of 27 January 1977 on the Transmission of
      Applications for Legal Aid [SR 0.274.137]), the enforcement of decisions (see e.g. the
      Convention of 2 October 1973 on the Recognition and Enforcement of Decisions re-
      lating to Maintenance Obligations [SR 0.211.213.02], the Convention of 20 June
      1956 on the Recovery Abroad of Maintenance [SR 0.274.15]), assistance in connec-

      1    Such as local inspections, taking statements from witnesses and parties, production of documents,
           providing expert opinions, etc.

                                                         1
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      tion with the abduction of children (c.f. Convention of 25 October 1980 on the Civil
      Aspects of International Child Abduction [SR 0.211.230.02] ; European Convention of
      20 May 1980 on Recognition and Enforcement of Decisions concerning Custody of
      Children and on Restoration of Custody of Children [SR 0.211.230.01]) and in con-
      nection with the application of the law (c.f. European Convention of 7 June 1968 on
      Information on Foreign Law [SR 0.274.161]).

      I.B.   Assistance and Sovereignty

      In terms of Article 271 paragraph 1 of the Swiss Criminal Code (SCC; SR 311.0), it is
      an offence for anyone to carry out “activities on behalf of a foreign state on Swiss
      territory without lawful authority, where such activities are the responsibility of a pub-
      lic authority or public official” as well as for anyone to carry out "such activities for a
      foreign party or organisation” or to encourage such activities. This provision strikes
      against acts that violate Swiss territorial sovereignty and which as a consequence
      cannot be carried out without the permission of the Swiss authorities. According to
      Article 299 paragraph 1 SCC it is an offence for anyone to violate “the territorial sov-
      ereignty of a foreign state, in particular by conducting official activities without author-
      isation on foreign territory.” These provisions express the general principle of interna-
      tional law according to which the sovereignty of any state extends only to its national
      frontiers; accordingly, the authorities of a state cannot, in principle, exercise their
      public powers outside their territory.

      According to the Swiss view – as well as that of numerous other states – the service
      of judicial or extra-judicial documents as well as the obtaining of evidence for court
      proceedings constitute the exercise of public powers (on the subject of service see
      Federal Supreme Court Decision 124 V 47 [50]). Accordingly, these procedures can-
      not simply be undertaken from beyond the frontiers of the state concerned without
      authorisation. The authority in question must therefore resort to the mechanisms of
      assistance, otherwise it will violate the sovereignty of the state in which it is carrying
      out these acts. The concept of sovereignty under public international law, however,
      may come into conflict with the prerogative of the judge appointed in another state
      which results from his or her jurisdiction to rule on a case. We will examine in greater
      detail the interaction between sovereignty under public international law and the pre-
      rogatives of the judge who has local jurisdiction to rule on the case (see
      III.A.2, p. 20). Finally, the service of certain documents without resorting to judicial
      assistance is permitted in certain circumstances (see II.B, p. 6).

      I.C.   Legal Basis and Applicable Law

      1.     Hague Conventions

      The multilateral conventions in the field of international judicial assistance in civil
      cases are as follows:
      x The Hague Convention relating to civil procedure of 1 March 1954 (1954 Hague
         Convention; SR 0.274.12);
      x The Hague Convention of 15 November 1965 on the Service Abroad of Judicial
         and Extrajudicial Documents in Civil or Commercial Matters (Hague Service Con-
         vention; SR 0.274.131)2; and




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      x    The Hague Convention of 18 March 1970 on the Taking of Evidence Abroad in
           Civil or Commercial Matters (Hague Evidence Convention; SR 0.274.132).2

      2.       Bilateral Agreements

      There are also a number of bilateral agreements between Switzerland and certain
      states that authorise direct contact between judicial authorities or which serve to
      complement the aforementioned Hague Conventions. Switzerland has entered into
      such agreements with:
      x Germany (SR 0.274.181.361),
      x Austria (SR 0.274.181.631; with Austria, not only is direct contact between author-
          ities permitted, but also contact between the authority and the addressee of the
          proceedings),
      x Belgium (SR 0.274.181.721),
      x France (SR 0.274.183.491),
      x Italy (SR 0.274.184.542),
      x Luxembourg (SR 0.274.185.181),
      x Greece (SR 0.274.183.721),
      x Monaco (SR 0.274.185.671),
      x Pakistan (SR 0.274.186.231),
      x Poland (SR 0.274.186.491),
      x Turkey (SR 0.274.187.631),
      x Hungary (SR 0.274.184.181),
      x the Czech Republic (SR 0.274.187.411),
      x Slovakia (SR 0.274.187.411),
      x Estonia (SR 0.274.721).
      Although there is no such agreement with Liechtenstein, direct contact between au-
      thorities has become customary.

      3.       Absence of an agreement

      Where there is no international agreement, Switzerland applies as an autonomous
      right the 1954 Hague Convention to the foreign requests that it receives and Swiss
      requests to other countries (see Art. 11a para. 4 PILA; SR 291).

      Where there is no agreement and unless there is an established practice to the con-
      trary, Swiss requests must follow diplomatic channels (see II.D.2.2, p. 10).

      4.       Applicable Law

      Judicial assistance in civil matters, which is an area of public international law, falls
      under federal jurisdiction (Art. 54 para. 1, Art. 122 para. 1 and Art. 166 para. 2 of the
      Swiss Constitution). There is however only one brief provision at a federal level in
      Article 11 to 11c of the Federal Act of 18 December 1987 on Private International
      Law (PILA, SR 291). Since acts of judicial assistance in Switzerland are carried out in

      2 The application of Hague Service and Evidence Conventions in the various countries is explained
           in the “Practical Handbook on the operation of the Hague Convention of 15 November 1965 on the
           Service Abroad of Judicial and Extrajudicial Documents in Civil and Commercial Matters” and the
           “Practical Handbook on the Operation of the Hague Convention of 18 March 1970 on the Taking of
           Evidence Abroad in Civil or Commercial Matters”, which can be ordered from Permanent Bureau,
           Hague Conference on Private International Law, 6, Scheveningseweg, 2517 KT The Hague, the
           Netherlands, www.hcch.net; secretariat@hcch.net.

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      accordance with Swiss law (see Article 11a, para. 1 PILA), the Swiss Code of Civil
      Procedure (CPC, SR 272) should be referred to when service is effected and evi-
      dence obtained.

      5.       Principle of Reciprocity

      Under Article 21 paragraph 1 of the Vienna Convention on the Law of Treaties of 23
      May 1969 (SR 0.111), a state that has not established a reservation in respect of a
      Convention may take advantage of a reservation established by another state in its
      relations with that state. Article 21 of the Vienna Convention reflects the principle of
      reciprocity in public international law. The legal effect of a reservation is that it modi-
      fies for the reserving party in its relations with other parties the provisions of the trea-
      ty to which the reservation relates to the extent of the reservation. The reservation
      also modifies those provisions to the same extent for these other parties in their rela-
      tions with the reserving State. Thus in matters of judicial assistance, the Swiss au-
      thorities must refrain from conducting proceedings abroad that are not authorised on
      Swiss territory, due to the reservations made by Switzerland in respect of the afore-
      mentioned Hague Conventions. This applies in particular to reservations relating to
      the methods by which requests are transmitted (see II.D.1.2.1, p. 9 and
      II.D.2.2, p. 10). Be that as it may, states may renounce to invoke the principle of reci-
      procity (see II.D.1.2.2, p. 10). It is important to note here that, in an unpublished
      judgement (5P.225/1996), the Swiss Federal Supreme Court indicated in an obiter
      dictum that direct service by post to a state that was party to Hague Service Conven-
      tion and which had not made a reservation in this regard was admissible. In this deci-
      sion, however, the Swiss Federal Supreme Court failed to mention Article 21 of the
      Vienna Convention. It also failed to indicate if the recipient state had waived its right
      to invoke the principle of reciprocity.3

      I.D.     Civil or Commercial Matter

      The aforementioned Hague conventions all apply to “civil and commercial matters”.
      This concept should be defined in the same manner regardless which of the three
      Hague Conventions applies.

      This concept is not defined in the conventions and is the object of some controversy.
      However, one special commission of the Hague Conference on International Private
      Law in which Switzerland participated stated in relation to the Hague Service and
      Evidence Conventions, that the expression “civil or commercial matter” would have to
      be interpreted autonomously, without exclusive reference to the law of the requesting
      state or the requested state, and without the joint application of the laws of both
      states (see Practical Handbook on the Operation of the Hague Convention of 15 No-
      vember 1965 on the Service Abroad of Judicial and Extrajudicial Documents in Civil
      and Commercial Matters, 3rd edition, Wilson & Lafleur Ltée, Montreal, 2006 [“Hand-
      book Hague Service Convention”], p. 264; see also Art. 31 para. 1 Vienna Convention
      on the Law of Treaties of 23 May 1969). The Special Commission then considered
      that bankruptcy law, insurance law, and employment law can also fall within the con-
      cept of a “civil or commercial matter” (for Switzerland see Federal Supreme Court
      Decision 94 III 37 and 96 III 65, in which the Federal Supreme Court accepted that
      this concept also included the proceedings in relation to debts and bankruptcy when
      the claims are of a civil nature, as well as Federal Insurance Court Decision

      3    See also 5A 128/2010 and 5F.6/2010
      4    See footnote 2.

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      1966, 67-73, in which the Swiss Federal Insurance Court stated that it was important
      to grant assistance in the same manner in the matters relating to social insurance as
      in civil matters).

      The Federal Office of Justice has come around to this point of view and is thus of the
      opinion that the concept of the “civil or commercial matter” should be understood in
      the broader sense and need not necessarily correspond to the concept used at a
      domestic level. It is, however, difficult to give a precise definition of what could be a
      “civil or commercial” matter in terms of the Hague Conventions. To take a negative
      approach, it can be said that the Hague Conventions envisage neither a criminal law
      matter nor a tax matter. Moreover, the fact that in the requesting state the case is
      designated to be “civil” is of no relevance. Finally, when the case relates to litigation
      between a public authority and a private individual, where the public authority is act-
      ing in the exercise of public powers, the case cannot be considered to have a “civil or
      commercial” nature. The same applies, in general, when an authority brings civil pro-
      ceedings against an individual in order to safeguard public interests.5 In litigation
      where the plaintiff is a private individual and the defendant is the state, in designating
      an action as “civil or commercial” account may be taken of the fact that it is a case in
      which the plaintiff is asserting i) a right (the state does not have a discretionary pow-
      er) ii) of a pecuniary nature, even if under national Swiss law this right relates to an
      administrative matter (in this sense, Federal Insurance Court Decision 1966, 67-73;
      see also ruling by the Federal Insurance Court K 18/04 of 18 July 2006).

      However, a large number of cases in civil matters – in the traditional sense of the
      term (family law, law of succession, company law, law of contract, intellectual proper-
      ty law, etc.) – are not necessarily pecuniary in their nature, but nevertheless come
      within the scope of application of the Hague Conventions. In such cases, when ser-
      vice is effected, the fact that the requesting authority is an administrative authority
      (e.g. a guardianship authority) is of no significance.

      The FOJ is also of the opinion that in cases in which a state court participates in arbi-
      tration proceedings (see Articles 184 and 185 PILA), the broad concept of "civil or
      commercial matters" covered within the meaning of the Hague Conventions on judi-
      cial assistance shall apply to the court proceedings.6




      5   E.g.: the procedures introduced by the American administrative authorities, such as the Anti-Trust
          Division of the Justice Department.
      6   A special commission of the Hague Conference on International Private Law issued a statement on
          this in January 2003.

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      II.       SERVICE OF DOCUMENTS

      II.A.     The Concept of Service

      Most procedural laws provide that in order to allow proceedings to begin the commu-
      nications to the parties must be served on them or notified to them in order to have
      legal effect. Service is the transmission of documents by an official method: at the
      request of a foreign authority, the authorities of a state pass on the documents to the
      addressee in return for a simple receipt or by means of a special certificate that
      proves that service has been effected. In the Swiss view, this constitutes an official
      act (see I.B, p. 2).

      Countries with common law legal systems deal with service in a fundamentally differ-
      ent way. According to their law, it is the responsibility of the parties to inform their
      opponents by serving them with the important documents in the case. Thus there is
      not necessarily an official act involved. This completely divergent system can be the
      source of some conflict. When seeking solutions, this different approach will be taken
      into account.

      II.B.     Documents that must be served by means of Judicial Assistance

      The Hague Conventions are directed as much at “judicial documents” as at “extraju-
      dicial documents”. A “judicial document” is understood as “any document that relates
      to contentious or non-contentious proceedings or the arrest of the assets of a debtor”
      (CAPATINA, L'entraide judiciaire internationale en matière civile and commerciale,
      Recueil des Cours 1983 [179], p. 347). “Extra-judicial documents” include “docu-
      ments intended to produce effects beyond any procedure that is ongoing in a court of
      law” (CAPATINA, op. cit., p. 348). Extra-judicial documents must, however, emanate
      from an authority or a judicial officer. Notaries are regarded as judicial officials inas-
      much as they undertake a public duty in this particular case.

      In general, any judicial or extra-judicial document must be communicated by means
      of judicial assistance. Indeed, on the one hand, assistance provides a better guaran-
      tee that the rights of the addressee will be respected, particularly the right to be
      heard7. On the other hand, from the point of view of public international law, the ser-
      vice of such documents on Swiss territory without passing through the judicial assis-
      tance channel constitutes a violation of territorial sovereignty. However, it is accepted
      that when the document in question has no legal effect or is not liable to have any
      legal effects on the addressee, the judicial assistance channels need not necessarily
      be followed (ACLFA 1976 [40/I], p. 105 s.; Circular of 5.12.1956 from the Administra-
      tive Commission of the Supreme Court of the Canton of Zurich, RSJ 1957, p. 16).




      7     The fact, for instance, to ask from the requesting State to furnish translations aims to guaranty the
            right to be heard of the addressee.

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      II.C.    Competent Authorities

      1.       Hague Service Convention

      1.1      Forwarding authority

      Article 3 of the Hague Service Convention provides that the authority or judicial of-
      ficer competent under the law of the state in which the documents originate should
      forward his request to the Central Authority of the state addressed. It is thus the law
      of the requesting state that primarily determines the competent authority for forward-
      ing the requests for foreign assistance. It is, however, important to note that it has
      been accepted that lawyers, to the extent that their law permits them to serve docu-
      ments, must be regarded as judicial officers and hence as persons authorised to ap-
      proach the Central Authority of the state addressed. Private individuals, however, (for
      example the parties) are not, in themselves, authorised to approach the Central Au-
      thority directly, even if, under their law, they are entitled to serve documents (Explan-
      atory Report by TABORDA FERREIRA, Acts and Documents of the 10th session (1964),
      Volume III, Service of Process, p. 368; the competent authorities in each country can
      be found on the website of the Hague Conference on International Private Law).

      The competent Swiss authorities forward their requests abroad via the Central Au-
      thority of the requested State.8 However, they address their requests to the compe-
      tent authority or court in the place where the relevant proceedings are taking place
      (e.g.: “to the competent civil court ...”). As previously mentioned, Switzerland has
      concluded bilateral agreements with certain countries that permit direct contact be-
      tween authorities (see I.C.2, p. 3). For additional information, please consult the
      Guide on Judicial Assistance.

      1.2      Receiving Authority

      Article 2 of Hague Service Convention provides for the designation of central authori-
      ties that are responsible for receiving requests for assistance. Article 18 paragraph 3
      of the Hague Service Convention permits states to designate more than one Central
      Authority.

      In Switzerland, the receipt of requests from foreign states and the processing of
      these is a cantonal responsibility. Accordingly, there are 26 cantonal Central Authori-
      ties. These authorities ensure, on the one hand, that the requests conform to the
      formal requirements of Hague Service Convention or any other provisions that must
      be taken into consideration, and, on the other hand, that judicial assistance does not
      clearly appear to be excluded for any other reason. If there is no reason to do other-
      wise, they take the action required. If a request does not satisfy the requirements of
      the Service Convention, the Central Authority informs the requesting authority without
      delay (Art. 4 of the Service Convention).

      Since it can prove very difficult for the requesting state to know which of the 26 cen-
      tral cantonal authorities has jurisdiction, the FOJ is also designated to be a Central
      Authority to which requests may be addressed irrespective of where they may have


      8    JU, NE, SZ (for all requesting authorities, apart from courts) and ZH require that outgoing requests
           be transmitted via the central cantonal authority. This authority transmits them to the Central Au-
           thority of the state addressed.

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      to be executed. The jurisdiction of the FOJ is secondary. It does not subject the re-
      quests to any examination before passing them on to the competent cantonal au-
      thorities, but it consults with the Cantons and provides any coordination that may be
      necessary. Please note that the FOJ has created a database listing all the competent
      authorities in Switzerland (http://www.elorge.admin.ch).

      For Swiss requests addressed to foreign states, see the Guide on Judicial Assis-
      tance.

      2.      1954 Hague Convention

      The 1954 Hague Convention does not provide for the designation of central authori-
      ties. Under Article 1 paragraph 1 of the 1954 Hague Convention, requests for assis-
      tance must follow “consular” channels. This means that foreign authorities – this can
      be a lawyer if, under the law of the requesting state, he is entitled to serve documents
      – send the documents to be served to the consulate, embassy or other representa-
      tion of its country in Switzerland. This representation addresses a request to the FOJ,
      which in turn passes it on to the competent cantonal authority (see Art. 11 PILA; Or-
      dinance of 17.11.1999 on the Organisation of the FDJP [SR 172.213.1].

      Requests from Swiss authorities must also pass through the FOJ (see Art. 11 PILA;
      Ordinance of 17.11.1999 on the Organisation of the FDJP [SR 172.213.1].The FOJ
      passes these on to the relevant Swiss representation in the receiving state, which in
      turn passes the requests on to the authority designated by the receiving state
      (Art. 1 para. 1 1954 Hague Convention; see Guide on Judicial Assistance).

      In relation to incoming or outgoing requests for assistance, the FOJ confines itself to
      examining whether these comply with the formal requirements of the applicable inter-
      national conventions and ensuring that international judicial assistance does not ap-
      pear to be excluded for any other reason.

      3.      Absence of an agreement

      Where there is no international agreement, Switzerland applies the 1954 Hague
      Convention to any foreign requests and Swiss requests to other countries (see
      Art. 11a para. 4 PILA; I.C.3, p. 3). Reference is therefore made to the comments
      made in II.C.2, p. 8.

      Swiss requests made to foreign states must, in the absence of contrary practices,
      follow diplomatic channels (see II.D.2.2, p. 10). For a description of the procedure
      applicable in each country, reference is made to the Guide on Judicial Assistance.

      II.D.   Channels of Transmission

      1.      Hague Service Convention

      1.1     Ordinary Channel (Arts. 2 to 7 Hague Service Convention)

      As already indicated, under Article 2 of the Hague Service Convention, each con-
      tracting state must designate a Central Authority that has the task of receiving and
      dealing with requests for service from another contracting state. The Hague Service
      Convention only requires the creation of a Central Authority for the purpose of receiv-


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      ing requests for service. Thus a request that is being sent is not required to pass
      through the forwarding country’s own Central Authority. 9 The authority designated as
      competent according to the law of the requesting state (see II.C.1.1, p. 7) addresses
      its request to the Central Authority of the requested state.

      1.2      Alternative Channels (Arts. 8 to 10 Hague Service Convention)

      1.2.1 Reservations and declarations made by Switzerland
      In addition to the ordinary channel, the Hague Service Convention, in its Arti-
      cles 8 to 10, provides for alternative channels for effecting service.

      Switzerland has, however, made reservations to Articles 8 and 10.

      Thus in relation to Article 8 of the Hague Service Convention, Switzerland permits
      service of documents through consular or diplomatic agents only with regard to per-
      sons who are nationals of the originating state (see ACLFA 1968-
      1969 [34/15], p. 34).10 If that is not the case, the ordinary channel has to be followed.
      Consular and diplomatic agents are not permitted in any case to resort to coercive
      measures in order to effect service.

      With regard to Article 10 of the Hague Service Convention, Switzerland declares its
      opposition to direct service abroad by postal channels as provided for in letters a), b)
      and c) of that Article. Nevertheless, it sometimes happens that documents are sent
      directly from abroad to parties resident in Switzerland. This occurs primarily from
      countries with common law legal systems, in which the service of documents is the
      responsibility of the parties and not of the authorities. In other words, and contrary to
      the Swiss view, such a procedure is not necessarily considered an official act in
      those countries. The recipient of documents served in this way can notify the matter
      to the Federal Department of Foreign Affairs (FDFA). If Swiss sovereignty is violated,
      the FDFA will instruct the relevant Swiss Embassy to intervene with the originating
      authorities and explain that this method of service is punishable under Article 271 of
      the Swiss Penal Code.11,12 It should, however, be noted that the inadmissibility of di-
      rect service by mail in Switzerland does not automatically invalidate the service of the
      document as part of the foreign proceedings. It may, however, have repercussions
      with regard to whether the judgment will be recognised.13 At any rate, the FDFA regu-
      larly gives notice that errors in the service of documents can under Swiss law result
      in the non-execution of foreign civil judgments (see II.F.3, p. 17). Occasionally, ser-
      vice is effected again by means of judicial assistance.

      Finally, Article 9 of the Hague Service Convention provides for the use of consular
      channels, that is, the ordinary channel stipulated in Article 1 of the 1954 Hague Con-
      vention (see II.D.2.1, p. 10). With regard to this, Switzerland has also designated the
      cantonal central authorities as recipient authorities for requests from abroad.


      9    For Switzerland, see footnote 8.
      10   However, if the addressee of the document is a national of both the requesting state and the state
           receiving the request, service by consular or diplomatic agents is not permitted. It remains possible
           if the addressee is a national of the requesting state and a third state.
      11   See I.B, p. 7
      12   However, only an intentional act is unlawful, and it is practically impossible to prove that an act was
           intentional.
      13   See also II.F.3, p. 23

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      1.2.2 Consequences of the Principle of Reciprocity
      In application of the principle of reciprocity, the Swiss reservations may be invoked by
      the recipient state in relation to requests for service coming from Switzerland, even if
      the recipient state has not made the same reservations (see I.C.5, p. 4). Thus, the
      Swiss authorities may not use the transmission channels in respect of which Switzer-
      land has stipulated reservations. Recipient states may, however, waive their right to
      invoke the principle of reciprocity. The Guide on Judicial Assistance mentions several
      options open to the Swiss authorities (as the FOJ’s primary recommendation or as an
      alternative channel of transmission), depending on the state in question, to use
      channels that Switzerland has objected to but which may be nonetheless used when
      the requested state has refused to invoke the principle of reciprocity. For example,
      according to the FOJ’s primary recommendation, in relations between Switzerland
      and Ireland, Canada and India it is permitted for requests for service coming from
      Swiss authorities to be sent via the FOJ to the competent Swiss representation. The
      Swiss representation serves the documents on the addressees by registered mail
      with acknowledgement of receipt. In matters between Switzerland and the United
      States of America, the cantonal central authorities can address their request to the
      competent Swiss representation, which in turn serves the documents directly on the
      addressee (see Federal Supreme Court Decision 109 III 100; for the requirements in
      relation to form, see II.E.1.1, p. 12).

      2.     1954 Hague Convention

      2.1    Ordinary Channel (Arts. 1 to 4)

      The 1954 Hague Convention provides for the service of documents via the consular
      channel (Art. 1).

      This means that the competent foreign authorities address their requests to the con-
      sulate, embassy or any other representation of their country in Switzerland. This rep-
      resentation forwards the request to the Federal Office of Justice, which, in turn, for-
      wards it to the relevant cantonal authority.

      Requests from a Swiss authority are addressed to the FOJ, which forwards them to
      the competent Swiss representation in the receiving state, which, in turn, sends them
      on to the authority designated by the recipient state (Art. 1 para. 1 1954 Hague Con-
      vention).

      2.2    Alternative Channels (Art. 1 paras. 3 and 6 1954 Hague Convention)

      First of all, the states that are parties to the 1954 Hague Convention may declare that
      they wish to use the diplomatic channel instead of the consular channel
      (Art. 1 para. 3). In such a case, requests from Switzerland must be addressed to the
      FOJ, which forwards them to the Swiss representation in the receiving state, which,
      in turn, forwards the request to the foreign affairs department of the receiving state.
      The latter sends the request on to the competent local authority.

      Moreover, Article 6 of the 1954 Hague Convention permits direct service by mail to
      an addressee resident abroad, or via the competent judicial or public officials of the
      recipient country, or, alternatively, through diplomatic or consular agents. Although
      Switzerland has not made any specific reservation in relation to this, it does not per-
      mit service by mail on its own territory. However, Switzerland permits service by dip-

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      lomatic or consular agents as provided for in the Hague Service Convention, that is to
      say, if the addressee is a national of the state of origin of the documents (see ACLFA
      1968-1969 [34/15], p. 34 and footnote n°10 above). The consular or diplomatic
      agents are not permitted to make any use of coercive measures.

      Just as is the case under the Hague Service Convention, the principle of reciprocity
      applies under the 1954 Hague Convention. Thus the Swiss authorities may not use
      channels for service abroad that are not permitted in Switzerland (see I.C.5, p. 4).

      3.       Absence of an agreement

      Where there is no international agreement, Switzerland applies the provisions of the
      1954 Hague Conventions to requests received from abroad and to Swiss requests to
      other countries (see Art. 11a para. 4 PILA; I.C.3, p. 3). Switzerland also accepts the
      service of documents by consular or diplomatic agents on the requesting country’s
      own nationals. Finally, Switzerland does not accept direct service from abroad by
      mail.

      Swiss requests to other countries must, unless there is a contrary custom, for exam-
      ple in favour of consular channels, follow diplomatic channels (see II.D.2.2, p. 10).
      Direct service by mail is permitted only if the recipient state accepts this form of ser-
      vice. For a description of the procedure applicable to each country, please see the
      Guide on Judicial Assistance.

      4.       Other Transmission Channels

      All Hague Conventions authorise states to enter into bilateral agreements that pro-
      vide more favourable conditions. As a result, direct correspondence between re-
      questing and recipient authorities or courts in certain countries remains possible (see
      I.C.2, p. 3).

      Diplomatic channels can always be used (see II.D.2.2, p. 10), even where a conven-
      tion provides for a quicker means of service. Where the Hague Service Convention
      applies, its Article 9 paragraph 2 provides for a special rule in this regard.

      II.E.    Requirements for the Request

      1.       Hague Service Convention

      1.1      Form

      Article 3 of the Hague Service Convention provides for the use by contracting states
      of a model form for requesting the service of judicial or extra-judicial documents. The
      text printed on the form must include a version in either English or French. 14 It con-
      sists of three parts, the request for service, a certificate containing the details of exe-
      cution, and a summary of the document being served (Art. 7 para. 1 Hague Service
      Convention). The blanks corresponding to the printed text are completed either in the
      language of the state receiving the request, or in English or French (Art. 7 para. 2
      Hague Service Convention). Some states require, in our opinion wrongfully, that the

      14   Under article 7 the Hague Service Convention, the additional printing of the text in one or more
           official languages of the requesting state (state of origin) is permitted.

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      printed text and/or the responses be written in their language (Guide on Judicial As-
      sistance).

      The model form and the documents to be served are to be sent in duplicate
      (Art. 3 para. 2 Hague Service Convention). The authentication of the documents or
      any similar formality is not required (Art. 3 para. 1 Hague Service Convention). Re-
      garding the necessity to join the translation of the exhibits, see II.E.1.2, p. 12.

      When the alternative channels of service provided for in Articles 8 and 10 Hague
      Service Convention are used (see II.D.1.2, p. 9), the model forms do not need to be
      used, and no translation is required. It should, however, be noted that if the address-
      ee is unable to understand the nature and significance of the documents served, this
      may pose problems should the judgment be recognised abroad (violation of the right
      to be heard)15 and this may remain a problem even where the receiving state permits
      the use of the alternative channels for service. Accordingly, it is recommended that
      the Hague Service Convention forms are used for the alternative channels as well (at
      least the section “Summary of the document to be served” of the model form
      [pp. 3 and 4]) or that a translation of the documents in the language of the recipient
      state is enclosed, in order to ensure that the addressee is informed of the nature of
      the documents served. The Hague Conference on Private International Law adopted
      a recommendation to this effect in 2003 and 2009 (see points 65 - 68; point 31). The
      FOJ recommends that the form be completed in the language of the requested state.

      1.2      Execution and Languages

      The Swiss authorities effect the service of documents requested by a foreign state,
      on the first occasion and in the absence of any special requests by the requesting
      state, by “informal delivery” to the addressee. Simple delivery is covered by Arti-
      cle 5 paragraph 2 of the Hague Service Convention. The translation of the docu-
      ments to be served is not necessary for this mode of service; service is effected, as a
      general rule, by registered mail or by judicial act.16 This form of service is, however,
      permitted only if the addressee accepts service (Art. 5 para. 2 Hague Service Con-
      vention). If the addressee refuses to accept service by simple delivery, the Central
      Authority or the competent cantonal court will make a note of this on the certificate
      and will notify the requesting state that formal service has to be effected. For formal
      service, however, the Swiss authorities require the translation of the documents into
      German, French, or Italian, depending on the region in question, before attempting to
      service the document again (see the Swiss reservation to Art. 5 para. 3 of the Hague
      Service Convention). In order to guarantee the right of the addressee as provided by
      Article 5 paragraph 2 of the Hague Service Convention to refuse service by simple
      delivery and to require a translation, it is advisable to inform the addressee in an ap-
      propriate manner. The FOJ has thus recommended the cantonal authorities to inform
      addressees of their rights at the moment of service and to fix, where appropriate, a
      short period within which to exercise such rights. For example, if service is effected
      by mail, an accompanying letter or a notice on the envelope could inform addressees
      of their rights and the way in which they should be exercised. Simple service by the


      15   However, the judgment will not have to be recognised abroad in each Swiss procedure.
      16   Delivery of a “judicial document” is regulated in the general terms and conditions of the Swiss Post
           Office and its information brochure. Article 138 CPC on the form in which judicial documents are
           served states in paragraph 1: “The summons, rulings and decisions are served by registered mail
           or by other means against confirmation of receipt”.

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      procedure used for court documents is not sufficient to allow addressees to exercise
      rights.

      With regard to Swiss requests to other countries, it is recommended to consult the
      Guide on Judicial Assistance to find the requirements specified by the recipient coun-
      try. Certain countries require the immediate translation of the documents to be served
      and will therefore not proceed in the first instance with service by simple delivery.

      The requesting authority can demand that service be made formally from the begin-
      ning either according to one of the forms prescribed by the law of the receiving state
      (Art. 5 para. 1 let. a Hague Service Convention), or according to a special form pre-
      scribed by the law of the requesting state (Art. 5 para. 1 let. b Hague Service Con-
      vention). In the latter case, the demand will only be met if the required form is com-
      patible with the law of the receiving state. If a request is made for formal service or if
      this form of service proves to be necessary due to the refusal of the addressee to
      accept service, the requesting state may have to pay the resultant costs
      (Art. 12 para. 2 Hague Service Convention; see II.E.1.5, p. 15).

      It is important to note that the effects of the impossibility or refusal of service are not
      governed by the Hague Service Convention. It is not easy to answer the question as
      to which law – that of the requested state or that of the requesting state – service is
      to be considered to be legally valid. The Swiss Federal Supreme Court has attempt-
      ed to answer this question (SJ 2000, p. 89 et seq.). In the view of the FOJ it is gener-
      ally the law of the requested state that should apply, unless the law of the requesting
      state imposes particular requirements to be met. In the latter case, in the view of the
      FOJ, it will be up to the requesting authority to request a special form of service
      (Art. 5 para. 1 let. b Hague Service Convention).

      With regard to a foreign request for service in Switzerland, the authority effecting ser-
      vice must complete the relevant certificate in every case, even if it is not enclosed
      with the request.

      1.3      Protection given to addressees, sanctions

      Articles 15 and 16 of the Hague Service Convention provide for a mechanism intend-
      ed to protect the defendant who has not received a served document. 17 The aim of
      Article 15 is therefore to ensure rights of defence (Report by TABORDA FERREIRA, Acts
      and Documents of the 10th session (1964), Volume III, Service of Process, p. 93).

      Article 15 of the Hague Service Convention deals with the service of a summons or
      equivalent document in accordance with the provisions of the Convention when the
      defendant fails to appear.

      Article 15 therefore provides in its first paragraph that when a summons or equivalent
      document has to be transmitted abroad for the purpose of service, under the provi-
      sions of the Hague Service Convention and the defendant fails to appear, the court is
      required to defer judgment until it is established that the document was either served
      in accordance with the methods prescribed by the internal law of the state addressed

      17   With reference to Article 15 of the Hague Service Convention see also Article 26 paragraph 3 Lugano
           Convention (Convention of 30 October 2007 on jurisdiction and the recognition and enforcement of deci-
           sions in civil and commercial matters (SR 0.275.12, revised version of the Convention of 16 September
           1988 on jurisdiction and the enforcement of judgments in civil and commercial matters).


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      (Art. 15 para. 1 let. a Hague Service Convention), or the document was actually de-
      livered to the defendant or to his residence by another method provided for by the
      Hague Service Convention (Art. 15 para. 1 let. b). The first possibility envisages cas-
      es where service has been effected in accordance with Article 5 paragraph 1 let. a of
      the Hague Service Convention. The second possibility is aimed at cases of transmis-
      sion in accordance with Article 5 paragraph 1 let. b of the Hague Service Convention
      as well as cases where alternative channels of transmission (see II.D.1.2, p. 9) are
      used. In this second case, it is not sufficient that the alternative channels of transmis-
      sion or a method of transmission peculiar to the requesting state (Art. 5 para. 1 let. b
      Hague Service Convention) was used, it is also necessary for service to be effected
      on the defendant in person or at least at his residence (Report of TABORDA FERREIRA,
      op. cit., p. 95). With regard to alternative channels of transmission, the reservations
      made by contracting states in relation to certain methods of transmission should be
      taken into account. In addition, the court may only defer judgement, whatever the
      situation, if service has been effected in sufficient time for the defendant to be able to
      defend himself.

      Article 15 paragraph 2 of the Hague Service Convention qualifies the protection given
      by the first paragraph to the extent that it allows contracting states to declare that
      their courts may give judgment irrespective of paragraph 1, subject to the conditions,
      however, that i) the document has been transmitted by one of the methods provided
      for by Hague Service Convention ii) that a period of not less than six months has
      elapsed and iii) that no certificate has been obtained despite every reasonable effort
      being made by the competent authorities. Switzerland has not made any declaration
      in terms of Article 15 paragraph 2 of the Hague Service Convention. This option is,
      however, open to any Swiss court through the application of the principle of reciproci-
      ty (see I.C.5, p. 4) when service should have taken place in a state which has made
      such a declaration.

      If, however, a judgment has been given against a defendant who has not been able
      to appear, the defendant may, under Article 16 of the Hague Service Convention,
      request the court to relieve him of the effects of failing to appeal against the judgment
      within the given time. Article 16 does not, however, apply to judgments relating to the
      status or capacity of persons (Art. 16 para. 4 Hague Service Convention).

      1.4    Grounds for refusing service

      If the Central Authority concludes that the provisions of the Hague Service Conven-
      tion have not been complied with, Article 4 of the Convention mandates that the Cen-
      tral Authority promptly inform the applicant.

      Furthermore, service may be refused if the document does not relate to a civil or
      commercial matter (Art. 1 para. 1 Hague Service Convention; see I.D, p. 4), if a par-
      ticular form is required that is contrary to the law of the state addressed
      (Art. 5 para. 1 let. b), or if the execution of service is such that it would infringe upon
      the sovereignty or security of the state addressed (Art. 13 para. 1). The term “sover-
      eignty” must be interpreted restrictively. It cannot be understood as being equivalent
      to public policy. In this sense, Article 13 paragraph 2 of the Hague Service Conven-
      tion indicates that the execution of a request may not be refused solely on the ground
      that the law of the state addressed claims exclusive jurisdiction over the subject mat-
      ter of the action or does not permit the action upon which the application is based. In



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      other words, these grounds are not considered relevant to the sovereignty of the
      state addressed.18

      1.5      Costs

      In principle, no charges may be made for services relating to the service of docu-
      ments relating to judicial assistance (Art. 12 para. 1 Hague Service Convention).
      There is, however, an exception for cases requiring the involvement of a judicial of-
      ficer or the use of a particular method of service (Art. 12 para. 2 let. a and b Hague
      Service Convention). Moreover, bilateral agreements may provide different rules (see
      I.C.2, p. 3).

      2.       1954 Hague Convention

      The 1954 Hague Convention served as the basis for the Hague Service Convention
      of 1965. The requirements and conditions applicable to the service of documents un-
      der the Hague Service Convention were largely restated and differ from those con-
      tained in the 1954 Hague Convention only in a few points. Only these differences are
      considered below.

      2.1      Form

      Requests for service based on the 1954 Hague Convention need not be transmitted
      in a standardised form.

      Under Article 1 paragraph 1 of the 1954 Hague Convention, the consul’s request
      must indicate the authority issuing or forwarding the document, the names and ca-
      pacities of the parties, and the address of the addressee. In addition, the nature of
      the document in question must be mentioned, i.e. it should state the subject matter of
      the action and describe in detail the documents to be served (e.g.: legal claim, re-
      sponse to the claim, judgment on the evidence; Art. 1 para. 1 1954 Hague Conven-
      tion). The request shall be in the language of the requested authority. A receipt
      should always be attached to the request. If service must be effected in a special
      form (e.g. according to the law of the requesting state), it is advisable to request this
      expressly and to justify the request (Art. 3 1954 Hague Convention).

      2.2      Execution and language

      Here too, service can be effected either by simple delivery (Art. 3 1954 Hague Con-
      vention together with Art. 2 1954 Hague Convention; without translation; see
      II.E.1.2, p. 12), subject to refusal by the addressee, or by formal service (with certi-
      fied19 translation; in Switzerland either in German, French or Italian, depending on
      the place of execution of the request, see Federal Supreme Court Decision
      103 III 69). With regard to simple delivery, it should be borne in mind that the FOJ is
      of the opinion that it is advisable to inform the addressee of his right to refuse service
      if the documents have not been translated (see II.E.1.2, p. 12). The court is not
      obliged to complete the certificate; a receipt signed by the addressee is sufficient.


      18   On the subject of third party debt orders see A. R. MARKUS, Drittschuldners Dilemma, in: Rechtset-
           zung und Rechtsdurchsetzung, Festschrift für Franz Kellerhals zum 65. Geburtstag, Stämpfli Ver-
           lag Bern 2005; also appeared in: BlSchK, 2005, H 1, p. 1 ff.
      19   This means certification that the translation is complete and correct.

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      2.3     Protection for the addressee

      In contrast to the Hague Service Convention, the 1954 Hague Convention does not
      provide any mechanism for the protection of the rights of the defendant.

      2.4     Costs

      The execution of the request for service may not give rise to the right to the reim-
      bursement of costs, unless service is made forcibly or if a special form is required
      (Art. 7 para. 2 Hague Service Convention). Moreover, bilateral agreements may pro-
      vide different rules (see I.C.2, p. 3).

      3.      Absence of an agreement

      Where there is no international agreement, Switzerland applies the provisions of the
      1954 Hague Conventions to requests received from abroad and to Swiss requests to
      other countries (see Art. 11a para. 4 PILA; see also Art. 11a para. 1 - 3 PILA).

      With regard to requests made by Switzerland to other countries, reference is made to
      the Guide on Judicial Assistance. It is, however, worth noting that, in relation to costs,
      Swiss representations in those states where no agreement exists in this regard will
      request the Swiss authority to guarantee a refund in the event that charges are
      made.

      II.F.   Special Questions

      1.      Service addressed to foreign states or foreign state-owned companies

      In the case of service addressed to foreign states (including embassies and consu-
      lates) or to foreign state-owned companies, Article 16 of the European Convention on
      State Immunity applies (SR 0.273.1). Under paragraph 4 of this provision, the periods
      for entering into the proceedings and the methods of appeal against a judgment by
      default begin to run two months after the service of the document or the judgment
      with the department of foreign affairs of the state addressed. In addition, the courts
      having jurisdiction may not assign a period shorter than two months from the receipt
      of the documents by the department of foreign affairs (Art. 16, para. 5). These rules,
      which are in keeping with normal practices, should also be respected outside the
      scope of application of the said Convention.
      The FOJ is willing to provide support and explanation of the procedures in the differ-
      ent countries.

      2.      Service addressed to Swiss nationals abroad

      Reference should be made to the explanations on alternative channels for affecting
      service addressed to Swiss nationals abroad by Swiss diplomatic or consular repre-
      sentatives. These can be found under II.D.1.2.1, p. 9, II.D.2.2, p. 10, II.D.3, p. 11 and
      on the pages relating to each country in the Guide on Judicial Assistance. For re-
      quirements regarding translation and form and the explanations under II.E.1, p. 11
      and II.E.2, p. 15 apply mutatis mutandis.

      If the Swiss citizen has more than one nationality, i.e. is also a national of the re-
      quested state, the ordinary channel should be followed; the Swiss consular or diplo-


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      matic representative may not serve documents (for exceptions see II.D.1.2.2, p. 10).
      If the Swiss citizen is also a national of a third state, the Swiss consular or diplomatic
      representative is permitted to serve documents.20

      Besides the alternative channels described, there are further ways of serving docu-
      ments listed on the pages referring to each country.

      3.       Service of documents which institute proceedings and Recognition of
               Judgments

      The Hague Conventions do not regulate the legal effects of serving documents.

      Furthermore, the regulations that govern the service of documents in relation to the
      main proceedings are not necessarily the same as those applied in relation to the
      recognition procedure, in which, as a condition for the recognition of a judgment, it
      must be ensured that the document instituting the proceedings was duly served (see
      for the respective requirements e.g. Art. 27 para. 2 let. a PILA; but see also
      Art. 34 no 2 of the Convention of 30 October 2007 on Jurisdiction and the Recogni-
      tion and Enforcement of Judgments in Civil and Commercial Matters [LugC21,
      SR 0.275.12] and the declaration issued by Switzerland on Article III para. 1 of Proto-
      col 1;22). Thus, as we have already indicated, although the USA does not object to
      the service of documents on its territory by diplomatic agents, the subsequent judg-
      ment will not necessarily be recognised, for example, when the documents have
      been served in a language that the addressee did not understand (see
      II.E.1.1, p. 12). For the precedents and doctrine relating to these questions in Swit-
      zerland, which are not always consistent, see for example DUTOIT, Commentaire de
      la loi fédérale du 18 décembre 1987, 4th ed., Basel 2005, no 8 ad Art. 27 ; HON-
      SEL/VOGT/SCHNYDER/BERTI (edit.), Basler Kommentar, Internationales Privatrecht,
      2nd edition, Basel 2007, no 9 ff ad Art. 27 ; GIRSBERGER/HEINI/KELLER/KREN KOSTKIE-
      WICZ/SIEHR/VISCHER/VOLKEN (edit.), Zürcher Kommentar zum IPRG, 2nd ed., Zur-
      ich 2004, no 74 ff ad Art. 27; Federal Supreme Court Decision 122 III 439 (447 f) also
      published in SRIEL 1998, p. 441 with a commentary by I. SCHWANDER; Federal Su-
      preme Court Decision 135 III 623, with a commentary by I. SCHWANDER in
      AJP/PJA 1/2010, p. 110 ff;        Federal        Supreme         Court       judgment
      4A_161/2008 (01.07.2008), already with a consideration on LugC of 2007; Supreme
      Court judgment 5A_544/2007 (04.02.2008); F. DASSER / M. FREY, Übergangsrecht-
      liche Stolpersteine des revidierten Lugano-Übereinkommens, in: Jusletter
      11 April 2011, margin no 18 ff.; Aargau Cantonal Supreme Court, 17.12.1999, SRIEL
      2001, p. 224.

      4.       Address of addressee unknown – Service by Public Notice

      When the address of the addressee of service is unknown, the Hague Conventions
      do not apply (Art. 1 para. 2 Hague Service Convention; Art. 1 para. 1 1954 Hague
      Convention). Therefore, when an authority wishes to proceed with service by means
      of public notice in a foreign country, it is recommended in principle to follow diplomat-
      ic channels. In addition, as the obligation to grant assistance no longer follows from a
      convention, the state addressed is free to decide whether it cooperates or not. It

      20   See footnote 10
      21   Revised version of the Convention of 16 September 1988 on jurisdiction and the enforcement of
           judgments in civil and commercial matters
      22   See also Art. 27 no 2 LugC 1988 in conjunction with Art. 63 LugC

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      should be noted here that the Swiss Civil Procedure Code permits the authorities to
      proceed with a public notice in Switzerland when the address of the addressee is un-
      known and cannot be ascertained despite making reasonable enquiries or when ser-
      vice is impossible (see Art. 141 CPC).

      To the knowledge of the FOJ, the central cantonal authorities do not automatically
      refuse to proceed with publication in response to a request from a foreign authority
      when the address of the addressee is unknown, but prefer to investigate the matter.
      Furthermore, in general, the Swiss authorities do not reject requests that have not
      followed diplomatic channels, but which have followed a channel provided for by the
      Conventions.

      In the opinion of the FOJ, a Swiss or a foreign authority may proceed with the publi-
      cation of notices addressed to an indeterminate number of persons whose identities
      are unknown (notice to creditors, appeal for beneficiaries of a will) by addressing their
      request to their representation in the country of publication. The representation is
      then charged with arranging publication.

      5.     Agreement between the European Community and Switzerland relating
             to the Free Movement of Persons, Federal Act on the Free Movement of
             Lawyers and Assistance

      With the entry into force on 1 June 2002 of the Agreement between Switzerland on
      the one hand, and the European Community and its member states on the other re-
      lating to the free movement of persons (SR 0.142.112.681) and the Federal Act on
      the Free Movement of Lawyers (SR 935.61; Lawyers’ Act), a lawyer domiciled in the
      territory of the European Union may, under certain conditions, represent clients in
      Switzerland. Against this background, several judicial authorities have asked the FOJ
      whether the new law permits them to effect service without using the assistance
      channels.

      First of all, it should be noted that this legislation does not regulate questions of as-
      sistance. Furthermore, under Article 140 of the Swiss Civil Procedure Code, the court
      may instruct parties with domicile or registered office abroad to provide a domicile for
      service in Switzerland.

      There are two different cases: either a party domiciled in Switzerland is represented
      in a Swiss court by a lawyer whose registered office is on EU territory, or both the
      party and his or her legal representative are domiciled on EU territory.

      In the first case, the FOJ is of the opinion that the assistance channels do not have to
      be followed. Indeed, due to the fact that the party concerned by service is domiciled
      in Switzerland, service made to his or her lawyer (see Art. 137 CPC) has no effect
      abroad and consequently is not capable of undermining the sovereignty of the state
      in which the lawyer has his or her registered office. Postal service to the lawyer for
      the parties is, as a result, permissible in such a case.

      In the second case, due to the fact that the party is domiciled abroad, service has
      legal effects abroad and is, as a result, capable of infringing on the sovereignty of the
      state involved. It is advisable, therefore, to follow the assistance channels. It should
      be recalled that there are bilateral agreements between Switzerland and the coun-



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      tries bordering it that permit direct correspondence between authorities (see
      I.C.2, p. 3).

      6.     Domicile for service

      Under Article 140 of the Swiss Civil Procedure Code, the court may instruct parties
      with domicile or registered office abroad to provide a domicile for service in Switzer-
      land. This instruction should also include a reference to what happens if a domicile
      for service is not provided (see Art. 141 CPC: Public notice) and has legal effects, so
      notice of this should be served abroad via judicial assistance channels (see e.g.
      Federal Insurance Court ruling K 18/04 of 18 July 2006).

      7.     Deadline compliance

      Submissions to the Swiss authorities must be filed no later than the last day of the
      limitation period with the relevant authority (e.g. the court dealing with the case) or by
      handing over documents to Swiss Post, a diplomatic mission or consular office of
      Switzerland for forwarding to the court (see Art. 143 CPC). When setting the limita-
      tion period the relevant authority can, provided it has the discretion to do so, take ac-
      count of particular circumstances in the state in which service is effected (e.g. poor or
      unreliable postal service; nearest Swiss representation is in another country).




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      III.       OBTAINING EVIDENCE

      III.A. Foreword

      1.         Overview

      In addition to requests for service of documents, which in practice account for two
      thirds of all applications, judicial assistance in civil proceedings also includes re-
      quests made in order to obtain evidence (letters of request). The object of such appli-
      cations is for example to obtain statements from witnesses, the production of docu-
      ments, or an expert opinion.

      The 1954 Hague Convention deals with requests relating to obtaining evidence in
      Chapter II: “Letters of request”. The Hague Evidence Convention is devoted exclu-
      sively to this subject. It makes provision for obtaining evidence by means of letters of
      request (Chapter I), on the one hand, and through diplomatic or consular officers and
      through commissioners (Chapter II), on the other.

      2.         Cases in which procedures for assistance need not be followed

      According to international law, each state is obliged to respect the territorial sover-
      eignty of other states. The territorial sovereignty of a state can, however, occasionally
      come into conflict with the judicial jurisdiction of the court in another state. It is gener-
      ally accepted that a party domiciled in one state may come under the jurisdiction of
      another state. In relation to obtaining evidence, taking account of the judicial jurisdic-
      tion of a foreign court has, depending on the scenario, the following consequences.

      The act of a foreign judge or a person appointed by him or, as permitted under the
      common law system, of the representatives of the parties coming to Switzerland to
      carry out legal procedures always constitutes an official act that may only be carried
      out in accordance with the rules relating to judicial assistance. Failing to do so is re-
      garded as a violation of Swiss sovereignty whether or not the persons affected by
      these legal procedures are willing to cooperate.

      In cases where a foreign judge or a person appointed by him or her or the represent-
      atives of the parties in common law systems do not come to Switzerland, but require
      a party domiciled in Switzerland to provide evidence (for the limits see Federal Su-
      preme Court Decision 114 IV 12823), to fill in a questionnaire, or to appear before a
      foreign court, the submission of a letter of request to the Swiss authorities is not nec-
      essarily required. Letters of request are therefore not necessary in the event that a
      refusal to cooperate leads only to consequences of a procedural nature (e.g. a factu-
      al claim of the other party is accepted as true or the loss of the right to prove the
      claim at a later stage). The party concerned is free to cooperate. The service of this
      type of invitation must, however, be carried out according to the proper procedure for
      judicial assistance.



      23     For the somewhat controversial discussion of the practice of the Federal Supreme Court, see for
             example DOROTHEE SCHRAMM, Entwicklungen bei der Strafbarkeit von privaten Zeugenbefragung-
             en in der Schweiz durch Anwälte für ausländische Verfahren, AJP 2006 p. 491 ff., additional com-
             ments on p. 494

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      Where non-compliance by a party to the proceedings leads to sanctions that are not
      of a procedural nature (e.g. the criminal offence of contempt of court) the procedure
      for judicial assistance must be followed and thus a letter of request is required. This
      is because only the Swiss authorities may apply coercive measures on Swiss territo-
      ry.

      In the event that the person to whom the invitation is directed is not a litigant, but a
      third party (witness, expert), he or she may not be regarded as being subject to the
      judicial jurisdiction of the court involved. In such cases, the legal proceedings must
      be carried out according to the proper procedure for judicial assistance. The mere
      invitation to go abroad does not have to follow the procedure for judicial assistance,
      provided, however, that it is not accompanied by any kind of coercive measure or that
      such a measure will not automatically result in the event of a refusal.

      III.B. The competent authorities and transmission procedures

      1.       Hague Evidence Convention

      1.1      Under Chapter I of the Hague Evidence Convention

      In Chapter I, which governs letters of request, Article 1 paragraph 1 of the Hague Ev-
      idence Convention provides that the judicial authority of a contracting state may re-
      quest by letters of request the competent authority of another state to perform any
      judicial act. The FOJ is of the opinion that the application for judicial assistance must
      in fact be issued by an authority and not by a private person, such as a lawyer. This
      interpretation follows from the text of the Convention. 24 It also provides for the limita-
      tion of any possible abuse by those receiving a request to the extent that the authori-
      ty in question may proceed to filter the evidence required according to its relevance
      to the case at issue. Swiss authorities may only refuse an application within the limits
      of Article 12 of the Hague Evidence Convention.

      The request for judicial assistance is sent to the Central Authority of the state ad-
      dressed (the receiving authority), where applicable, via the Central Authority of the
      requesting state.25 The central cantonal authority of the place in which the request is
      executed is therefore the receiving authority when the application comes from a for-
      eign country. Such applications may, however, be lodged with the FOJ, which will
      transfer them to the competent central cantonal authority.

      Swiss applications are transferred to the Central Authority designated by the state
      addressed (see the Guide on Judicial Assistance) or directly to the executing authori-
      ty if there is a bilateral agreement allowing direct communication between authorities
      (see I.C.2, p. 3).

      In the event that an authority receives an application for the execution of which it is
      not competent, it is required under Article 6 of the Hague Evidence Convention to
      forward the application without delay to the competent authority.



      24   In contrast to the Hague Service Convention, the Hague Evidence Convention does not mention
           “judicial officers”.
      25   In Switzerland, the following cantons require that requests be filed via the central cantonal authori-
           ty: JU, NE, SZ (for all requesting authorities apart from courts) and ZH.

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      1.2      Under Chapter II Hague Evidence Convention

      The requesting authority will generally be the authority dealing with the case in the
      requesting state. Under Article 17 of the Hague Evidence Convention, however, it is
      sometimes the parties or their representatives who file the request by attaching the
      relevant court decision relating to the appointment of a commissioner to take evi-
      dence.

      As under Chapter I of the Hague Evidence Convention, the application for judicial
      assistance shall be sent to the Central Authority of the state addressed (receiving
      authority) if applicable via the Central Authority of the requesting state. 26 The central
      cantonal authority of the place in which the request is executed is therefore the re-
      ceiving authority when the application comes from a foreign country. Such applica-
      tions may, however, be lodged with the FOJ, which will transfer them to the compe-
      tent central cantonal authority. Under Articles 15 to 17 of the Hague Evidence Con-
      vention, where FDJP authorisation is necessary, we recommend sending a copy of
      the application to the FOJ in order to accelerate the decision process (see
      III.C.1.2, p. 28).

      Swiss applications are transferred to the (Central) Authority designated by the state
      addressed. The explanations provided by the contracting states should be referred
      to.

      In the event that an authority receives an application for the execution of which it is
      not competent, it is required under Article 6 of the Hague Evidence Convention to
      forward the application without delay to the competent authority.

      2.       1954 Hague Convention

      Letters of request must be issued by a judicial authority, in the same way as stipulat-
      ed in the Hague Evidence Convention.

      The foreign judicial authority must send its application to the diplomatic representa-
      tion of its nation in Switzerland. The diplomatic representation will send the applica-
      tion to the FOJ, which, in turn, will send it to the competent cantonal authority.

      A Swiss request must be sent to the FOJ, which will send it to the competent Swiss
      diplomatic representation in the country of destination, which, in turn, will send it to
      the authority designated as being competent by the country of destination in accord-
      ance with Article 9 of the 1954 Hague Convention. For detailed information, see the
      Guide on Judicial Assistance.

      3.       Absence of an agreement

      Where there is no international agreement, Switzerland applies the 1954 Hague
      Convention to foreign requests and to Swiss requests to other countries (see
      Art. 11a para. 4 PILA).

      Swiss requests, if there is not a contrary custom, follow diplomatic channels (see,
      II.D.2.2, p. 10). See also the Guide on Judicial Assistance.

      26   See footnote 25.

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      4.       Other channels of transmission

      See II.D.4, p. 11.

      III.C. Requirements for the Application

      1.       Hague Evidence Convention

      1.1      Application under Chapter I

      1.1.1 Form
      The Hague Evidence Convention does not require the use of a standard form for the
      application. In order to avoid omitting any information in the application, it is, howev-
      er, recommended to use the example provided on our website based on the model
      proposed by the Hague Conference on Private International Law.27

      1.1.2 Contents (Art. 3 Hague Evidence Convention)
      In accordance with Article 3 of the Hague Evidence Convention, the letter of request
      must specify the following:
      x The requesting authority and, if possible, the requested authority;
      x The names and addresses of the parties, and, if applicable, of their representa-
          tives;
      x The nature and the purpose of the proceedings, and a summary of the case;
      x The evidence to be obtained or other judicial act to be performed.
      If appropriate, the letters of request shall also specify:
      x The names and addresses of the persons to be questioned;
      x The questions to be put to these persons, or a statement of the subject matter
          about which the persons are to be questioned;
      x The documents or other property to be inspected;
      x Any request for the evidence to be given on oath or affirmation and, if necessary,
          any special form to be used;
      x Any special procedures required in accordance with Article 9 of the Hague Evi-
          dence Convention;
      x Any additional indications based on the model available on the Internet following
          the model proposed by the Hague Conference on Private International Law (see
          the User’s Guide 1970, p. 69 f.).
      No legalisation or analogous formality is required.

      1.1.3 Language and translations (Art. 4 Hague Evidence Convention)
      Each contracting state must accept letters of request written in French or in English,
      or with an attached certified28 translation in one of these languages, unless a reser-
      vation prevents it from doing so.




      27   See Practical Handbook on the operation of the Hague Convention of 18 March 1970 on the Tak-
           ing of Evidence Abroad in Civil or Commercial Matter, Antwerp – Apeldoorn 1984 [hereinafter:
           Practical Handbook Hague Evidence Convention], p. 69 f.; see footnote 2.
      28   This means certification that the translation is complete and correct.

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      Switzerland has issued a reservation in accordance with which the letters of request
      and their annexes must be written in German, French or Italian or translated into one
      of these languages, depending on where the request is executed.

      For letters of request intended for a foreign country, please refer to the Guide on Ju-
      dicial Assistance.

      1.1.4 Execution

      a.     Applicable Law (Art. 9 Hague Evidence Convention)
      In general, the execution of a letter of request is carried out in accordance with the
      law of the requested authorities. In Switzerland this means the cantonal laws on the
      administration of justice and the Swiss Civil Procedure Code, in accordance with Arti-
      cle 122 of the Federal Constitution.

      The requested court shall apply the appropriate measures of compulsion in the in-
      stances and to the same extent as are provided by its internal law for the execution of
      orders issued by authorities of its own country or of requests made by parties in in-
      ternal proceedings (Art. 10 Hague Evidence Convention).

      When the application of the law of the requesting state is requested (Art. 9 para. 2
      Hague Evidence Convention), the request shall be met unless the form is incompati-
      ble with the law of the state addressed or if its application is not possible due to prac-
      tical difficulties.

      This means that affidavits, which should be provided with the witness’ statements
      and which are often required in the US instead of an oath, can be approved without
      problem. It should be noted that the witness must consent to this. If the witness is
      unwilling, he or she cannot be forced to act.

      Cross-examination may also be admissible. In such cases, however, the Swiss judge
      remains in control of the questioning and must intervene when he or she considers it
      necessary. It is in particular the judge’s responsibility to inform the witness of the right
      to refuse to give evidence or of prohibitions to give evidence. The judge is also the
      only person authorised to use coercive measures against the witness.

      When, on request of the requesting state, a special form is used, the said state must
      meet the expenses thereof (Art. 14 para. 2 Hague Evidence Convention).

      b.      Obtaining evidence via a person appointed by the authorities addressed
              (Art. 14 para. 3 Hague Evidence Convention)
      Authorities that receive but are not in a position to execute a letter of request may
      instruct an authorised person to do so. In particular, when a request is sent to coun-
      tries with a system of common law, the requested court may be unable to execute the
      letter of request by itself because, according to its procedural rules, it is the parties’
      responsibility to gather the evidence.

      In accordance with Article 14 paragraph 3 of the Hague Evidence Convention, the
      requested authorities may, in such a situation, authorise a qualified person to exe-
      cute the letter of request if the requesting authority agrees. By giving its consent, the
      requesting authority declares itself willing to meet the ensuing costs (see
      III.C.1.1.4f, p. 26).


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      c.     The right to refuse to testify / Banking secrecy
      The person to be questioned or who is requested to produce documents may claim to
      be exempt or prohibited from providing evidence, either on the basis of the law of the
      state addressed, or of the law of the requesting state (Art. 11 Hague Evidence Con-
      vention).

      It should be noted that Article 47 paragraph 5 of the Federal Act of 8 November 1934
      on Banks and Savings Banks (SR 952.0) makes a reservation in favour of federal
      and cantonal provisions relating to the duty to inform the authority and to testify in
      court. Bankers, who are essentially required to cooperate, are subject to Arti-
      cle 166 paragraph 2 of the Swiss Code of Civil Procedure as confidants of profes-
      sional secrets. They may refuse to cooperate if they can show credibly that the inter-
      est in protecting confidentiality outweighs the interest in establishing the truth (limited
      right of refusal). The judge in this case weighs up the interests and decides on a
      case-by-case basis if the disclosure duty outweighs professional confidentiality and if
      banking secrecy should be lifted.

      d.      Participation of the members of the court of the requesting authority (Art. 8
              Hague Evidence Convention) and/or of the parties or of their representatives
              (Art. 7 Hague Evidence Convention)
      If the requesting authority wishes that certain of its court officers witness the execu-
      tion of a letter of request, it must ask the authority in charge of the execution for pre-
      liminary authorisation (Art. 8 together with Art. 35 para. 2 let. c Hague Evidence Con-
      vention; reservation by Switzerland). The parties and/or their representatives may
      also be present at the execution of the letter of request if they so desire (Art. 7 Hague
      Evidence Convention).

      In our view, in such cases the foreign requesting authority and/or the parties and/or
      their representatives must be able to intervene if they so desire. The Swiss judge,
      however, remains the master of the proceedings and the only person authorised to
      take coercive measures against the person addressed by the letter of request. He
      may furthermore remind the witness of his or her right to refuse to give evidence or
      that he or she is forbidden to give evidence.

      e.     Grounds for refusal
      The authorities addressed may only refuse a request in the following cases:
      x Where the case is not civil or commercial in nature (see I.D, p. 4);
      x If the application does not fulfil the formal requirements (Art. 3 Hague Evidence
         Convention) or was not sent with the required translation (Art. 4 Hague Evidence
         Convention). In this case, the requesting authority should first of all be asked to
         complete its application (Art. 5 Hague Evidence Convention);
      x If the authenticity of the application is unclear (generally, the fact that the applica-
         tion has been sent through the proper channels is sufficient proof of its authentici-
         ty; see also the different agreements on the abolition of legalisation on foreign
         public     documents       that      have     been    ratified     by     Switzerland;
         SR 0.172.030.3/.037.43);
      x If the execution of the application is not within the jurisdiction of the courts
         (Art. 12 para. 1 let. a Hague Evidence Convention; e.g. in the event that an
         amount of money needs to be collected in Switzerland and that the parties them-
         selves have to act by way of forcible execution);
      x If the state addressed is of the opinion that the execution of the application is lia-
         ble to violate its sovereignty (e.g. coercive measures ordered in support of foreign

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          decisions that influence the proceedings) or its security (Art. 12 para. 1 let. b
          Hague Evidence Convention);
      x   If the requested form of execution of the application is contrary to the legislation of
          the state addressed (before finally refusing the application, the foreign country
          should be asked if the requesting court accepts the execution being carried out in
          the forms authorised by the laws of the state addressed; Art. 9 Hague Evidence
          Convention).

      f.      Costs
      It is not possible in principle to charge any costs for the services carried out to the
      requesting state (Art. 14 para. 1 Hague Evidence Convention). The state addressed,
      however, may claim the reimbursement of compensation paid to experts and inter-
      preters, and of costs ensuing from the enforcement of a special procedure called for
      by the requesting state, in accordance with Article 9 paragraph 2 of the Hague Evi-
      dence Convention.

      Once the authority addressed has authorised a person to initiate the obtaining of evi-
      dence according to Article 14 paragraph 3 of the Hague Evidence Convention (see
      III.C.1.1.4b, p. 24), and has obtained consent of the requesting authority after indicat-
      ing the approximate amount of the costs, it has the right to charge the requesting au-
      thority for the costs engendered. The consent of the requesting authority implies an
      obligation to reimburse the costs that result from using the services of a third party. If
      the requesting authority does not give its consent, it will not be liable for these costs.

      It is provided in Article 26 of the Hague Evidence Convention that each contracting
      state may, in the event that it is so liable in terms of its constitution, invite the request-
      ing state to reimburse the execution costs of the letter of request, and in relation to
      the summons, the expenses due to the person who gives evidence and who makes a
      record of the judicial enquiries. When a state makes use of this provision, any other
      contracting state can invite this state to reimburse the aforementioned costs.

      It should be emphasised that the aforementioned provision must be regarded as an
      exception. As a rule, the costs are settled as indicated above, in accordance with the
      provisions of Article 14 of the Hague Evidence Convention.

      In relation to Switzerland, the special terms of Article 26 of the Hague Evidence Con-
      vention are not applicable, as there is no corresponding constitutional provision. In
      the event that another contracting state relies on Article 26 of the Hague Evidence
      Convention, it must first indicate its pertinent constitutional provision. Switzerland
      could, in this case, demand reciprocity.

      1.1.5 Letter of request relating to “pre-trial discovery” proceedings
      The Swiss Civil Procedure Code imposes an obligation to produce exhibits that are
      likely to be relevant to the case. Persons who are not party to the proceedings may
      be exempt from this obligation provided they can claim the total or limited right to re-
      fuse to give evidence (see Art. 160 ff. CPC). It is incumbent upon the judge to decide
      which documents need to be produced.

      The states with common law legal system have a stage in the proceedings called
      “pre-trial discovery”, which takes place after the commencement of the action but be-
      fore the main hearing. According to the American “discovery” system, each party has
      the obligation to inform the opposing party of all information that is relevant to the

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      case, the concept of relevance being interpreted in the broadest sense. This stage of
      the proceedings is conducted largely without judicial intervention. The judge only in-
      tervenes if the parties fail to reach an agreement, in particular if one of the parties
      fails to collaborate. The judge may, in this case, use coercive measures.

      For the majority of countries in Europe, including Switzerland, the relevance and the
      specification of the facts to be established in civil proceedings must meet very de-
      manding requirements. This is why Article 23 of the Hague Evidence Convention
      makes it possible for contracting states to declare that they will not execute a letter of
      request filed by states governed by common law relating to a pre-trial discovery of
      documents. Switzerland, without completely excluding assistance in the context of a
      pre-trial discovery, reserves the right, according to the conditions established below,
      to refuse requests for assistance that have such proceedings as their objective.

      Switzerland therefore executes applications by foreign countries for judicial assis-
      tance formulated in the framework of pre-trial discovery, but always requires i) that
      applications be sent to Switzerland by a competent foreign court and not directly by
      the parties concerned, and ii) that applications precisely describe the evidence re-
      quired and the purpose for which it is requested. Requests that are formulated in
      general terms and require the opposing party to indicate the documents in his or her
      possession with the aim of obtaining information that bears no relation to the case or
      to attempt to discover evidence to substantiate a claim (“fishing expeditions”) are re-
      jected. In other words, this means that applications by foreign countries for judicial
      assistance relating to pre-trial discovery are dealt with in the same way as internal
      Swiss applications for the production of documents.

      A direct and necessary relationship therefore needs to exist between the request and
      the proceedings pending abroad. The letter of request must prove to be sufficiently
      relevant on a factual level.

      The request will be refused if a person is asked to indicate the exhibits relating to the
      case that are or were in his or her possession or care, or over which he or she has or
      had a power of disposal. The same holds true when a person is expected to submit
      any document other than those stated in the application for judicial assistance. The
      aim is to prevent the party who bears the burden of proof to shift his or her obligation
      to the opposing party, or even to a third party.

      Such letters of request must not, however, damage the interests of the persons con-
      cerned that are worthy of protection. This provision, which is a general clause in it-
      self29, is intended to take the banking and professional secrecy that is characteristic
      of Swiss law into consideration, without however leading to an automatic refusal of
      applications for judicial assistance based on a pre-trial discovery procedure.




      29   Article 156 CPC: Safeguarding legitimate interests, reads “The court shall take appropriate
           measures to ensure that taking evidence does not infringe the legitimate interests of any parties or
           third party, such as business secrets.”

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      1.2      Request under Chapter II of the Hague Evidence Convention (Art. 15 to 22
               Hague Evidence Convention)

      1.2.1 General
      As mentioned above, in accordance with Article 271 paragraph 1 SCC, those per-
      sons who carry out activities on behalf of a foreign state on Swiss territory without
      lawful authority, where such activities are the responsibility of a public authority or
      public official, are committing an offence (see I.B, p. 2). Thus, unless they have au-
      thorisation, foreign parties who proceed with the hearing of witnesses or obtaining
      evidence on their own initiative in Switzerland are liable to be punished (the ordinary
      preparation of a case30 by a lawyer has, however, always been possible without au-
      thorisation). This situation presents certain disadvantages for countries, such as the
      United States, which consider that the parties have authority to obtain evidence.

      The Hague Evidence Convention compensates for this disadvantage by providing in
      its Articles 15, 16 and 17 that diplomatic or consular officials and court-appointed
      commissioners may take procedural steps in preparation for a trial, subject to certain
      conditions (Art. 21 Hague Evidence Convention). In conformity with these provisions,
      Switzerland has made use of its right to issue a reservation in relation to this provi-
      sion whereby the aforementioned persons need to obtain authorisation with the Fed-
      eral Department of Justice and Police before executing procedural steps in prepara-
      tion for a trial.

      1.2.2 Conditions laid down in Article 21 Hague Evidence Convention – Procedural
            safeguards
      Article 21 of the Hague Evidence Convention imposes the following conditions:
      x The consular representative or commissioner can take any evidence insofar as
          the procedural steps considered are compatible with the law of the state of execu-
          tion and accord with the authorisation granted (for foreign applications relating to
          this issue, see III.C.1.2.3, p. 29). Under the same conditions, he may also exam-
          ine a witness under oath or solemn declaration (Art. 21 let. a Hague Evidence
          Convention).
      x With the exception of the cases in which the person specified by the procedural
          measure is a national of the state in which the proceedings have begun, any re-
          quest to appear or to give evidence must be written in the language of the place
          where the evidence is taken or be accompanied by a translation into such lan-
          guage (Art. 21 let. b Hague Evidence Convention).
      x The summons must indicate the fact that the person concerned may be assisted
          by his counsel, and that he is not obliged to appear or to participate in the evi-
          dence-taking. The person in question is therefore free not to cooperate at all or to
          interrupt the taking of evidence (Art. 21 let. c Hague Evidence Convention). The
          consular or diplomatic official or the commissioner may not take any coercive
          measures against the witness. Article 18 Hague Evidence Convention, however,
          provides that states may declare that foreign persons authorised to take evidence
          may apply to the competent authority to obtain the assistance required to carry
          out such acts by using coercive measures. Switzerland has made no declaration
          in relation to this subject, which makes it impossible to force the persons specified

      30   Obtaining of evidence taken into consideration in terms of the place of residence of the witnesses,
           etc.




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          by the procedural steps to collaborate in terms of Chapter II of Hague Evidence
          Convention. In the event of a refusal to collaborate, the only available procedure
          is the one provided for in Chapter I of the Hague Evidence Convention.
      x   In contrast to the proceedings under Chapter I of the Hague Evidence Conven-
          tion, the evidence is to be taken, as a rule, according to the procedures provided
          for by the law of the requesting court. However, if the specified procedures are
          against the law of the state of execution, they may not be used.
      x   Cross-examination is also authorised, during which the witness is examined by
          the lawyers of both parties (Art. 21 let. d Hague Evidence Convention). For appli-
          cations sent to Swiss authorities, see III.C.1.2.3, p. 29.
      x   The person to be heard may invoke, as in the context of a letter of request ac-
          cording to Chapter I of the Hague Evidence Convention, a privilege (Art. 21 let. e,
          together with Art. 11 Hague Evidence Convention).

      1.2.3 Authorisation procedure before the Swiss authorities, and content of the appli-
            cation
      In Switzerland, a foreign request for obtaining evidence is subject to prior authorisa-
      tion by the FDJP (see the Swiss reservation in this respect as well as our Fact sheet,
      according to Articles 15 to 17 Hague Evidence Convention.

      Foreign applications must, however, first be addressed to the Central Authority of the
      canton where evidence will be taken (see the Swiss reservation); they (and the en-
      closures) must be submitted in the official language of this canton. To speed up the
      procedure, we recommend you send a copy at the same time to the Federal Office of
      Justice FOJ, Private International Law Unit, 3003 Bern. After examining the request,
      the central cantonal authority forwards the application to the FOJ, indicating, if need
      be, whether it is opposed to granting the authorisation or if it would like the authorisa-
      tion to have certain accompanying conditions. When the procedural conditions and
      safeguards according to Article 21 Hague Evidence Convention are met, the FDJP
      grants the authorisation. An advance of fees will, however, be necessary beforehand
      (Art. 5 and 13 of the Ordinance on Costs and Remuneration in Administrative Pro-
      ceedings [SR 172.041.0]; CHF 100 to 5000).

      If cross-examination is intended, there are two possible approaches. First, a sole
      commissioner can be appointed – for example, a neutral person – who will chair the
      taking of evidence and will see to it that the examination by the lawyers of the parties
      is conducted in accordance with Swiss law (no coercion, reminder of exemptions or
      any prohibition from giving evidence). In this case only one authorisation will be giv-
      en. Second, it is also possible that each agent is appointed commissioner. In this
      case, authorisation will be granted to each person to conduct the examination.

      The application for authorisation must:
      x Briefly describe the nature and subject matter of the proceedings;
      x Indicate the amount in controversy; this is necessary in order to fix the amount of
         the advance on procedural costs. The decision on the authorisation will be taken
         only after payment of the advance on procedural costs.
      x Indicate the identity and the address (fax number, e-mail included) of the litigants;
      x Indicate the identity and the address (fax number, e-mail included) of the counsels
         of the litigants;
      x Indicate the form of, and the grounds for, the intended procedural formalities; it is
         recommended to describe in sufficient detail the modalities of the procedural for-
         malities to insure that the authorisation will cover all the procedural formalities en-

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          visaged. If possible, the name and address of all participants in the procedural
          formalities should figure in the application;
      x Indicate the name and address of the persons involved in the intended procedural
          formalities;
      x Indicate the name and address of the person or persons who are to supervise the
          evidentiary proceedings if the application is one under Article 17 of the Hague Ev-
          idence Convention. Under Articles 15 and 16, on the other hand, all consular or
          diplomatic officials in the relevant embassy or consular agency will be given au-
          thorisation to supervise the taking of evidence;
      x Propose a date for the intended taking of evidence. The request should be filed
          two months before the proposed date.
      In addition, the application has to include a copy of the court decision appointing the
      commissioner.

      Before sending the application, it is recommended that written confirmation is re-
      quested from prospective witnesses to the effect that they are cooperating of their
      own accord, that they know they cannot be subjected to any coercive measures,
      cannot be forced to participate or to appear and have the right to refuse to give evi-
      dence on the basis of privileges both under the law of the state addressed and of the
      state of origin (Art. 21 Hague Evidence Convention). In the event that the person
      concerned subsequently does not wish to cooperate, the entire procedure will have
      been unnecessary while having generated costs.

      Finally, the application need not be made by the foreign court; it may be made by a
      party or its attorney. The application should then be accompanied by a power of at-
      torney or by an authorisation of the foreign court. As mentioned, the application
      needs to be accompanied by the court decision appointing the commissioner.

      The Federal Department of Justice and Police must serve the authorisation. In order
      for this service to be made in time it is suggested that the applicant designate a per-
      son in Switzerland who will accept service of the authorisation. In the absence of
      such an agent for service, the authorisation will have to be served through the chan-
      nels of judicial cooperation, which unavoidably prolongs the proceedings.

      1.2.4 Swiss applications to a foreign country or evidence taken by Swiss diplomatic
            or consular representatives
      The FOJ refers to the declarations made by the contracting states on the Hague Evi-
      dence Convention. The explanations under III.C.1.2.2, p. 28 should be referred to for
      conditions and procedural safeguards laid down by Article 21 of the Hague Evidence
      Convention.

      Generally speaking, the Swiss embassies and consulates (Swiss diplomatic or con-
      sular representatives) may take evidence in civil and commercial matters from Swiss
      citizens and other individuals they represent if the host country permits (Article 15
      Hague Evidence Convention).

      Evidence in civil and commercial matters may only be taken by a Swiss diplomatic
      officer or consular agent from host state’s citizens or from citizens of other countries
      (Art. 16 Hague Evidence Convention) if the competent authorities of the host state
      have given their permission, unless the host state has declared that evidence may be
      taken without its prior permission.



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      The FOJ is willing to provide support and explanation of the procedures in the differ-
      ent countries. In order to ensure coordination with the Swiss diplomatic and consular
      representatives and that they are properly instructed, it is recommended that the FOJ
      is contacted in good time.

      2.       1954 Hague Convention

      2.1      Basis

      Chapter II of the 1954 Hague Convention served as the basis for Chapter I of the
      Hague Evidence Convention, which is why only the differences between the two con-
      ventions will be dealt with below. For further information see III.C.1.1.1 - 1.1.4, p. 23
      et seq.
      Chapter II of the Hague Service Convention is new. There is no corresponding chap-
      ter in the 1954 Hague Convention. For the obtaining of evidence by private persons
      or by diplomatic officers and consular agents in the context of the 1954 Hague Con-
      vention, see III.C.2.7, p. 32.

      2.2      Form and content

      As in the case of the Hague Evidence Convention, no form is provided by the 1954
      Hague Convention. Furthermore, the 1954 Hague Convention does not indicate what
      information is required for the application. We recommend using the model on our
      webpage for the Hague Evidence Convention based on the model used by the
      Hague Conference on Private International Law (see also Practical Handbook Evi-
      dence Convention 1970, p. 69 et seq.).

      2.3      Language and translation

      Requests for judicial assistance are in principle to be made in the language of the
      authority (i.e. the court) requested to execute them, or must be accompanied by a
      certified31 translation in that language (Art. 10 1954 Hague Convention). Unless oth-
      erwise stated by a bilateral agreement (see I.C.2, p. 3), foreign applications must be
      in the language of the canton executing the request. Unlike Article 4 paragraph 3 of
      the Hague Evidence Convention, Article 10 of the 1954 Hague convention does not
      invite a contracting state which has more than one official language to specify by dec-
      laration the language in which the request or the translation thereof shall be ex-
      pressed for execution in the specified part of its territory. Switzerland has thus made
      no declaration; Swiss authorities consequently receive from time to time letters writ-
      ten in one of the Swiss official languages, but not in the one of the place of execution.
      In such cases, the FOJ recommends executing the request nonetheless, if possible,
      and inviting the requesting authority to draw up its request in the official language of
      the place of execution in future. In the case of Swiss requests to a foreign country,
      please consult the Guide on Judicial Assistance.




      31   This means certification that the translation is complete and correct.

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      2.4      Applicable law

      In accordance with Article 14 paragraph 1 of the 1954 Hague Convention, the author-
      ities addressed apply their own law. When the requesting state calls for the request
      to be executed in accordance with its own law, its request will only be rejected if the
      required form is contrary to the legislation of the state addressed.

      2.5      Grounds for refusal

      These are the same as those indicated in the Hague Evidence Convention (see
      III.C.1.1.4e, p. 25).

      2.6      Costs

      As a rule, judicial assistance is free of charge. However, contrary to what is estab-
      lished by the Hague Evidence Convention, expenses paid to witnesses as well as
      costs due to the appearance of a witness can be charged. Furthermore, as in the
      Hague Evidence Convention, expenses paid to experts as well as costs resulting
      from the application of foreign law to execution are subject to reimbursement
      (Art. 16 para. 2 1954 Hague Convention; however, for Austria, see the supplemen-
      tary agreement of 26 August 1968; SR 0.274.181.631, Art. 7 para. 2).

      2.7      Obtaining evidence directly by the parties in Switzerland or the diplomatic of-
               ficers or consular agents under the 1954 Hague Convention

      2.7.1 Activities carried out by the parties in Switzerland
      The taking of evidence by a person appointed commissioner is one of the main inno-
      vations of the Hague Evidence Convention. The 1954 Hague Convention, on the
      other hand, does not authorise this. Consequently, Article 271 of the Swiss Criminal
      Code (SCC) remains fully applicable.32

      Authorisations under Article 271 SCC are granted only in exceptional cases. Authori-
      sation is not granted unless judicial cooperation is theoretically possible (i.e. when
      there is no ground for refusal) and in the event that it appears practically impossible,
      or even absurd, to require Switzerland’s public authorities to assist in the matter (see
      Administrative Case Law of the Federal Authorities 1997 [61/82], p. 789 f.).33

      2.7.2 Activities carried out by diplomatic officers or consular agents
      Article 15 of the 1954 Hague Convention authorises foreign requesting authorities to
      have their requests executed directly by diplomatic officers or consular agents in the
      state of execution if an agreement between the interested states expressly permits
      this or if the state in the territory where the letters of request are to be executed does
      not object. Switzerland has not entered into an agreement of this type and does not,
      as a general rule, permit diplomatic officers or consular agents to obtain evidence on
      its territory (ACLFA 1968-1969 [34/15], p. 31).

      In those countries in which procedural actions are to be taken by the parties rather
      than by the court, the Swiss Embassies and Consulates may, with the consent of the

      32   See also I.B, p. 7
      33   For example, if a foreign court requests an on-site inspection.

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      host country, invite Swiss and foreign nationals to appear for questioning or may
      question those individuals in their homes. The diplomatic and consular officers of
      Switzerland must not, however, use coercive measures.

      3.       Obtaining evidence in the absence of an agreement

      In the absence of an agreement, the Swiss authorities apply the 1954 Hague Con-
      vention to foreign requests and to Swiss requests to other countries (see
      Art. 11a para. 4 PILA and also Art. 11a paras. 1 - 3 PILA).

      As a general rule, requests must be translated.

      For costs relating to foreign requests, see Article 16 of the 1954 Hague Convention.
      In relation to Swiss requests to other countries, for the countries where there is no
      agreement in relation to this matter the FOJ will request a guarantee from the Swiss
      authority that any costs that are charged will be reimbursed.34

      In the absence of contrary practices or agreements, Swiss requests made to foreign
      countries follow diplomatic channels (see II.D.2.2, p. 10). For information on the posi-
      tion in specific countries, reference is made to the Guide on Judicial Assistance.

      Switzerland does not generally permit diplomatic officers and consular agents to ob-
      tain evidence on its territory (ACLFA 1968-1969 [34/15], p. 31; see III.C.2.7.2, p. 32.

      As reciprocity is usually required between countries without a mutual agreement, nei-
      ther is it generally possible for Swiss diplomatic officers and consular agents to obtain
      evidence in another state.

      III.D. Special Issues

      1.       Hearing by video conference

      The conduct of a hearing by a foreign authority or foreign lawyers by video confer-
      ence of witnesses or parties who are physically35 located in Switzerland constitutes
      an act by a public authority on Swiss territory, and as such is therefore illegal unless
      authorised.

      Under the Hague Evidence Convention, several case scenarios can be envisaged.

      First, the authorities and the agents for the parties may participate at a hearing of the
      party and/or third parties that is conducted by a Swiss judge (Art. 7 and 8 Hague Evi-
      dence Convention). Such participation is possible under the same conditions as
      when the authority and/or the agents for the parties are physically present in Switzer-
      land (see III.C.1.1.4d, p. 25). In particular, the Swiss judge remains master of the
      proceedings and is the only person with the authority to order coercive measures.

      34   The entry “Kostengutsprache nötig“ in the Guide indicates that such a guarantee will need to be
           obtained.
      35   Unlike the case where the parties are required to fill in a questionnaire, a hearing by video confer-
           ence is interactive. The questions asked and the answers given are therefore to be regarded as a
           whole and consideration should be given to the location of the persons concerned (see Alexander
           R. Markus, Neue Entwicklungen bei der internationalen Rechtshilfe in Zivil- und Handelssachen,
           RSDA 2002, p. 65 et seq., who deals with the problem of hearings by video conference and by tel-
           ephone).

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      One can equally imagine recourse to video conference techniques in terms of Chap-
      ter II of the Hague Evidence Convention. Authorisation is in this case subject to the
      same conditions as in the “traditional” cases of authorisation (see III.C.1.2, p. 28).
      However, the fact that the persons are not in the same location suggests that an
      identification procedure is required.

      The costs related to a hearing by video conference can be charged to the requesting
      state (Art. 9 para. 2, Art. 14 para. 2 Hague Evidence Convention).

      Outside of the framework of the Hague Evidence Convention, i.e. if the procedure
      takes place in a state that is not a party to that Convention, the FOJ is of the opinion
      that a hearing by video conference is not possible other than in exceptional circum-
      stances. Firstly, the 1954 Hague Convention – which Switzerland not only applies in
      its relations with contracting states but also as automonous law in the absence of an
      agreement (see Art. 11a para. 4 PILA) – neither provides for the possibility of a for-
      eign judge participating in the hearing nor for the possibility of consular or diplomatic
      agents or of a commissioner carrying out a hearing. Secondly, as authorisation in
      terms of Article 271 of the Swiss Penal Code is granted only in the event that the or-
      dinary channels do not allow satisfactory results to be achieved, it is only possible to
      grant authorisation on this basis in cases that are highly exceptional.

      2.     Hearing by Telephone

      Under the Hague Evidence Convention, a hearing by telephone is conceivable under
      the same conditions as a hearing by video conference. However, the problem of
      identifying the parties is even more pronounced in the case of a telephone hearing
      than in the case of a video conference hearing. In addition, the formal aspect of a
      normal hearing, which encourages the witness to respond carefully to the questions
      asked, is lacking in the case of a telephone hearing.




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